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            EXHIBIT A
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                                        800 Third Avenue
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                                                               May 26, 2020


 BY EMAIL

 Jeffrey A. Rosenthal, Esq.
 Cleary Gottlieb Steen & Hamilton
 One Liberty Plaza
 New York, New York 10006-1470

          Re: In Re Application of Benjamin Steinmetz for an Order to Take Discovery from
              Vale S.A., Vale Americas Inc., Rio Tinto plc, and Rio Tinto Limited pursuant to
              28 U.S.C. Section 1782, Case No. 20-mc-212-AJN (S.D.N.Y.)

 Dear Counsel:

          We write on behalf of Applicant Benjamin Steinmetz (“Mr. Steinmetz”) in response to
 the letters and emails you sent us between May 22 and 23, 2020 on behalf of Vale S.A. and Vale
 Americas Inc. (collectively, “Vale”) in relation to the above-referenced proceeding.

        The materials referenced in Dr. Yanus’ Declaration are being produced with this letter.
 The audio recordings are being provided by Sharefile and the transcripts are attached. We
 confirm that the recordings and documents relating to the investigation by Black Cube are, and
 will continue to be, duly preserved in accordance with the applicable laws.

         Mr. Steinmetz requests that you and your clients preserve all discovery sought by
 Mr. Steinmetz in this proceeding, including all materials pertaining to Vale’s actual knowledge
 and beliefs about how BSGR acquired the Simandou mining rights and Vale’s
 misrepresentations about such knowledge and beliefs. This will include all materials related to
 these issues as they have been portrayed by your client in the UK Proceedings and in the LCIA
 Arbitration. Such materials will include, for example, evidence and draft witness statements
 from Mr. Martins, Mr. Monteiro, and others whose knowledge at the time of the events is
 attributable to Vale; materials dealing with Vale’s purported document destruction policy;
 materials connected with Vale’s filings with the U.S. Securities and Exchange Commission, as
 well as materials generated in advance of or following meetings with Rio Tinto in or around
 2008 and 2009.

        We would be grateful if you can let us know by tomorrow whether you are authorized to
accept service of the discovery application on behalf of Vale. If not, we can proceed to serve your
clients directly.


 AMERICAS (NEW YORK, BUENOS AIRES, CHICAGO, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
  ASIA-PACIFIC (HONG KONG, SEOUL, SHANGHAI), EMEA (LONDON, TEL AVIV), OFFSHORE (BVI, CAYMAN ISLANDS)

            KOBRE & KIM REFERS TO KOBRE & KIM LLP,   A   NEW YORK LIMITED LIABILITY PARTNERSHIP.
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Page 2
        As for your proposal for an agreement regarding service relating to proceedings other than
this one, we have passed on your request to our client and his other counsel. If they have an interest
in such an arrangement, we are sure they will take it up with you in due course.

                                                      Sincerely,

                                                      /s/ Josef M. Klazen
                                                      Josef M. Klazen
                                                      +1 212 488 1216

                                                      Michael S. Kim
                                                      +1 212 488 1201

                                                      Robin Rathmell
                                                      +1 202 664 1941
Encl.
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  Full Transcript of
  First Meeting with
 Jose Carlos Martins
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Meeting – February 12, 2020

Name of recording: recording-20200212-202321

Duration of recording: 02:30:22

  Time       Side                                Transcript
  stamp

 00:00:00 OP          [Indistinct chatter]

                      00:00:25 - Mr. Martins?

           Martins    Yes, hi. How are you?

           OP         Alexander Miller. Nice to meet you.

           Martins    Good to meet you.

           OP         Good evening.

           Martins    It’s a long way.

           OP         Yeah. Welcome, welcome to--.

           Martins    It’s a long way for a dinner.

           OP         [Laughs] yes. I hope we can […].

           Martins    Yeah, sure, sure.

           OP         Hopefully we’ll have a quiet place.

           Martins    Yeah.

           OP         So, how was your […]?

           Martins    Very well.

           OP         Yeah?

           Martins    […]. Yeah. First--.

           OP         Good luck.

           Martins    [Laughs] yeah. But how are you today?
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         OP        Fine.

         Martins   Good?

         OP        Yes. Thanks.

00:01:16 Martins   You want to be there?

         OP        […] first of all, thank you coming all the way from--.

         Martins   Oh.

         OP        -I hope all the arrangements and everything worked--.

         Martins   Perfect.

         OP        Perfect? Hotel? Flights?

         Martins   Everything is okay.

         OP        Okay, good.

         Martins   I thank you very much for invitation, okay? Thank you.

         OP        My pleasure, my pleasure. I mean, you took the effort of coming
                   all the way from Brazil, and it’s not--.

         Martins   But to me, New York is always good.

         OP        That’s right, that’s right. You come often to New York?

         Martins   Yes, yes.

         OP        Yeah.

         Martins   More then Asia and Europe. And then the States, okay?

         OP        Asia where? I hope not now. Not now.

         Martins   Yeah, I have been there beginning of January.

         OP        Really?

         Martins   Yeah.

         OP        And you’re okay?
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         Martins   It’s okay. […] when arrives, it’s amazing how--.

00:02:16 Waiter    […] water or sparkling water?

         OP        Sparkling or regular?

         Martins   Sparkling, yes.

         OP        Regular for me, please.

         Martins   You know, when I arrived to the airport, CDC was waiting for
                   me.

         OP        Who?

         Martins   CDC.

         OP        What is CDC?

         Martins   CDC is America agency for Disease Control.

         OP        Oh, why?

         Martins   Because I was in China, okay?

         OP        Oh, really?

         Martins   Amazing.

         OP        So, they wanted what?

         Martins   They want to talk with me, to know where I was there.

         OP        Oh, how did they know you’re coming?

         Martins   This America, okay? [Laughs]

         OP        True. Big brother.

         Martins   It’s amazing. So when I was leaving the airplane there was a
                   policeman.

         Waiter    Sparkling water for you, sir?

         Martins   Yes, sparkling, thanks. There was a policeman there and he was
                   asking my name, ‘What’s your name?’
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                 -‘Martins’.

                 ‘Okay, you have to wait’.

       OP        Wow!

       Martins   So, myself and a couple, they took us to the CDC agents, they
                 made some questions, where I was, how many days I go, and ask
                 if I have been in China 14 days. I said, ‘No’.

                 -‘Have you been in Hubei province?’

                 ‘No, 14 days in China’.

                 -‘Oh, have you been in China this year?’

                 ‘Yes’.

                 -‘[…] that’s okay’.

       OP        Oh.

       Martins   They asked me if there was any fever, cough, bad cold.
                 Everything is perfect. So don’t be--.

       OP        Okay. So, when you were in China did you see anything unusual?

       Martins   Oh, no, there was there-- because I was […] a native--.

       OP        Okay.

       Martins   -I was visiting a […] maker, former customer. And then they told
                 me that they were confirm about the outbreak. But he was very
                 confident that the Chinese government would control it. I have
                 been here many times. Very good restaurant.

       OP        In this restaurant? Yeah? First time I’m here.

       Martins   Your first time?

       OP        Yeah. Last time I was in New York I ate in Smith and Wollensky.

       Martins   Yeah.

       OP        Also very good.
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         Martins   Very good.

         OP        Yeah.

00:04:49 Waiter    […] mascarpone cheese with black truffle, olive oil with
                   balsamic vinegar.

         OP        Okay, thank you. So, I hope you like meat. You like meat?

         Martins   Sure.

         OP        Me too. Anyhow, let’s order and then I explain everything why I
                   took-- you came all the way to New York.

         Martins   It’s okay.

         OP        Okay?

         Martins   I’m not in a hurry. [Laughs]

         OP        Okay, me too. Neither do I.

         Martins   You live in Toronto?

         OP        I lived, actually now more in London and Singapore.

         Martins   London? London is […], it was thinking about […], wrong […]
                   place.

         OP        Yes, I know. I know. I used to live more in Singapore, because
                   we have an office in Singapore as well. Have you been to
                   Singapore?

         Martins   I […] also in Singapore then years ago.

         OP        Okay.

00:05:47 Martins   I was there for a business course and this is a good place to have
                   an office. I open a market in […] there because it is not for sale
                   in Asia.

         OP        When was it?

         Martins   I think 2007-2010.
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        OP        Ah, but not so long ago.

        Martins   Today I think it probably has maybe 40 to 50 people working in
                  Singapore.

        OP        In Singapore.

        Martins   It’s a very good place--.

        OP        Yes.

        Martins   -for business, and if you are--.

        OP        I know.

        Martins   -[…] Asia.

        OP        Yes. It’s a good--.

        Martins   It’s the best place, there’s a lot of Chinese, a lot of Chinese that
                  speak in […], and it’s close to China but it’s not in China.

        OP        And it’s not Chinese-- it’s not China.

        Martins   China is good, Shanghai is good, Hong Kong is good, but Hong
                  Kong is too close.

        OP        To China.

        Martins   Yeah. Singapore is better.

        OP        Yeah.

        Martins   So, why the hell […].

00:06:51 OP       Please. So, if you have been here, what do you recommend?

        Martins   All the red meat, […].

        OP        Okay.

                  00:08:10 - So, what did you say?

        Waiter    […] the New York sirloin.

        OP        Okay. Is it good?
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        Martins   Supposedly.

        OP        How is the-- okay, porterhouse is also good?

        Martins   What?

        OP        Porterhouse?

        Martins   Yes, yes. Everything here is good.

        OP        And what about some salad or something?

        Martins   Salad, yes. Green salad.

                  00:09:46 - Buffalo mozzarella.

        OP        Some wine? Which wine do you like?

        Martins   Pardon?

        OP        Which wine do you like?

        Martins   I don’t know if they have Argentina wine in here, okay?

        OP        So I’ll let you choose Argentinian wine, okay?

        Martins   Because it’s Malbec.

        OP        Malbec, please.

        Martins   It goes very well with this.

        OP        So please choose. Because I know French wines, I know Italian
                  wines, but--.

        Martins   Pardon?

        OP        I said I know French wines, Italians wine. I’m not so familiar
                  with Argentinian wine.

        Martins   Probably French and Italian may be better. But I think it is a
                  Malbec.

        OP        Please.

        Martins   Very […].
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         OP        I’m in your hands now.

00:11:13 Martins

         OP        Yes, yes.

00:12:47 Martins   I found one.

         OP        Oh, good. Okay. First of all--.

00:13:19 Martins   This is the-- my card is a company that I’m working now, […]
                   previously-- probably you know them.

         OP        How do you spell exactly your family name, Martins?

         Martins   Martins, Martins. Martin-- Jose Carlos.

         OP        Jose Carlos, yes, that I understand.

         Martins   Carlos. What’s your mother language? It’s English or French?

         OP        French, yeah. I come from the region in France, Alsace. You
                   know Alsace?

         Martins   Yeah.

         OP        On the border with Germany.

         Martins   Yeah, yeah, yeah.

         OP        So, that’s why my name is-- because the family--.

         Martins   It’s a part where sometime it’s, it depends. Sometimes German,
                   sometimes--.

         OP        Yeah, now it’s French, after the war. But it was Germany before,
                   yeah. And we have very good white wines.

         Martins   Yes, yes. Very good.

         OP        Yes.

00:14:12 Martins   Sancerre.

         OP        Oh, plenty. There is Chardonnay.
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        Martins   Chardonnay. Yes.

        OP        Yes, yes. Okay. Now you order, and I explain-- we found what
                  we want, and--.

        Martins   So, you are Miller, it’s German.

        OP        German, yes.

        Martins   Not, not English.

        OP        But it’s German-French, you know, it’s-- but I grew most of my
                  time in Paris, so--.

        Martins   Ah, okay. It’s a good place, too.

        OP        Yes. Even though I am very fascinated with Singapore, China,
                  it’s very interesting places, you know.

        Martins   Yeah, yeah.

        OP        Anyhow, as you see, our company is dealing with consulting
                  about energy projects.

        Martins   Yes.

        OP        What we do, we are not operating there, but we’re consulting the
                  clients, investors--.

        Martins   Uh-huh.

        OP        -where to go in the-- if they want to go in the transport or
                  logistics, downstream, upstream.

        Martins   Will I ask for the wine or for the food?

        OP        Both, no?

        Martins   Both? I want this mozzarella salad.

        Waiter    Tomato mozzarella?

        Martins   Yeah. tomato mozzarella, and for the meat, I want the New York
                  sirloin.
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        Waiter    Medium, medium-rare?

        Martins   Medium.

        Waiter    […].

        OP        What kind of soup do you have?

        Waiter    French onion.

        OP        I’ll have the […]. And what do you recommend?

        Waiter    Rib eye. The best in the world.

        OP        Rib eye? Okay.

        Waiter    Medium-rare?

        OP        Medium-rare, yes.

        Waiter    Medium-rare is […]. Medium--.

        OP        No, medium--.

        Martins   Medium.

        Waiter    Medium--.

        OP        Yeah.

        Waiter    -and medium-rare.

        Martins   What do you suggest for him?

        OP        Rib eye.

        Waiter    Rib eye.

        Martins   I will change mine, then.

        OP        So, two rib eye.

        Waiter    I want to explain how is the best, and what’s your choice, what
                  you’re gonna do. So, rib eye is more […], is more juicy. A little
                  bit more […].

        Martins   Yes.
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         Waiter    […] spice, no fat at all, very thin, very tender.

         Martins   Okay. I’ll keep the sirloin.

         Waiter    That’ll be fine. You like any vegetables? Any potatoes, spinach?

         Martins   Spinach cream.

         Waiter    Cream spinach.

         OP        Yeah.

00:16:30 Martins   And for the wine, Achavel-Ferrer Malbec.

         Waiter    Malbec bottle?

         Martins   Argentinian.

         OP        Yes, bottle.

         Waiter    Sorry, the name again.

         Martins   Achavel-Ferrer.

         OP        Thank you. Anyhow, we--.

         Martins   You know that in my country, who choose the wine pay the bill.

         OP        Choose your wine?

         Martins   Who choose the wine, pay the bill.

         OP        No, no. no, so we are not in Brazil, please. We are in New York,
                   so the bill is on me. Please, no argument about that.

         Martins   Okay.

         OP        You are my guest.

         Martins   Okay, thanks.

         OP        When I come to Brazil--.

         Martins   Okay.

         OP        -then I’ll--.
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        Martins   Will be my time.

00:17:12 OP       Okay. As I said, we’re consulting all levels of energy projects.

        Martins   Yeah.

        OP        Either gas, oil--.

        Martins   Electricity.

        OP        -logistics, transport, risk assessments.

        Martins   Transmission.

        OP        Yes. Everything. And there is a specific mining project that my
                  clients have in mind in South America, and that’s why we wanted
                  to consult it.

        Martins   Yeah.

        OP        Because they have tried twice to go to South America in mining
                  and not successfully. But they have decided, and […] to get a
                  local consultant.

        Martins   Okay.

        OP        And I’ll try to explain more in details after we start eating, we
                  have some wine--.

        Martins   Yeah.

        OP        -I’ll go into it with more details about-- as I said, now we have
                  offices in Toronto and in Singapore. Because also Canada is very
                  big amenity, and--.

        Martins   Yeah. In mining […].

        OP        Yes. Mining, we are not so special in mining.

        Martins   But Canada is very strong in this. It’s a mining hub.

        OP        So actually you worked all over the world.

        Martins   Yeah, yeah.
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00:18:27 OP       So what do you do now after you left--?

        Martins   I left Vale 2014.

        OP        How many years have you been there?

        Martins   I worked there 11 years, and when I left I had to obey two-years
                  grace period.

        OP        Ah, grace? Yeah?

        Martins   Two years. I was not allowed to do anything at all. They paid me,
                  okay? Then I started doing this consulting business, okay? And I
                  have been even--.

        OP        How many years have you been to Vale?

        Martins   11 years.

        OP        11 years.

        Martins   11 years, a very good period of my life. It was from 2004 to 2014.

        OP        ’14.

        Martins   Then I got to the China […], okay? And it was very good for
                  mining business. Continues to be very good for mining business.
                  So, I was very successful during my […], and I learned a lot about
                  mining because my previous experience was in steel.

        OP        Steel?

        Martins   Steel. I work 35 years in the steel industry.

        OP        Mine? No, manufacturing steel?

        Martins   Yes, making steel.

00:19:39 OP       So how did you manage to go to-- how did you--.

        Martins   Yeah, when I stopped working in the steel, I moved to
                  aluminium.

        OP        To aluminium, okay.
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         Martins   And I worked 5 years in can manufacturing, you know?
                   Aluminium can manufacturing. And after that I was invite to
                   work for Vale, and I stayed there 11 years as a officer, […]
                   administrator for the whole company. It was very good period of
                   my life, I learned a lot. Made some mistakes, but that’s the way.

         OP        Who doesn’t?

         Martins   The best way to learn, I think.

00:20:18 OP        We are not perfect.

         Martins   Yeah, and that is the best way to learn--.

         OP        Yeah.

         Martins   -is about making mistakes. I have a former boss, beginning of my
                   career, in the steel industry. He gave me a very good experience.
                   Because--.

         Waiter    Just to doublecheck, that was the one, right? Just, let’s see,
                   because two different, that’s why.

         Martins   This Malbec is--.

         Waiter    Malbec, Malbec.

         Martins   -Achavel-Ferrer Malbec.

         Waiter    Oh, that’s another Achaval here, that’s what was on […].

         Martins   A Malbec, pure Malbec. And I was in the beginning of my career.
                   I was something like 22-23 years old, and I made a big mistake,
                   and I gave something like $20 million loss for the company. And
                   I was very upset, and after the mistake I went to my boss and said,
                   ‘I’m leaving. Because if you don’t fire me’--.

         OP        You take responsibility.

00:21:20 Martins   Yeah. and, ‘If you don’t fire me, I will leave because I made a
                   big mistake and the company lost $20 million’. And this boss told
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                   me, ‘Look, you give me $20 million loss. You have to stay to pay
                   for it’. [Laughs]

         OP        [Laughs] good attitude, yeah.

         Martins   So, it’s, was a very good teaching for me, and I use it the rest of
                   my life.

         OP        So, did you earn the $20 million back?

         Martins   Yeah, sure. Many more than that. But I always look this way
                   when I see some of my subordinates making a mistake, okay?

         OP        You back them up.

         Martins   Yeah. and I also say people, ‘Look, I’m here, I’m your boss. If
                   you are taking risk and you want to share with me, I’ll be open to
                   it’.

         Waiter    […]?

         Martins   Yes. Thanks. ‘I’m always here, you can share with me. You can
                   take the risk for yourself. But you need to bear the consequence.
                   But if you think that like, have something to teach, come to me,
                   we share the risk together’. So, but I never fired a guy because of
                   some mistake.

         OP        Mistake, yeah. You--.

00:22:50 Martins   Or everybody has a chance to make at least one mistake.

         OP        Definitely.

         Martins   At least one.

         OP        At least one. Bon appétit.

         Martins   Merci. And which kind of mining this company is doing?

         OP        I’ll explain to you now. I want to explain the background, and
                   then we go to--.

                   00:23:39 - How long does it take to fly from Brazil to here?
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         Martins   10 hours.

         OP        10 hours, wow.

         Martins   10 hours. Very fancy restaurant.

00:24:11 OP        Yes. Once I was-- have you been to the most famous one in
                   Brooklyn, […] the one that is already 100 years? Peter Luger.

         Martins   In where?

         OP        Brooklyn.

         Martins   Ah, Brooklyn. I did not know this, I don’t know this.

         OP        It’s the most famous steak restaurant in New York. It’s already
                   there for 120 years, something like that. Where is your hotel, far
                   away? Your hotel?

         Martins   10 minutes by taxi.

         OP        Oh.

         Martins   By taxi. Good, your soup?

         OP        Very good. Where is the wine?

00:25:46 Martins   They are really fresh.

         OP        Without the wine--.

         Martins   [Laughs].

         OP        Listen, we are used to it from a very young age, you know.

         Martins   Yeah. you drink wine instead of water, huh?

         OP        Yes. Does Brazil have a industry of wine as well? Or not so
                   much?

         Martins   White wine in Brazil is good, […] also good, but for red wine--.

         OP        Argentina.
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        Martins   -the […] wine in Brazil is not so good. And maybe the climate is
                  too hot, too sunny.

        OP        Chile as well has good wine.

        Martins   No, shitty. In Argentina they are the best. And they have four
                  years to say-- in Argentina you have the Malbec, and in Chile you
                  have Carmenere.

        OP        Carmenere, yeah.

        Martins   Those grapes you don’t have anymore.

        OP        Only--.

        Martins   In Europe, only in Europe.

        OP        -yeah, only in-- I know, I know.

        Martins   And the Malbec in Argentina for me is one of the best wines.

        OP        Carmenere is also good.

        Martins   Very good, but Carmenere has not so strong personality as the
                  Malbec.

        Waiter    Sir, Malbec, 100%.

        Martins   That’s it.

        Waiter    That’s the one what we’re looking for.

        Martins   Yeah. 100% Malbec.

        Waiter    Yeah, that’s what I’m telling. Mendoza.

        Martins   Yes.

        Waiter    Red wine?

        Martins   Good.

        Waiter    Malbec.

        Martins   Okay.
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         Waiter    Yeah? Yeah, Malbec. Sir, the Malbec […] vineyard. If you know.

         Martins   Yeah. want to taste it?

         OP        No, you taste it. You know your Malbec, I’m-- all the way I’m
                   going with you.

00:28:13 Martins   Okay. It’s a big responsibility.

         OP        I know, I know.

         Martins   [Laughs].

         OP        Be careful not to make mistakes, ah?

         Martins   Yeah, I hope not.

         Waiter    This looks amazing. Very, very, very good bottle. All the way
                   through […], some […]?

         Martins   It’s okay, it’s okay. No, it’s okay.

         Waiter    […] they are very smooth, […] Malbec, one of my favourites.

         Martins   How many degrees alcohol, 40? Alcohol, alcohol.

         Waiter    It’s cold?

         Martins   No, no, alcohol. How many degrees alcohol.

         Waiter    As you see, it is--.

         OP        Usually 12.

         Martins   14.5.

         Waiter    Oh, yeah, 14.5, yeah.

         Martins   You can see it.

         Waiter    If you prefer […] I can make it […] for you. You’ll smell more
                   and breathe more, or you don’t want?

         Martins   Yeah.

         Waiter    Yeah, let me […].
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        Martins   But serve it first the […].

        Waiter    It’s 13, 2013, but still.

        Martins   Yeah. Not so old.

        OP        Good.

        Waiter    […] I can […].

        OP        Sorry?

        Martins   I’ll bring a […], you can drink more.

        OP        Yes, okay.

        Martins   Yeah.

00:30:02 OP       It’s full, the restaurant, no?

        Martins   Yeah. it’s a big wine list.

        OP        Yeah, I saw a few--.

        Martins   I almost lost it [Laughs].

        OP        Usually I bring Italian or French wine. Italian of French wine to
                  the--.

        Martins   In Brazil?

        OP        No, I.

        Martins   Okay. I, nowadays I drink-- I prefer new world wine.

        OP        Australia?

        Martins   Australia, New Zealand--.

        OP        […].

        Martins   -Argentina, Chile.

        OP        […].

        Martins   Yeah. in France I prefer pinot noir.
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        OP        Pinot noir?

        Martins   And in Italia I believe it’s one of the best wines for my taste, is
                  Sassicaia.

        OP        I love Barolo.

        Martins   Barolo, Barolo.

        OP        It’s from the north […].

        Martins   Yeah. Sassicaia is a super-- Tuscany, they say.

        OP        Tuscany.

        Martins   It is one of-- it’s very, very good wine.

00:31:17 OP       I’ll try it.

        Martins   Sassicaia.

        OP        Sassicaia. […].

        Waiter    […].

        OP        Yeah.

        Martins   I’ll tell a story. When I was working in the […]--.

        Waiter    Enjoy, gentlemen.

        Martins   I have a big customer in China. And one day he invite me for
                  dinner. We went to--.

        OP        In China?

        Martins   In China. A very fancy restaurant in Beijing, in China you know
                  they like to have a separate room--.

        OP        So--.

        Martins   -no too much noise, so you can talk freely. And he gave me the
                  wine list, ‘Choose the wine’. I always look cost-benefit. I look
                  very good--.
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         Waiter    […]?

         OP        Wine.

         Martins   -Australia wine. […] 200-300 dollars […]. And then I made it
                   my choice, and I talk with a girl that was a […], and then the guy
                   said to me, ‘No, no, no, no, I give you the wine list for you to
                   choose a wine’.

                   -‘This is not a good’--.

                   ‘No, no, it’s good. I can tell, it’s good’. And it’s not so cheap,
                   $270-280. ‘No, no, no, I don’t drink this wine’. He took the wine
                   list and he choose chateau lafite, but a very special year, and was-
                   -.

         OP        Very expensive wine.

         Martins   Yeah, it was $4,000 a bottle.

         OP        Wow.

00:33:17 Martins   ‘So, very good choice but that would not be the way I would
                   spend your money’.

                   -‘I don’t care, money is money, I don’t care how much money
                   we are going to spend’. And then we are six on the table, and we
                   drank something like 7 or 8 bottles of this wine.

         OP        Really?

         Martins   Yeah. and I told that guy, ‘Look, why you’--.

         OP        Was it really good?

         Martins   Wow, fantastic. ‘Why you spend so much money?’

                   -‘It’s good wine, it’s for me, today is a very important day in my
                   life’. It was almost drink one bottle of this wine, a lot. And, ‘But
                   you don’t needed to spend so much money. The one that I choose
                   probably you don’t like that, but’--.
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                   -‘No, no, I don’t know why you are concerned’--.

         OP        ‘It’s not my money’.

         Martins   -‘about the wine I’m offering you. Every time I send a vessel to
                   Brazil to pick up your ore, you let my ship waiting in the port line
                   for 4-5 days. It’s the same cost that we threw 10 box of this wine
                   into the sea. Here, we are drinking’.

         OP        [Laughs] enjoying at least.

         Martins   Yeah. but it’s another lesson, because I come back to Brazil and
                   said, ‘look’--.

         OP        Make it quick.

         Martins   -‘let’s fix it, for the-- we cannot threw 10 box of’--.

         OP        So, it was a big hint for you not to-- nice.

00:34:54 Martins   Yeah. that was a very wise way--.

         OP        Yeah, to tell you--.

         Martins   -to pass your message, okay?

         OP        Nice.

         Martins   But it was a big feast, a big party with chateau lafite 1970-
                   something. I looked after in the--.

         OP        The price list.

         Martins   -and at least the year was one of the best chateau lafite in the
                   history.

         OP        Santé to our-- santé, as we say in French.

         Martins   Santé.

         OP        How do you say in--?

         Martins   Saude. Saude.

         OP        Saude.
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        Martins   That’s not chateau lafite. [Laughs]

        OP        No.

        Martins   But it’s a decent wine.

        OP        Yes, yes, definitely.

        Martins   And it’s not so cheap.

        OP        If you enjoying then-- if you are enjoying it, then it’s--.

        Martins   Argentina always had very good wine. But you know,
                  Argentinians, you know the people, they are very strange. 30-40
                  years ago I had this boss in Argentina for the company I was
                  working for, steel. We export to Argentina and I had an office
                  there. Every time I went to Argentina, I bought wine. Fantastic
                  wine. One day, I was in the winery, I start talk with the owner of
                  the winery, ‘You have so good wine, but we cannot buy it outside
                  Argentina’.

        OP        Only in Argentina.

        Martins   ‘Only in Argentina, why that?’ and the guy tells, ‘You know, we
                  keep the best for us’. And then Argentina--.

        OP        Even today? Even today you--.

        Martins   No, no, now they change completely. Now--.

        OP        No problem.

        Martins   -you buy the best wine outside.

00:37:40 OP       So he just say […]?

        Martins   ‘Because of the big exporter of crops, meat, we export a lot of
                  crops, we export a lot of meat, why have I got to export our wine?
                  This is for us’.

        OP        ‘Us’.
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        Martins   ‘If you’d want to drink good wine, you’ll have to come here’. At
                  that time, the Chilean was already exporting a lot.

        OP        Today as well.

        Martins   Yeah.

        OP        You find everywhere Chilean wine.

        Martins   Yeah, yeah.

        OP        And they are considered to be good wines.

        Martins   They have very good wine.

        OP        Yeah. but it’s good--.

        Martins   But now Argentina also is exporting.

        OP        No, I like this wine. It’s good.

        Martins   It goes very well with the meat.

        OP        It has a say, it’s--.

        Martins   Yeah. in Brazil we are used to drink it with our […]. Barbeque.

        OP        Ah, barbeque. Like asado in--.

        Martins   Yeah, in Argentina. In Brazil, the barbeque is a family food. You
                  can go to the restaurant, you have a special house for the
                  restaurant, but everybody has in his home--.

        OP        His home.

        Martins   -a place for cooking--.

        OP        I’ve heard there was a very good restaurant in Singapore, I don’t
                  know, I lost-- it was long time, I […] Brazil, meat restaurant, they
                  came with a lot of, you know, with big sticks--.

        Martins   Yeah.

        OP        -all kind of meats, and they cut you--.
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        Martins   Yeah, we call it rodizio.

        OP        Okay.

        Martins   Like spinning around--.

        OP        Yes, yes.

        Martins   You bring different cuts--.

        OP        And they give you as much as-- until you say ‘Okay, I give up, I
                  don’t-- I cannot anymore’. And filet--.

        Martins   Everything.

        OP        Yeah, everything. All […].

        Martins   Different cuts--.

        OP        Yeah.

        Martins   -and different meats.

        OP        Yes, yes.

        Martins   Lamb and pork and--.

        Waiter    Sorry, guys. […] here, okay?

        Martins   Thank you. But Singapore has very good restaurants.

        OP        Yes. Because it’s a mix, it’s-- so you have all kinds. But you
                  know what the best food in Singapore is? Funny, you go to these
                  stalls, you know the stalls?

        Martins   Uh-huh.

00:40:16 OP       The local food counters--.

        Martins   Yeah.

        OP        -that you find--.

        Martins   In the streets.

        OP        Wow. Most […], amazing, cheap, excellent food. Really.
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        Martins   It’s mainly Chinese food.

        OP        Yes. Chinese, Indonesian, Malaysian, or Indian--.

        Martins   Yeah.

        OP        -you have one by one. There are few of them which are very, very
                  good.

        Martins   How long did you live there?

        OP        From 2002 to 2015, something like that.

        Martins   ’15?

        OP        Yeah.

        Martins   Long time.

        OP        Yeah. it’s a very convenient place to live. There is very--.

        Martins   Yeah. a little bit hot.

        OP        Yes, it’s […], Brazil is not hot?

        Martins   But Brazil, but we have a winter.

        OP        Oh, no, there is not winter there.

        Martins   It’s hot--.

        OP        Yeah, all over the year.

        Martins   -we have a hot with rain or hot without rain.

        OP        Without rain. Because Singapore is very close to the equator, so
                  it’s--.

        Martins   Yeah, it’s a tropical country.

        OP        Yeah, it’s most of the year-- you have rainy season, you have less
                  rainy season--.

        Martins   Yeah.

        OP        -but it’s close. Okay, now to the why we--.
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        Martins   Okay.

        OP        Yeah.

        Martins   I’m curious. [Laughs]

        OP        You’re curious, okay. After this evening no more questions.

        Martins   Okay.

00:41:40 OP       I represent a group of investors from Europe: Swiss, French.
                  Now, they went together and tried to invest in a mine, in two
                  mines of copper mines, one in Argentina and one in Chile.

        Martins   Chile.

        OP        In Atacama Desert.

        Martins   Atacama Desert.

        OP        Atacama Desert.

        Martins   That’s where you have copper.

        OP        Now, they joined together with a group of American investors.
                  Now, in this region, of course they started due diligence in both
                  cases, and in this region, probably you know better than me, get
                  the license is a bit of a tricky way--.

        Martins   Yeah.

        OP        -so the Americans always backed up from the business because
                  they say, ‘We don’t want trouble with the CP-- with the
                  commission of anti-corruption’--.

        Martins   Yeah. FCPA.

        OP        The FCPA, exactly. And so, both investments didn’t work out,
                  because of the objection of the American part in the investing
                  group. Now, there is an opportunity to get-- I don’t want to go
                  into details before we sign an NDA--.

        Martins   Yeah, yeah.
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        OP        -and everything, but in a copper mine in south of Peru. And it’s
                  the same group of investors. Now, we haven’t done-- they
                  haven’t-- ‘we’, they haven’t started with the DD, with the due
                  diligence. But probably they’ll go to the same result as-- what we
                  want is a consultant to help us--.

        Martins   Okay.

00:43:33 OP       -even take on risk, we understand the risk. The only think is we
                  are-- my European investor, they are ready to take the risk
                  because they think it’s very, we check and it sounds very
                  profitable--.

        Martins   Umm-hmm.

        OP        -but we want a consultant with experience how to handle such,
                  with the due diligence, the companies and everything, in order
                  that we can go ahead with-- even though, sometimes you know,
                  the getting the license, the first one in time, in the--.

        Martins   Umm-hmm.

        OP        -is getting the license, I don’t have to tell you, it’s probably in--.

        Martins   Yeah.

        OP        -South America it’s all over--.

        Martins   Yeah.

        OP        -like that. And the amount is almost a billion dollar, to pay the--.

        Martins   Investment.

        OP        Yes. And consultant would be getting a half percent, so which is-
                  -.

        Martins   Big money.

        OP        -you, you-- I know it’s a long process. It’s not a short process.

        Martins   Yeah.
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        OP        But you make the math yourself, and--.

        Martins   Okay.

00:44:33 OP       What I wanted to check with you, if you have the experience in
                  how to handle such cases. Such--.

        Martins   Uh-huh.

        OP        -experience. If you can give me examples from your past.

        Martins   Yeah.

        OP        So I can go to my clients say, ‘Okay, I found the right person that
                  can help us with the process’.

        Martins   Okay, look--.

        OP        Okay, this is the background.

        Martins   Background.

        OP        If you have any other questions that I can-- I’m sure you found
                  in your--.

        Martins   Yeah, I-- what the specific-- because you have many risks, okay?

        OP        No, they are taking the risk of the business.

        Martins   Okay.

        OP        They don’t want to take the risk to go in trouble with the CP--
                  they can say after that--.

        Martins   Okay.

        OP        -‘We didn’t know’ and everything, and they don’t want to risk
                  reputation.

        Martins   Okay. There is--.

        OP        But already, if there is something gold with the investment, okay,
                  it’s part of the-- or part of the investment is--.
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00:45:26 Martins   I work 11 years with Vale, okay? Vale open mine in Argentina
                   and Peru, Chile, Colombia. They never give a penny.

         OP        Never give a penny?

         Martins   Never give a penny to anybody to get this permits. But you have
                   to be patient, okay? It requires patience, to get things in a clean
                   way, you need to be patient. It takes more time. People say that
                   bribery is like grease, okay? To make things go faster. You can
                   do, like, because Vale has the same […], it’s a big company listed
                   in New York.

         OP        Exactly.

         Martins   So, FCPA is a big issue.

         OP        Yeah, exactly.

         Martins   And--.

         OP        To get in trouble with--.

         Martins   -and we never had any kind of-- BHP got, Rio Tinto got,
                   Glencore is now suffering--.

         OP        Sorry, again?

         Martins   Glencore. Those big mining houses, okay? BHP, Anglo
                   American, all of them got some kind of FCPA investigation. Vale
                   - never. Because they never enter in this issue, okay? But it takes
                   a little bit more time to get it.

         OP        What do you mean, ‘time’?

00:47:03 Martins   Do it in the-- in Brazil we say, ‘father and mother way’, okay?
                   To do it father and mother way, it takes more time to get it. But
                   at the end, all countries want to attract investment, okay?
                   Sometimes you find it more difficult, not with this kind of
                   blackmail, but with this NGOs, environmentalists, they are
                   everywhere--.
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        OP        Very aggressive to them.

        Martins   -very aggressive, and mining is--.

        OP        Polluting.

        Martins   -mining is aggressive, okay? You go to the field, you explode it,
                  dynamite, make big holes, generate a lot of waste--.

        OP        And I’m sure you use chemicals as well.

        Martins   Yeah. so, it’s an industry target by the NGOs. And that’s creates
                  difficulties in the licensing process. You have public hearings,
                  okay? So it’s not a clean, it’s not something that you could go
                  like you are in a trail of-- it’s, you have some hurdles that you
                  needed to overthink. The issue of bribery is one, but I think it can
                  be overcome. It’s a little bit more-- it takes a little bit more time,
                  if there--.

00:48:35 OP       But why time is a factor? Why-- yes.

        Martins   Because these people ask money to make things go faster.

        OP        I see. No, no, but--.

        Waiter    […], French […] inside it. The [...] sirloin, right here.

        OP        Looks nice.

        Martins   Beautiful.

        Waiter    Steak juice. Spinach.

        Martins   Okay, thanks.

        Waiter    Sure. You want a--.

        Martins   Yes.

        Waiter    -you want a different plate? I’ll give you different plate, […].

        OP        No, it’s okay. For the moment it’s okay.
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00:49:49 Martins   Probably why the-- to get the permits, sometimes you have
                   politicians involved. They want to finance elections, so then they
                   need money. Sometimes it’s not for themself, okay? So, they
                   created difficulties in order to make you pay. But nowadays,
                   everybody is aware about this FCPA and all of this kind of
                   investigation, okay? But they are used to ask money in order to
                   speed up the process, okay? You know, it’s a huge investment, if
                   you delay it 3, 4, 6 months, it’s money. Time in money, okay?
                   And they know how to-- they know the math.

         OP        To […].

         Martins   They calculate how much it will cost you--.

00:50:39 OP        Did you have in your Vale experience that after you sign with
                   somebody that has the rights, that they come […] saying, ‘Okay,
                   the rights were not properly obtained.’ And--?

         Martins   Ah, understood. In this case, you have to do due diligence. Okay?
                   It’s the only way that you can be in comfort. But let me tell you
                   on a experience I had personally in Guinea--.

         OP        Okay.

00:51:15 Martins   -Africa, okay? We bought 50% of a tenement in Guinea, $5
                   billion.

         OP        Wow.

         Martins   5 billion. [$5 billion]

         OP        Big investment.

00:51:27 Martins   Yeah. But 50%, 2.5 billion, we paid it 500 million upfront,
                   waiting for full clearance of the tenement, we started building it.
                   There was a change in the local government and the new
                   government said, ‘There was monkey business here. I'm not
                   going to give you the license anymore.’
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                   00:51:58 - They took the license, they never accused Vale about
                   doing anything wrong, but they accused the guy who sold us. We
                   made a due diligence, the guy had-- it’s a very complex structure.
                   The guy was from Israel, a Jewish, with companies in Man
                   Island, also in Switzerland. And we make due diligence in all of
                   those things, and we found nothing.

         OP        Nothing?

00:52:36 Martins   Nothing. It was okay. But you never know if the guy paid by
                   himself, he’s the owner, okay? He took from his money and did,
                   and he gave the money to the wife of the former president of
                   Guinea. You know, Guinea was a French colony--.

         OP        Colony [Crosstalk]

00:53:01 Martins   -and the guy was there since the freedom. 40 years in power, he
                   was linked with former Soviet Union, and his wife, he was, like,
                   90 years old, and had a young wife, and the young wife asked
                   money to give the permits to this Jewish guy.

                   00:53:31 - And the Guinea government gave it, took from--
                   because the tenement was belonging to Rio Tinto, but Rio Tinto
                   are not developing. According to the Guinea law, if you have a
                   tenement you don’t develop it in ten years, they skip 50% from
                   you.

                   00:53:54 - And so, what they did, they took from Rio and gave
                   it to this Jewish guy. And this woman-- and then the former
                   dictator of Guinea died, and he moved to the United States. And
                   you know Guinea, it’s kind of Muslim area. When he moved to
                   United States, he brought a lot of money. Bought a big house in
                   Miami and brought something like $10, $20 million. So, the
                   Americans, looking Gaddafi, what’s close to the […].

                   00:54:39 - They started investigation over the woman. So, the
                   DOJ got her and said, ‘Who give you this money? Was
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                  Gaddafi? Was someone in Middle East? We want to know the
                  origin of your money.’ And he said that was his bribery, okay?
                  So, at the DOJ make an agreement with her to tell everything.
                  You have this in the America legislation, okay? And the-- So,
                  they wired her completely and said, ‘Look, ask your-- the guy
                  who gave you money for dinner, and we want to record
                  everything.’

                  00:55:29 - So-- but the guy was very clever, this Jewish guy. He
                  send another guy, a French guy that intermediate the deal in the
                  past. And this guy went for this meeting, and he started
                  discussing with the woman because he knows that she was
                  under investigation. And the guy offered him more money not
                  to give the information to DJO [DOJ].

                  00:55:59 - But he was not aware that the DJO [DOJ] was many
                  steps ahead. And then they start discussing, and it was very
                  interesting because everything was transcript [means:
                  transcribed], all the conversation was transcript [means:
                  transcribed]. And I got it because later, Vale was kind of
                  involved in it. The DJO [DOJ] asked Vale to give more
                  information about our relationship with this guy.

                  00:56:25 - And then in the transcript, the woman was asking,
                  ‘Okay, you’re gonna give me another $20 million? But who is
                  gaving me the money? You don’t have this money. I want to
                  know who is able to give me this money.’

                  00:56:41 - And it was-- I couldn’t avoid laughing-- I couldn’t
                  avoid. Because the transcript in this point was something like
                  that, ‘And then, Mr. Cilins or whatever said: ‘whispering,
                  whispering, whispering’, ‘It was Benny.’ Very-- so--.

        OP        It was who?

        Martins   Benny.
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00:57:07 OP       That’s the name of the guy?

        Martins   Benny Steinmetz. It’s a Israeli tycoon. Everything was caught.
                  This guy know-- today, they cannot leave Israel. He’s in prison
                  in his house--.

                  Really?

                  -and they're not able to go. But you know, we made a very good
                  due diligence, but we are not DOJ.

        OP        You're not?

        Martins   DOJ. DOJ has ways that we don’t have.

00:57:43 OP       But you did due diligence.

        Martins   We did, but we found nothing.

        OP        Nothing at all?

        Martins   Nothing, because the guy paid with his own money, through his
                  bank accounts.

        Martins   How we can get his bank account? We went to the company
                  accounts. We look everything in the company accounts, we hired
                  Clifford, very good lawyers and we-- they hired another
                  investigation, some Israeli company. We did three, four months
                  make investigation, we found nothing. By the end of day, there
                  was some monkey business behind.

00:58:27 OP       Did you know in advance or?

        Martins   No! We didn’t get anything at all. But I always said, ‘Why this
                  guy got this beautiful tenement? Because of his blue eyes,
                  beautiful blue eyes? It’s impossible. Something wrong is here.’

        OP        So, you felt it?

        Martins   I felt. And I talk in the board, I told this, ‘Look, we are entering
                  this business, but we are closing our eyes.’ So--.
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         OP        Closing eyes, like the monkeys, huh?

         Martins   Yeah, yeah.

00:59:10 OP        Because you probably wanted the deal.

         Martins   Yeah, yeah, because it’s the only way to get into. So, even if we
                   make a very good due diligence.

         OP        But was it good enough?

         Martins   Yeah, it was. It was.

         OP        It was.

         Martins   We went to all the company, okay? But we don’t-- we were not
                   able to go into his own accounts, but--.

         OP        Only to companies’ account?

         Martins   Only companies’ account.

         OP        Please eat, otherwise it’s getting cold. Very good, the steak is
                   excellent. I tasted one piece.

00:59:45 Martins   But that’s where-- That’s I told you, it’s very difficult to assure.
                   But it will depend from whom you are buying, okay?

         OP        What? Sorry, I'm going back to the story. What was the reaction
                   in the Vale board of directors when you say, ‘Something doesn’t
                   smell right’?

         Martins   They didn’t like it. They didn’t like but they accept.

         OP        Because the deal was good?

         Martins   It was important for the company.

         OP        It was what?

         Martins   It was very important.

01:00:23 OP        For the company? Why did you feel that something is wrong?

         Martins   Because it was one of the best left tenements in the world.
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         OP        Really? Couldn’t be so good, huh?

         Martins   The best. Today, the new government sold it to a Chinese
                   company.

         OP        The same one that--?

01:01:04 Martins   And Vale has now a dispute with the former owner, $2 billion,
                   and Vale won in three stages. But the guy has no money to pay
                   for it. And if he has, he hide it. So, the owner’s track record, very
                   important.

         OP        So, you said-- actually, you were right. You said something was
                   wrong to the Vale so, so, you were right in-- from the beginning.
                   So, actually--.

01:01:47 Martins   There was a big dispute in the--.

         OP        The board?

         Martins   No, in the legal area, and Vale was never accused because the
                   monkey business was done before Vale bought it. So, Vale was
                   completely clean.

         OP        Clean.

         Martins   Vale won the dispute against the former owner, but you know,
                   doesn’t help. This guy, I was-- why I was concerned with this
                   guy? Very clever entrepreneur, but his family was involved in
                   diamond mining. That’s the reason they got to this iron mine,
                   because that reason, Guinea, Sierra Leone, Liberia.

         OP        But that’s blood diamonds, no?

         Martins   Huh?

01:02:49 OP        That’s blood-- what we call blood diamonds.

         Martins   Blood diamonds. And the guy who appears in the movie is related
                   to this guy family.
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        OP        Which movie?

        Martins   Blood Diamond. You never saw?

        OP        Really?

        Martins   There is a movie.

        OP        With Leonardo DiCaprio?

        Martins   Yeah.

        OP        Yes, I saw the movie.

        Martins   So, the guys you see there, Jewish, is from his family.

01:03:19 OP       Wow. So, that’s why you felt that something is wrong?

        Martins   It was a very difficult decision.

        OP        So, there was a big argument with the board?

        Martins   Yeah. At the end, we decide to go because it was very strategic
                  important. And it was a mess because we never give any
                  briberies--.

        OP        No, no.

        Martins   -but we were involved, okay? Our name was together, we were
                  partner, okay?

01:03:56 OP       And you said you knew-- you understood from the beginning that
                  something was wrong there. It couldn’t be so good business.

        Martins   Yeah. But you know, sometimes, you can put reputation and
                  ethics behind business rationale. This kind of mistakes--.

        OP        So, business first.

        Martins   I made because I put-- no, no, I don’t want from this. I feel that
                  something wrong--.

        OP        So, you were in the board, you were against the deal?

        Martins   No, I was in favor.
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        OP        In favor?

        Martins   I proposed the deal.

        OP        Ah, you proposed the deal?

        Martins   I told-- All the history, okay? The board decided knowing
                  everything.

        OP        Even the question marks?

        Martins   And I told them, I was in the board meeting and I said, ‘I'm
                  proposing this deal, but I am’--.

        OP        Closing your nose.

        Martins   Because I don’t smell-- that not smell good. We made all due
                  diligence three months ago, we didn’t found anything wrong, but-
                  -.

        OP        Could be that the companies-- hypothetically, the companies of
                  the due diligence felt that you wanted a deal, that’s why they gave
                  you a report that will allow--.

        Martins   Yeah.

        OP        -allow the deal? They were easy on the DD?

        Martins   Because, you know, this tenement is the middle of Guinea, and
                  Guinea is a country like that.

        OP        Like what?

        Martins   Between Guinea and the sea, you have a lot of other countries.
                  And this tenement is almost 1,000 miles, 1,000 kilometers from
                  the coast, Guinea coast. Not feasible, if you have to build a
                  railway from that point to their seaside.

        OP        Yes.
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         Martins   The only way to make it feasible is to go to Liberia. Because
                   instead of 1,000 kilometers, you’re gonna have only 300
                   kilometers.

         OP        Big difference.

01:06:20 Martins   And also, in Liberia, you have a deep-water sea, which you don’t
                   have in Guinea. So, the cost of the project of going through
                   Guinea, all the way through Guinea, it would be something like
                   $25 billion. But through Liberia it will be less than 10. So that
                   specifically was the concession this guy brought. Not only the
                   tenement, but also the rights--.

         OP        Rights for the--.

         Martins   -to go to Liberia.

         OP        It made the cost much lower.

         Martins   And make the project feasible.

         OP        That’s why it was interesting, the project?

01:07:02 Martins   Yeah. But the new board, the first thing he did is ‘No, no, now
                   you have to go through Guinea.’ Then we said, ‘Well, Guinea is
                   not, is not feasible.’

         OP        Not feasible. [Crosstalk]

         Martins   And then they took the tenement. And then we sued the guy
                   because we put half-- we give him half billion dollars, and we
                   invested it at the point that we lost the tenement. We invest one
                   billion. So, a big loss for Vale.

         OP        Yes, sure.

01:07:40 Martins   But only to say that in Africa, it’s very difficult to do business in
                   mining without dirtying your hands, very difficult. I would say
                   quite impossible.

         OP        Especially getting the rights, I understand.
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         Martins   Yeah. The rights, the permits. You see, in Africa, normally you
                   have junior companies, one-man show, not listed, those are the
                   guys that--.

         OP        Are making all the--.

         Martins   Big mining in Africa always have a problem. Rio Tinto was sued
                   by the FCPA because of some billionaire, Glencore. And BHP
                   decided to get out.

         OP        Who is he?

01:08:29 Martins   BHP. It’s the biggest mining company in the world. ‘No, I don’t
                   want to have trouble, get out.’ Even if my-- if I need something
                   to survive the company, I won't do it. South America is not that
                   way.

         OP        Not that way?

         Martins   You have a problem, like you said. But can be overcome, a little
                   bit patience, finding the right people to work for you. Because
                   this is a two-way road, okay? You have people that ask money,
                   but you also have people in your company that want to make it
                   come true in a easy way. So, it’s very important to find the right
                   partner or hire the right people in the country you’re going.

01:09:29 OP        That’s why we address you. [Laughs] I understand.

         Martins   You ask me about the risk in mining.

         OP        Yes.

         Martins   Which kind of risk you have? The first, is geological.

         OP        Your?

         Martins   Geological.

         OP        Geological.

         Martins   You buy something, you make due diligence, you go all of […]
                   and whatever, you have a lot of companies that make this analysis
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                  on the research, but geology is not 100% right technique, okay?
                  There is always a space for some. So, you buy a tenement,
                  thinking that you have X million tons, when you go through it
                  and start buying it, you discover that you don’t have it, or the--.

        OP        It happened?

        Martins   -or the quality, it start very good on the top and then--.

        OP        And then it’s--.

        Martins   You know that there is a big case in Canada about a gold plated
                  mine. The guy move good gold ore, put in the surface, the guy
                  went there, make, ‘Oh, very good, very’-- bought it, and then they
                  started buying it.

        OP        That’s fraud.

        Martins   Yes, there is a investigation in this. I think it 20 years ago in the-
                  - because you know, Canada is the place for junior companies,
                  okay? The guy went there, leased the company, planning that
                  there was 10 million pounds of gold there and at the end of the
                  day, there was less than 1 million pound. So then there is
                  geological risk. It can be minimized by doing a very good
                  research, okay? You can minimize it, but it will be always there.
                  Always there.

01:11:24 OP       Okay. What other risks?

        Martins   The second risk is marketing risk. Mining, normally, takes three-
                  - if it’s a big mine, up to five years to develop it. And the
                  condition changed […]. But this is-- okay, you can put it in the
                  price, okay? If you had a copper, nickel, too much volatility, you
                  raise your discomforting on your negotiate, okay? So, you can
                  minimize marketing risk.

                  01:12:13 - Another risk, I think I said three: geological,
                  marketing and implementation risk. Implementation risk is your
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                   problem. You say that you’re gonna build in three years, then you
                   take five--.

         OP        Your cost is higher.

         Martins   Yeah, you don’t have the people, you don’t have suppliers. It
                   happens, it happens. And in the implementation risk, one is your
                   expertise and the other one is institution. You’ll have the license
                   but there is pressure from the communities, from the NGOs, and
                   then they delay your project and things like that.

01:12:57 OP        You start losing money.

         Martins   Yeah. So, mining is very risky business.

         OP        But when you succeed, it’s big.

         Martins   No.

         OP        It’s huge.

         Martins   Yeah, it’s--.

         OP        That’s why my investors are so keen to--.

         Martins   Yeah.

         OP        -diversify and to go to mining as well.

         Martins   Yeah. you see--.

         OP        Because energy has a lot of tendencies to change, you know. The
                   gas price is down, the natural--.

01:13:29 Martins   And now you have this--.

         OP        Fluctuations, yes.

         Martins   -climate change uncertainty.

         OP        Exactly.

         Martins   Okay? There’s the new clean energy, so it’s becoming risk
                   because you need energy, okay?
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         OP        Always.

         Martins   Always like that. But today you need clean energy. Not only
                   energy, but you need it clean.

         OP        Yes.

         Martins   And that brings uncertainty to the business, okay? You see what
                   happened in Germany? For me, it’s a good case. They have green,
                   they have power generation, and people moved from coal to
                   nuclear power, and then one day Merkel, because of pressure of
                   NGOs, the green, ‘No more’.

         OP        Wow.

         Martins   ‘No more coal, no more nuclear’.

         OP        Nuclear.

         Martins   And then you take the biggest energy company in Germany,
                   E.ON, okay? They’re suffering, because now everybody is
                   produce energy from the your house, you put those things.

         OP        By the way, for many years they bought-- Germany bought
                   electricity from France.

         Martins   Yeah.

         OP        Because France, a lot of power from--.

         Martins   Because in France, you are allowed.

         OP        Exactly.

01:15:04 Martins   So, energy, it’s becoming risky because of climate change.

         OP        Yes, yes.

         Martins   You build the energy capacity-- even if you don’t have a market
                   today, you’re gonna have it in the future. They don’t care. But
                   today not, because people now want clean energy. So that
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                  increase the risk in the business. In mining also, you have these
                  disasters that they saw in Vale. I was not there, okay?

        OP        Lucky for you.

        Martins   Yeah. In my WhatsApp, my profile, is written ‘Sometimes not to
                  get what you want, it’s lucky’, because--.

        OP        They say, ‘Be careful if you get what you want always.’

        Martins   Yeah. Because I tried a lot to be CEO of Vale.

        OP        Of Vale?

        Martins   Yeah. And I lost politically because the company has political
                  influence, and I lost the position. And I even was-- I retired
                  because of that. I didn’t retire, they retire me, okay? So--.

01:16:18 OP       But it’s usually when a company, where you get to the top and is
                  one--.

        Martins   Yeah.

        OP        -there is only one place, what can you do? I mean--.

        Martins   Yeah. But you know, the problem is, in Brazil don’t have
                  meritocracy. At the end, they make-- they made a political
                  choice. And then I lost, okay? At that time, it was terrible for me,
                  but when I see what happened later, oh, my God. [Laughs]

        OP        What happened?

        Martins   There was two disaster, tailing dams. One tailing dams failure,
                  this is a very important risk in mining, okay? You generate waste,
                  and the best way to dispose all the waste is through tailing dams.

        OP        Through what?

        Martins   Tailing. Tailings?

        OP        Tailings, okay.

        Martins   Dam.
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         OP        Okay.

         Martins   And two tailing dams failed.

         OP        […]? Oh.

01:17:15 Martins   The first one killed 20 people--.

         OP        So, all the waste was--.

         Martins   -and destroyed the environment, and the river and everything.
                   And the second killed 300 people.

         OP        Wow.

         Martins   From the company. From the company because people were
                   working below the tailing dams, and then the tailing dams--.

         OP        Very sad, very sad.

         Martins   It was a big disaster. So, the company is suffering today because
                   of that. And environment is a big risk in mining. Because it
                   depend-- for instance, copper generate a hell of a waste, and if
                   you use water to process, you have to have this […] because there
                   is mud that you send there, the water separate from the waste, and
                   then you take the water out. But sometimes you don’t need water,
                   you do it dry way. It can be done in dry way, depend of the ore
                   you have. But you need to stockpile that anyway, and this is
                   stable after some meters.

                   01:18:24 - If you have communities nearby, they could be
                   affected by it. If you have a good environment also, it’s not the
                   case in Atacama, okay? Atacama is destroyed by the nature and
                   stuff.

         OP        Yes.

01:18:39 Martins   More water, but environment is a big risk in mining. Depend up
                   on the ore or what you are mining and depending up on the
                   mining process that you are using. And these attract NGOs,
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                   attract environmentalists, even governmental agencies that
                   control it.

         OP        Control it.

         Martins   Because normally, in these […]s you have a environmentalist.

         OP        Even in South America? It’s still-- it’s develop?

         Martins   They are trained by European.

         OP        Ah, okay.

         Martins   [Laughs].

         OP        The European’s very-- Europe is very strong, yeah.

         Martins   Yeah. so, those are the risk in mining. Another risk that you
                   needed to look for, this is valid for any business, not only mining
                   - time. Currency. Because you bring hard currency, okay? And
                   you put account with the currency, so the time if very important.
                   Because you can invest less or more, depend of the currency
                   stability. So, to invest in less economical stable countries, is
                   always a question of timing, and--.

         OP        And the currency can--.

         Martins   Yeah.

         OP        -fluctuate and--.

01:20:18 Martins   And you got a good time to invest, do it like way, break […].
                   Because you never know what will happen. Argentina, it’s
                   typical. It’s one of the most instable countries--.

         OP        Countries.

         Martins   -as far as currency is concerned.

         OP        Brazil--.

         Martins   Peru is better, Bolivia is better, Chile is much better, it’s the best.
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        OP        Yeah, Chile is--.

        Martins   -it’s the best country.

        OP        -even though lately there were some riots--.

        Martins   Yeah, yeah, a lot of problems. But the currency is very stable.
                  And the governmental policies are stable, they don’t change it.
                  Even Brazil it’s reasonably stable, because Brazil is a big export,
                  iron ore, soy beans, corn, meat. So, be a big export to this […].

01:21:17 OP       Coffee?

        Martins   Coffee, still the-- but coffee today is nothing.

        OP        I like coffee, so--.

        Martins   [Laughs].

        OP        -to me Brazil is always good coffee.

        Martins   The big-- Brazil is almost the largest exporter of soy bean.

        OP        Soy bean?

        Martins   Almost the same size as United States. Corn, iron ore, also, very
                  big. So that give you the structure stability for your currency.

        OP        Okay.

        Martins   Not that stable, but-- the ore is all that you are investing. That is
                  not jeopardize your currency.

        OP        […] Argentina.

        Martins   Yeah.

01:21:58 OP       How is your steak, by the way?

        Martins   Very good. You have a lot of mining companies in Argentina,
                  finding gold for instance. They are very happy and profitable,
                  because they invest in the right moment, okay? You get the best
                  for your currency, there was no big difference in the investment.
                  Now you are there, you have a good tenement, and that’s another
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                  important issue, mine is a about asset quality, okay? Like in oil,
                  everything.

        OP        But you said you have to count on geologists, and sometimes they
                  can be mistaken.

        Martins   Yeah. but […] you got what they say, most you get what they
                  say, world-class mining. You are done. What is world-class
                  mining? Long life, expandable, high-quality and low cost. If you
                  have this, and to invest in the right moment. Look at BHP
                  Condida […], they had a long-life mining. If they don’t make
                  money this year--.

        OP        Then they make it-- yeah.

        Martins   Yeah.

01:23:33 OP       So, it’s a long-term investment.

        Martins   In the life of the investment, you are gonna recover your money.

        OP        It’s a long-term investment, yeah.

        Martins   But if you go for a not long-life tenement, and you put money,
                  something goes wrong - you’ll never recover the money.
                  Everybody talks about making money in mining, okay? One day,
                  one of-- Brazil have a lot of people with a lot of money, and they
                  see Vale making a lot of money, another company is make a lot
                  of money, and they came to me asking for my advice, and said,
                  ‘Oh, I have my money, I would like to invest, what do you think
                  so?’ and I always tell, ‘Look, I see some people becoming rich in
                  mining, but I saw many more’--.

        OP        Who lost all--.

        Martins   -‘becoming poor in mining’. And it’s true. Because I stand on--.

01:24:30 OP       Why? Because they didn’t calculate the risk properly?
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        Martins   Something went wrong, they wanted a bigger investment, and
                  then you learn that you need to put more money than you
                  forecast.

        OP        And you don’t have it for example.

        Martins   You cannot stop. You keep going, okay? Another issue is, if you
                  develop a good mine, long-life, all of the […] like you said, the
                  majors, you come to buy it. I’ll give you an example in your
                  country. Voisey's Bay.

        OP        The?

        Martins   Voisey's Bay, in Labrador. Very good nickel mine. A tycoon
                  develop it, Robert Friedland, discovered what he did, he sold it
                  to INCO, former INCO, get rid of the risk and put $3 billion in
                  the pocket, okay?

        OP        That’s a good investment.

        Martins   Yeah. and that’s the problem with INCO. The majors, as they are
                  in the mining, they have a cashflow. They are the most likely to
                  develop those tenements, because they don’t need the money
                  from that. They can get money from their cash and put there.
                  They are bet in the […], okay? Some mines are depleting, and
                  they needed to develop new mines. So, big investment in mining
                  is normally made by majors.

                  01:26:01 - Or Oyu Tolgoi, it’s a copper mine in Mongolia. Who
                  is building it? It’s $7 billion investment - Rio Tinto. But even Rio
                  Tinto is suffering, because of political changes in Mongolia.

        OP        Yes.

        Martins   The leader of the process, the new government, ‘Now we want to
                  change everything, blah, blah, blah, sovereign country, sovereign
                  risk’, so, you cannot avoid it. But big mines can support it. Vale
                  put the $1.5 billion in Guinea, and get nothing, okay?
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01:26:38 OP        By the way, I want to get back to the-- there was a big argument
                   in the board for the, for this-- when you said you don’t-- you have
                   to close the nose in order not to smell.

         Martins   Not too much.

         OP        Because-- why? Because it’s very-- it was very important--.

         Martins   Everybody was willing to do it.

         OP        Because it was very important to--.

         Martins   It was very important for the company to do it, so, it went through
                   easily.

         OP        Even though you raised red flags all the way?

         Martins   Clearly. But--.

         OP        For a long time? For how long?

         Martins   During the process. The process took six months.

         OP        Before buying it? Before getting--.

         Martins   Before buying it. When we start, until we buy, it was six months.

         OP        So, all the process you mentioned the red flags and--.

01:27:22 Martins   Yeah. But you know, it was very important, it was the only door
                   open.

         OP        In Africa?

         Martins   In Africa.

         OP        So, you wanted to be in Africa?

         Martins   Yeah. We want to go in this tenement. Unfortunately, you don’t
                   have this in Fifth Avenue. [Laughs]

         OP        I know. [Laughs].

         Martins   They don’t have it in--.
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         OP        In Paris.

         Martins   In Paris, they don’t have it in London.

         OP        And one other thing I was asking—The DD companies that you
                   said they found nothing, did they feel, did they understand that
                   you really want the deal, that’s why they were very mild in the
                   finding, they didn’t go all the way through? Could be?

01:28:04 Martins   I believe it’s because the very nature of the company. Vale is not
                   state-owned, but the government has a lot of participation in it.
                   At the time, the Brazilian president, Lula--.

         OP        Lula. That was in prison?

         Martins   Yeah. He was willing to go to Africa. Brazil has to be close to
                   Africa. So, he supported it. So, all the guys in the board that were
                   from the government, supported him.

         OP        Supported him [Crosstalk]. No, no, I’m talking about the DD
                   companies, the due diligence companies, they were very--
                   because they understood there’s an important deal, they didn’t
                   want to find anything?

         Martins   No, no, they looked for, but they didn’t found.

         OP        Okay.

         Martins   As I told you, they hired very good people.

         OP        I see.

         Martins   And the-- our CFO was a very strong guy and very risk-averse as
                   all the--.

         OP        The CFOs, yes.

         Martins   All the CFOs [Laughs].

         OP        That’s why they are CFOs, yeah.
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01:29:08 Martins   And he was in charge of the due diligence, and he was against the
                   deal.

         OP        He was against the deal?

         Martins   Against the deal. So, he did really--.

         OP        Why?

         Martins   Because he didn’t like Africa, okay? He didn’t like Africa
                   because he thinks Africa it’s too complicated.

         OP        Not because of the partner?

         Martins   No, because Africa is very unstable. So, he put a lot of pressure,
                   they made a very strong due diligence, and found nothing. At the
                   end he gave up. He told me--.

         OP        ‘There’s nothing I can say’. Even though you say--.

         Martins   I didn’t found--.

01:29:42 OP        -you say there’s nothing wrong?

         Martins   Yeah. Everybody knows that there was something wrong.

         OP        Everybody?

         Martins   Everybody.

01:29:48 OP        All the, all the board. Not only you? They understood that
                   something was wrong?

         Martins   Myself, the CEO. But it was so important not to let this buying
                   to get the competition hands, you know--.

         OP        So, you decided to go ahead with the deal--.

         Martins   Not to use—like you get a beautiful girl--.

         OP        I like it.

         Martins   -you bring her to your room, he’s naked, marvelous, and then she
                   says: ‘A little problem, maybe I am with AIDS, okay? [Laughs].
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        OP        [Laughs].

        Martins   It’s a problem.

01:30:35 OP       So, everybody knew there is something wrong in there?

        Martins   Yeah. But in your case, the-- as your people are very aware about
                  it, I don’t think they will run this kind of risk, okay?

        OP        No, but it’s actually the same thing. Everybody understand there
                  was something-- maybe it was achieved on not the right, correct
                  way, but it’s the same thing. They want the deal because it’s-- so
                  it’s the same as the situation you described in Africa.

        Martins   Yeah. I only can tell you by looking.

        OP        Yeah, I understand.

        Martins   Okay?

        OP        I understand you need the details and everything. So, but I just
                  want--.

        Martins   In mining community--.

        OP        I just want to understand that you have an experience in such
                  cases.

        Martins   […] in the mining community, you know everything if you have
                  a good relationship with the geologists. But people that get
                  involved in the beginning are geologists, and they move around
                  from Brazil to Chile, from Chile to Brazil, and they exchange
                  ideas. They know things that sometimes you don’t get it. So you
                  have to dig. You have to dive and dig. Then you get a clear
                  picture, what’s going on. But as I told you, it’s risky business,
                  okay? The rewards are marvellous--.

        OP        That’s what the investors saw, that the rewards can be very good
                  and they want to handle the risks properly.

        Martins   Yeah.
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                   01:32:43 - Another issue is the best tenements besides Africa,
                   they already have owners. The best. World-class, as I say.

01:33:02 OP        No, but sometimes the owners don’t have the money to invest--
                   to operate it and to […]--.

         Martins   Yeah. they wanna-- yeah.

         OP        -exactly. We are talking always of coming after, the second--.

         Martins   Yeah.

         OP        -or after getting the rise, getting the--.

         Martins   In Brazil, we have a lot of copper. But Brazil is not a copper hub.
                   In mining, normally, things does not go alone. If you have
                   something, you have more. And if you have something and you
                   don’t have more - normally it’s not good. So, Chile is good for
                   copper, Peru, Congo.

         OP        It was very unstable.

         Martins   Mongolia. People know exactly, it’s, call it-- nearby volcanos
                   and things like that. So, volcanic countries normally have coal.

         OP        Coal? Copper?

         Martins   Copper. Brazil is not a volcanic country, but they are discovering
                   a lot of copper. Deep, and probably very expensive to produce.

         OP        To explore.

01:34:31 Martins   But good percent--.

         OP        Quality?

         Martins   -good content was too deep. So, always, also this kind of risk,
                   okay? You can have a good mine, but too deep. You have to
                   remove too many things until you get there, and this is money.
                   This is money. There is a nickel mine in Canada, Sudbury, you
                   know. It’s now, I think, 50,000 feet down.
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        OP        Wow, very expensive to get there, huh?

        Martins   Yeah, and there is a lot of nickel, but you need to dig down. As
                  you dig down, it’s more cost to bring up.

        OP        And the digging itself is very expensive as well.

        Martins   Yes. And it’s dangerous, okay?

        OP        I know from energy, from gas, and-- as deep as you go, it’s more
                  expensive--.

        Martins   Yeah.

        OP        -it’s more dangerous, it’s more difficult to handle.

        Martins   So, in mining there is a lot of trade-off that you needed to look.
                  For instance, rule of thumb: oxides are better than sulphides.

        OP        Because […] is more--.

        Martins   It’s easier to take oxygen than to take sulphur, okay? In gold, for
                  instance, all the oxide gold, it probably was already mined. So
                  now you have to go to sulphides, and the cost to take the gold out
                  is very high. So, the deepness, the content. And geology is very
                  important. Who make the geology, you have this net, okay? How
                  many meters you dig from the other. The smaller is the net, more
                  certainty you have. Sometimes people make some drill here and
                  extrapolate for the whole area. It’s risky. Because they believe,
                  geologically, that if you have the here, you have there and there.
                  But it’s--.

01:36:47 OP       Sometimes it’s not.

        Martins   Sometimes there are bodies not that like that, it’s only there. Stop
                  there. You extrapolate and then you go there, you have nothing.

        OP        By the way, it happens in exploring in gas as well. Sometimes
                  you--.

        Martins   Yeah.
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         OP        -you think it’s like one, and it’s not, and it’s-- yeah, nature
                   doesn’t always play by our rules.

         Martins   Yeah. The techniques are evolving, okay? A lot. In mining also,
                   today uses your physics, you see this compact […], how they
                   behave below the earth. You have a lot of, let’s say, eyes, to look
                   at it. But always risky, okay? You know a mine, when you take
                   the ore out. Then you are-- this is, I have it. And you don’t have
                   tenements like […] for instance. […], less money we open there.
                   Their body is 40-kilometres-long, and 10-kilometers-wide.

         OP        Wow!

01:38:01 Martins   40 billion tons of high-quality iron ore. You don’t need to dig,
                   you know it’s there. For the surface, you know.

         OP        Okay.

         Martins   It’s like having a oil field--.

         OP        In […].

         Martins   -like the America in the past, okay? So, but there is not a long,
                   because you know, you have lakes. When you start digging the
                   water table is start going down, and the lake is trying to drain--.

         OP        Right.

         Martins   -to the environmentalists, ‘Come on, you are destroying the lake’,
                   and--.

         OP        Like the big lake in Russia, what is the name? which was dried
                   up.

         Martins   I know.

         OP        Wow, it was huge--.

         Martins   I think it’s Aral Sea. Where they get this […].

         OP        Yes.
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         Martins   The caviar, it’s--.

         OP        Yes, yes, yes. Right. It’s gone almost.

01:39:03 Martins   Yeah. so there is a lot of issues in mining that bring risk, okay?
                   So that’s the reason when you look who are the guys, really,
                   doing well in mine-- because as they have a portfolio, they have
                   a existing cashflow, they can manage risk better than the one that
                   get one tenement and put all his eggs on this, okay? ‘This is the
                   only one I have, this is the only one I want to develop’. Then you
                   need it to be even more risk assessment, to be even better.

         OP        I learned a lot about mining today. Thank you. [Laughs]

         Martins   I hope.

         OP        Really.

         Martins   But a good mine is like gold.

         OP        Yeah, that’s why my investor are so keen to go in the mining--
                   that’s exactly. Because they understand even though all the risk,
                   the gain can be extremely well.

         Martins   Yes. That’s true. They can have 20-30% return on investment
                   easily. And if you get a good marketing moment, because the
                   mine has what they call ‘windfall profits’. Sometimes it’s not
                   because they do well, it’s not because--.

         OP        Because you are there.

         Martins   -you are very good, because you are there. And it’ll make money.
                   Look, an iron ore in China. In the year 2000, China was
                   consuming something like 150 million tons of iron ore, 100
                   million from themselves. Local production. 50 million buy in the
                   seaborne market. Today they are buying in the seaborne market.
                   it’s 2000-- 20 years later, they are buying 1.2 billion tons.

         OP        Wow.
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01:41:20 Martins   The iron ore price moved from $10 to 100, 150, 200.

         OP        Almost like gold, huh?

         Martins   Better than gold. We say that’s better than coke. Cocaine, okay?
                   Because you have-- you’re not going to prison, you are not doing
                   anything wrong, you give jobs, you pay taxes, and you make a
                   hell of--.

         OP        Yeah. Did you have enough?

         Martins   It’s okay for me.

         OP        Yeah, me too. It’s a huge steak, huh?

         Martins   Very good steak. Thank you for the invitation.

         OP        You’re welcome, my pleasure. You are a person who knows your
                   good meat, so we have to bring you to--.

         Martins   I can’t count how many meat I have in my life.

         OP        [Laughs] I always love meat.

         Martins   Different food, and also different--.

         OP        It’s very difficult now, my wife became vegetarian.

         Martins   [Laughs].

         OP        Now it’s a problem.

         Martins   Yeah.

         OP        My wife and my daughter, became--.

         Martins   Ugh, how old is?

         OP        25.

         Martins   25?

         OP        She decide to become vegetarian.
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         Martins   I’m in my second marriage, okay? I have three from the first
                   marriage.

         OP        How old?

         Martins   The young is 40.

         OP        40, youngest, okay.

         Martins   And I have 8 grandchildren.

         OP        Wow! I don’t have still grandchildren.

         Martins   I have 8 grandchildren.

         OP        It’s very nice, huh?

         Martins   So, in the second marriage I had one daughter. She’s now 9-
                   years-old.

         OP        Ah, so young.

         Martins   Is the reason of my life.

         OP        The light of your life, huh?

         Martins   My god, it’s--.

         OP        And how old are the grandchildren?

01:43:18 Martins   Almost the same age.

         OP        Exactly. So it’s like she is a grandchild or--.

         Martins   Yeah, and she is the uncle of them. [Laughs]

         OP        Nice!

         Martins   And the sister of my old son, and he is now uncle of […] years. I
                   have 4 men and 4 women.

         OP        Wow. You did it--.

         Martins   Yeah, and one was triple. Triplet, three.

         OP        You know I have only two daughters, first marriage.
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         Martins   [Laughs] but it’s good. For me it was very good. I think I renew.
                   Separation is not easy.

         OP        Yeah. I have a lot of friends that did, so--.

         Martins   My first wife, I lived with her 30 years. And we have a very good
                   life. But love is over, and we became friends, okay? And--.

01:44:32 OP        So you decided to--.

         Martins   It happened, okay? Because I was working outside, my wife was
                   not willing to follow me, he developed her things, and so I get
                   alone in the world. The world is very dangerous. [Laughs]

         OP        [Laughs] good, danger, good danger.

         Martins   Dangerous, yeah. but I found a very good girl, and it was a very
                   tough decision. But I let her very well, financially. And--.

         Waiter    […] good? That’s it?

         Martins   Yeah, yeah.

         OP        Yes, I think--.

         Martins   It’s okay for us.

         OP        It’s very good, but very big, yeah?

         Waiter    Like ‘boom’.

         OP        Yeah.

         Waiter    It’s bonus […]. If […].

01:45:32 Martins   Well, this […] was really good.

         OP        So you know London? Have you been to London a lot?

         Martins   London? I have been in London last week.

         OP        Ah, really? For business?

         Martins   Business. I went for vacation in Portugal.
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        OP        Oh.

        Martins   Lisbon, okay?

        OP        Where in Portugal?

        Martins   Lisbon.

        OP        Lisbon, okay.

        Martins   And I was in Lisbon--.

        OP        I […] in Portugal, I love Porto in northern Lisbon.

        Martins   Yeah, Porto is better.

        OP        Ah, it’s beautiful. Yeah.

        Martins   Yeah, yeah.

        OP        Wow, it’s amazing.

        Martins   But I was in Lisbon, okay? Because I was ready to buy a house
                  there, so I was looking around and I decide to buy something--.

01:46:22 OP       But I think the prices are still reasonable in--.

        Martins   Yeah.

        OP        Compared to Europe.

        Martins   Yeah, I bought a rather good house. I did it to invest some money,
                  but €1 million.

        OP        In Lisbon?

        Martins   In Lisbon, Estoril. Close to Lisbon, okay? It’s 20 kilometres.
                  And--.

        OP        A house, an apartment?

        Martins   It’s a house. Sea-front--.

        OP        Wow.

        Martins   -forever.
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         OP        Amazing.

         Martins   €1 million, I needed maybe put 200 additional euros there to
                   improve it. But you know, Portugal, we speak the same language,
                   the food is fantastic--.

         OP        Amazing, yeah.

         Martins   -similar with ours, but the wine is good, I can’t tell you,
                   Portuguese wine--.

         OP        Very nice people by the way, the Portuguese.

         Martins   People very friendly.

         OP        Yes.

         Martins   We speak the same language. It’s a lot of things that are
                   convenient. And I’m think about my daughter, when reach the
                   age to go to high school or university--.

         OP        So you want to move to Portugal?

01:47:28 Martins   I prefer to be in Europe, okay? Portugal, Italy, whatever. I have a
                   European passport.

         OP        Ah, you have?

         Martins   Yeah, my wife also. My daughter also. So, things are easy. And
                   not like, expensive country, okay?

         OP        No, not expensive. Portugal I think it’s the least expensive in
                   Europe.

         Martins   Yeah, it’s the least expensive in Europe--.

         OP        Portugal and Greece, the least expensive countries.

         Martins   And it’s less expensive than Brazil.

         OP        Really?
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         Martins   Brazil is becoming very expensive. But anyway, I was there in
                   vacation. And then a guy phone me, ‘I need your help in China.
                   One week’.

         OP        So you took out on--.

         Martins   So I told my wife, ‘You stay with the daughter, keep around her’,
                   we have friends there, no problem, ‘I go to China’. And I went to
                   China, stay one week in China in the verge of the outbreak. The
                   problem was there, but we talked about, but they didn’t decide
                   yet to close the city. And I think it was a big mistake, because if
                   they had closed one week before, the contamination outside
                   would be much lower.

         OP        It was, it was-- yeah.

01:48:46 Martins   Because you see, today, it’s going out […].

         OP        Yes.

         Martins   And you look, when they closed the border--.

         OP        It stopped.

         Martins   -you counted two weeks, and then you see the number of new
                   infected increasing sharply. So, if they had decide one week
                   before-- but I can understand it was difficult, because it’s China.

         OP        No, it’s not easy to close.

         Martins   You have near 500 million people living outside their place, they
                   go out to work, and they waited for this holidays. Every year to
                   come back--.

         OP        Yeah, the Chinese--.

         Martins   -yeah.

         OP        -New Year, yeah.

         Martins   Everybody comes back to their villages. So, for the guys there
                   was a tough decision. Because if they decided to close it, people-
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                   - you create a mess, okay? So, let’s see the problem blow, and
                   then you do it. Because there will be compelling reason. If I try
                   to do it preventively, people will not understand and there will be
                   riots and everything. Imagine here, on Western.

         OP        No, yeah.

01:50:01 Martins   Processes that nobody can-- oh my god. You can’t do it.

         OP        Lucky China is not a democracy, because in democracy you
                   cannot-- it’s impossible. Think about Europe to close-- how can
                   you close people? It’s impossible.

         Martins   No way, no way.

         OP        No way, exactly.

         Martins   But I had a lot of exposure to China, with a lot of people. I know
                   China from north, south, west, east. I know China more than I
                   know my country. And some friends told me that in the past,
                   when they were close the country, always have this kind of
                   problem. But as China people came out to move freely, when you
                   have a problem in one province--.

         OP        You can close it and--.

         Martins   -let’s contain it there. You don’t need even to close, because there
                   was no roads, no railway, no airport, no-- it’s very difficult for
                   people to move.

         OP        Yeah.

01:51:06 Martins   No cars. So people was contained by the-- in China, you need a
                   passport to move internally.

         OP        I know, I know.

         Martins   It’s-- Hong Kong. So--.

         OP        But for Chinese people to go to Hong Kong you need a visa, even
                   though--.
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         Martins   My friend told me, ‘Always we had this kind of problem here,
                   but never spread because it was contained’. It was very
                   interesting. He told me ‘Look, I don’t why you westerns are so
                   afraid to die. We are not. Everybody is dying, people in this
                   country for different reasons’. And he told me, ‘One day I was
                   visiting my uncle, and he has in the yard some chicken that was
                   used to raise, and there was a disease like that, and all the chicken
                   died. We made it and we eat it’.

         OP        Wow. After they die from disease?

01:52:05 Martins   Yeah.

         Waiter    […] is finished? It’s gonna be a problem.
         1

         Waiter    I’ll take over, okay?
         2

         OP        Why, you don’t like us?

         Martins   Yeah, no, he […] two seconds ago.

         Waiter    He has to go.
         2

         Martins   Going to sleep.

         Waiter    I love you.
         1

01:52:23 Martins   And then he told me, ‘Look, we have also the antidote. For many
                   diseases, we developed the antidote. Because people in China, you
                   eat everything--.
         OP        Yes.

         Martins   -because of there was not enough food, so--.

         OP        They eat everything, they--.

         Martins   -the chicken died, and they eat. [Laughs]
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        OP        Wow.

        Martins   And now there is a lot of pigs died there.

        OP        Pigs?

        Martins   Yeah, yeah.

        OP        In China?

        Martins   Kind of a swine fever. There is a big-- pork is the main meat in
                  China, pork.

        OP        I know. Chicken as well, but pork--.

        Martins   But pork is more. And with this swine fever, a lot of porks, a lot
                  of pigs died, and they had to import. And they had to kill the pigs,
                  and then they killed the pigs and threw it in Yangtze river. So
                  there was a problem: the Yangtze river was like a Ganges river,
                  okay? A lot of died corpses, it was a big problem. China, you
                  don’t have a small problem.

01:53:46 OP       Yeah, everything is big.

        Martins   Big. There is no way that something is going […], no way.

        OP        Would you like a dessert or something? Coffee?

        Martins   It’s okay. You want a dessert?

        OP        No, it’s not for me.

        Martins   If you want, I will follow you.

        OP        Okay. Let’s eat.

        Martins   If you want.

        OP        I don’t want-- let’s say I don’t need, but I like.

        Martins   Also.

        OP        [Laughs].

        Martins   Also. [Laughs] I went to Portugal. They have so nice sweets.
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         OP        Sweets?

         Martins   I got 6 kilos.

         OP        Did you have this, what’s the name? the custard cakes--.

         Martins   Yeah.

         OP        -which I like very much, the-- what’s the name of it? They have
                   a special name. you know, this custard little cake? Yeah.

         Martins   Yeah, but they got so different-- but they are tremendously good.

         OP        Yes.

01:54:44 Martins   And there is a specific one, they call it kind of a ‘bacon of the
                   heaven’.

         OP        Oh.

         Martins   ‘Bacon of the heaven’. It’s sweet, it’s not like--.

         OP        How do you say in Portuguese?

         Martins   Toucinho Do Céu.

         OP        Okay.

         Martins   Toucinho is the bacon meat, okay? And céu is heaven.

         OP        Heaven?

         Martins   So good. It’s so good. It’s made from eggs, coconut, and some
                   flour. Flour. But anyway, I got 6 kilos and […], even I spend one
                   week in China, where food is not so-- no sweets, okay?

         OP        No sweets, no. they don’t eat sweets.

         Martins   But I love dumplings.

         OP        Dumplings?

         Martins   Ah. In Singapore you can eat good dumplings.
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01:55:58 OP        Singapore, you can eat good food. Everything is good. But
                   everything is clean. You know, each of the stores--.

         Martins   Yeah, yeah, yeah.

         OP        -in the street has been checked by the government to see that it’s
                   okay. You can eat in the street, you can eat everywhere. What do
                   you have for dessert?

         Waiter    Dessert menu?

         OP        Yeah.

         Waiter    […].

         Martins   How you’re called? Alex? Alexander? Miller?

         OP        Alex. Alex.

         Martins   Alex, Alex.

         Waiter    Dessert menu, sir.

         OP        Thank you.

01:56:41 Martins   Here, I suggest New York cheesecake. [Laughs]

         OP        Wow, that’s really--.

         Martins   Crème brûlée.

         OP        Huh?

         Martins   Crème brûlée.

         OP        Crème brûlée I love.

         Martins   [Laughs]

         OP        I think I’ll go for crème brûlée.

         Martins   I will go also.

         OP        […].

         Martins   That’s the best.
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        OP        Very French.

        Martins   It’s one of the best of French cuisine.

        OP        Yes. There are two dessert that I cannot resist: one is crème
                  brûlée, if it’s done properly, and one is tarte tatin, you know?

        Martins   Uh-huh.

        OP        The apple upside-down.

        Martins   Yeah.

01:57:24 OP       Wow, I love it. I love it. When you do it correctly, wow.

        Martins   Calvados also good.

        OP        Which one?

        Martins   Calvados. Calvados.

        OP        But that is a drink.

        Martins   Yeah.

        OP        Yeah, that’s from Normandy, yeah.

        Martins   But a sweet, sweet drink.

        OP        Yeah.

        Waiter    Any dessert for you?

        OP        Two crème brûlée, please.

        Waiter    Very good.

        OP        That’s from Normandy.

        Martins   Yeah.

        OP        The apples in-- yeah, I love Calvados as well, very good.

        Martins   Vale also used to be Brussels.

        OP        Sorry? Brussels?
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        Martins   Vale had a office in--.

        OP        […] just to know that Brussels has a very good food.

        Martins   Yeah, yeah, the best.

01:58:03 OP       Yeah. one of the best in Europe, you know.

        Martins   Yeah.

        OP        Excellent restaurants.

        Martins   Seafood, marvellous.

        OP        Moule.

        Martins   Moule.

        OP        Moule frite, it’s the most famous food of Belgium, yeah.

        Martins   And good beer also.

        OP        500 types.

        Martins   Yeah. [Laughs]

        OP        No, really.

        Martins   Yeah, yeah.

        OP        I’d like to meet tomorrow as well, we’ll discuss--.

        Martins   Yeah.

        OP        -for one hour, and after that I’ll leave you to go in New York--.

        Martins   Okay.

        OP        -a little bit. Enjoy New York.

        Martins   Today I walked a lot.

        OP        New York, that’s the way to do. You walk it.

        Martins   Yeah, buy a lot of things. But you know, my wife send me a list.

        OP        Of course. And your daughter?
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         Martins   Also.

         OP        Sure.

         Martins   But for us it’s easy to go to Toronto also, okay? And the question,
                   I didn’t have-- my visa was expired, it takes one or two days to
                   get a new one--.

         OP        To--.

         Martins   -to Toronto. We have a direct flight, Sao Paolo Toronto.

         OP        But to New York it’s also easy?

         Martins   No, easy. No, I would only tell you that--.

         OP        What kind of European passport do you have?

         Martins   Portuguese.

         OP        Portuguese passport.

01:59:20 Martins   But I think European passport, I can go in Canada, okay?
                   European, without visa.

         OP        No visa, yes.

         Martins   But from Brazil we need visa. I was used to have it, because Vale
                   had--.

         OP        To the States?

         Martins   No, to Canada.

         OP        Oh, to Canada.

         Martins   Brazil to Canada.

         OP        Brazilian.

         Martins   Yeah. and Vale had a big operation, okay? I always flew from
                   Sao Paolo--.

         OP        Toronto.
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        Martins   -to Toronto directly. And, but my-- I look, my visa was--.

        OP        Expired.

        Martins   -gone. I needed to--.

        OP        Renew it?

        Martins   -because there will be a big-- in March, there will be a Brazilian-
                  Canada mining seminar.

        OP        Oh, in Toronto?

        Martins   In Toronto. And I intend to go. Because I see all the people, I’m
                  in the business--.

        OP        Networking, networking, networking.

        Martins   Yeah. I was in the business.

        OP        It’s very important. It’s very important.

        Martins   Yeah, very important. So, South Africa, Australia, Canada,
                  Brazil - they are mining hubs. If you are in mining, you have to
                  look at those countries, okay?

02:00:38 OP       So you visit South Africa as well?

        Martins   Yes. And also London, because all big mining company have
                  their office in London.

        OP        When I was young, I live for 2 years in South Africa.

        Martins   South Africa?

        OP        Yes.

        Martins   South Africa is-- you go to South Africa. You look around, and
                  you think that next month there will be a revolution here, I mean-
                  -.

        OP        No, but when I lived there it was complete-- it was a kind of
                  apartheid with the--.
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         Martins   Yeah, during the apartheid.

         OP        Totally different.

         Martins   But today-- but you know, I’m going to Africa one or every two
                   years, and-- since 2004, always thought that something would
                   happen. You go to the best neighbourhood, and you see all the
                   houses with these fences, okay? Electrified fences, […]--.

         OP        Cameras.

         Martins   -and things like-- you look at those black people without work,
                   in the street.

         OP        No, the level of violence in South Africa is a problem. It’s not
                   safe, it’s not safe.

         Martins   And there is black empowerment also.

         OP        Yes.

         Martins   It was a crime, because--.

02:01:55 OP        I didn’t go since the black, so I was there before what--.

         Martins   You know, in mining, they have what they call ‘black in power’.
                   so to develop of mining in South Africa, you needed to give 10
                   or 20%--.

         OP        It’s not only in mining, it’s all company-- I still have a friend that
                   has a company there--.

         Martins   Uh-huh.

         OP        -and he had to put people, black people in the company, and to
                   give them 50% of the company, even though they never work for
                   it or--.

02:02:27 Martins   And it became a gift for the African elite.

         OP        Yes, yes. If you have connection, you get companies like that--.

         Martins   Yeah.
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         OP        -yeah, yeah.

         Martins   But the normal people, they didn’t get any benefit from it. It’s
                   disgusting, to say the least.

         OP        Yeah.

         Martins   Disgusting.

         OP        Yeah, it is.

         Martins   Because--.

         OP        Even though apartheid wasn’t my cup of tea, of course, but at that
                   time South Africa was very organized country.

         Martins   Yeah.

         OP        You can go everywhere, there is no problem, the police was very
                   strong. I remember I was young, so we went to clubs in
                   Johannesburg in the middle of the night, which today you’re not-
                   - you never do.

         Martins   Yeah. Cape Town was beautiful city.

         OP        Yes.

         Martins   Now it’s surrounded by--.

         OP        Like tall […].

         Martins   -so it’s a kind of a bomb waiting for explosion.

         OP        To explode, yeah.

02:03:26 Martins   But anyway, I saw it for more than 10 years. One thing that-- I
                   think it was the first time I was in South Africa, and I read the
                   newspaper, I didn’t see it, but a guy was hit by a car in the road.
                   He was trying to cross and he was hit. And the neighbourhood
                   was complicated, because of gunmen and so, bandits, and
                   whatever. So, nobody stopped, and the guy, trucks, cars go over
                   him. In the end he was kind of--.
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         OP        Flat.

         Martins   -flat.

         OP        Oh.

         Martins   I saw in the newspaper, I saw the pictures. It’s-- look, I’m not
                   coming from a country that has--.

         OP        Yes.

         Martins   -good standards, okay? We have a lot of problems also, but even
                   for us, looking that, how they can treat people like that? And you
                   know, big part of the people that went over him, they were blacks.

         OP        Blacks, yeah.

02:04:54 Martins   But the one thing is for sure: South America is much better than
                   Africa. In every point that you discuss.

         OP        By the way, have you been to this mine in Guinea? Did you visit
                   it?

         Martins   Yeah.

         OP        Ah, you went there?

         Martins   Several times. Guinea, Liberia, Sierra Leone.

         OP        At the mine that was in dispute with--.

         Martins   Yeah. But even for other mines, okay? Sierra Leone, Liberia,
                   Guinea, Mozambique, Angola.

         OP        So, you went all, to see?

02:05:23 Martins   Yeah. in Angola we developed a coal mine. I have been there
                   many, many times. It’s tough environment.

         OP        But Angola was also Portuguese.

         Martins   Yeah.

         OP        You still got--.
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         Martins   Angola and Mozambique.

         OP        And Mozambique, yeah.

         Martins   Guinea Bissau also.

         OP        Portuguese as well.

         Martins   Yeah, Guinea Bissau. You have three Guinea: Guinea Bissau,
                   Guinea Conakry, and Guinea Equatorial. Three. And also you
                   have New Guinea. In the end of the world. Near the French, New
                   Caledonia.

         OP        Yeah.

02:06:10 Martins   We had a mine there, nickel mine, in New Caledonia.

         OP        As well?

         Martins   Also tough environment. Indigenous people.

         OP        I haven’t been there.

         Martins   Beautiful country.

         OP        Yeah?

         Martins   French speaking.

         OP        So, shall we meet tomorrow 10:30 it’s okay? The Four Season,
                   Four Season Hotel.

         Martins   Four Season.

         OP        Yeah, 57th Street.

         Martins   I know.

         OP        And after that, I let you go shopping.

         Martins   [Laughs].

         OP        Spending money.

         Martins   Yeah. from New York to Toronto it’s two hours flight.
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         OP        Yeah. so, you’re going to Toronto now? No, you’re going back.

02:07:32 Martins   Good, huh? Very good.

         OP        Very good, yeah.

                   02:08:04 - So, how is the weather in Brazil now, it’s hot?

         Martins   We are in the summer season, but this summer season very rainy.
                   It’s rainy a lot.

         OP        So it’s makes a bit cooler.

         Martins   Yeah. have you been in Brazil before?

         OP        No.

         Martins   No?

         OP        Not yet. I’ve been to Argentina and Chile, but not in Brazil.

         Martins   Chile is a very good environment for a miner. Although, now this
                   environmentalist are very, tough there.

         OP        I was surprised how Santiago is so European. It’s a nature-- it’s
                   like Europe. Very organized, very--.

         Martins   Yeah. I remember once I was in Santiago de Chile for a seminar,
                   in the steel industry. And I was invited for a dinner. Very rich
                   family in Chile. I got to his-- to their house, start to drink and
                   talking, because the Portuguese and Spanish it’s very close, we
                   can speak normally and we understand each other.

02:10:01 OP        Even though they speak Spanish, no?

         Martins   Yeah, they speak Spanish. So, we start talking Spanish,
                   Portuguese, what they call ‘Portuñol’, which is a mix of both.
                   And then we went to the table to eat, and my friend’s family was
                   there. Wife, daughter, son. We were something like six people.
                   His family and two of us. When we sit, they start speak French.

         OP        French?
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        Martins   The whole-- because French was the language for rich people.

        OP        In Chile? Really?

        Martins   In Chile, at that time, in ’70 something. When you sit in the table
                  to eat, you start speaking French.

        OP        Speak French.

        Martins   [Laughs].

02:11:00 OP       Well, one of the most surprises experience I had, I took a flight
                  from Chile, from Santiago, to Italy, and the plane was crossing
                  the Andes, you know? Wow, amazing. It was at the daytime--.

        Martins   Yeah, clear.

        OP        -I was like, sitting near the window, I was--.

        Martins   Yeah.

        OP        Wow. Amazing.

        Martins   From Brazil to Chile we cross the Aconcagua.

        OP        Also mountains?

        Martins   Yeah, Aconcagua, it’s the biggest mountain in Andes.

        OP        Oh, in the Andes.

        Martins   You cross very close to the top.

        OP        Yeah, the plane was very close. It wasn’t very high above. I was
                  flying, with mountains on the side.

        Martins   Yeah.

        OP        By the way, the story about this Chilean team that was--.

        Martins   Yeah. very famous.

        OP        -[…] and they ate--.

        Martins   They ate each other.
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         OP        Yes. Not each other, they died 8 people, yeah.

         Martins   But I think they were Argentinians.

         OP        Chileans.

         Martins   Chileans?

         OP        It was a football team or rugby team from one of the--.

         Martins   It’s that rugby.

         OP        Rugby, yeah. that was most Chileans.

02:12:13 Martins   Yes. ‘The Survivors of Andes’.

         OP        Yes.

         Martins   The name of the book. Terrible.

         OP        It’s amazing how they survive, huh? In the middle of nowhere,
                   in the cold, in--.

         Martins   One guy was able to walk all the way--.

         OP        And call for help.

         Martins   -and call for help.

         OP        You want them to ask for a taxi for you?

         Martins   Yes, I will-- are you with taxi?

         OP        No, I’ll walk a little bit, I need to walk after the--.

         Martins   Where is your hotel?

         OP        Near the Central Park.

         Martins   I can-- I walk with you.

         OP        Sure. No, you don’t have to.

02:13:08 Martins   No, I’ll walk-- it’s good to walk after this--.

         OP        I know, I know, I know. But your hotel is which street?
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        Martins   44.

        OP        Oh, so we go 5th Avenue, until 44. You go to your hotel, I’ll
                  continue to--.

        Martins   Yeah, that’s it.

        OP        It’s a deal.

        Martins   Deal done.

        OP        Deal done, okay, good. Excellent.

        Martins   No, it’s good to walk after.

        OP        Yeah, yeah. and I have to smoke my only cigarette a day. I
                  smoke--.

        Martins   I don’t smoke.

        OP        -I smoke once a day.

        Martins   Yeah?

        OP        In the evening, after dinner.

        Martins   [laughs].

        OP        But now it’s the time.

        Martins   Good. I don’t smoke.

        OP        No, I can manage one cigarette a day and that’s it.

        Martins   That’s good. Your company, how long is in the business?

        OP        Now, we’re already from 2011.

        Martins   9 years.

        OP        And we are three partners in the company. I’ll go make the-- I’ll
                  pay the bill for us.

        Martins   You don’t accept the Brazilian way.

        OP        No.
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         Martins   [laughs].

         OP        I told you, but that was the deal before, huh? Right?

         Martins   Right.

02:15:57 Waiter    Need some […]?

         OP        Yeah, it’s okay, thank you, I’ll just take the--.

02:16:23 Martins   I do not […].

         OP        Sorry?

         Martins   It can be 99, or 66?

         OP        99.

         Martins   Yeah, […].

         OP        Oh, it’s like this.

         Martins   44, 66, I think. […], yeah? it was from […].

         OP        Yeah, […].

         Martins   […].

02:17:17 OP        Yeah, I missed […].

         Martins   […] but from here, the […] was very big […].

         OP        Yes, […].

         Martins   […] experience in […], it’s […] also […].

         OP        Yeah, it’s come down. […]

02:18:29 Martins   Thank you very much.

         OP        You’re welcome, you’re welcome. My pleasure. I really enjoyed
                   our conversation.

         Martins   Thank you, thank you very much, thank you very much. It was a
                   good start.
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        OP        It’s a good start, exactly. You know, in my […] as well, they […]
                  prefer […].

        Martins   Yes.

        OP        I prefer to speak to the people, to look in their eyes. It’s […].

        Martins   Yeah, to catch their emotion.

        OP        Yeah.

        Waiter    Thank you so very much.
        1

        OP        Thank you.

        Waiter    See you again in the future, you had a good time?
        1

        OP        Yeah. absolutely.

        Waiter    For a start, […] invitation?
        1

        OP        […] I had […].

        Waiter    Let me-- you live-- you work in the city or […]? […] you wanna
        1         make […], we’re on […] in New York.

        OP        Okay.

        Waiter    And we-- you have a lot of corporate places to do presentation,
        1         meetings, […] on the second floor. 5 private rooms. Anything I
                  can do for your […], families, and business associates, send me
                  an email, I’ll--.

        Waiter    It’s personally for your […].
        2

        OP        Oh, alright, thank you.

        Waiter    Can I have one of your cards? You guys […]?
        1
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02:19:32 OP        I don’t have the card.

         Waiter    Next time you’re around, let me know, okay?
         1

         OP        Yeah, okay.

         Waiter    So nice meeting you, thank you.

         OP        Thank you.

         Waiter    My pleasure.

         OP        […].

         Waiter    ‘Till the next time, […].

         Martins   Thank you very much. Mine is really […]. I think we needed to
                   give him […]. […] a little bit, oh. Thank you very much.

02:20:45 OP        You […] that?

         Martins   Yeah.

         OP        Good.

         Martins   Really good.

         OP        Yes.

         Martins   It’s a lot to […].

         OP        Yes, yes.

         Martins   […] find my way to the […], but […].

         OP        But Toronto is nice. You can go on the ground--.

         Martins   Yeah.

         OP        -from place to place.

         Martins   Yeah. And everybody […] on the ground.

         OP        Yes.

02:21:37 Martins   And they are […], there is some […].
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         OP        But also the […]. I […] wanted to […]. It’s very hot.

         Martins   […].

         OP        […].

         Martins   They are not so cold, huh?

         OP        No, not so cold. Because they […].

         Martins   […] this environment. There is a lot of mining […].

         OP        Oh.

02:22:24 Martins   They-- you […] there often?

         OP        Yeah.

         Martins   Because they […] mining […].

         OP        You […]?

         Martins   No, […] the most important […].

         OP        I hope there is no problem […].

         Martins   No. it’s complicated, the […]. They have mining […].

         OP        Oh.

         Martins   […] don’t know […].

         OP        […].

         Martins   Very good. They never-- the mining is […].

02:23:14 OP        Wow. Mine in the […]?

         Martins   It’s, they have […]. You know […]?

         OP        What? Yeah, yeah.

         Martins   One more […]. They have a […], and they perfect it. There is
                   […].

         OP        They […], yeah.
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         Martins   And they have […] protected […].

         OP        Yeah.

         Martins   […] from, they only have it there. So, you should have it
                   protected. And they are in the mining […]. We are looking to
                   […] where […].

         OP        Oh, […].

02:24:18 Martins   But you know--.

         OP        Maybe we should take a taxi […].

         Martins   […].

         OP        Yeah. take a taxi, I’ll […].

         Martins   Oh, no problem. Don’t worry. […]. You want to take a taxi into
                   […]? It’s no problem.

         OP        I wanted to walk […] because the […]--.

         Martins   Was before.

         OP        -it was before, and then I take a […]. Sure you don’t want a taxi?

         Martins   I’m taking my-- […] my […].

         OP        Yeah, take it, take it. […].

         Martins   Taxi is […].

02:25:18 OP        I’m taking […].

         Martins   In one […].

         OP        No, no. […].

         Martins   Yes. This is […].

         OP        Here’s a taxi.

         Martins   Yeah.

         OP        I’ll take the one afterwards.
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        Martins   I’ll take the […].

        OP        Okay, see you tomorrow […]--.

        Martins   See you tomorrow at 11:00 in Four Seasons.

        OP        10:30.

        Martins   10:30, okay.

        OP        Is it a good […]? 10:30?

        Martins   10:30, yeah.

02:26:04 OP       10:30 is okay?

        Martins   Okay. 10:30, okay.

        OP        Okay, thank you, with pleasure.

        Martins   Bye-bye. Good to […].

        OP        Hello. To Times Square, Novotel. Novotel, Times Square, 52nd
                  Street.

        Driver    Times Square?

        OP        Times Square, yes. But Novotel. 52nd and 7-- and Broadway.

        Driver    Broadway. […].

        OP        Yes, please.

        Driver    […] hotel?

        OP        Sorry?

        Driver    […] hotel?

        OP        Sorry?

        Driver    […].

        OP        Never mind, it’s okay there. 52nd and Broadway.

        Driver    52nd?
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        OP       And Broadway.

        Driver   52nd and Broadway, […].
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  Full Transcript of
Second Meeting with
 Jose Carlos Martins
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Meeting – February 13, 2020

Name of recording: recording-20200213-101159

Duration of recording: 02:04:28

  Time       Side                                   Transcript
  stamp

 00:00:00 OP          [Indistinct chatter]

                      00:01:50 - Good morning. […] coffee?

           Waiter     […] I’ll be right--.

           OP         Sorry?

           Waiter     I’ll be right back. […] would you like […]?

           OP         Yeah. good idea.

           Waiter     How’s your morning going sir?

           OP         Good. Slow, but good.

           Waiter     Okay. Here […].

 00:02:23 OP          Is this okay here?

           Waiter     Of course. And […]. May I just have your last name?

           OP         Sorry?

           Waiter     Your last name?

           OP         Miller.

           Waiter     Thank you. Is it M-i-l-l--.

           OP         Double L, e-r.

           Waiter     This is for your […]. Okay.

 00:04:22 Waitress Good morning, sir. How are you?

           OP         Can I have still water? I’m waiting for somebody.
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         Waitress Absolutely.

         OP        Thank you.

00:05:45 Waitress Thank you, sir.

         OP        Thank you.

         Waitress Any time.

                   00:18:02 - Oh, good morning.

         OP        Hello. [Laughs] good morning.

00:18:11 Martins   I decided to come walking.

         OP        Sorry?

         Martins   I decided to come walking.

         OP        Ah, it’s a bit wet, huh?

         Martins   No, no, it’s further than I […].

         OP        Yeah, the wine.

         Martins   The wine, and the walking, and the rain.

         Waitress Nice to see you.

         Martins   Thank you.

         OP        Thanks.

         Waitress I’ll bring you the […].

         OP        Okay, thanks.

         Martins   Wow, good walk. Half an hour.

         OP        Half an hour? Wow, so now you can eat something.

         Martins   Yeah, that would be good. [Laughs]

         OP        [Laughs].

         Martins   To recover a little bit.
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         OP        Yeah, exactly. The calories.

         Martins   And you?

         OP        Fine.

         Martins   You good?

         OP        Yeah, yeah. not--.

         Martins   You’re gonna leave today?

         OP        Huh? No, tomorrow.

         Martins   Tomorrow?

         OP        Yeah.

         Martins   So you’re another day here.

         OP        Yeah.

         Waitress Take your time, when you’re ready, I’ll be here.

         OP        Do you want to order something?

         Waitress How about some coffee? Cappuccino?

         OP        I--.

         Martins   Cappuccino for me--.

         OP        Yes, me too.

         Martins   -and orange juice.

         Waitress Sure.

         OP        Two, please.

         Waitress Cappuccino for you, orange juice.

         OP        Yes, yes.

00:19:51 Waitress Thank you. Two cappuccino.

         OP        Well? I think I’ll have this avocado toast and poached eggs.
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        Waitress Avocado and toast?

        OP        Yes.

        Martins   I want yogurt and granola.

        Waitress Umm-hmm.

        Martins   And this Park Avenue breakfast.

        Waitress Two egg in […], which you like your egg?

        Martins   Yeah, well done.

        Waitress Well-hard?

        Martins   Yes.

        Waitress Well-hard, bacon and whole wheat toast?

        Martins   Yes.

        Waitress And started with the Greek yogurt with berries and granola, and
                  the Park Avenue.

        Martins   Yes.

        Waitress Two egg, over-hard, bacon--.

        Martins   Yes.

        Waitress -and whole wheat toast, avocado and toast for you. Thank you.

00:21:12 OP       I like avocado.

        Martins   Yeah, avocado is good.

        OP        Yes, they say it’s very healthy.

        Martins   Brazil has a lot of avocado.

        OP        Yeah, I think Mexico has the most, no?

        Martins   Yeah. it came from Mexico.

        OP        Yes. Guacamole--.
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        Martins   It’s guacamole.

        OP        Yes.

        Martins   And the name is from, the name is aguacate.

        OP        From Spanish?

        Martins   Spanish and Portuguese.

        OP        I love it.

        Martins   But it’s in the Indian, it came from this, or Inca or-- no, not Inca,
                  it’s the Maya or--.

        OP        Maya.

        Martins   -Aztec, but I don’t know exactly.

        OP        I know the Mexican use it a lot--.

        Martins   Yeah.

        OP        -in the food.

        Martins   Yeah.

        OP        It’s very good, I love it.

        Martins   Yeah.

        OP        I love it. I know it’s a bit fattening, but they say it’s very--.

        Martins   It’s really fat.

        OP        -but they say it’s very healthy for you.

        Martins   Oh, yes.

        OP        So, did you sleep well?

        Martins   Very well.

        OP        Did you have a […] breakfast or you come here for breakfast?
                  For--.

        Martins   No, I come here for breakfast.
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        OP        Excellent, good. And what about shopping? You still have a lot
                  of shopping to do?

        Martins   Continues to be.

        OP        [Laughs].

        Martins   Continues develop.

        OP        Sending new list all the time?

        Martins   Yeah, yeah, all the time I get WhatsApp, and--.

00:22:12 OP       Good. First of all, thank you for a very enjoyable meeting last
                  night, I really had a good time and I learned a lot, and I thought
                  a lot about it and I think we can move forward.

        Martins   Okay.

        OP        The only thing, I want to discuss a few details with you and
                  understand better, so to present to my clients--.

        Martins   Okay.

        OP        -when I go back and then decide with them how to proceed.

        Martins   Okay. I’ll send you a nice transcription of what we talked about,
                  okay?

        OP        Okay.

        Martins   You can send me for questions, okay? I believe we went through
                  that, but I’ll put--.

        OP        What, about your background and things like that?

        Martins   No, no, about your question. Four questions you sent me.

        OP        Okay.

        Martins   About mining, risk, and those--.

        OP        Ah, okay, okay, fine, fine. But this is less important. The
                  important is--.
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         Martins   Okay, okay.

         OP        -the, what we talked between us.

         Martins   Okay, very well.

00:23:07 OP        I was thinking about the case that you mentioned last night, sorry
                   to go into it--.

         Martins   Yeah.

         OP        -but it looks to me very similar to what my clients are facing
                   now.

         Martins   Okay.

         OP        Besides, there’s new American investors and European
                   investors, but the thing is this—If you can describe—you said
                   there was a bad smell--.

         Martins   Yeah.

         OP        -before the—Can you describe the process that the board of
                   directors, how was it presented? You said you present the deal,
                   right?

         Martins   Yes.

         OP        Where did you get the deal from? I mean--.

00:23:44 Martins   Look--.

         OP        Because it’s a similar situation so I want to learn a lot about the
                   situation--.

         Martins   Yeah.

         OP        -and to understand that you can handle it and then present it to
                   my—because I really want you to--.

         Martins   Yeah.

         OP        -I want us to continue working together.
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         Martins   It’s very important. What happened was that Vale has a lot of
                   iron ore tenements in Brazil, okay? A lot. Probably Vale never
                   did to go abroad because of tenements. They have already a lot.
                   But at the time, Vale was facing a lot of difficulties in getting
                   permits.

         OP        In South America?

00:24:28 Martins   In Brazil. To develop a new mine.

         OP        Why?

         Martins   Environmental issues, political issues for different reasons.

         OP        Umm-hmm, okay.

         Martins   We are not able to develop a new mine, and we are losing market
                   share. So, we look around see where we could develop a new
                   mine, high quality. And the only place available was Guinea.

         OP        Okay.

         Martins   Those tenements.

         OP        But how, how do you know? It was a published or--.

         Martins   No, it’s a lot of information in the industry, okay?

         OP        Okay.

         Martins   This, this tenements--.

         OP        So, it’s an inside--.

         Martins   It’s a very old--.

         OP        Umm-hmm.

00:25:10 Martins   Actually, these tenements was part of a Rio Tinto, but Rio Tinto
                   didn’t develop it, so then the Guinea government took half--.

         OP        Back.
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        Martins   -of their tenements back. It’s in their law, we went to it and they
                  were there. If you get a tenement ten years after you didn’t
                  develop, you’re gonna lose half of it. More ten years you didn’t
                  develop, they’ll take all of it--.

        OP        Umm-hmm.

        Martins   -from you. So, we knew that. But, this guy, this Jewish guy,
                  because of his close relationship, big and beautiful blue eyes,
                  okay?

        OP        He is?

        Martins   Yeah, actually, he has blue eyes. So he got--.

        OP        Okay. Because you called him ‘blue eyes’, so I was wondering
                  if he really has blue eyes.

        Martins   No, no, blue eyes. The name is Benjamin Steinmetz.

        OP        Okay.

        Martins   He’s Jewish, lives in Israel--.

        OP        Never heard of him.

        Martins   So, he won the tenement. And nobody in the mining industry got
                  it. Why? So, that was the first hint, okay? It was not only because
                  of his blue eyes, but he got it. And then he started not shopping
                  around, and not selling around.

        Waiter    […] for you, sir. […] yogurt with berries and granolas.

        Martins   This is […] really big.

        OP        Wow, yeah.

        Waiter    Please enjoy, sir.

        Martins   Thank you.

        OP        Thank you.
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00:26:44 Martins   So, he started selling around this tenement, and we saw that with
                   big influence. We had a problem, losing market share, so, and
                   another issue is that that tenement in hands of other could be a
                   threat.

         OP        It could be?

         Martins   A threat. So, two ways, okay? It was good for us at the same time
                   if someone else develop it, it won’t be good. And then we started
                   negotiating with this guy.

         OP        You did the negotiation?

         Martins   No, no, it was the CEO who did. Vale CEO who did it. And the
                   financial--.

         OP        CFO.

00:27:22 Martins   CFO. So, it took six months negotiating the value and also
                   making the due diligence, okay? And, as I told you, we make a
                   business plan for the mine, 50% each, and the business value was
                   5 billion. That NPV, the NPV of the investment and—was 5
                   billion, so we bought 50%. And there we have to carry the
                   partner, we were gonna make a whole investment and he’ll pay
                   his part using the future profit. There is a very good interest
                   rates—The deal was very well structured, okay? But there was a
                   fault in the origin. First because the guy who bought the
                   tenement, wrongdoing, okay? And second, there was--.

         OP        He—you knew it was—he was wrongdoing?

         Martins   No, we guessed.

         OP        We guessed.

00:28:28 Martins   We always guess about it. The guy was not iron ore miner, okay?

         OP        So, how come he got--.
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         Martins   The guy was involved with the diamond—You know, if you see
                   this movie Blood Diamond--.

         OP        Yeah, I saw, I saw.

         Martins   You’ll have an idea what kind of people we are talking about.
                   Although the guy who talk with me was very good, as always,
                   okay? You never see bad people not--.

         OP        Yeah, they don’t look bad [laughs].

00:28:55 Martins   Yeah. But they, they talk very well, okay? Very good in
                   relationship with the former France president, which is—Before-
                   - Not Hollande, before Hollande.

         OP        The little one, Sarkozy?

         Martins   Sarkozy. Friend of Sarkozy.

         OP        Nicolas Sarkozy, Oui [French: yes].

         Martins   Friend of Berlusconi, friend of Putin, friend of--.

         OP        All the strong presidents, yeah.

         Martins   Yeah. They had a kind of big yacht in the Mediterranean, always
                   with these guys that he invited me several times, I never went to.
                   But, all those, how to say? ‘Russian whores’, it’s a big apart.’

         OP        Oh.

00:29:40 Martins   And those guys were involved, okay? He showed me pictures of
                   Sarkozy, Putin--.

         OP        Berlusconi was very strong with--.

         Martins   Netanyahu, also, very close to Netanyahu.

         OP        Wow.

         Martins   The guy was very good relationship all over the world. And well-
                   looking and good speech, and so and so. But we know that
                   something was wrong, we have no doubt about it.
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         OP        No doubt?

         Martins   No doubt.

         OP        All of—all the boards?

00:30:10 Martins   I already talked to the board, okay?

         OP        No, but, sometimes in the board, you know, some people really
                   think ‘okay, no problem, we don’t know anything, we continue’.

         Martins   No question was raised as long as the due diligence showed
                   nothing.

         OP        No, but you said, you said before the due diligence, in the board
                   there was a discussion if to go to the deal or not. So, the CFO
                   was against?

         Martins   Yeah, but this is—was in the officer’s level, okay?

         OP        After?

         Martins   In the officer’s level. When you go to the board--.

         OP        Yes.

         Martins   -only one position, our CEO was very strong.

         OP        And he was for, for the deal?

         Martins   Yeah, in favour of the deal. I was in favour of the deal; I was in
                   charge of the business.

         OP        All the board knew about the question marks? About the
                   problematics--.

         Martins   Yeah, yeah.

         OP        Yes.

         Martins   We never, we never hide, okay? Never hide.

         OP        Okay, so it was open on the board that--.

         Martins   It was open, okay?
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         OP        That it’s Africa, and the way it was obtained--.

         Martins   Yeah.

         OP        -and it could be, could be bribery, it could be--.

00:31:11 Martins   The competitors also told us, okay? Rio Tinto and BHP, because
                   they were involved also-- this, I better not to get involved with
                   this guy--.

         OP        Ah, so they told you.

         Martins   They told me.

         OP        And the board knew about that.

         Martins   Everybody knows about it, there was no secret, okay?

         OP        Umm-hmm.

         Martins   It was really—As long as you make due diligence, a very good
                   due diligence, and you found nothing. Okay, so we did. We paid
                   half billion dollars and we start investing very fast, Brazilian
                   president was with us, the Lula […] met with us to dinner to talk
                   with the new president, but that was the problem in Africa. You
                   make a deal with one guy, the next guy also want money. So,
                   what they do? they--.

00:32:06 OP        They have to pay everybody?

         Martins   They destroy the deal in order for them to them to get their
                   money, okay? So it’s--.

         OP        I didn’t understand the last question-- the last sentence.

         Martins   They didn’t get-- because they had a new government, okay?
                   And they know probably that the former government take some
                   money from it.

         OP        Yes.

         Martins   They want their part. So, the way that--.
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         OP        The new government?

         Martins   Huh?

         OP        The new-- sorry, the new government.

00:32:31 Martins   The new government, yeah, the new government. So, the way to
                   get this is to create problems. All the agreement that was done
                   with the last government, was not subscribed by the new
                   government. So, then he start having a lot of discussions and you
                   never entered an agreement because you're not willing to pay
                   again, okay?

         OP        But this time, not you, you pay-- he paid.

         Martins   The guy paid.

         OP        Yes. So, he was not ready to pay--?

         Martins   But now, this new government not asking money from the old,
                   from the Jewish, asking money from us.

         OP        Ah, they are asking money from--?

         Martins   Yes.

         OP        Umm-hmm.

00:33:12 Martins   And we were always denying to do it--.

         OP        No.

         Martins   No way. And the new guy had no-- The other guy, the Jewish,
                   have no way to go to this. Together with the new government
                   was George Soros.

         OP        The guy from--.

         Martins   The big investor.

         OP        The--.

         Martins   Billionaire.
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         OP        The billionaire, yes.

         Martins   Because he wants to improve Africa, institutions--.

         OP        He works a lot for refugees and--.

         Martins   Exactly. Exactly.

         OP        Yes, yes.

         Martins   So, George Soros--.

         OP        He lives here I think, in the States.

00:33:47 Martins   Yeah, yeah. George Soros was supporting the new government.

         OP        The new government.

         Martins   Okay? And so, we had also to discuss with the new government
                   and--.

         OP        So, the new government came to you to ask for more money?

         Martins   Right. But not the real government, some-- you know, they don’t
                   do it direct. They send someone--.

         OP        Some middleman--.

         Martins   Yeah.

         OP        Some middle people, yes, yes.

         Martins   Yes. But Soros came to ask, ask me for more money for the
                   country. Okay, you pay the 2.5 billion to the Jewish and now […]
                   for Guinea. You have to pay some money for Guinea to develop-
                   - I think it was a good idea, he is very interesting man, okay? He
                   doesn’t need the money anymore, okay? So--.

         OP        [Giggles] No, he seems like he doesn’t-- yeah.

         Martins   So, he was doing--.

         OP        He’s very old.

         Martins   Very old.
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         OP        Yes.

00:34:36 Martins   He was doing it because he want to improve. So, I didn’t reach
                   an agreement with Soros, I didn’t reach agreement with the
                   middleman. We changed the CEO of-- because of political
                   issues. And the new CEO was not willing to invest in Guinea
                   anymore. So, and we start exit process from there, and that was
                   gone, okay? And then, there was big problem because DJO [DOJ
                   - OP] went against Benny Steinmetz, against the former wife of
                   the former president, so, there was a big investigation. It’s
                   public, okay? If you go to the internet, you put--.

         OP        It’s public for somebody who read it, but I, you know, I heard
                   nothing about it, I mean.

         Martins   But it’s totally public.

         OP        Yeah.

00:35:29 Martins   So, that was the situation, okay? It was a big mistake from our
                   side because we never thought about that the new government
                   will change everything. And it was very interesting.

         OP        So, actually you went to the deal--.

         Martins   Knowing.

         OP        -knowing that there is a problem with the—it was obtained by--
                   .

         Martins   Yes. We know but there is no proof.

         OP        Yes, I understand, but--.

         Martins   We guessed, okay? But--.

         OP        Educated guess.

00:35:58 Martins   What happened later only make clear that it was a problem,
                   okay?
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         OP        But everybody knew actually--.

00:36:05 Martins   Everybody.

         OP        -so, nobody can say, ‘I didn’t know’, ‘I wasn’t—'

         Martins   No, no. No.

         OP        So, all the board, all the directors.

         Martins   I stayed in the company four years after this--.

         OP        Yes.

         Martins   -[…] in 2010, I only left in 2014 for other reasons. They want to
                   get rid of me [Laughs].

         OP        No, you said, you were fighting for the--.

         Martins   Yeah, yeah.

         OP        -CEO and--.

         Martins   Exactly, exactly. This is a corporate fight.

         OP        Lucky for me, because otherwise you weren’t sit here.

         Martins   [Laughs].

         OP        If you were the CEO of Vale, no? Isn’t it?

         Martins   Yeah. Yeah [Laughs]. But that was a big mistake because at the
                   end the company put almost $1.5 billion there.

         OP        And lost it?

         Martins   Other dispute with the--.

00:36:52 OP        Yes, but you said he doesn’t have money, no money to pay.

         Martins   He have no pocket, no pocket [Speaks simultaneously]. So, it’s
                   there.

         OP        So, the money is still--.
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         Martins   Yeah. And now, this, the new government that stayed there for
                   the second term, and now is trying to go to the third term, sold
                   the tenements to the Chinese private company which probably
                   helped them, helped them.

00:37:19 OP        Helped them you mean paid them--.

         Martins   Yeah. The Chinese government, they don’t do it, but they use,
                   you know, China is--.

         OP        China is just like that, I mean, it’s—and they’re very aggressive.
                   If they want business, they go--.

         Martins   Yeah, yeah. And it’s very important for them.

         OP        Yes. I think they invest a lot in Africa.

         Martins   Yeah, everywhere, Congo--.

         OP        And in South America as well.

00:37:42 Martins   -they are spread investments all over the world.

         OP        Yes.

         Martins   But anyway, it was not—I would say something that the officers
                   hide from the board, never.

         OP        Never. So, the board was completely aware of--.

         Martins   Completely aware, completely aware.

         OP        Before the DD?

         Martins   Before the deal.

         OP        The DD, before the due diligence.

         Martins   Ah, before the DD, yes, yes, yes.

         OP        Interesting.

         Martins   And after the due diligence, we present the due diligence--.

         OP        There is no proof.
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         Martins   -even the CEO, the CFO which was not very in favour went to
                   the board, ‘We look this, we look that, blah, blah, blah’, ‘We hire
                   this, we hire that’, all very good companies and […], ‘Look, we
                   did—we didn’t find but that does not mean there was not a
                   problem there’

00:38:37 OP        Who said so?

         Martins   We, the […] --.

         OP        Ah, the board.

         Martins   In the board meeting, I told you: ‘I’m going to this deal with our
                   nose closed’.

         OP        Closed, like you said, ‘nose closed, and we just jump into the
                   water’.

         Martins   Yeah. Because we feel, okay?

         OP        Because, as you said, the deal was very important for you.

         Martins   Yeah, it was very important strategically for the company.

         OP        Yes. So, he didn’t want to give it up.

         Martins   Yes. Now, for instance, I’m involved the Guinea, with this--.

         OP        Oh.

         Martins   You know Robert Friedland?

         OP        I heard, yes.

00:39:09 Martins   He’s a tycoon that probably he lives in Canada, now he’s live in
                   Singapore. Involved in mine.

         OP        I don’t know him, but--.

         Martins   Okay, he’s very well-known, okay? In Canada, in the mining
                   area.

         OP        Yes.
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         Martins   And he got a tenement in-- not this one, but another one, very
                   good.

         OP        In Guinea?

         Martins   In Guinea, and because of my knowledge of Guinea he invited
                   me--.

         OP        He wants you to--.

         Martins   -to be advisor to him. So, I just joined in three months ago.

         OP        So, you’ve been there again.

         Martins   I have been there twice, but with the same people.

         OP        The same people?

         Martins   Same people. [Laughs]

         OP        [Laughs] Déjà vu, as you say in--.

         Martins   Déjà vu, yes, déjà vu.

         OP        So how is the feeling to go back to the--?

00:40:02 Martins   You know, my feeling is, because the issue was at 2010, so we
                   start doing very fast. […] we have no approval for developing a
                   new mine in Brazil, so then they’re in a hurry. It’s $1 billion plus
                   the 500 that the guy got for him, and it stopped because the
                   government took the tenement, unsubscribed the agreement. So
                   it stopped. So, 10 years later, what you have there? Nothing.
                   Nothing […]. Probably for them now it’s, ‘Look, if you hadn’t
                   let these guys move, probably today you’d have something. Now
                   we have nothing, okay?’. There was monkey business, blah,
                   blah, blah, but in reality they are not concerned about the monkey
                   business. They’re concerned because they were not involved in
                   the monkey business, okay? But 10 years later, they have
                   nothing. So, now they are in a hurry to get something on--.

         OP        To get something.
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00:41:11 Martins   Yeah. because it’s a poor country, I don’t know if you--.

         OP        Who?

         Martins   Guinea.

         OP        It’s a poor country?

         Martins   Extremely poor.

         OP        It’s funny, because-- I mean it’s strange, because they have so
                   much resources, and--.

         Martins   But you know, it’s-- first--.

         OP        It happens a lot in countries in Africa, it’s not the first one--.

         Martins   After the liberation from France, they had a communist party.

         OP        Oh. Here’s the problem.

         Martins   Destroyed everything that France had left.

         OP        Like most of communist--.

         Martins   Okay? So […] France left a subsidiary infrastructure, railway,
                   port. Everything was destroyed. The government was very
                   populist, if he helped to the people but not really building
                   nothing--.

         OP        Developing the economy, yeah.

00:42:02 Martins   So, and get rid of everything, and after that there was a militant
                   […], you know, the normal development after that. So, then they
                   were banned from the Africa countries’ association, because they
                   were not democracy, so they start to build a democracy. This, the
                   president today is the first one elected.

         OP        Today?

         Martins   Yeah. he was elected--.

         OP        So, it’s more and more going to democracy?
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         Martins   Yeah, a little bit. It’s not-- he was economist. He is economist,
                   and he teached in Sorbonne. He has French--.

         OP        So, he has like western education.

         Martins   Yes. French--.

         OP        Orientation.

         Martins   -French orientation.

         OP        Umm-hmm.

         Martins   And he’s Muslim, also. That’s the reason he has a lot of influence
                   for Muslim.

         OP        Muslim, okay.

00:43:03 Martins   So, he’s trying to improve the country, but you know, always
                   with some personal interest above it. That way things are-- you
                   never know who is personal and who is for the country and--.

         OP        I think in a country like that, he has to-- what I understand from
                   Africa, I’m really not familiar, but in order to keep your regime,
                   you have to give people in order--.

         Martins   Yeah.

         OP        -so they won’t go against you. Like in the-- for the army--.

         Martins   Yes, yes.

         OP        -for the secret service, or-- because otherwise, they might turn
                   against you.

         Martins   Yeah. And you have different ways of doing it, okay? For
                   instance, in Mozambique, Vale got the tenement, developed the
                   mine, no bribery. But in my--.

         OP        So they were the first to get the rights.

         Martins   Yeah.
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        OP        Without paying?

        Martins   No, we paid for the government officially.

        OP        Okay, okay.

        Martins   Officially.

        OP        But there was no middleman that--.

        Martins   No, no middleman. But when we start developing the mine, there
                  is a lot of pieces that have to do with some, you know, for
                  instance--.

        OP        Somebody close to the government.

        Martins   Yeah. in mine you need oil.

00:44:16 OP       So you have to buy for-- you have to buy--.

        Martins   You have to buy from a special company that belongs to a
                  general, whatever. You needed to buy explosives. Explosives--.

        OP        But how do they say it? They say it in the beginning, ‘That’s the
                  condition of the’--?

        Martins   There is only that company in the country.

        OP        Ah, okay. So there’s no competition.

        Martins   And you can’t import. Yes. So you have to buy from them, no
                  way. For instance, dismantling. In the mine you need the-- to
                  dynamite, okay? To break the rock, and you needed dynamite.
                  Dynamite is controlled by the army. In every-- in Brazil also, you
                  have to ask the government permission to buy the dynamite.

        OP        To buy dynamite.

        Martins   So, there are always kind of influence here and there, okay? And
                  the construction company, okay? You needed to hire a
                  construction   company,       sometimes   someone     from    the
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                   government […]. So, it’s not, I would say, clear bribery. But for
                   FCPA, if they go deep, they go behind it to--.

         OP        They’ll make trouble for that.

00:45:21 Martins   Yeah. you have a big case, I think was in Vietnam. Because Rio
                   Tinto hired a company there for doing some business, and the
                   company, one of the ministers was the owner of the company,
                   okay? And so the FCPA considered it as--.

         OP        As a bribery?

         Martins   -influence, to get some-- so, such countries like Africa, it’s very
                   difficult to go to Africa without get your hands dirty some way.

         OP        And you said that the board knew about that?

00:45:56 Martins   Yeah. They know completely, cause they know, in the past in
                   Brazil was the same.

         OP        And there was no part of the board that was against the deal
                   completely?

         Martins   No, no, no.

         OP        So, everybody was for the board.

         Martins   Everybody is in favour, there is no vote against--.

00:46:14 OP        Without all the red flags and the nose closed and--.

         Martins   No vote against it. 100% in favour of doing the deal.

         OP        And they knew it’s Africa, they knew the deal was very fishy?

         Martins   Yeah, there was some issues involved.

         OP        Something that-- facts or-- about the deal. Facts like-- you said,
                   the competitor went-- came to you and say, ‘Look at the deal,
                   something wrong’, right?

         Martins   Yeah.
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         OP        They gave you any--.

         Martins   No, no, no, no proof.

         OP        No proof?

         Martins   No proof. But the same thing, we know that something’s wrong,
                   but no proof.

         OP        Absolutely you knew.

00:46:52 Martins   But everybody in the industry […] cause this is the newcomer,
                   okay? Why a newcomer get this, one of the best tenements in the
                   world without, why? Because normally governments when
                   they—the best way to put this is to make an open bid.

         OP        Okay.

00:47:14 Martins   That what government in Brazil, in Latin America’s doing today.

         OP        They open bids, yeah.

         Martins   There’s an open bid, who pays more, get it.

         OP        Yeah but sometimes in open bid you can always play as well, of
                   course.

         Martins   Yeah.

         OP        Because you can tell—if you work with somebody you can tell
                   him the-- what was the bid of the other and--.

00:47:32 Martins   Yeah. You know--.

         OP        I don’t have to tell you, I mean.

         Martins   -human being.

         OP        Yeah [Laughs].

         Martins   Human being, it’s there, okay? They found a way. But today
                   there is an open bid, it’s open and everybody—different
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                  companies, if someone has some objections, they go to the
                  courts. But you never know what was bought in the past, okay?

        OP        Yes.

        Martins   In the case you are talking, I don’t know how long this company
                  has a tenement.

00:48:10 OP       What I said is-- I’m going back to the client, okay? Clients, and
                  I’ll present and I’ll-- my recommendation to continue using your
                  services, and then I’ll send you an NDA.

        Martins   Okay.

        OP        And then we can have more specific about-- you understand that
                  we need NDA, I mean, it’s not new for you that you have to sign.

        Martins   Yeah.

        OP        So, this is the process.

        Martins   Let’s make a question.

        OP        A what?

        Martins   A question for you.

        OP        Okay.

        Martins   How you got my name?

        OP        You have bio, you have LinkedIn, you have all these things that-
                  - you’re famous, I mean, you’re on the line. I have analyst.

        Martins   Okay.

        OP        If I’m looking for somebody, I say, ‘look at LinkedIn, look at all
                  the bios, look at people who retired from big companies’--.

        Martins   Yeah.

        OP        -‘put the names and see what they do today’. Today-- not for me,
                  but for young people - very easy.
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         Martins   Yeah. [Laughs]

         OP        Not for me, and I’m sure not for you.

         Martins   Yeah, I understand.

         OP        But your LinkedIn is very impressive.

         Martins   Yeah.

         OP        You have a good LinkedIn, I mean--.

         Martins   Yes.

         OP        -and with-- and bio, and everything that--.

         Martins   Okay, thanks.

         OP        And I--.

         Martins   I--.

         OP        -I like to work with people that retired from big companies, that
                   have those connect-- they have the right attitude to work with
                   governments, to work with official-- because some of the private
                   business, they not know-- they, let’s say, not that they don’t
                   know, but they might be less experienced--.

         Martins   Yeah.

         OP        -working with official, and governments and sometimes in
                   countries, you have to do that.

00:49:44 Martins   I had a very interesting experience with China.

         OP        Okay.

         Martins   Because Brazil is very far from China.

         OP        Umm-hmm.

         Martins   For the freight part. It’s very important.

         OP        The freight, yes. Transport.
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         Martins   To compete with the Australian that are nearby. I developed a
                   strategy to get China more efficient, with lower cost.

         OP        Really?

         Martins   Yeah.

         OP        Of transferring products of mines?

         Martins   Yeah.

         OP        Wow.

         Martins   I build a fleet of ships.

         OP        Chinese ship? Or--.

         Martins   No, in the market.

         OP        Okay.

         Martins   But it’s the largest iron ore carrier every built in the world.

         OP        Really? Wow.

         Martins   400,000 tons each.

         OP        Amazing.

         Martins   Yeah, because then I could reduce the cost a lot.

         OP        Which is very important, okay.

         Martins   Also, carbon emissions. When I start developing it was 2009,
                   and I realized that long-term, the climate problem would big
                   burden ship, because they-- the emission is-- only ships, the
                   emission is 5% of the whole emissions in the world. So it’s very
                   important.

         OP        Yes, it does. It is.

00:51:02 Martins   So, I developed a big ship that then use less fuel per ton.

         OP        How? How?
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        Martins   Because the larger the ship--.

        OP        They use less-- it’s more effective.

        Martins   -the-- proportionally, okay?

        OP        Yes.

        Martins   And special engines--.

        OP        But-- oh.

        Martins   -special engines--.

        OP        More efficient?

        Martins   -provision to use gas, when you have gas available. So there is a
                  whole idea based on carbon emissions. Today, Vale is shipping
                  with 50% less commission per ton--.

        OP        Wow.

        Martins   -than before that. So, I went to China, look their port, to see if
                  their ports would be able to receive those big vessels. And--.

        OP        And they are very big, the ships?

        Martins   Yes, yes. So the-- I realized that they have at least four ports able
                  to do it.

        OP        Yeah, you need a special port for such a ship?

        Martins   Yeah, yeah.

00:52:05 OP       Deep water.

        Martins   Deeper and stronger. Imagine 400 million tons-- 400,000 tons--.

        OP        Wow, moving.

        Martins   -in the berth, moving with the tides and winds.

        OP        So you need something very strong to-- yeah, yeah.
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         Martins   Strong, to hold it. So, then I decide to do this ship. And I ordered
                   35 ships.

         OP        Wow.

         Martins   5 billion--.

         OP        A big project.

         Martins   -$5 billion, yeah.

         OP        Where? Where were the ship built?

         Martins   Korea--.

         OP        Korea?

         Martins   -China, Japan.

         OP        I think Korea are strong with the ships, yes.

         Martins   The best, the best.

         OP        I know they have good naval guards, yes.

         Martins   Yes. Then what happened? A Chinese state-owned shipping
                   company thought that my strategy was not good for them.

         OP        Why?

         Martins   Because they had a big fleet of smaller vessels.

         OP        And they need to use it.

00:53:08 Martins   And they were state-owned. The CEO of this company start to
                   lobby against my strategy, but the ships are being built. And
                   China says that the largest ship that they can berth is 300 tons.
                   But I went there in the port, I checked with the port authorities,
                   they made the […], ‘No, no, it’s 300 because you don’t have
                   bigger than 300. But we can berth 400’. But there was kind of a
                   regulation to place. So this guy start lobbying--.

         OP        Against you?
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         Martins   -against me, to reinforce the regulation. And the ships start being
                   built, look at my situation: $5 billion investment--.

         OP        And it could be that they are standing without being used.
                   [Gasps] wow.

         Martins   So I had to develop alternative strategy--.

         OP        Could you sleep at night?

         Martins   No. this part is--.

         OP        [Laughs] grey hair.

         Martins   -[…] from that.

         OP        Yeah.

00:53:24 Martins   So, when the first ship was ready--.

         OP        How long does it take to build a ship like that?

         Martins   One year and three months, five months.

         OP        Umm-hmm.

         Martins   Very fast. Because at that time, after the great financial crisis,
                   there was not too much--.

         OP        Not so work.

         Martins   -big […]. So, now I had a problem how I’m gonna do. Right?
                   Talk with my friend in-- I have a lot of Chinese friends, okay?
                   Develop the good relationship in China. This guy was in charge
                   of a port that would be able to receive our vessel. He told, ‘No,
                   no, we can send. There is a lot of voice against it, but I am the
                   port authority. The only one that can say yes or no’--.

         OP        ‘It’s me’.

         Martins   -‘is me’.

         OP        Okay.
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00:55:12 Martins   ‘And we are not subject to the Central government’--.

         OP        Instructions.

         Martins   -but I was afraid.

         OP        You won’t go against the Central government in China.

         Martins   Yeah. and then I send a ship, but keep […] into it. The port
                   authority told me, ‘No, you can send, you can send’. But I went
                   to other people in the transportation ministry, and they told,
                   ‘Look, there is a lot of pressure against it. You can bring, the port
                   can receive it, but there will be consequences. Because you
                   know, this company is state-owned, so it’s like our children. We
                   cannot go against. We don’t want to be against you, but we
                   cannot go against our son. It’s very difficult for the minister to
                   take decision against a Chinese company’.

         OP        Company, I’m sure.

00:56:18 Martins   State-owned. I talked to the minister, I went to China, talked to
                   the minister, and he told, ‘I know that the bigger decision, the
                   better would be, all that you wanted, but’--.

         OP        I cannot--.

         Martins   -‘at this point in time, I cannot fight against the guy’. So, the ship
                   was going to China, I phoned my people, said, ‘Look, stop the
                   ship’.

                   -‘Oh, but the ship is now in […]’.

                   ‘Okay, keep’--.

         OP        ‘Stop’.

         Martins   -‘them there, let’s say what we’re gonna do’. So I stopped the
                   ship, where I’m gonna berth it? There is no place in the world I
                   have to berth it. I talk with the other […] port, and they said,
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                   ‘Look, maybe it’s possible, but you take two or three months for
                   us to make this story’.

                   -‘Okay, do it. Meantime I’ll look in alternatives’. And I found an
                   alternative in Italy, Taranto. I still make there, which is good
                   friend of mine, I phone him, I said ‘Mr. […], look if it’s
                   possible’.

                   -‘Okay, I’ll check it’. He went to the post authority, make the
                   […], ‘Okay, you can send’. We needed to wait the tide, and blah,
                   blah, blah, but we send. And we berth that, so I send this ship
                   from South Africa, I deviate it into--.

         OP        Into Italy.

00:57:38 Martins   -Italy, and we berth there, we make a big park there, and but, you
                   know, ships were coming. So I develop--.

         OP        So, those ships are being used now in Italy? Or--.

         Martins   Everywhere now.

         OP        Everywhere.

         Martins   We developed-- as long as we trying to get in China, we
                   developed Ōita and Kimitsu in Japan for big ships. We
                   developed Rotterdam, Italy, and we build in two ports that we
                   are building at that point, yeah? so I asked people to make the
                   ports for 400,000. One in--.

         OP        So, they are suitable for--.

         Martins   -Ōma, one other in Malaysia.

         OP        So, they are suitable for such big ships.

         Martins   And on top of it, I build-- in six months, I builded two floating
                   stations that I berthed in Philippines. In a bay, Subic Bay. Former
                   American navy--.

         OP        Base.
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00:58:39 Martins   -base. But there marvellous place, a lot of things available. So I
                   build those two ships, put there, so big ships go there and move
                   the cargo […] more ships.

         OP        Umm-hmm.

         Martins   And it’s carriage some-- I took the old ship, all the […] carriage,
                   and transform it for-- like a moving port, okay? It was a war
                   operation, you cannot imagine. It took me from 2010, when the
                   first ship was ready, to 2015 I was already left when the Chinese
                   clear everything.

         OP        Wow.

         Martins   Now the ships are going normally everywhere. But--.

         OP        So the money invested what--.

         Martins   Yeah, yeah.

         OP        -return.

         Martins   So, now it’s praised, okay? At that time, I was mostly crucified.

         OP        Yes. [Laughs]

         Martins   But now I was praised, it’s a vision, long-term strategy, blah,
                   blah, blah, it’s the future of long--.

         OP        Of transport.

         Martins   -long-hauling move commodity, blah, blah, blah. But--.

         OP        But it wasn’t easy--.

         Martins   Yeah.

         OP        -easy period for you.

         Martins   No, no, it was very tough. It was very tough.

         OP        Yes.
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00:59:46 Martins   Because I got a new boss, the new boss always see me as a
                   competitor, always try me to—look, this Simandou issue, he
                   tried to put on my back, the--.

         OP        The what?

         Martins   The Simandou.

01:00:03 OP        Yes.

         Martins   He tried to put on my back.

         OP        Why? What did he say?

         Martins   The responsibility.

         OP        But you said the board was inside.

         Martins   That was, my way, because big—the same board was there
                   before and after.

         OP        So, then the board knew there is--.

01:00:16 Martins   Yeah, exactly.

         OP        You said the board knew positively there’s--.

         Martins   Yeah, yeah, yeah. So, he tried to put on my back, but at the end
                   he was not able to do it because the board knew everything and
                   how I can put--.

         OP        So, everything was open in the board, yeah?

         Martins   Yeah, so he would be. And this guy would tell to the market that
                   okay, the issue was approved by the board, and the board was
                   aware about the problem. So, this shit also always tried to put on
                   my back the problem, blah, blah, blah.

         OP        But then it was successful in the end?

         Martins   Now, it’s--.

         OP        So, he wants to take it for himself probably [Laughs].
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        Martins   It’s like always, okay?

        OP        Yes, yes. As we said, human beings, ah?

        Martins   But I never asked for money in China, never. There was vested
                  interests, but I wouldn’t say […]. But you know, they have a
                  state-owned company, they want to protect their company, and
                  the strategy was not good--.

01:01:16 OP       So, you think if you would have paid them, it would be more
                  easy to use them?

        Martins   No, no.

        OP        No, no?

        Martins   They don’t ask for money.

        OP        They don’t ask?

        Martins   Never. Never, never. Chinese are more to bribe than to be bribed,
                  okay? They can bribe you to get ore, to get something that you
                  want.

        OP        Yes, yes. They are very aggressive.

        Martins   But--.

        OP        Yeah, I know, they are very--.

        Martins   -because in China, if you are caught, you’re accused.

        OP        You’ll be […], yeah.

        Martins   And your family has to pay for the bullets, okay? That’s the way
                  it is. I’m going to tell you that everywhere you go, and everything
                  you do, always have some hidden--.

        OP        Agenda?

        Martins   -agenda, that you need to discover. So, when you go to a country,
                  the first thing is to know who are the decisionmakers. Mark
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                   them. Because when you go to them, ‘No, no, […]’, and they,
                   ‘[…]’.

         OP        The young generation, leave it to the young generation. They
                   know how to do it, I mean.

         Martins   Sure. As I told you, not only this, probably this is not the bis
                   issue.

         Waiter    Gentlemen.

         OP        Yes.

         Martins   Today, I would say the--.

         OP        Thank you. No, no, you can take this one.

         Waiter    Sure.

         OP        I can […].

         Waiter    Take this away?

         Martins   Yeah.

         OP        Yeah. Please.

         Waiter    One moment.

01:02:52 Martins   I would say environment is much bigger problem.

         OP        Yeah, but environmental is--.

         Waiter    Thank you gentlemen, please enjoy.

         OP        Thank you. It’s like a more-- it’s less government objection, it’s
                   more public opinion--.

         Martins   NGOs.

         OP        -NGOs, yes, yes.

         Martins   And NGO, normally, they have a hidden agenda also.

         OP        You think so? They are not very righteous--.
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         Martins   They need money to keep this, okay? You know, these guys do
                   nothing.

         OP        Just get money for doing--.

01:03:24 Martins   I believe they are good for society, okay?

         OP        Yeah, but it’s always a question of balance.

         Martins   Yes. The problem is sometimes you don’t have balance.

         OP        Exactly, because if you need energy, you need energy. It doesn’t-
                   - it won’t help, and let’s work together and see how we can make
                   the energy better and cleaner. Because sometimes I feel it’s like-
                   - today, because my wife, as I told you, and my daughter, turned
                   vegetarians, it’s like the veggies today, they are very aggressive.

         Martins   Yeah.

         OP        They almost-- some countries, they are really against meat-
                   eaters, and, hey, leave me alone. I’ll eat what I decide. I can--
                   you can say your agenda, and I can say, ‘Okay, I accept it or I
                   not accept it’.

         Martins   Yeah.

         OP        ‘But don’t be aggressive’.

         Martins   But you know, there guys are really aggressive.

         OP        Yes, I know. I know.

         Martins   Environmentalists, that’s terrible. And the young--.

         OP        Because it’s very fashionable.

         Martins   -and the young ones.

         OP        It’s very fashionable to see--.

         Martins   And you see Greta.

         OP        Yes, the Swedish girl, yes.
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01:04:18 Martins   Amazing.

         OP        17 or something?

         Martins   Something like that.

         OP        Yes.

         Martins   Handicapped. There is a personality. [Laughs]

         OP        Yes, yes. I saw her on-- yeah, she is today a very famous
                   personality.

         Martins   I have a view about it. I believed very, this balance. But you
                   cannot have these guys making the rules.

         OP        I think I’ll always look for the balance. You have to work with
                   them, okay? Work together. Today, government are more
                   susceptible to hear about clean energy, and--.

         Martins   Yeah

         OP        -all kind of things. So, work together. If you do it very
                   aggressively--.

         Martins   And don’t be aggressive. Look how we can do it in a more
                   acceptable way.

01:05:09 OP        I saw something in National Geographic, all this-- I don’t
                   remember the name of the organization, the one that goes against
                   the whales killing.

         Martins   Uh-huh.

         OP        You know? The Japanese, they--.

         Martins   Yeah.

         OP        -they eat whales.

         Martins   [Chuckles].
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         OP        And there is some organizations, they really, they follow
                   Japanese vessels, and they really trying to stop them from killing
                   whales.

         Martins   Yeah.

         OP        It’s like a war.

         Martins   Like Greenpeace, remember Green Peace?

         OP        Yes, Greenpeace, yes, yes, of course.

         Martins   There is a very-- the French, the French army bombed them.
                   [Laughs]

         OP        Yeah, yeah, yeah, I remember. They drowned the ship of--.

         Martins   Yeah.

         OP        Yes. And being […].

         Martins   Yeah. it was terrible mistake.

         OP        Stupid, yes.

         Martins   Terrible mistake. because they are a little--.

         OP        Such a publicity, the best--.

         Martins   Yeah.

         OP        -publicity you can have.

         Martins   They guy were fight against the Moruroa--.

         OP        Yes.

         Martins   -atomic attacks.

         OP        Yeah, I remember, I remember. Wow, it was in the ‘80s? ‘70s?
                   ‘80s? A long time ago.

01:06:08 Martins   The whole population of the world was in favour of Greenpeace,
                   so that--.
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         OP        Yeah, of course. Being hunted by the evil government of France,
                   yeah.

         Martins   Yeah. big, big mistake.

         OP        Yeah.

         Martins   It was not Mitterrand, Chirac?

         OP        I think, Chirac or Pompidou?

         Martins   I think Chirac.

         OP        I don’t remember.

         Martins   I think it was Chirac.

         OP        I don’t remember.

         Martins   But anyway, I believe this is one of the most, in mining today,
                   environment.

         OP        But, for example, in South America the Greenpeace-- not
                   Greenpeace, but the environmenists [means: environmentalists]
                   are strong, but not as strong as in Europe or in the States.

         Martins   I’ll say even stronger.

         OP        Really?

01:07:06 Martins   They are even supporting even for European ones.

         OP        Ah, I see. Even though it’s not very allowed to support the-- it’s
                   like interfering with the inside business of Brazil or Argentina,
                   or--.

         Martins   Brazil had an agreement about protecting the Amazon.

         OP        Okay.

         Martins   So, the German government give a lot of money for some NGOs
                   to--.
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        OP        I want to ask you as being a Brazilian, is it really a problem all
                  the trees that are taking off in the Amazon?

        Martins   It’s a problem.

        OP        It’s a problem.

        Martins   It’s a problem, I-- you know, always it’s a question of balance,
                  okay? The new Brazilian president, he is against everything that
                  the left did. And--.

        OP        The left, yeah. everything was bad, now-- yeah.

        Martins   And the left were trying to-- there was a good thing that they did,
                  okay? To try to protect the environment. So, he’s completely
                  against it. So he’s not willing to protect the indigenous people,
                  not willing to protect the trees. So--.

01:08:20 OP       The new one?

        Martins   Yeah, the new one. So he open the country for buccaneers.

        Waitress Please enjoy the breakfast.

        OP        Thank you.

        Waitress Thank you.

        Martins   The guy goes there, what they do? They put the tree down, sell
                  the good stuff, they are not owners, they are buccaneers, okay?
                  Cut the trees, sell the good stuff, take the land as--.

        OP        Without a license?

        Martins   Without a license, without anything. And they start raising cattle.

        OP        Raising cattle?

        Martins   Cattle. Three-four years after cattle, they bring crops, okay? But
                  they took the land, and the land was--.

        OP        But how can you take a land just like that without--.
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         Martins   Because the land belongs to the government, okay? So--.

         OP        So, why doesn’t the government object?

01:09:09 Martins   It’s-- you know the government. Government is like the widow,
                   okay? Like the widow, okay? So doesn’t know what’s going on,
                   and they have a close relationship with the government.
                   Brazilian president receives in the palace these kind of people.
                   They receive in the palace, scavengers that destroy everything.

         OP        Wow.

         Martins   This, we call them grileiros [Portuguese: invaders]. It’s the guy
                   that take the land for him, okay? He […] the land and take for
                   him. We call them grileiros. They are forest-men, like Daniel
                   Boone and those guys, that adventures, that go to the forest
                   without any rules. They use guns, they kill Indians. Kill some
                   small--.

         OP        Wow.

         Martins   -agriculture that you have in the region. It’s-- they are bandits.

         OP        And so, the government doesn’t send army to protect the place
                   and--?

         Martins   No, because these guys, in the past they were badly attacked by
                   the left wings in the government. So, everything left-wing did,
                   he does the opposite. And he’s carry a hell of criticism,
                   international. And just now they develop a story that Brazilian
                   army has to be prepared for a Amazon invasion from France.
                   Create a big noise, big noise.

01:10:47 OP        France would send an army--.

         Martins   Yeah.

         OP        -to invade--.

         Martins   Brazil.
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         OP        -Amazon--?

         Martins   You know why? because of Guiana, you know, it’s Suriname.

         OP        Suriname, yes.

         Martins   It’s part of-- France is in the Amazon. So right there--.

         OP        But only a small part.

         Martins   Yeah, but you know, this is military man. When you have a
                   military man on the top, the military men they are trained to fight
                   against the enemy.

         OP        And they need to find an enemy.

01:11:12 Martins   If they don’t have, they found.

         OP        No budgets, no-- yeah, yeah.

         Martins   They found a enemy. So, now in Brazil--.

         OP        Because they need budgets, they need names--.

         Martins   Left-wing is enemy, ONG [means: NGO] is enemy, the […] is
                   enemy, the France is enemy. This guy, France today is-- the
                   president of France today is--.

         OP        Macron. Emmanuel Macron.

         Martins   Yeah. you don’t know how much he is suffering gossip from
                   Brazilians, okay?

         OP        Really?

         Martins   They talk about his wife, she is old, is ugly.

         OP        Old? Okay.

         Martins   He put in the press-- the Brazilian president said, ‘It’s better for
                   Macron to look for something beautiful than to attacking Brazil,
                   because you are destroying the Amazon’.

         OP        Ugh, that’s not nice.
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01:12:02 Martins   No, it’s terrible. I feel ashamed that. I don’t like that, we need to
                   be a little bit civilized, okay?

         OP        I didn’t know that France has such a problematic name in Brazil
                   now.

         Martins   He is a public enemy.

         OP        Wow.

         Martins   Not public, but the president.

         OP        So Brazil--.

         Martins   You know that in the past Brazil was invaded? Twice, my friend.

         OP        When?

         Martins   18th century.

         OP        From Suriname?

         Martins   No.

         OP        I didn’t know that.

         Martins   By the army. […].

         OP        Why?

         Martins   In Rio de Janeiro and in Bahia.

         OP        Okay.

         Martins   At colonizers, okay? Also the Dutch, twice. And I can tell you,
                   you go to one of the areas that the Dutch took, north of Brazil,
                   the best infrastructure you have in the city was left--.

         OP        By the--.

01:13:23 Martins   -Dutch, 200 years ago. Channels. There was […], the guy was a
                   developer. Did a lot of good things for the country. But at the
                   end, the Portuguese were able to send them out. And they left,
                   they left north of Brazil, and they move toward Manhattan. The
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                   people that was colonizing north of Brazil moved to Manhattan.
                   And they created New York. It was former Dutch that went in
                   Brazil, and they were not really Dutch, they were Jewish, okay?

         OP        Jewish from Holland? From the--.

01:14:12 Martins   From Holland. You know, behind the Dutch, you have always a
                   Jewish hidden, okay? And what is more-- you go to that region,
                   you see a lot of local people with green eyes, blue eyes, blond.
                   A lot. And some families we have there are the same you have
                   here. You know Mellon Bank?

         OP        Yes.

         Martins   In Brazil they are named Mellon.

         OP        It’s the same family? But the Dutch also went to India, Goa.

         Martins   Everywhere.

         OP        Goa, Goa--.

         Martins   And they use mainly Portuguese to do it.

         OP        Yes, yes.

         Martins   And they were mainly Jewish, it’s Western India Company.
                   And--.

         OP        No, Western India Company I think it’s from London. But there
                   was something in Holland as well, I think, that--.

         Martins   Western was Dutch.

         OP        Dutch? Okay.

         Martins   Eastern--.

         OP        Ah, was-- because I remember London, their big--.

         Martins   Yeah, they went to east.

         OP        Yes.
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        Martins   And Dutch went to west.

        OP        Okay, okay.

        Martins   And they, because of that time, the gold was sugar cane. And this
                  state, in north of Brazil, it is the largest producer of sugar cane.
                  But anyway--.

01:15:41 OP       I think you better eat this, it’s getting cold, no?

        Martins   Yeah. I need to do this first. [Laughs]

        OP        [Laughs] because it will be cold. Maybe we can ask them to
                  warm it if it’s cold. So where do you--.

        Martins   This is healthy.

        OP        Yeah, I know, I know. But avocado is also healthy. So what kind
                  of shopping do you need to do?

        Martins   Dolls.

        OP        Dolls?

        Martins   For my--.

        OP        I forgot already.

        Martins   My wife was, asked me to buy a small iPad--.

        OP        There’s a Apple shop here, you know.

        Martins   Yeah, but I bought Microsoft.

        OP        Oh.

        Martins   Very good. You can use as iPad--.

        OP        Yes, yes.

        Martins   You have the--.

        OP        I have it, I have this computer, yeah.

        Martins   Very small, very--.
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01:16:39 OP        It’s 800 grams only.

         Martins   Yeah.

         OP        Yeah, it’s really good.

         Martins   Very, very, very, so I bought this--.

         OP        Very comfortable to travel with.

         Martins   Yes, yes.

         OP        But there’s a huge Apple shop here in the corner.

         Martins   Yeah, yeah. I have been there. I tried to buy a new phone for me,
                   but I didn’t bought because these guys are really, they want to--
                   I don’t like this kind of things. I went to buy iPhone 10.

         OP        Yes.

         Martins   But I wanted small. They don’t have iPhone 10 small, they don’t
                   have iPhone 11. I don’t want iPhone 11.

         OP        But they’re trying to push, they--.

         Martins   So, they stopped produce iPhone 10 small, to make you buy--.

         OP        The 11, of course.

         Martins   So, at the end, okay? I buy the same I have, which is 8. I went
                   there again, get--.

         OP        No 8?

         Martins   They have 8, but they reduce the capacity. Instead of 256, which
                   is mine--.

         OP        128?

01:17:39 Martins   And 128, that’s not good for me.

         OP        It’s not enough?

         Martins   These guys are really marketing right, okay? Steve Jobs is really,
                   not--.
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         OP        [Laughs].

         Martins   -he was clever, he was engineer or blah, blah, blah, but it’s really
                   about marketing, not about the--.

         OP        I don’t like iPhones, by the way.

         Martins   Yeah.

         OP        I prefer Samsung.

         Martins   Samsung?

         OP        Yes.

         Martins   Android?

         OP        Yes.

         Martins   You use Android?

         OP        Yes. There is […]. I used to have iPhone, but I said I don’t like
                   it.

         Martins   I think I’ll have to change. I was pissed off.

         OP        I don’t know why, I--.

         Martins   Because I don’t want to buy iPhone 11.

         OP        11.

01:18:30 Martins   And they’re trying to force me to buy it.

         OP        To buy, yeah. That’s the most annoying thing. I hate when they
                   do it.

         Martins   I won’t buy. But it’s exactly what they are doing. Try to force
                   me to buy.

         OP        When is your flight today?

         Martins   10:00 PM.

         OP        So you have the whole day.
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        Martins   All the afternoon.

        OP        That’s good.

        Martins   I’ll not take too much of your time here.

        OP        No, no, no. If I have something, I will tell you. I feel free now to
                  be--.

        Martins   [Laughs].

        OP        -we like, become-- I feel like we become--.

        Martins   Yeah, important, okay?

        OP        Yes, very important. I always like to enjoy the company of
                  people I worked with. Because otherwise, you need to feel the
                  people that you work with.

        Martins   Definitely.

01:19:25 OP       Especially if you go to work with a big company, okay, some
                  people you love, some people you don’t. but when’re in a private
                  and you can choose who you want to work with, I like to work
                  with people I like. Why do I have to suffer and work with people
                  I don’t like? It’s--.

        Martins   You have to mix competence with friendship.

        OP        But I have the ability to choose, so I can say I want the both
                  qualities. And if I don’t have the both qualities--.

        Martins   Yeah. and also do that--.

        OP        Yes, yes.

        Martins   -character.

        OP        Yes, yes, definitely.

        Martins   Chinese is very interesting business, okay? I developed a very
                  strong experience with Chinese. First thing with Chinese is,
                  before doing business with you, they want to have dinner--.
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         OP        Of course.

         Martins   -lunch and drink.

         OP        You know, you worked a lot as-- you heard that expression in
                   Chinese, ‘Guanxi’.

         Martins   Guanxi, yeah. relations.

         OP        That’s the most important, your circle of trusted and loyal and
                   friends, colleagues that you work-- you always prefer to work
                   with them.

         Martins   And they like you to drink.

         OP        I know.

01:20:45 Martins   And after two or three trips to China, every time I got drunk. And
                   then I asked the Chinese that, ‘Why you want to make me drunk?
                   You make me drink so much, why?’. He told me, ‘Look, Mr.
                   Martins, you don’t trust’--.

         OP        People that don’t--.

         Martins   -‘people who do not drink’.

         OP        [Laughs].

         Martins   ‘People who don’t drink have something to hide.

         OP        To hide, because they are afraid that--.

         Martins   ‘So, I don’t-- we don’t like to make business. We do, but we
                   don’t like it. So after you eat, to eat together, we drink together,
                   you tell me about your life, I tell you about my life, we know that
                   I’m dealing with a guy that is not going to screw me, but to
                   respect me’.

         OP        I agree, yeah.

01:21:44 Martins   It’s much better to make a deal with someone that will not screw
                   you.
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         OP        And when they start working with you, it’s for a long time. It’s-
                   - they won’t change--.

         Martins   Today I have a lot of friends in this […].

         OP        In China?

         Martins   Of the companies, and also the government. Industry minister of
                   China start to working with me in Brazil, develop a steel mill in
                   Brazil with Vale and his company, and now he is the minister.

         OP        Really?

01:22:15 Martins   Every time I go to Chine, if I ask, ‘Mr. Xi, let’s have dinner
                   together’, he found a way to meet me.

         OP        Amazing.

         Martins   And he tell me a lot, what--.

         OP        The Chinese believe in long-term relation.

         Martins   Yes, they do.

         OP        They don’t-- because Indians are a bit different, because they--
                   if they have a better deal or something, they will change. But
                   Chinese, no. they will stick with you for a long time.

         Martins   Yeah. if they don’t like you, they change.

         OP        No, if they don’t like you they change, but if they like you - they
                   stay with you.

         Martins   Because you know, Chinese, you don’t have a legal system in
                   China, okay? They are talking a lot about the rule of law, but you
                   don’t have a rule of law. In China, the judge decides like in
                   England. According former decisions, and according his--.

         OP        Impression.

01:23:16 Martins   -impression. So, in China, if you have a contract and they think
                   that something economical or financially changed, you have the
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                   right to change the contract. Which in the western world, you can
                   do, but you have to fight, okay? Once you signed something, you
                   are-- you have to do it, unless you go to the court and you prove
                   that you cannot keep it anymore. In China, it’s given. You have
                   an agreement with Chinese company, and if you don’t have this
                   relationship, when there is a chance against them, they denounce
                   the contract and stop doing it. Because in their legislation, or in
                   their, how you call it, it’s-- there is a term for it, jurisprudence.
                   In jurisprudence, it’s the law that come from past decisions,
                   okay? Or there is a case in battle--.

         OP        There is-- yeah.

01:24:23 Martins   In Brazil it’s Roman, Roman law.

         OP        Roman law.

         Martins   It’s a mess. What-- the law is above your agreement. If I make
                   an agreement with you, and our agreement has something against
                   the law--.

         OP        Then it’s--.

         Martins   -can be denounced by the other part, because even, for instance,
                   you make an agreement with the workers, to work more hours,
                   or to reduce shifts, or-- it’s not recognized legally. So, you make
                   an agreement with works [means: workers], you fulfil your
                   commitments, the work also. But when the works left, go to the
                   court and get everything that was against the law.

         OP        Interesting.

         Martins   Yeah.

         OP        I should come to Brazil, I want to come to Brazil.

01:25:22 Martins   Yeah. it’s an interesting country, too.

         OP        Yes. If we--.
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         Martins   To be--.

         OP        -if we’d need another meeting, since I don’t have plans to come-
                   - would you […] to come to Portugal? Of course we’ll send you
                   a ticket and everything, but--.

         Martins   No problem.

         OP        -because you have now a house and everything--.

         Martins   Yeah.

         OP        -so you always like to come--.

         Martins   No problem.

         OP        -to Portugal and I think it’s--.

         Martins   Go to Portugal, go to here, to London, to Toronto.

         OP        London as well?

         Martins   London.

         OP        Okay, we’ll decide--.

01:25:51 Martins   Any place you need, only give me a--.

         OP        Sure, sure, sure, sure. We’ll coordinate, of course. Charlotte will
                   coordinate with you exactly when it’s convenient for you and
                   convenient for me, and-- excellent. Because we probably would
                   need another meeting before we go on. Because now I have to
                   go back to the clients, and present the-- what happened.

         Martins   Your company--.

         OP        Yes.

         Martins   -you are working for, you’ll be the first experienced in mining
                   over there?
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        OP        Yes. Yes, yes. But as I said, they want to diversify from energy,
                  the investors. Because we said energy is a problematic field
                  today--.

        Martins   Yeah.

        OP        -with all the fluctuation and changes and the--.

        Martins   Regulations.

        OP        -exactly, so they want to go for opportunity in mining.

        Martins   Mining is a natural resource.

        OP        Exactly. And they feel it’s close to what they do.

        Martins   Completely.

        OP        And that’s why-- but we don’t have an experience.

        Martins   Yeah.

01:26:53 OP       That’s why we need a good consultant to work with us, to bring
                  us to a successful solution and outcome.

        Martins   I don’t know how much financially power, who they are.
                  Probably very powerful.

        OP        Yeah.

        Martins   I have one suggestion.

        OP        Please.

        Martins   Which for me makes a lot of sense.

        OP        Okay.

        Martins   Look existing operations. Small, well-managed and profitable.

        OP        But then who is going to sell them? Who is going to want an
                  investment?

        Martins   Okay--.
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         OP        If it’s successful, why should they bring--.

         Martins   No.

         OP        -somebody else?

         Martins   It’s not a question of price, okay?

         OP        But it will be very expensive, no?

         Martins   Maybe, maybe. But you know, if you buy something like that,
                   you buy some expertise together, okay? You buy some cashflow-
                   -.

         OP        Umm-hmm.

01:27:55 Martins   -and you can reduce--.

         OP        The risk.

         Martins   -big part of the risks. You cost, you-- it’s insurance, okay? It’s
                   insurance.

         OP        So you think it’s let’s risky than any operation?

         Martins   This company you buy will do these new things, okay? Because
                   I tell you, Vale, in ’90, when I come to work to Vale, Vale was
                   only producing iron ore. And our CEO, ‘We needed to diversify,
                   we need to do other things, we needed to get out of Brazil, we
                   only operate in Brazil’, so we entered in a huge diversification.
                   Geology, different materials.

01:28:39 OP        But all connected to mining.

         Martins   Connect to mining, but completely different. Because one thing
                   is iron ore, another thing is-- as geology is different, okay?
                   Copper, nickel, every material has a different characters. We
                   went to copper, nickel, we bought […] for instance, for nickel.
                   In copper we didn’t bought anything at all, we developed
                   internally. Coal and-- we made a lot of mistakes by not buying
                   kind of--.
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         OP        These existing operation?

         Martins   A hub. One time we were discussing, I was in the strategy board
                   and Vale-- my company was generate something like-- 2011-
                   2010, we generated $30 billion EBITDA. 3-0 billion.

         OP        Wow.

         Martins   Billion.

         OP        Big, big--.

         Martins   Money was flowing--.

         OP        -big operation.

         Martins   -from everywhere.

         OP        [Laughs].

01:29:42 Martins   And, ‘What we’re gonna do? So, let’s go for oil’. Then we start
                   going some-- buying some farming, or some partnership with the
                   Shell, with Brazilian Petrobras, and other people that was trying
                   to develop oil in Brazil. I only started to mining, but ‘Look, it’s
                   not good because are buying part of it, these guys are operating,
                   so how we are gonna become operating being part of a operator?
                   Long-term, if things go well, they will buy us. And if’--.

         OP        So, you think you should be the operators.

         Martins   Yeah, they will the operators, not us. We only enter with money.
                   And we lost $2 billion doing that.

         OP        By being like, buying something with--.

         Martins   Yeah, buying part of-- so I took the-- our CEO was in--.

01:30:34 OP        Why was, there was a loss?

         Martins   Because the areas we coming together, at the end, you know, it’s
                   very risky, okay? Drilling for oil is one of the risk--.

         OP        Yes, yeah.
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         Martins   -riskiest--.

         OP        Yeah, definitely.

         Martins   For a big oil company, it’s in their portfolio, okay? If they don’t
                   make here, they will make there. It’s a question of probability,
                   statistics. But for one that is entering, you have to drill--.

         Waiter    Food?

         OP        Yes, thank you.

         Martins   -almost certain that you’re gonna get it.

         Waiter    Take your time, I can start the check for […].

01:31:09 Martins   So, we lost a lot of money. And then I come, I go to my board
                   and said, ‘You are in the board of’-- the big company that was
                   sold now, forgot the name, but I remember. ‘The big oil. As a
                   junior - not so big, but very successful, and was’-- and then my
                   boss was in the board over there, and I told, ‘Look, we can buy
                   this guy. By the time this guy was 15 or $20 billion in Canada,
                   why we don’t buy them?’.

         OP        Thank you.

         Waitress Yeah.

         Martins   ‘We have the expertise, they have a lot of tenements. It’s much
                   better than we start to put one billion here, one billion there,
                   without not big chance. And we make this company our channel
                   to develop here’. And then we start discussing, but at the end my
                   boss was fired by the Brazilian government, okay? And we did a
                   move ahead. But I believed that it’s a good start, when you want
                   to go to a different business, buy some things more well-- if you
                   look, you can found it. It’s not-- it’s like scavenging, okay? You
                   needed to look very carefully.

01:32:27 OP        And when they are ready to sell part of it.
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         Martins   You know, many of these guys, they do it to sell. To sell for a
                   good premium, to a big company, it’s their mindset, okay? To
                   make money, it’s-- sometimes the company is listed, then it’s a
                   little bit more difficult.

         OP        But you know, there was for investor, the excitement of buying
                   something new or developing something new.

         Martins   Okay.

         OP        The risk is there, I appreciate, I know. But I can offer that. We
                   can offer that together, when we go on-- we continue doing it.

01:33:04 Martins   This is-- I’m talking this because of my experience in […].

         OP        Yes, yes.

         Martins   Vale after that huge […] investigation, 1974, we’re only
                   Brazilian company with only one business, iron ore. Ten years
                   laters, we were in the five contracts: Canada, Australia--.

         OP        Thank to you, no?

         Martins   My boss--.

         OP        And you.

         Martins   -I helped him. But we made a whole lot of mistakes. For instance,
                   we go to Canada, we bought INCO. The second month there,
                   they answer in a strike, and more than a year, you know the
                   unions in--.

         OP        Yes. Very strong, yeah.

         Martins   We thought that it was Brazilian union, okay?

         OP        [Laughs].

         Martins   And the guys-- how these guys are-- can afford to be stopped so
                   many times? And then we started-- look, and the other, what the
                   guy did in the unions, they sold the feature for a very high price,
                   nickel. And then the nickel collapsed. They bought back, closed
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                   the operation, but they make something like $400 million. In
                   unions! And with this money, they keep paying their workers.

         OP        Pay their-- yeah.

01:34:24 Martins   So, we’re not prepared to face this kind of unions, okay? Also
                   legislation, okay? And sometimes with this stuff, mainly in the
                   labour area, okay? If someone die and you’re a miner, you are
                   persecuted [prosecuted] personally.

         OP        Really?

         Martins   Yeah. so, a lot of things--.

         OP        But if somebody made a mistake working and--.

         Martins   Well, then they need to prove that it was not your fault, okay?

         OP        Okay, okay.

         Martins   That’s true. But first, you are persecuted [prosecuted]. Then you
                   needed to prove that was somebody else’s mistake, okay? But
                   they always think that if someone die in your operation, it’s
                   because you are not taking all the pre-emptive matters. So, a lot
                   of things different. And tax different, okay? And then suddenly,
                   a company that was used to work in the Brazil environment have
                   to handle New Caledonia, Canada, Australia--.

         OP        Wow.

         Martins   -Indonesia--.

         OP        It’s a big operation, no?

         Martins   -China.

         OP        Just the travel budget is like--.

         Martins   Yeah.

         OP        [Laughs].

         Martins   No, at that time, I was used to travel half a million miles per year.
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        OP        No, no, I mean-- so you were gold in all the companies? All the
                  flying, all the airlines?

        Martins   Yeah. We had two corporate jets.

        OP        Ah, you had two--.

        Martins   Two Canadians, global, 500. It was a lot fun, a lot of fun--.

        OP        As you said, money was flowing from all over, so--.

        Martins   Yeah.

01:35:55 OP       I wanted to go back to the—you said that the board knew about—
                  I’m still, always thinking--.

        Martins   You have this thing in your mind.

        OP        Yes, always. I was thinking a lot about it because it’s similar.
                  You said the board was aware of all the signs, and the signs were
                  in Africa, that everything--.

        Martins   Yeah.

        OP        I repeat, so I just want to know. Please, tell me the signs, I don’t
                  have to.

        Martins   The signs you say?

01:36:23 OP       You said there were a lot of signs--.

        Martins   Yeah.

        OP        That the board-- Because of that, the board knew that it’s
                  something wrong with the deal.

        Martins   Yeah.

        OP        So, what were the signs?

        Martins   First, the competitors, always talking to us that: ‘Oh, don’t do it
                  because there is something wrong there’.

        OP        Okay.
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         Martins   Okay? ‘We made investigation--.'

         OP        Ah, they said they made investigation?

         Martins   Yeah.

         OP        Who is the competitors?

         Martins   BHP and Rio.

         OP        Okay, Rio Tinto, okay.

01:36:39 Martins   But they did a lot of mistakes in other areas.

         OP        Of course.

01:36:52 Martins   But you know, they wouldn’t want to--.

         OP        They wanted to interfere with that, yeah. But they-- did they have
                   a proof?

         Martins   No proof.

         OP        Umm-hmm.

         Martins   They hired some intelligence company--.

         OP        Umm-hmm.

         Martins   -normally it’s from Israel.

         OP        Okay.

         Martins   And the company was also from Israel, so they got someone
                   almost insider, okay?

         OP        Ah, really?

01:37:13 Martins   Yeah. Because this guy--.

         OP        So, how come there was no proof if they hired an intelligence--.

         Martins   Oh, it’s because people talk, but they don’t put on paper.

         OP        Okay. So, just talking?
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        Martins   Yeah, it was talk because, you know, this guy, Steinmetz, all the-
                  - all his officers came from Israeli spy agents, what’s the name,
                  it’s--.

        OP        Okay. It’s not CIA, CIA is America--.

        Martins   It’s a kind of--.

        OP        Yeah, okay.

        Martins   -more efficient, more efficient than CIA. So, they, oh my God,
                  The name it comes and goes.

                  01:37:51 – So, in this area, Israel is the most developed country
                  in surveillance, they go to the cloud, they get everything is in
                  cloud.

        OP        So, we have to be careful [Laughs].

        Martins   Yes. No, no, it’s true. Later I’ll tell you why. And—So, they’re
                  having a relationship with them--.

        OP        So, the competition hired, hired some--.

        Martins   Another agents, another company--.

        OP        -to find some proof--.

        Martins   -yeah, yes.

        OP        -some, some.

        Martins   There was no proof, but the guys talked to each other.

        OP        Okay.

        Martins   So, they get the information that something’s wrong.

        OP        And they gave it to you.

        Martins   And they told us--.

        OP        Okay.
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01:38:29 Martins   They told us the, the miracle but they don’t told us the Saint,
                   okay?

                   But they told, ‘Okay, we know that there was some monkey
                   business here, you are putting your hands in something that is
                   dirty, blah, blah, blah, blah’.

         OP        And that’s—the board knew?

         Martins   Knew. And, also, we, why this guy, with no experience in iron
                   ore, bought this tenement for zero. He didn’t pay for it. It was
                   not a bid. Guinea government took 50% from Rio Tinto and gave
                   it to this guy. Strange, ah? So, there is a lot of signals that it was
                   not a clean deal.

         OP        And the board was aware of everything?

         Martins   And board was aware of everything. But, you know, it is the only
                   door open. We enter this door--.

         OP        Because it was open.

         Martins   That’s only the door open, so-- And then we run the risk.

01:39:27 OP        And all the signs were before the DD was done?

         Martins   Before the DD. Before the DD. We did the DD looking for
                   something wrong, okay?

         OP        And the DD.

         Martins   So, you ask me to go all the levels in the corporate structure.

         OP        [Speaking simultaneously] yes, yes, I understood. Okay. Now,
                   now it’s more clear.

01:39:43 Martins   But the money was given by the owner himself. He took from
                   his bank account, somewhere--.

         OP        I see, so there was no trace.

         Martins   Even now we believe it’s not clean money.
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         OP        You want to tell me why to be careful. You mentioned that I--.

         Martins   Yeah, because we had a personal problem with Vale, okay?

         OP        You?

         Martins   Yeah.

         OP        What do you mean ‘you’? you, yourself?

         Martins   Yeah, yeah, yeah.

         OP        You had a personal problem with Vale?

         Martins   Yeah. in the-- I was, I left Vale in 2014. And Vale had a company
                   named Samarco, and I was in the board of this company until
                   2013.

         OP        Umm-hmm.

01:40:31 Martins   In 2014, end of-- no, in 2015, three years later, I left in 2013, and
                   the accident was in 2014. There was a tailing dam structure,
                   okay? Three years after I left the board.

         OP        There was what? An accident?

         Martins   Yes, the tailing dams failed.

         OP        Okay.

         Martins   Killed 20 people. And also destroyed the river, create a
                   environmental issue in the river. And I left the company 30
                   months before the accident. First, I was the board. Only meeting
                   four times per year. Three times per year. Whenever I went to
                   the operation, okay? But I was persecuted [prosecuted] because
                   of it. Personally.

         OP        By whom? By the--?

01:41:29 Martins   By the public persecutors in Brazil.

         OP        Umm-hmm, so […] that.
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         Martins   Okay? And that took me two years to solve--.

         OP        But how come-- you weren’t there, so how come-- I mean, you
                   were not responsible.

         Martins   But I was persecuted [prosecuted]. And it took me two years to
                   get out of it.

         OP        To--.

         Martins   Now I’m completely-- because I got to what they call a, not
                   injunction, but it’s ‘habeas corpus’ […]. So, I-- all the
                   accusations against me once--.

         OP        Were dropped, yeah.

         Martins   -just dropped. And I was not in-- I would not have to be there, I
                   was never to be there. So, I get the final decisions--.

         OP        No charge.

         Martins   -and the public persecutors [prosecutors] didn’t appeal against
                   the decision in my favour, so now it’s clean. And I was really
                   concerned, why? I left the board almost three years before. I was
                   not even on the board during--.

         OP        When it happened.

         Martins   -so, how I could, I would say guessed, three years before that that
                   would be a problem in the dam? Because the problem appeared
                   later, not before. So, but my name is there. And I get some
                   information that former people from Vale, the CEO and the
                   legal, they want to continue to work for Vale, and there was a
                   governmental change in Brazil, and they lost the support of the
                   left-wing […], and I was one of the guy that could be asked--.

         OP        To, to--.

01:43:16 Martins   -and I was in the middle of this process when I got this
                   accusation. And then the new government dropped the invitation
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                   for me, ‘You have this, it’s a big accusation’. It was really tough
                   accusation, okay? I was accused of, you know, how to--
                   homicide. I had--.

         OP        Homicide? Yeah.

         Martins   -I had the intention. I had intention to kill 20 people, and I had
                   intention to destroy river.

         OP        I know you never had intend to kill--.

         Martins   If I, I worked for 50 years, I never had anything in my files,
                   okay? Against me. And there I was out of Vale, Vale was not
                   supporting me even in the legal area, I have to pay everything--.

         OP        All the legal expenses.

         Martins   -for myself.

         OP        Yes.

01:44:08 Martins   More than $1 million I spended with the lawyers.

         OP        Wow.

         Martins   To defend myself. And at the end, I got with this habeas corpus,
                   and the judge put everything there, okay? ‘How a guy, three
                   years before’, all the analyses, that a board member cannot be
                   accused of--.

         OP        Responsible.

         Martins   -something that the officers are responsible, okay? And it was a
                   very good decision for me. And then I looked back and start talk
                   with some people, said, ‘Look, there is something wrong here.
                   Someone framed me’. In Brazil it’s possible. Unfortunately, I
                   have to say, the legal justice in Brazil is not-- with some
                   influence, you can get decisions and you can prosecute who you
                   don’t like. But it’s very difficult to discover it.

         OP        Yes.
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01:45:05 Martins   So I went to a Jewish guy, at-- from this former spy in Israel. He-
                   - these guys, when they leave, they create this kind of company,
                   for-- and I have a meeting with this guy. He told me how much
                   he would like to make the investigation, to see if something--.

         OP        To find out who was behind--.

         Martins   Yeah.

         OP        Okay.

         Martins   And he told me, ‘The only thing you need to give me is the phone
                   number and email. Nothing else’.

         OP        Of whom?

         Martins   From the guys you think that are--.

         OP        Okay.

         Martins   -framing you. And that […] the problems there.

         Waiter    Yes, sir?

         Martins   No, no, I talk with him.

         Waiter    Oh.

         Martins   ‘If you put something written, I’m gonna get it. I’m gonna get
                   it’. They have--.

         OP        And you got something?

         Martins   No, no. I didn’t pay.

         OP        Ah, you didn’t pay.

         Martins   I decided to left behind, this cost me a lot. Not money, but--.

         OP        Yeah. let’s say you find out, what are you going to do?

         Martins   Yeah. if I found, I could--.

         OP        Sue him?
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         Martins   -sue Vale. Because I got this process working for Vale.

         OP        How come they didn’t back you?

01:46:18 Martins   No, at the end they paid.

         OP        Ah, they paid?

         Martins   When I was declared-- when all the accusations was dropped
                   against me, I went to Vale, said, ‘Look, you didn’t pay my
                   expense because you told me that I was guilty. I’m not guilty. So
                   I spend $1 million here, I want my money back, and if you say
                   that you’re not going to’--.

         OP        Pay.

         Martins   -‘pay me, I will sue you, not for a million, but for ten million’.

         OP        For much more, yeah.

         Martins   ‘Because you are obliged to defend someone that was working
                   for you’.

         OP        Exactly.

         Martins   So--.

         OP        They gave you the money back?

         Martins   Yeah. but the new CEO is friend of mine. So I have a very good
                   talk--.

         OP        And who do you suspect was behind it? I’m sure you have
                   suspicions.

         Martins   The former CEO.

         OP        The former CEO?

         Martins   The former CEO and the legal.

         OP        That’s the one who tried to frame you for the responsibility for-
                   -.
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         Martins   Yeah, yeah, yeah.

         OP        -Guinea?

         Martins   His name is Murilo Ferreira. And he was--.

         OP        He was against you all the way?

         Martins   No, he has put there for the left-wings.

         OP        Ah, okay.

01:47:27 Martins   And he was not able to find me at the beginning because I was
                   very strong. The board said--.

         OP        And successful.

         Martins   -yeah. the board said, ‘No, no, you needed to keep him until you
                   know how to handle it’. So three years later, he found a way to
                   retire me. He put that, and now everybody has to fire within 6-5
                   years, it was me. [Laughs] So, then I have to leave.

         OP        [Laughs].

         Martins   And this guy, the-- he’s a legal advisor at […]. This guy would
                   like to be the next--.

         OP        CEO?

         Martins   So, there was a very good combination. One would like to stay
                   two more years--.

         OP        And one wants to replace him.

         Martins   -and the other would love to be the next. So both together--.

         OP        It’s a coalition.

         Martins   -worked against me, okay? I’m sure about it. This is not-- it’s
                   me, okay? I’m sure. But at the end, I talk with my wife and we--
                   .

         OP        Decided not to--.
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         Martins   -discussed together, and it’s-- no, it’s better-- forget it. It’s over.
                   I’ll see you when you come back.

         OP        I tend to agree, I tend to agree. Because otherwise, you all the
                   time--.

01:48:32 Martins   Yeah, yeah, yeah, always suffering about that. Look--.

         OP        I’m sure it was a difficult time for you--.

         Martins   Yes, very difficult. You cannot imagine.

         OP        But at least for-- at least you don’t have damages money, because
                   you got the money back.

         Martins   I got my money. The only thing I lost was two years of suffering.

         OP        Suffering, yeah. which is a lot, huh?

         Martins   Yeah. because I had two years of grace […], two years of […]. I
                   was not good to work for Vale, but I was not good to work for
                   any company.

         OP        Anybody.

         Martins   So, they paid me, but--.

         OP        So you stayed at home for two years?

         Martins   Two years. I could make more money outside, but it was a good
                   pay during this period, okay?

         OP        And you had a little girl, so it was nice spending time with your
                   family, new family.

         Martins   So I lost two years. When I was preparing to come back with
                   some agreements already in place, with Rio Tinto, […], which is
                   good companies, I got the process. So the process worked for me
                   as a continuation of the […], because I have good friends, people
                   that are in the board, and they told, ‘Look, we know that you
                   have no issue here, but I cannot hire you because we are a listed
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                   company, and the next day I hired you I need to explain to the
                   press, ‘Why you hire someone that is accused of homicide?’’.

         OP        Is a-- wow.

         Martins   ‘So, first clean your mess, and then we talk again’.

         OP        And then we can--.

         Martins   So, it cost me two years.

         OP        Sorry to hear that, I, it’s--.

01:50:00 Martins   I work, I give consulting, okay? I didn’t stop, so I keep my brain
                   occupied, the work for, is more--.

         OP        Your family was very thankful for that, probably. You were
                   home.

         Martins   Yeah. some […] yes, but my, I would say, my-- how you say it?

         OP        Feeling?

         Martins   I was not in good mood.

         OP        Frustrated, I’m sure. Yes.

         Martins   Yeah. and not behaving very well, because I was really--.

         OP        Very--.

         Martins   -upset with that.

         OP        -nervous?

         Martins   Yeah. my wife--.

         OP        […].

         Martins   -was not so happy during that time. But anyway, the first two
                   year was marvellous, the last two years was kind of a nightmare.
                   So, only in 2000 and-- I was end of 2018, I got my habeas corpus.
                   So, 2018 was a very good year for me.

         OP        And you’re back on track.
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         Martins   And now I am back on track, a lot of opportunities here and there.
                   I’m doing what I like with this--.

         OP        It’s amazing in “BeGil” 70 to--.

         Martins   Yeah.

         OP        -make, what you like, it’s--.

         Martins   And I love mining, okay? I love, I think it’s something that I
                   learned and I got a very good experience.

         OP        You seem very expert in that field.

01:51:24 Martins   Yeah, and I got a lot of experience, in different situations and
                   different materials. Different countries, okay? I’d say my life
                   was like that, I wake up in China and I was gonna sleep in
                   Mozambique, and then I go to France--.

         OP        Just--.

         Martins   -so different countries.

         OP        It’s amazing, it’s--.

         Martins   And that gave me--.

         OP        Some people don’t like to travel, but I also like to travel, to see
                   countries.

         Martins   Yeah, because that gives you the feeling.

         OP        I agree, yeah.

         Martins   I never forget the day I arrived in Cairo, for a meeting with a
                   person in Cairo. From the airport to the customer office, I was
                   look that something was wrong.

         OP        Something was wrong?

         Martins   Wrong. I saw in the people expression, okay? And then when I
                   arrived in the office, the customer--.
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        OP        Customer?

        Martins   -Omar, was the deputy in the Egypt congress, and was
                  entrepreneur, he was very happy, make a lot of money, and there
                  we have a kind of dinner and we start talking, drinking, and he
                  told-- I told him, ‘Look, Mr. Ezz’, E-z-z. ‘Mr. Ezz’.

        OP        Ezz.

        Martins   ‘Look, I arrive in the airport, I did not like the mood. The officers
                  in the immigration, the taxi driver that bring me here, I don’t like
                  it. I see that people are not happy, something wrong in the air’.
                  And you remember, was the period that this, Arab Spring?

        OP        Yes.

        Martins   Happened in--.

01:53:13 OP       Egypt as well was very--.

        Martins   It happened after, okay?

        OP        Yes. So you--.

        Martins   So I got--.

        OP        -you felt it?

        Martins   Yes, yes.

        OP        It’s ready to burst.

        Martins   Yeah. and because I had a operation in Oman with this Middle
                  East, but a very mild country. Oman is really nice country. Not
                  so--.

        OP        A small one.

        Martins   It’s small, but not like Saudi Arabia, they are not so, how you’d
                  say? Radicalist. Radical. There was a small Arab Spring there,
                  Morocco, and all this countries, and I-- strange, I don’t think
                  there’s something wrong. ‘No!’.
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        OP        Everything is--.

        Martins   ‘We had election last year. Mubarak get 8-- 98% of the votes, I
                  was re-elected, so everything is okay, is working very well’.
                  ‘Okay, you tell me, you are-- I have to accept’, but I went--.

        OP        And how long after that was the--?

        Martins   Two weeks.

        OP        Two weeks?

        Martins   Two weeks after.

        OP        Wow. Amazing.

        Martins   Two weeks. And the Mr. Ezz--.

        OP        So you really felt with the people that--.

        Martins   You feel, you feel. And the Mr. Ezz went to jail.

        OP        Because he was for the--?

        Martins   I saw him in TV, they put him not only in jail, they put in a cage-
                  -.

        OP        In a cage, yeah, they put all the-- yeah, I saw.

        Martins   I saw him there.

        OP        I remember Mubarak was in--.

        Martins   Yeah.

        OP        -in this cage, like that.

        Martins   Yeah.

        OP        On a bed in a cage.

        Martins   Yes. And I talked with my former boss, ‘Look, I talk with this
                  guy three or four weeks ago, I don’t remember, and he told me
                  that everything is okay. Now’--.
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         OP        He’s in jail.

         Martins   -‘in jail’. But you know, he is back to business again.

         OP        Yeah? so he went out of jail?

01:54:58 Martins   Because after the brotherhood, Muslim Brotherhood--.

         OP        There was down--.

         Martins   -okay? […] came again.

         OP        What was his name? yeah, the military, what’s his name now?

         Martins   Sisi, Sisi.

         OP        El-Sisi, el-Sisi, yeah.

         Martins   So, he was free to come back to the business again, but you
                   develop this kind of thing. Because you see different countries at
                   the same moment, okay? One day you are in France, and one day
                   you are--.

         OP        No, but it’s amazing that you saw something, the first time
                   you’ve been to Egypt and you felt that something is not--.

         Martins   Because I feel that in Oman, okay? I feel that in Oman, the same,
                   ‘No, no, here no problem, no problem’. Hey, at least you have
                   the demonstration, because you know, young people, you see
                   what is going on in Lebanon now, okay?

         OP        Yeah.

01:55:48 Martins   It’s young. They like this-- well--.

         OP        Listen, the young people is always-- did you remember France
                   in ’68?

         Martins   Yeah.

         OP        Daniel Bendit-- red Daniel and--.

         Martins   I remember. Cohn-Bendit.
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         OP        -worked counter-- yes. And in Germany, and in--.

         Martins   Everywhere, in Brazil.

         OP        -in the States.

         Martins   Yeah.

         OP        Berkeley and all the students against the Vietnam war, and
                   everything.

         Martins   Yeah, yeah, yeah.

         OP        All the young.

         Martins   They are young. And so I saw it happen in Oman, which was the
                   last country, I wouldn’t think that something like that would
                   happen.

         OP        Something would happen.

01:56:20 Martins   But you know, the former guy in-- the King of Oman, very clever
                   guy. El-Sisi knowed something was wrong, they look, all the
                   corrupt officer look--.

         OP        Took out--.

         Martins   -from […] took them out.

         OP        Even the Saudi ruler now also--.

         Martins   Yeah.

         OP        -cleaned a lot of his--.

         Martins   Yeah, yeah.

         OP        -stables, as you say.

         Martins   Exactly. So, because it is a very, in the Middle East--.

         OP        There is a movement. Yeah, yeah.
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         Martins   -in the Middle East, yourself and your opposition, the
                   government, is very mixed. You never know if you are doing a
                   business--.

         OP        Yes.

         Martins   -for the king or doing a business for you. Sometimes you are
                   doing both. So, these guys do whatever they want, okay? They
                   give you permits, they give you this, they give you that. But the
                   people are becoming against it, so I saw it happen in Oman, I
                   saw it happen in Egypt. I also have some operations in Bahrain.

         OP        In?

         Martins   Bahrain. Bahrain.

         OP        Where is it?

         Martins   Bahrain is in the gulf, Bahrain.

         OP        Bahrain, yeah.

         Martins   In the gulf.

         OP        Yes, yes, yes.

01:57:42 Martins   Middle East is complicated also.

         OP        Yeah, it’s complicated.

         Martins   But you don’t have too many political changes, so even if you
                   make some wrongdoing, it’s much difficult--.

         OP        Look what happened in Syria. A war that cost--.

         Martins   Yeah.

         OP        -I don’t know. Wow.

         Martins   Wow.

         OP        Yeah, I think I have another meeting, so-- even though I would
                   continue the conversation with you forever.
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         Martins   Okay, but thank you very much for invitation, okay?

         OP        No, it’s my--.

         Martins   It doesn’t matter--.

         OP        -my pleasure, my pleasure, really, I enjoyed the time very much.
                   And I will go for a positive recommendation, and we’ll be in
                   contact.

         Martins   Very good.

         OP        As I said, the process will be probably another meeting--.

         Martins   Okay.

         OP        -that I will finalize some other, maybe-- my investor would have-
                   - before you meet them, to ask question, to see--.

         Martins   Okay.

         OP        -and then we’ll sign an NDA--.

         Martins   Okay.

         OP        -and then sign a contract. As I said, 0.5% of the operation.

         Martins   [Laughs].

         OP        Which is, I think--.

01:58:45 Martins   Not bad.

         OP        -not bad, not bad. I know it will take time, effort, but I mean, the-
                   - because we believe that for good people, you have to pay.

         Martins   Umm-hmm.

         OP        Otherwise--.

         Martins   I liked the issue because I like challenge. But if the challenge
                   comes with some money, it’s even better.

         OP        [Laughs] nobody works for free, sorry--.
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        Martins   No, no, or the watch.

        OP        -I don’t believe in-- huh?

        Martins   Or the watch.

        OP        I don’t believe in free working, doesn’t work.

        Martins   Only the watch works for free.

        OP        Exactly.

        Martins   And you have to pay for the watch.

        OP        And you have to pay for watch, exactly.

        Martins   Yes.

        OP        And you have to move it so it works, so--.

        Martins   Yeah. but anyway, thank you very much. It was very nice.

        OP        It was-- enjoy the rest of your stay in New York, good shopping.

        Martins   Thank you, because it’s two days free in London thanks to you.

        OP        In New York, yes.

        Martins   In New York, thanks to you.

        OP        Pleasure.

        Martins   Okay.

        OP        For me, I learned a lot. Really. It’s, thank you for sharing your
                  ideas, your views. It’s very important.

        Martins   Okay.

01:59:51 OP       I really appreciate that.

        Martins   I did my best.

        OP        And I feel like we get in good contact, good--.

        Martins   Sure, sure. I think that--.
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         OP        -I hope it’s mutual.

         Martins   Yeah. I think we-- even if we don’t have business, we start a
                   good relationship.

         OP        Exactly.

         Martins   At the end--.

         OP        That’s the most important. Good.

         Martins   Okay, thank you a lot.

         OP        I pay for that, and-- you want to stay here?

         Martins   No, no, I was gonna walk.

         OP        I hope it’s not raining […].

02:00:18 Martins   I hope so.

         OP        I need to ask my […]. Shall I pay you?

         Waitress Yes, sure.

         OP        We had a […]. Thank you. No, I’ll pay.

         Martins   So, thank you Alex.

         OP        Like in France, two kisses.

         Martins   Yeah. in Brazil you say, ‘You give two kisses to marry, and three
                   kisses to marry again’.

         OP        Ah, okay.

         Martins   You know?

         OP        I don’t feel power to marry again, please. I will stick--.

         Martins   […].

         OP        -I will stick to my--.

02:01:11 Martins   One kiss means love. Two kiss means marry. Three kiss means
                   marry again.
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         OP        In French it’s two kisses, two kisses. Very good, thank you.

         Martins   In Russia they kiss a kiss on the lips.

         OP        The lips? Really? Oh. No, in France, two kisses.

         Martins   No, France is good. In Brazil also, we kiss each other. So--.

         OP        Thanks very much. […].

         Martins   Thank you very much.

         OP        Good shopping.

         Martins   Thank you very much.

         OP        And good flight back home.

         Martins   Okay, […].

         OP        And yeah, I’ll send you an email after the-- to see how we
                   continue.

         Martins   Thank you, Alex.

         OP        Thank you very much.

         Martins   Have a nice stay.

         OP        Thank you. Until tomorrow, it’s not long, no?

         Martins   Yeah. bye-bye.

         OP        Bye. How much?

02:02:10 Waitress It’s 162.22.

         OP        Make is 180, it’s okay?

         Waitress Thank you.

         OP        I just need a receipt.

         Waitress Sure, you can take, please.

         OP        Ah, okay.
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          Waitress Thank you, sir, here you go.

          OP        I just need my coat, and--.

          Waitress Yes, sure.

          OP        Thank you. Thank you. Where’s the restrooms please?

02:03:06 Waitress […] to the right.

          OP        Thank you. Thank you, bye-bye. Where’s the restrooms?

          Waiter    Yes, around here to the right.

          OP        Thank you.

          Waiter    You’re welcome.
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   Full Transcript of
  Third Meeting with
  Jose Carlos Martins
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Meeting – March 30, 2020

Name of recording: Call 2020.03.30 14.54.24

Duration of recording: 01:21:08

  Time       Side                                Transcript
  stamp

 00:00:00 OP          [Making call]

                      00:06:14 - Hello?

           Martins    Hello? Yes.

           OP         Hi.

           Martins    How are you?

           OP         Fine, and you?

           Martins    Surviving. [Laughs]

           OP         Hi, how are you? It’s good to see you even like that.

           Martins    Yes, yes. My pleasure to see you.

           OP         Yeah. How are you? How do you manage?

           Martins    I’m well, and my family also. But the situation is becoming very
                      critical here, okay?

           OP         Yes, I know. I know.

           Martins    And for the time being it’s under control, but we don’t have kind
                      of, I would say, coordination.

           OP         In Brazil?

           Martins    Our-- yes, our president wants people to go to the streets, to start
                      working--.

           OP         Really? There is no--.

           Martins    -to see--.
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         OP        -so all-- everything is open?

00:07:01 Martins   No, no, because the governors from the, every state, they decided
                   to shut down partially, okay?

         OP        Okay.

         Martins   So, everybody is at home, everybody is kind of quarantined, and
                   some-- the supermarket, drugstores, are open. So, partially
                   closed, okay? but with social isolation, social distant and all of
                   these things. But because the governors did that. But the
                   president of the country is nuts, completely. And he want
                   everybody to come back and it’s a crazy guy. It’s crazy.

         OP        He is like Trump, he’s like Donald Trump.

         Martins   No, he follow Trump everything. He loves Trump. He told once,
                   ‘I love you’.

         OP        [Laughs] he wasn’t sick, your president? He had--.

         Martins   I believe he got it, I believe he got it and-- but without symptoms,
                   okay?

         OP        Ah, I see, okay.

         Martins   That’s the reason he told, ‘I want to do it, I don’t do that, there is
                   no problem with me, I will survive’, blah blah blah, blah blah
                   blah. But he is putting people life in danger, okay?

         OP        Yes, I’m sure.

00:08:29 Martins   Anyway, we needed to increase the hospitals, the city-- you
                   know, this intensive therapy units, okay? Because the specialists
                   say that it will spike in the next two weeks. Up today it’s not that
                   big, it’s 2-- almost 3,000 cases.

         OP        Yes, and how many dead?

         Martins   140 deads.
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        OP        Umm-hmm.

        Martins   And a lot of people have no symptoms, but it’s spreading. It’s
                  spreading everywhere in Brazil, and you know, we have very
                  poor people, and-- living in the […]--.

        OP        Yes.

        Martins   -it will be terrible, I believe. And the medical system wouldn’t be
                  able to support if everything happens in the same time. Like it
                  happened in Italy, or-- if it was difficult for Italy, Spain, imagine
                  in Brazil. Even--.

00:09:29 OP       What’s going to be in Brazil or in places like that, yeah.

        Martins   Even United States, it’s amazing how much people are dying,
                  how many people are get infected.

        OP        Yeah, but you know, the health people in the States is not so
                  amazing.

        Martins   Yeah.

        OP        They have good private hospitals, but the general public hospitals
                  are not so good.

        Martins   Yeah, yeah. You know, in Brazil we have more therapy intensive
                  rooms than United States. It’s amazing.

        OP        It’s amazing, amazing, yeah. Because everything is private there,
                  so--.

        Martins   Yes.

        OP        -I’m sure people don’t want to go to hospitals, just because you
                  have to pay money for the checks and everything.

        Martins   Yeah, yeah. yeah, there is no--.

00:10:09 OP       So, how do you manage with food?

        Martins   All the supermarkets are open.
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         OP        Umm-hmm.

         Martins   And for the time being, we have no problem with food, okay?
                   But as time--.

         OP        Because in-- sorry, go ahead.

         Martins   As time goes by, probably the situation will be worse, because
                   you have a lot of thing already produced and some areas in the
                   countryside are working, but the disease is spreading, okay?

         OP        Yes, yes. Unfortunately.

         Martins   Far reach, and it’s amazing. We have in a state which is close to
                   Bolivia, and if you know Brazil, it’s far away from the big
                   centres, and they have already 20 cases, okay?

         OP        How much? Hello? [Internet interruption]

00:11:04 Martins   The jungle, the jungle, okay? Close to the Bolivia, it’s very, very
                   isolated area, and the virus was able to get there. It’s amazing.

         OP        Really? How? How? How?

         Martins   You never know. Someone, people that came to Sao Paolo or Rio
                   got it, and when they came back they contaminate the, this area,
                   okay? So, now the big task is to identify the ones that have the
                   virus and separate them. But we have-- we didn’t bought enough
                   masks, and oh my god, it’s amazing how we were unprepared,
                   okay?

         OP        Yes.

         Martins   Because--.

         OP        Yes.

         Martins   -we saw what was going on in China, we saw what they did, but
                   our president, ‘No, no, it’s a, it’s just no bad cold, no problems.
                   It’s no problem’.
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         OP        It’s no-- everybody thought ‘It’s not going to touch me’, huh?

         Martins   Yeah, yeah. And the problem, main problem is old people, okay?
                   Big part of the people that died in Brazil is above 60.

         OP        Yes. Yes.

00:12:14 Martins   And big part have some pre-diseases.

         OP        Diseases, yes.

         Martins   But you have some spots, okay? Some guy that you look, ‘Why
                   this guy died? He’s young’. You know, you never know. It’s a
                   lottery.

         OP        You never know, yeah. It’s very difficult to say what’s going to
                   happen to you if you are, god forbid, sick.

         Martins   Yeah. In my case, as I am 70, okay? I have good health, but you
                   know, when you are 70 you always have some problems here and
                   there, okay? I have a pacemaker, okay?

         OP        Ah, okay.

         Martins   And I stopped-- it’s interesting, because I always had a very low
                   frequency, okay?

         OP        Okay.

         Martins   Very low. 45, 50, all my life.

         OP        It’s good.

         Martins   Yeah, but when I stopped working, when I retired from Vale, in
                   2014, immediately my frequency went even below that. And--.

         OP        Okay, because the pressure is-- the less pressure.

         Martins   Yeah, no stress, no adrenaline, okay?

         OP        Yes. [Laughs]

00:13:29 Martins   So, then I went to 30, 35, sometimes I went--.
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         OP        Wow!

         Martins   -to lowest, 15. And then the doctor said, ‘You don’t have a
                   problem in your heart, but you needed to put a pacemaker
                   because your system of’-- because it’s a new-- it’s a different
                   device that we have near the-- it’s near the heart, but it’s not in
                   the heart, okay?

         OP        I see, I see.

         Martins   And this is failing, so I put this pacemaker--.

         OP        Pacemaker.

         Martins   -and I get my life much better after that. So now I am three years
                   with this pacemaker, but-- it’s very good, but my doctor said,
                   ‘Look, it’s not cardiopathy, do I don’t believe you are exposed,
                   but, but’--. [Laughs]

         OP        But to be on the safe side, yeah, yeah, he’s right, he’s right.

         Martins   He’s probably right, okay?

         OP        [Laughs] He’s right. And how is your family doing? Your
                   daughter and your wife? What-- I mean--.

         Martins   Yeah.

         OP        -it’s not easy.

00:14:28 Martins   Let me take-- yeah, it’s-- difficult to me is not to have a contact
                   with my old son and daughter, okay? I have three from my first
                   marriage, and I have 8 grandchildren.

         OP        Wow. So that’s the most difficult, huh? Yeah.

         Martins   They are all isolated. They are all-- they are isolated in their
                   homes, I follow up every day and it’s okay, nobody got it. But
                   you know, you never know if you got it or not, because you
                   needed to test, okay?
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        OP        Yes, yes.

        Martins   And as I was travelling in these two first months of the year, I
                  went to five countries. I went to China, I went to Portugal--.

        OP        So you never, you never know, huh?

        Martins   -I went to London, so I don’t know if I got it.

        OP        Yeah, yeah.

        Martins   I don’t know, okay?

        OP        And we’ve been together--.

        Martins   And--.

        OP        -we’ve been together in New York.

        Martins   Yeah, yeah. And you tested also, or not?

        OP        Sorry, test? No, no.

        Martins   No.

00:15:30 OP       But I feel okay, I mean, I was-- in the end of February I was skiing
                  in Switzerland.

        Martins   Uh-huh.

        OP        After our meeting, the last week of February I was skiing in
                  Switzerland, and now all of a sudden everything, you know.

        Martins   Yeah. Even Switzerland got-- there’s a lot of people [Internet
                  interruption].

        OP        Yeah, yeah, even Switzerland, I know. And I was skiing--.

        Martins   It’s a small country.

        OP        -I was skiing on the border with Italy, so--.

        Martins   Yeah, when everything is started, okay?

        OP        Yeah. Yeah.
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         Martins   I remember during January, I was in Portugal, and I went to China
                   and back, and I told my wife, ‘Let’s go to Italy. I would like to
                   stay in that area of Dolomites’, and things like that.

         OP        It is beautiful, yeah?

         Martins   Beautiful, but it was a region that had this coronavirus. But at the
                   end there was no rooms for that, because it was fully booked, and
                   then I decided to stay in Portugal the whole time. But if I had
                   been there, probably we could-- [Internet interruption] big
                   chance.

         OP        Probably, yeah, you could got it, yeah. Exactly.

00:16:39 Martins   But anyway, Alexander, we are gonna survive, and we are going
                   to--. [Video disruption]

         OP        Let’s hope so, yeah, yeah.

         Martins   Yeah, yeah. I’m confident, okay?

         OP        I just want to apologize, you might not see me well, because what
                   happened, in my computer, I spilled coffee on the computer. So,
                   it could be that there is a bit of-- do you hear me? Hello?

         Martins   I see you, I see you. Yes, I hear you.

         OP        Yes, but--.

         Martins   Are you there? Oh.

         OP        Yes, yes, but the-- maybe there’s some coffee in the-- [Video
                   disruption] hello?

         Martins   Now your image disappeared.

         OP        Wait. Now it’s okay?

         Martins   I-- [Internet interruption] now you are back, you are back.
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00:17:25 OP       Ah, no, I’m saying I might have some coffee in the camera in the
                  computer, so that’s why it’s a bit-- so I ordered a new one, but
                  it’s hasn’t arrived yet. So, I’m sorry about that, huh?

        Martins   [Laughs] No, no, but I can see you.

        OP        Okay.

        Martins   It’s a little bit, some mist, okay?

        OP        Yes, I know, that’s because I think there is some water or coffee
                  in the computer, in the camera, so what can I do? I mean, I’m
                  waiting for a new computer.

        Martins   It changed--. [Audio disruption]

        OP        I’m waiting for a new computer, so--.

        Martins   But seems you are in the foggy, foggy.

        OP        Yeah, so I-- yeah, sorry about that, huh?

        Martins   Oh, no problem, no problem. But I can hear you perfectly.

00:18:06 OP       First of all, I’m glad to see you even like that, and we couldn’t
                  meet, we couldn’t have a drink together, that’s pity, but--.

        Martins   Yeah.

        OP        -we’ll do it as soon as everything is over, yeah?

        Martins   Yeah, but you know, we-- I have some friends, and we have
                  happy hours some days, at afternoon, we linked together and then
                  we drink. They drink there, I drink here.

        OP        Drink together.

        Martins   Yes, yes.

        OP        It’s with Zoom, no? Skype? Zoom?

        Martins   Yeah, that. It’s very good, Zoom.

        OP        Zoom, yeah.
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        Martins   Very good. But you can do it also in the WhatsApp.

        OP        Yeah, yeah.

        Martins   Facetime, there is a lot of-- Skype for business, and you have a
                  lot of different […].

        OP        Yes, yes, a lot of possibilities. But anyhow it’s very nice to see
                  you again.

        Martins   Yeah, yeah, yeah. Also. [Laughs]

        OP        [Laughs] I wanted to discuss with you a few things about-- still,
                  the business. Because we have to think about the time when we
                  can go on with the business.

        Martins   Yeah.

00:19:05 OP       So, the next steps that we’re going to-- and I have some questions
                  that I want to make in order to prepare for the clients and
                  everything, and to discuss with you how we can continue
                  working together, you know, with the-- money-wise and
                  everything, okay?

        Martins   Umm-hmm. Okay.

        OP        As I told you, the clients are in just before the due diligence for
                  the project. They haven’t started yet.

        Martins   Not yet.

        OP        No, not yet. I want to discuss with you a few things before the
                  due diligence--.

        Martins   [Audio interruption].

        OP        -to understand, because you have all the experience and
                  everything.

        Martins   Yeah.
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        OP        But I want to discuss with you, if we go on and continue, as I told
                  you, if the business and the deal will be signed, it’s 0.5% of
                  success fee.

        Martins   Okay.

        OP        You remember, we discussed it in New York.

        Martins   Yes, yes.

        OP        But in the meanwhile, you’re going to work for me a little bit,
                  because we’ll talk about what to do in […], because what’s the
                  next stage is I’m going to send you an NDA from our lawyer,
                  from our legal consultant. You have to sign it and then we can
                  send you details about the place, about the partners, about
                  everything. Because, you know, we need NDA definitely.

        Martins   Sure, sure. I fully understand.

00:20:29 OP       So, the next stage is NDA, okay?

        Martins   Okay.

        OP        Then I want to discuss with you a few thing about the due
                  diligence, and then-- but before we discuss that, in the
                  meanwhile, while you will give me your consultancy about the
                  process of the due diligence, and then how to present it to the
                  board of directors and to investors. How do you see the money--
                  the arrangement between us? Because the 0.5% is a success fee.

        Martins   Yes.

        OP        It will take time. So, in the meantime--.

        Martins   I understand.

        OP        -what is your expectations from us if you continue to work
                  together?

        Martins   Perfect. You want disaster now?
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         OP        You can think about-- no, okay. [Laughs] I know it’s morning,
                   you have to think, but think about it.

         Martins   No, no, you know, today, you see, I’m at home, okay?

         OP        Yes, I know.

00:21:28 Martins   So, I have plenty of time, and I’m doing some work. I told you, I
                   work for a Brazilian mining company.

         OP        Yes.

         Martins   And-- but it’s not the whole time. They are in the iron ore
                   business, okay? I also-- I’m the board member of some
                   companies, but not in copper, but mainly in iron ore. I mainly
                   work in iron ore business, okay? So, that’s what I’m doing today.
                   Any additional money that I can make is good for me, okay?

         OP        Of course.

         Martins   Considering this situation now. [Laughs]

         OP        I understand, I understand--.

         Martins   So--.

         OP        -completely. So--.

         Martins   I am completely open to discuss with you what is reasonable for
                   you and for me--.

         OP        Okay.

         Martins   -and how much dedication you need in this period, okay? But
                   only to give some figures, okay?

         OP        Yes, please.

         Martins   I work with this mining company in Brazil, okay?

         OP        Umm-hmm.
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         Martins   And they are me paying today an equivalent of $20,000 per
                   month, okay?

         OP        Okay. From them?

         Martins   I have-- I’m a board member in two companies that pays me
                   $5,000 each per month, okay? As a board member, okay?

         OP        What is the scope of the work for the mining company? How
                   many hours? How many days a month?

00:22:51 Martins   You know, this is very open, because it’s mainly about the
                   relationship, okay? So I have--.

         OP        I see.

         Martins   -a lot of relationship in the iron ore business. With customers,
                   with another mining companies. So, the main job I do for them is
                   this, kind of, open doors, giving some advice about some
                   problems they have in the operation market-wise. So, it’s very
                   opened, okay? And they promised me to give 10% on the
                   company, okay? But for the time being, you know, it’s
                   impossible to go forward with this discussion. Because to get
                   10% I needed to be much more involved.

         OP        Involved.

         Martins   I needed to move-- I needed to move from Sao Paolo city to Belo
                   Horizonte. If-- I don’t know if you’re aware about Brazil.

         OP        No, I-- unfortunately I haven’t been to Brazil yet, you know.

00:23:49 Martins   You know, Minas Gerais state is like Canada, it’s a mining state,
                   okay?

         OP        Okay.

         Martins   That’s a mine-- Minas Gerais is translate for ‘general mines’,
                   okay?

         OP        Umm-hmm, okay.
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00:24:19 Martins   [Video interruption] for ‘general mines’. And Belo Horizonte is
                   the capital, like, something like in Toronto where you have all
                   those […] company, okay?

         OP        Yes.

         Martins   As in Toronto. Minas Gerais is kind of a hub for mining.

         OP        Okay.

         Martins   You have a lot of people, a lot of expertise, and so I needed to
                   move there to work close with them. So, it’s not the moment to
                   discuss it. But my ideas in the future is to join them, okay?
                   Depend up what happen.

         OP        Okay.

         Martins   So, I make $20,000 here, $5,000 there, I give some-- for instance,
                   I have a Japanese steel maker and he pay me $3,000 per month
                   only for having a dinner or a lunch with them every month and
                   answer their question about what’s going on in the market, and
                   things like that. So that’s what I’m doing today.

         OP        Okay, okay, so--.

         Martins   I’m not really--.

         OP        Okay, I have the idea. Of course, with us it’s going to start slow,
                   and it’s going to move forward--.

         Martins   Yeah.

         OP        -more, and then we have to make it gradually, the--.

         Martins   Yes. For me, I want to-- I would like some kind of a retainer fee.

         OP        Okay, okay.

         Martins   And if we get the final result, you can discount what you pay me
                   during the retainer fee period, okay? I’m--. [Audio interruption]
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00:25:40 OP       Fair enough. Fair enough. Fair enough. I completely understand.
                  Okay, let me think exactly how many hours do we need at the
                  beginning and what’s-- and then I’ll--.

        Martins   Okay.

        OP        -I’ll make you an offer based on what you just--.

        Martins   Okay.

        OP        -discussed now.

        Martins   Okay, okay, perfect.

        OP        And I understand you need for some income now, definitely, I
                  completely understand. As I told you before, my policy is I don’t
                  like people to work for nothing. They need to get something.

        Martins   [Video interruption] You know, I worked for a period of time for
                  Rio Tinto, okay?

00:26:22 OP       Yes.

        Martins   You know Rio Tinto. And they’re a big company, okay? I stay
                  with them two weeks, working for them, but they would like to
                  pay me by day, and I told them, ‘Look, the knowledge I have,
                  you never pay me by day, because I can give you something that
                  you make a whole of money about that, okay?’.

        OP        Yeah, yeah. And your experience in--.

        Martins   So, I was-- [Audio disruption] so I asked them to have some kind
                  of a long-term agreement--.

        OP        Yeah.

        Martins   -and at the end they didn’t agree, okay? They didn’t agree. So,
                  we didn’t move forward. But I told them, ‘Look, this is my 50-
                  years’ experience in the industry and mining’--.

        OP        Yes, yes.
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         Martins   -‘and everything, so’--.

         OP        And all the connections and everything.

         Martins   -‘in one hour-- in one hour I can give you more than two years
                   working, or someone working for you for two years and not give
                   something that I can give you in an hour’.

         OP        Yes.

00:27:15 Martins   So, it’s different. In this case you raise, it’s-- I understand it’s
                   copper, okay? As far as you told me was copper, Peru, okay?

         OP        Yes.

         Martins   It’s a green field project, nothing is done, it’s only the resource,
                   okay? So, it’s-- when you due diligence in a resource, it’s
                   different when you do a due diligence in a company, in operating
                   company.

         OP        Yes, yes, yes.

         Martins   And it can be much easier, okay?

         OP        Okay.

         Martins   It can be much easier.

00:27:51 OP        Anyhow, so what I’ll do, I’ll send you the NDA and I’ll send you-
                   -.

         Martins   Okay.

         OP        -an offer for employment, okay?

         Martins   Okay.

         OP        In terms like, a letter of intent, that, what kind of arrangement--.

         Martins   Okay.

         OP        -we’re going to do. But before that, as I told you, the clients are
                   now before the due diligence, okay?
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         Martins   Okay.

         OP        And I want your advice already, according to the due diligence,
                   due to your experience from last time that we discussed, because
                   you have a lot as experience--.

         Martins   Okay.

         OP        -and that’s exactly what we are looking for, okay?

         Martins   Okay.

         OP        So, I want to go back to continue the-- for the meeting that we
                   have been-- we conducted in New York, and to ask you about the
                   case that you raised last time that is very similar to our case now,
                   the one in Africa.

         Martins   Umm-hmm.

         OP        Remember? The one in Guinea?

         Martins   In Africa. In Guinea, yes.

         OP        The one of-- the iron ore in Guinea.

         Martins   Yes, yes. That was a very, very big project, okay?

         OP        Yes.

00:29:00 Martins   And we got a lot of problems in those project. Only to give you
                   the numbers, okay? was a big iron ore mine, completely brand
                   new, not very good geological survey. We have to do it, we did
                   it after we bought it. So, it was a lot of risk involved okay?

         OP        Yeah.

00:29:26 Martins   The partner was kind of a complicated partner, I told you the
                   partner--.

         OP        The one that you talked about-- it’s the Israeli guy, no?

         Martins   Yes, yes. Beny Steinmetz.
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         OP        Okay.

         Martins   You know, this guy is under-- if he goes to the United States,
                   he’ll put in jail immediately.

         OP        Really?

         Martins   So-- yes, he cannot leave Israel because if he leaves Israel, he
                   would be jailed by Interpol. And the guy was quite complicate. I
                   told you, he was before involved in diamonds. And if you saw
                   that movie, Blood Diamond.

         OP        Blood Diamond, yes, with Leonardo DiCaprio.

         Martins   Yes, that. This guy is work for the family that was involved--.

         OP        Really?

         Martins   -in those big, big messy. Sierra Leone, Liberia, was-- the guy was
                   really, really complicated. And at the time, we decide to go
                   because it was very important for Vale to go. It was one of the
                   biggest challenges for the company. And as I told you, you have
                   to discuss it with the board and we open everything for the board,
                   we made a due diligence, we never found anything wrong. We
                   did due diligence, but we know that there was something wrong,
                   okay?

         OP        Yes.

00:30:53 Martins   And so, we made an agreement with them. We value the mining,
                   the resource for $5 billion, okay?

         OP        Wow.

         Martins   And we decided to buy 50% and to carry on the partner, okay?
                   So, Vale would make all the investment, we negotiate kind of
                   interest rates on the investment we are going to do based on their
                   participation.

         OP        Umm-hmm.
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         Martins   We gave them $500 million in advance.

         OP        Okay.

00:31:31 Martins   So, we establish a company, a joint venture between this Beny
                   Steinmetz company and Vale, and we start making the geology,
                   deep-- making the drills and everything, and start making the
                   engineering for developing the project. And from the time the
                   problems starting appear, Vale had already put $800 million on
                   top of the 500. So, $1.3 billion was put. And then what--.

         OP        Wow. Big investment.

00:32:08 Martins   The government-- I told you, there was a change in the Guinea
                   government, and the new government took the Mr. Steinmetz
                   rights back.

         OP        Umm-hmm.

         Martins   So, at the end, we have-- we put $1.3 billion and we had nothing.

         OP        Wow.

         Martins   So, you can imagine. A big part of this grey hair came from that.
                   [Both laugh]

         OP        Yes. Yes.

00:32:38 Martins   Because I was deeply involved in this project and there was a lot
                   of talks about corruption here, corruption there. At the end, as I
                   told you, there was a decision just six months ago, and Vale was
                   completely free from any accusation, the management of Vale
                   also, and all the accusation remains on this Mr. Steinmetz. He
                   gave money for someone in Guinea government, and the new
                   government arrive, I don’t know if they want money-- [Video
                   cuts].

         OP        Hello?
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00:33:25 Martins   And-- [Video interruption] So, now there is what was from Vale
                   and Mr. Steinmetz, but the name was VBGR, something like,
                   Vale Steinmetz Guinea Company, was--.

         OP        Okay.

         Martins   We made a […].

         OP        Okay.

         Martins   The joint venture is there, Vale sued Mr. Steinmetz and got
                   several decisions in favor of Vale. But Mr. Steinmetz has no
                   money to pay back, at least not in the company, okay?

         OP        Okay.

         Martins   Maybe he has a lot of money personally, but the company has not
                   money to pay Vale back.

         OP        Yes.

00:34:14 Martins   But now--.

         OP        Yes.

         Martins   -Chinese got it. And it was a very tough experience, so when you
                   make due diligence in a resource like that, you have to follow up
                   [Video disruption] and Peru lost, okay? You needed to
                   understand how it works in the mineral rights in Peru.

         OP        Yes.

         Martins   Peru is a mining jurisdiction. As far as I know, they have good
                   mining, I would say, legislation. When I was in Vale, we bought
                   one phosphate rock resource there--.

         OP        In--. [Audio disruption]

         Martins   -in Peru, and it was very successful, and now Vale sold it back to
                   a Canadian company, okay? Forgot the name, but now it belongs
                   to a Canadian company.
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         OP        Umm-hmm.

         Martins   And that is involve the phosphate rock production. It’s a big
                   company. And-- but the Vale experience in Peru was not bad. It
                   was good. As long as you-- you need to have some kind of--
                   [Video disruption].

                   00:35:40 - Where the [Video disruption] to see how-- because
                   normally, this-- in Peru, things come together. You don’t have a
                   isolated resource. Normally, you have other nearby. So you can
                   see easily how the communities work with those resources
                   around. So--.

         OP        Okay. Okay.

00:36:01 Martins   -I believe Peru, Chile-- [Video disruption] okay? They
                   understand that they are main source of revenues for the
                   countries--.

         OP        Revenue.

         Martins   -so they need to have something good. But community
                   relationship is very important.

         OP        Yes, I know, I know.

         Martins   Because at times, you do everything according to legislation, but
                   the community can bring you a lot of problems if they decided
                   to--.

         OP        Sure, sure, I know. I know, yeah.

         Martins   -to get money from you, okay?

00:36:39 OP        About the case that you mentioned, I want to ask you, because
                   it’s very related to what we are-- our business. You’ll understand
                   when you get more details, but did Vale understood that they
                   cannot rely on the statements of the company from before the
                   project did-- it was understood that it’s not reliable?
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         Martins   No. The partner was considered not reliable from the beginning,
                   okay? That’s the fact, okay? Because we understood that he got
                   the permits not in a straight way, not according to legislation.

         OP        I see. I see.

00:37:22 Martins   But on the other hand, we know that Africa is all about it, okay?

         OP        Yes.

         Martins   It’s impossible to go to Africa--.

         OP        To get anything-- to get, to get-- yes.

00:37:34 Martins   Yes, without getting your hands dirty, okay? We know that he
                   got it in a way that we-- but we, Vale’s company, would never do
                   it because we are listed in New York so, we did all the due
                   diligence, okay, if they did something, we needed to found. And
                   then we didn’t found anything wrong so-- but I told you, when I
                   was in the board, I told the board in a very, very open speech,
                   ‘Look, I'm going to this with my nose blocked.’

         OP        Closed.

         Martins   Because there is some bad smell here. And it happened later. Not
                   because the guy did something wrong, the reason was the change
                   in the government, okay?

         OP        Yes.

00:38:21 Martins   And that risk, we analyze it, okay? You got this permit, the
                   permit is not definitive, we know that there is some steps to get
                   definitive permit, it was provisory permits. And we make this
                   evaluation, and we analysed the-- because the government at
                   that time was under a military intervention, okay?

                   00:38:51 - And I went to Guinea, I talk with this militar [means:
                   military] guy and he told me that he would like to make this
                   happen, this project happen, he [Internet interruption] very hard
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                   to make a democratic transfer of the power from him to
                   someone elected by the people of Guinea.

                   00:39:16 - And the election was done, and I told you that Mr.
                   Steinmetz told me, ‘Look, the guy that we needed to win is this
                   guy’. Surname was Diallo, okay? And the other guy-- sorry.
                   Diallo was the guy that was not good for us. And the other guy
                   that is now the president was the one that is good.

         OP        Ah, okay.

         Martins   And the election was two run, okay? In the first run, the one that
                   we didn’t like won, and we were very, very concerned about that,
                   but Steinmetz told, ‘Look, in the second round, the one that I like
                   will won.’ And that happened.

         OP        Okay.

00:40:06 Martins   But the problem it is, he was very much against Mr. Steinmetz,
                   okay?

         OP        I see. I see.

         Martins   Steinmetz told me once that the son of this new president talk
                   with him, ask him for more money. And as […] already have the
                   partnership, Vale and Steinmetz, I told him, ‘Don’t give money!
                   Don’t give money because now it’s different. Before, you make
                   some arrangement there, I am not involved. But now, for now on,
                   we are a Vale company.’

         OP        Yes.

         Martins   ‘So, if you give the money, and Vale will be involved. So, don’t
                   give money to this guy.’ And then, he did a lot of things. We
                   asked Brazilian President, you remember Mr. Lula, okay?

         OP        Yes.
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00:40:58 Martins   At that time Mr. Lula was very famous in the world, was good
                   guy promoting equality in Brazil, blah blah blah, blah blah blah.
                   And we took Mr. Lula and we went to Guinea because Mr. Lula
                   was a leader in Africa, okay?

         OP        [Laughs] Okay.

         Martins   All the Africa love him. And we bring him to Guinea to talk with
                   the new president of Guinea. And when we come back, Mr. Lula
                   told us, ‘Look, this guy is crazy.’ Because okay, maybe you have
                   something wrong there, but it would be a $10 billion-- $12 billion
                   project in Guinea. A country that has $2-3 billion GDP. So, it’s
                   something that could change the country completely.

         OP        Yes.

00:41:51 Martins   And he is not willing to let this go forward. So, then we
                   understood that this new president will be against us because we
                   send him Lula there, okay? It was the best ambassador that we
                   could send to there.

         OP        Yeah, sure. Of course, even the--.

00:42:10 Martins   And then it was a mess because they took the permits from
                   Steinmetz, and they start a prosecution against him. And then the
                   United States was involved, they got the wife of former president
                   of Guinea that got the money at that time, and took it back to
                   United States, bought a big house in Miami and things like that,
                   and then this DJO [means: DOJ] start investigation against this
                   woman. And then, they come up to get at the end Mr. Steinmetz.

         OP        Umm-hmm.

         Martins   And that’s the reason Mr. Steinmetz cannot go to--.

         OP        Yes.
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        Martins   -the States, cannot go to Switzerland also because the company
                  was established in Switzerland.

        OP        In Switzerland.

        Martins   And the Switzerland government start an investigation and got
                  some wrongdoing there. And there he’s not able to go to
                  Switzerland, he’s not going to go to States. And if he goes-- he
                  stayed in prison, even in Israel, he stayed in prison for a while.
                  Now he’s free but without passport.

        OP        Oh, really?

        Martins   So, if he-- yes. If he leaves Israel, he would be got by Interpol.

00:43:35 OP       You yourself, you had to be involved in the process, in this legal
                  process?

        Martins   No. I only gave some testimony in written.

        OP        Oh.

        Martins   When Vale was involved on it, I had to open all my emails, okay?
                  All my information, I have to sign a letter, giving the rights to go
                  to all my even personal email and everything. So, I gave all the
                  information, and I was completely clean, okay? I enter--.

        OP        So, you had to sign a statement for Vale?

        Martins   Yeah, yeah.

        OP        Yeah.

        Martins   So, Vale send all this information to the American Justice--.

        OP        Umm-hmm.

        Martins   -and nothing was found against Vale or against me.

        OP        I see. Good. That’s good.
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00:44:30 Martins   The only thing they found was a very old email from-- you know,
                   the deal was in 2010, 2011, when all of this happened. And there
                   was a email in 2005 from a guy working with me, a subordinate.

         OP        Yes.

         Martins   He send me a email--. [Internet connection lost]

         OP        Hello?

00:45:20 Martins   -lawyers of Simandou, we got--. [Simultaneous talk]

         OP        Sorry, sorry, you were cut off, you said your-- sorry, your
                   subordinate sent you an email from 2005, I didn’t hear from then.

         Martins   Yes. Yes. Was an email telling that how important was the
                   Simandou resources for Vale, okay?

         OP        Okay.

         Martins   Because it was strategic in terms that if someone else developed
                   it, Vale would have a lot of value destruction.

         OP        Umm-hmm.

00:45:48 Martins   So, they had to-- we needed to be get involved, it was 2005
                   okay? But I always was against it because-- look, we-- okay, it
                   can be a problem for us if it is developed, but it’s very
                   complicate jurisdiction, I wonder if somebody one day will try
                   to do it.

                   00:46:13 - Even the Rio Tinto was there for more than ten years
                   and never move it. Also, BHP was there for 20 years and never
                   moved the [Internet interruption] because it’s [Internet
                   interruption] to do it. So, I always said […] let’s stay with what
                   we have in Brazil. And then at the end of 2010, we got very
                   difficulties in licensing projects in Brazil, and then there is no
                   way to increase the production without going abroad.

         OP        I see.
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00:46:45 Martins   And that exactly moment, this opportunity appeared, okay? And
                   then I changed my mind and I support the deal, okay? I support
                   the deal, and everything that happened [Internet interruption] big
                   issue, talking only about this case, mainly focused in Mr.
                   Steinmetz, and you can see the whole story there, okay?

00:47:26 OP        Yeah, no. It’s-- that’s why I'm going back, because it’s very-- you
                   can learn a lot from that. You can learn a lot from that.

         Martins   Yeah.

         OP        And I understand there was--.

         Martins   I--.

         OP        -there was no reliance in the board on the statement of the
                   company before the deal, right?

         Martins   No, no.

         OP        No reliance?

         Martins   Pardon? No reliance?

         OP        You didn’t cross his actions before the deal, right? You didn’t
                   say-- because he said that--.

         Martins   Yeah.

         OP        -you understood it and you knew that he got it by the ways of--.

00:48:03 Martins   And then we-- that’s very important thing when we talk about
                   due diligence, okay? We made a very thorough due diligence,
                   and we got the-- in a company that’s the owner of the resource
                   and go up, and to-- if I remember, we got even in a company in
                   Man Island [means: Isle of Man], in British.

         OP        Yes. Island of Man, yes.

         Martins   Because the ramifications after Switzerland, you have to go to
                   Man Island.
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         OP        Yes, yes.

         Martins   And we head to Man Island, we made the whole investigation.
                   We hired I think Clifford, Clifford Chance I think, the big lawyer
                   office.

         OP        Yes.

00:48:47 Martins   We had people from Israel, these guys that investigate this kind
                   of wrongdoing. And we found nothing, although we knew--.

         OP        That it’s--.

         Martins   -that there was something wrong. And that time is, it’s a good
                   experience, okay?

         OP        Yeah. So, actually, the due diligence was like an insurance policy
                   for you--.

         Martins   Yeah.

         OP        -that, ‘Okay, we check and everything is okay’.

         Martins   And that what we brought to the board and I said, ‘Look, we
                   found nothing.’

         OP        Yes.

00:49:20 Martins   And the guy who command the due diligence who was our
                   former CFO--.

         OP        Yes.

00:49:26 Martins   -and the guy that was against the deal, because he hates Africa.
                   ‘No, I don’t want to go to Africa, Africa is a mess. You're
                   gonna get your hands dirty there, there is no way. If not now,
                   we are gonna have our hands dirty in the future, because if
                   you’re quiet and you stay there, and to keep it you needed to
                   pay people.’ Blah, blah, blah.

                   00:49:46 - And he was very, very much against. But he made the
                   whole diligence, he found nothing. And then, when we went to
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                   the board, I told the board, ‘Look, we found nothing.’ And the
                   guy, the CFO, told, ‘Yes, we look everything, there was nothing
                   that we found.’ We went to Switzerland, to Man Island. We made
                   a very deep due diligence, but we never did a due diligence in his
                   personal accounts.

         OP        Umm-hmm. Okay. But can you do that?

         Martins   [Internet interruption] from his personal accounts, okay?

         OP        Can you do--. [Simultaneous talk]

         Martins   And you never know--.

         OP        -a personal accounts due diligence?

00:50:34 Martins   If they agree, yes, okay?

         OP        Okay, I see.

         Martins   If they agree yes. But at that time, we didn’t ask.

         OP        You didn’t ask why?

         Martins   Yeah. No, we didn’t ask.

         OP        Why? Why you didn’t ask?

         Martins   Because we thought that was enough okay, to do it in the
                   company, okay.

         OP        Umm-hmm.

00:50:52 Martins   We never thought that someone would do it in his personal,
                   because he put himself in danger, okay?

         OP        In-- yes, I see. I see. Okay.

         Martins   But what I understood later, if he paid with this kind of, how you
                   say, laundering money, okay?

         OP        Yes, yes.

         Martins   Was not physically his property, the money, okay?
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         OP        Umm-hmm.

         Martins   The money that was in his home-- because you know, the guy
                   works with this diamonds and things like that, okay? This is
                   money, okay?

         OP        Yes, yes.

00:51:27 Martins   So, what we know at the end was, that was paid by-- in Brazil we
                   call it ‘cold money’, okay?

         OP        Yeah, I see.

         Martins   Not hot, but cold, some money that the guy has in house and pay
                   it without giving receipts and things like that. So, Vale lost $1.3
                   billion trying to recover now, okay, it’s under investigation, but
                   I don’t believe they’re gonna get their money back, it will be very
                   difficult.

00:52:06 OP        The due diligence guy knew that the deal is very important for
                   Vale, yes?

         Martins   Yes, yes. Vale was listed, okay?

         OP        No, no, but they knew at that time that it’s a strategic deal for
                   Vale, right? The guy from the due diligence.

         Martins   Yeah, yeah.

         OP        So, they did a really […] or they just wanted to finish it and say,
                   ‘Okay, go ahead, and everything is okay.’?

         Martins   No, he did very good.

         OP        Yes?

00:52:36 Martins   He did very-- top and very good, okay? This guy, which is Fabio
                   Barbosa, he died, okay.

         OP        Umm-hmm.
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         Martins   He left Vale and start working for BG, British Gas. And two years
                   ago, he died from cancer.

         OP        Umm-hmm.

00:52:55 Martins   But the lawyer that work for us, he’s alive, okay? He’s working
                   now for a big company in Brazil. And I'm able to contact him and
                   get more informations where we failed in our due diligence.

         OP        Oh, that might be interesting. What’s his name?

         Martins   Yeah, yeah. Fabio Espina.

         OP        Espina, okay. Okay--.

         Martins   Espina, it’s Italian descendant.

         OP        Okay.

00:53:26 Martins   He’s very good, he has international experience, worked for big
                   companies in Brazil and abroad, and he’s really good on it.

         OP        Umm-hmm.

         Martins   And he was in charge of-- as a lawyer, he was in charge of our
                   team in the due diligence process, and he was very, very, I would
                   say good lawyer for this kind of deal. But I hope your deal is not
                   so--. [Laughs]

         OP        No, no, no. No, but the only thing, I want to learn from
                   experience, you know.

         Martins   Yeah.

         OP        That’s the most important.

         Martins   Yeah.

00:54:00 OP        I want to ask you, one other thing is, when you put everything to
                   the board, you said everything was on the table for the board,
                   everything in the board also was written on a protocol for the
                   board?
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        Martins   Yes.

        OP        Or something you say, ‘No, we don’t write it because it doesn’t
                  smell good.’, or something like that?

        Martins   No, no. We only wrote-- what is our intuition was not written,
                  okay, was told.

        OP        So, it wasn’t written in the papers?

        Martins   Was not written.

        OP        So--.

        Martins   We told everything we did in the due diligence process.
                  Everything we did, we looked this, we looked that, blah, blah,
                  blah.

        OP        No, no, but all your-- before the due diligence, all your thoughts
                  and suspicions about--.

        Martins   No, no.

00:54:45 OP       No, it wasn’t written?

        Martins   Only told.

        OP        Ah, okay.

        Martins   Because if it was written--.

        OP        Then it’s a problem?

        Martins   Even when we told one of the board members said, ‘Don’t tell
                  me, I don’t want to know at all.’

        OP        [Laughs]

        Martins   We don’t want […] at all--. [Simultaneous talk]

        OP        [Simultaneous talk] ‘I want to go ahead with the deal, don’t tell
                  me.’

        Martins   Yeah, yeah.
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         OP        Okay.

         Martins   ‘You prove it’s good strategically so, we’re gonna give you, I
                   would say, go ahead, but don’t tell me anything else’. But I have
                   to tell because was important to tell, okay.

         OP        Yes.

00:55:22 Martins   Because okay, even if the decision was very well-supported by
                   numbers, by explanation, with this additional information, if the
                   board could stop it, ‘No, we don’t approve, it’s over. Don’t
                   approve it.’ So, we gave them the chance to be […].

         OP        What kind of--.

         Martins   But was important for the company that at the end, nobody
                   accept--.

         OP        What kind of additional information did you give the board?

00:55:53 Martins   We-- the only additional information we gave-- we have a very
                   big document named PDD, okay? This PDD has all the
                   information, economic, financial, legal, the due diligence
                   results, everything was in this document that is registered in the
                   company books. So, it’s there until today, okay?

                   00:56:22 - The additional information I gave on top of it, which
                   is very complete, but those really huge investments, at the time it
                   was one of the biggest investment for the company, okay?

         OP        Yes, I’m sure.

         Martins   $2.5 billion we paid for 50%--.

         OP        Yes.

         Martins   -plus $12 billion investment in the mine. So, the whole picture
                   was $15 billion investment, okay?

         OP        Big one, yeah.
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00:56:47 Martins   We have to give a very, very-- and all the departments have to
                   approve it: financial department, legal department, operational
                   department, marketing department, everybody has to sign it, and
                   everybody sign it.

                   00:57:02 - So, my suspicion was giving-- when I told them,
                   ‘Look, although we didn’t find anything wrong, although it’s
                   very good for the company, I needed to say that I'm going for it,
                   I'm proposing it with my nose closed because I smell something
                   wrong.’ Because the guy didn’t get this, it was one of the best
                   resource in the world. So, the guy wouldn’t get it only because
                   he has blue eyes and beautiful eyes, okay?

         OP        Yes.

00:57:37 Martins   Nothing wrong happened, but we didn’t found anything at all. So,
                   that’s-- it’s only the additional information we gave, and we told
                   the board, look, the CEO was with me because-- the CEO, he’s
                   the one that present the proposal, okay. We were together only to
                   confirm the numbers, confirm the premises and--.

         OP        Yes.

         Martins   -the assumptions, and everything. But he proposed the deal, and
                   we told them, ‘Look, something wrong’, and the CEO told the
                   same things. And at the end, the board said, ‘Okay, let’s go. Don’t
                   tell anything more. Let’s go for it.’

00:58:19 OP        [Laughs] ‘We don’t want to hear anything’, yeah.

         Martins   Yeah. And you know, when the problems arrived, my former--
                   the CEO was left.

         OP        Yes.

         Martins   Was not there.

         OP        Umm-hmm.
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         Martins   And I was the only one of the board that was left in the company.
                   All the others left the company or were fired, so, all the weight
                   came to me.

         OP        On your shoulders.

         Martins   On my shoulders.

         OP        Oh, grey hair.

         Martins   After I was very comfortable. Yeah, very comfortable, because
                   in the meeting was from the ten board members, eight was there
                   when I make the proposal.

         OP        Yes.

         Martins   And they hear what I saw. What I said. And--.

         OP        About the suspicions and everything.

00:59:04 Martins   -and everything. But you know, the only reason we lost this was
                   because of the change in the government. At the end, it was not
                   because there was wrongdoing. It’s only because the new
                   government that took place--.

         OP        That’s-- I come to my last question, actually, in this stage, is why
                   did you decide to leave this project? Why Vale have decided to
                   leave the project?

         Martins   Because there was no legal support for Vale to be there, okay?
                   The Guinea government took the permits back so, there was no
                   permits anymore, okay?

00:59:47 OP        Ah, because of the permit.

         Martins   Yeah, the permit was taken by the government. So, we start
                   fighting with the, our partner, Beny Steinmetz. ‘Look, you sold
                   me something that was not real, okay? So, now you have to pay
                   me back the $500 million that I gave you in advance, plus $800
                   million that we spent in the country in drilling and engineering
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                   and mining development, some mining development already
                   started. So, you have to give me back’. So, Vale was under a new
                   CEO--.

         OP        Yes, that’s why they decided to leave? Because of the new CEO?

         Martins   Yeah. The new CEO is, look, you know, I told you about the three
                   envelopes, huh?

         OP        The what?

         Martins   Three envelopes.

         OP        No.

         Martins   No?

         OP        No. [Chuckles]

01:00:44 Martins   A company, very successful company, starting having problem
                   okay? And loss and problems, and everything going wrong. So
                   the board called the CEO and told him, ‘Look, you are out.
                   Everything is wrong with the company, so I’m gonna fire you.
                   Get out’. And the guy, ‘Okay, I will leave’. And then the board
                   asked the second guy in the hierarchy, took him and tell, ‘Look,
                   now you’re gonna be the CEO’.

                   01:01:21 - And the new CEO was very, very concerned, ‘My god,
                   I never was a CEO in my life. What I’m gonna do? The company
                   is in a mess, what am I gonna do?’ So then he went to talk with
                   the old CEO, and the old CEO is there, taking the things from the
                   table, for the-- to leave, and the guy ask the old CEO, ‘Look, how
                   I’m gonna do? Now I’m here, I don’t know how to do’.

                   01:01:47 - And then the guy said, ‘Look, no problem at all. I
                   know you are young, but this is easy. I have in the last drawer in
                   my table, that now will be yours, your desk, there is three
                   envelopes there. One, two and three. Any time you have a
                   problem, you take one envelope from there, and there will be all
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                   the instructions there, how you’re gonna handle it. Don’t-- but
                   take it in this order: one, two and three. Don’t take the last or the
                   middle, take first the one, two and three’.

                   01:02:23 - And then the guy took place, and the company start to
                   work, but was not doing very well at all because it came in a very
                   difficult situation. So, when the first year finished, the guy had to
                   present the accountability of the year, and he said, ‘Oh my god, I
                   have to use the first envelope’.

         OP        Okay.

01:02:44 Martins   ‘I cannot handle it alone, I’m gonna spend the first envelope’.
                   Then he went there, took the first envelope before the board
                   meeting, opened it, and was written: ‘Put the guilt in your
                   antecessor, the old CEO’.

         OP        [Laughs].

         Martins   And then the guy went to the meeting, said, ‘Look, it’s my first
                   year, I took this company with a lot of problems, so I did a lot but
                   I was not able to fix it, I need more time to fix it because the other
                   guy that was here was really bad and [Video disruption] the
                   company’s situation’.

         OP        Okay.

01:03:23 Martins   The board said, ‘Okay, […] because of that that I will give you
                   another year for you to fix the things’. And exactly one year, the
                   guy start doing better, some-- the market improved, the price
                   improved, the cost went down, and then the company was very
                   profitable for the second and third year. Then he don’t needed to
                   use any envelope. But then in the fourth year, problems start
                   coming back again, it was-- fourth year was very bad, and then,
                   ‘I need to use the second envelope, this guy was very good, and
                   he gave me all the solutions’. He took the envelope, went to the
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                   board meeting, and the envelope was written there: ‘Blame your
                   subordinates’.

         OP        [Laughs] Okay.

01:04:13 Martins   And then he goes to the board and, ‘Look, these people that are
                   working with me, they belonged to the former CEO, I keep it, but
                   they are not good, they are not really willing to change the
                   company, they are-- their culture is not good. I need to make
                   some changes, I need to change my team’. And the board said,
                   ‘Okay, you have two good years after the first year that was not
                   bad, so I’ll give you the chance to make what you are talking
                   about and improve the company’.

                   01:04:47 - And the guy did a lot of changes, change a lot of
                   management, and do a lot of different things and blah blah blah,
                   and then the company start going better again, and the fifth year
                   was good, the sixth year was good, and then the seventh year -
                   again, problems.

         OP        Bad.

01:05:07 Martins   ‘Oh my god, I need to look the third envelope’. Then the guy
                   went there, took the third envelope, went to the board meeting,
                   but when he open the envelope, was written: ‘Write three
                   envelopes’. [Laughs]

         OP        [Laughs] Why?

         Martins   You have to start everything again, because--.

         OP        Yes.

         Martins   -to blame your antecessor, and if you blame your subordinates,
                   who is gonna blame in the fifth, okay?

         OP        Exactly.

         Martins   So, was-- so that was happened, okay? The new--.
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        OP        Good lesson.

        Martins   -the new CEO started putting a lot of blame on the old CEO, and
                  I was the only guy that came from the old times, so I only got--.

        OP        Everything goes on you. But there was no--.

        Martins   -because he was like that: ‘I was not here, so talk with Martins,
                  Martins know better, I just arrived, I don’t like this deal, but I was
                  not here to’-- but it was good because a big part of the board was
                  there in the past, so I told everyone, ‘Look, you know, you
                  approved it from here’--.

        OP        So there was no--.

        Martins   -‘you approved it’.

01:06:11 OP       -there was no change in the future profitability of the mine or
                  something like that?

        Martins   No, no. The company was very profitable, okay? I remember the
                  2011, the year that every-- these things start working, the new
                  CEO arrived and the company EBITDA was $35 billion.

        OP        Wow.

        Martins   $35 billion. So, okay, people that make so much cash, sometimes
                  can do bad things, okay?

        OP        Yes.

        Martins   It’s not be always right, sometimes things that not go well. And
                  the board understood, okay? And everything--.

        OP        So, they didn’t--.

        Martins   -so, then I stayed in the company another three years. If
                  something was really found against me or against the former
                  officers, I wouldn’t stay for three years more, okay?

        OP        Yes, I’m sure, I’m sure.
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         Martins   So--.

01:07:11 OP        So, there was no-- the decision to take-- to pull out from there
                   was because of a problem with the licensing?

         Martins   Problem with the license, the new CEO was not really willing to
                   get the risk to be in Africa, okay?

         OP        Oh, I see.

         Martins   The new CEO was a financial guy, very much conservative. So,
                   he prefer if-- he see the risk more than he see the profit, okay?

01:07:39 OP        I see. So, he looked at the risk--.

         Martins   So--.

         OP        -and say, ‘Okay, it’s not worth the risk to stay there’.

         Martins   Yeah. So, he prefer not to run the risk.

         OP        Umm-hmm.

         Martins   Even-- and then the company fade away, okay? What happened
                   during his tenure, the company market cap went down from $170
                   billion to $40 billion, for zero.

         OP        You’re talking about Vale?

01:08:03 Martins   Yes. The new CEO was very weak, and he was very conservative.

         OP        Umm-hmm.

         Martins   And the company, you know, I have a view: a company is the
                   size of its CEO, okay? If you have a big CEO, you’re gonna get
                   a big company.

         OP        Big company. But why--.

         Martins   [Internet interruption] bring the company down.
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         OP        -why you said it’s a risk? Because the deal was there, you have
                   the license, you have everything, so, why the risk is higher when
                   he’s decided to pull out?

01:08:36 Martins   Because first, the permits was get back, okay? From the
                   government. But we have a chance to negotiate to the
                   government--.

         OP        Yes.

         Martins   -to take Mr. Steinmetz out and do it alone.

         OP        Umm-hmm. Okay.

         Martins   It could be done.

         OP        Okay.

         Martins   But he is not willing to run the risk. First, because if you do it,
                   your partner would be against you in the court, okay? It’s normal
                   situation.

         OP        Yes.

         Martins   And that’s important to have a good partner, okay? That I
                   learned, that’s a very high price to learn that.

         OP        Yes, I understand.

01:09:14 Martins   The partner is one of the most important thing, if you’re going, if
                   you are going to a joint venture, okay?

         OP        Yes, yes.

         Martins   I don’t know the structure of your deal yet, but--.

         OP        Yet, you will. You will.

         Martins   -[…] know him very well.

         OP        Okay, okay.
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         Martins   Investigate him very well. Because-- no, a partnership is a
                   partnership.

         OP        Yes, yes.

         Martins   And normally, every agreement, you cannot sue your partner,
                   your partner cannot sue you. So, it’s, you know, a-- how you call
                   it? That dress that you put on the crazy people?

         OP        A what, sorry?

         Martins   [Video disruption] When you send the people, people that are
                   crazy, okay? You put in a shirt that--.

         OP        Vest?

         Martins   -keep him tied, okay? Yeah, it’s a vest that keep him tied, okay?

         OP        Yes.

01:10:12 Martins   When you are in a partnership, you get something like that. You
                   cannot so many different things, because people always put the-
                   - in the agreement this, I would say, chapters that don’t allow you
                   to sue your partner and things like that. So, it’s very important
                   before being partner, to know your partner, okay?

         OP        Yes, yes.

         Martins   My experience is, better to be another company with your-- with
                   same ethics as you have, okay? If your part-- if you are listed, it’s
                   good that your partner is listed also. The worst thing is to be
                   partner with a maverick.

         OP        [Laughs].

         Martins   That’s the worst, okay? No, no, these guys are crazy, okay?

01:11:02 OP        Because he thinks he knows everything.

         Martins   Not only, he does what he likes, it’s a personal, okay?

         OP        Yes, yes.
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         Martins   They don’t care about this, this and that. You-- it’s like a farmer,
                   okay? I’m the owner of this farm, I’ll do here whatever I want,
                   okay? And so--.

         OP        Yes. So the new CEO didn’t want to get involved with the
                   government--.

         Martins   Oh, yes.

         OP        -to--.

         Martins   Was very, he was very, very conservative, okay?

         OP        Yes.

         Martins   Some-- he has some reasons, okay? But sometimes companies
                   that need to grow, they need a strong CEO, because--.

         OP        Yes.

         Martins   -the will to take risk is unavoidable, because business is risk,
                   okay? Okay, you can skip some kinds of risk, but if you are in
                   the mining, and nowadays all the resource in the world was taken
                   by big guys, so the only part in the world that you can go for
                   something new is in Africa, okay?

         OP        Yes, yes.

01:12:06 Martins   But it’s tough environment, okay? I think it will improve in the
                   future, but we don’t get to this point. Because nowadays to make
                   a deal, to exchange money, you need to be clean, okay? You
                   cannot be part of a business community if--.

         OP        Yes, yes.

         Martins   -to do wrong things. So, every day is more difficult for African
                   governments to do wrong things, okay? But everybody that went
                   in Africa before this, I think get a problem.

         OP        Get a problem?
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         Martins   Glencore has problem in Africa, okay? The company that I
                   worked for, it’s this Kazakhstan company, have a problem in
                   Africa. Everybody get their hands dirty in Africa, okay? Because
                   you cannot do it if you-- there’s some times you use a junior
                   company to make the wrongdoing, and then you come later. But
                   even when you do that, you cannot get rid, because you have to
                   give-- to have this due diligence--.

         OP        Umm-hmm.

01:13:19 Martins   -and you have to have everything clear, because at the end, DJO
                   [means: DOJ] for instance, they are coming to you and say,
                   ‘Look, you bought it. And when you bought, you bought the
                   liabilities together’.

         OP        Yes.

         Martins   ‘You are-- the partner is not good, but it’s your partner’. So, I
                   think as time goes by, Africa will become a more normal country
                   for doing business. And they need it, okay? They need it. Now
                   we-- I’m again in Liberia, okay?

         OP        Yes.

         Martins   I’m in the board of this company that is developing a mine in
                   Liberia.

         OP        Liberia.

         Martins   For the time being, I didn’t see anything wrong, okay? But--.

         OP        Not like, not like the Guinea.

         Martins   -but on the other hand, a lot of problems with the license and
                   environmental permits, okay?

         OP        Ah, okay.
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        Martins   Okay? Very, very big difficulties environmental permits. Now
                  they have kind of a-- because the present president want to stay
                  another term--.

        OP        Umm-hmm.

        Martins   -and he needs to change the constitution. And so, there is some
                  riots there, okay?

01:14:30 OP       Ah, really?

        Martins   I got the report just yesterday.

        OP        Wow.

        Martins   From the mining site, they are shutting down the mining site
                  because of the riots. Also, this-- the region was used to have
                  Ebola, okay? It was an Ebola region, so you have to--.

        OP        Everything together, wow.

        Martins   -in the mining site, we have a very strong health team to keeping
                  people out from Ebola and also Malaria, it’s-- Malaria, a very
                  strong Malaria region. Very strong Malaria disease in the region.
                  So, in the mining site, you have a lot of doctors and people to
                  control it, but now we are getting this coronavirus coming.

        OP        Yes, wow.

        Martins   […] so, yesterday we decided to shut down the site.

        OP        Oh, really?

        Martins   Take the people out. So, as you don’t have-- no flights are open
                  now, the borders are closed, so we needed to hire a plane to send
                  people to Ivory Coast, and from Ivory Coast to try to send people
                  to French, to Europe, and get out of this.

        OP        Wow.
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01:15:45 Martins   So, in these remote regions, you are faced kind of-- in Africa
                   mainly, you’re face some difficulties that--.

         OP        Yes, yes.

         Martins   -are very-- it’s not only corruption, okay? Institutional, from
                   legislation, from diseases. So it’s really complicated matter,
                   okay? Which you don’t have too much in--.

         OP        In Peru.

         Martins   -in Peru. In Peru--.

         OP        Yeah, luckily we are not going to Africa, we’re going to Peru.
                   Yes.

         Martins   [Laughs] in Peru, probably the legislation is very stable. They
                   don’t change it, okay? But in Peru, the main problem in my
                   experience is this community relationship. It’s very important.

         OP        Important, okay.

         Martins   You can have very good relationship in the top, with the minister,
                   with the president of the country, with the congress, with the
                   senate, but community is the most important thing.

         OP        Okay.

         Martins   To have some people that really understand the community,
                   people that really having good connections, keep the door open
                   for talks and things like that. It’s very much important. Vale
                   experience in Peru was very good. Miski Mayo is the name of the
                   company.

         OP        Yes, okay.

01:17:05 Martins   Miski Mayo. It’s a phosphate rock company, and-- but we always
                   have to talk with the nearby cities, to give-- not bribery, but you
                   give a school, and--.

         OP        Yes, yes, of course, of course.
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        Martins   -we build some roads, and you--.

        OP        You want to give them something that they feel nice, yeah.

        Martins   Yeah. But you do it officially, okay?

        OP        Yeah, yeah, yeah, understood, understood.

        Martins   You have to make an agreement to establish what we are gonna
                  do. Not because of the country, but because of legislation,
                  because you know this FCPA, Foreign Corruption Act--.

        OP        Yes.

        Martins   -for the United States. He controls, if you give money for a
                  politician to build this school and the politician leverage from it,
                  it’s considered a corruption. So, then you have to be very careful
                  when you give some things for the community. Not to be linked
                  with a politician. Can be linked with a community, you have in
                  community some people that create some associations, so you
                  have to give very specifically, it has to be very open, and that the
                  way you have to do. And it’s very important, this--.

        OP        Okay.

        Martins   -in Peru, okay?

01:18:33 OP       Anyhow, I think I took too much of your time. Thank you for
                  your experience.

        Martins   No problem.

        OP        Thank you for the time, and what I’ll do now, I don’t want to
                  disturb you more, I’ll send you-- as we discussed, I’ll send you
                  the NDA, I’ll send the offer, and then we can go forward and--
                  with the details, and everything that we need to go forward.
                  Thank you for sharing now the experience with me, on this--.

        Martins   […].
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         OP        -it’s very important to me to go back and share this experience
                   with the others.

01:19:04 Martins   Yeah. And Alexander, this-- you work in the energy. Energy now
                   is very complicate situation.

         OP        Yes, I know, I know.

         Martins   Oil, up to $20, amazing.

         OP        It’s a difficult time, it’s very difficult time now--.

         Martins   If-- yeah.

         OP        -for the investors, they are very concerned. But still, they want to
                   see the light in the end of the tunnel.

         Martins   Yeah, sure, yeah.

         OP        They want to go for-- to think about new projects, new prospects,
                   you know.

         Martins   Yeah.

         OP        That’s why I’m continuing to--.

         Martins   And--.

         OP        -but it’s not easy, it’s not easy, definitely.

         Martins   But copper is a good choice, because this electrification will be a
                   must, okay?

         OP        Yes.

         Martins   Even now, with those problems, people will stay more at home.

         OP        Yes, yeah.

         Martins   People, they put--. [Audio disruption]

         OP        I know, I know, I know.

         Martins   You need to-- I think some attitude change, okay?
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         OP        Yes. Yeah, definitely. There are going to be changes, definitely,
                   definitely.

         Martins   And you need more electricity and you need more lines all over
                   the world, and I think copper is one of the most, I would say,
                   balanced market today. It’s in-- structure is in short supply […],
                   okay?

         OP        Okay.

01:20:19 Martins   It did not happened yet, it will happen.

         OP        But there is no replacement for sitting--.

         Martins   It will happen, sure--. [Audio disruption]

         OP        -but there is no substitute for sitting together, having dinner,
                   having a good bottle of wine together.

         Martins   Yeah, that’s it. That’s inevitable. [Laughs]

         OP        I miss it, I miss it, I miss it.

         Martins   Yeah, yeah, yeah. But we need to stop it for a while.

         OP        Yeah. Yeah, we’ll keep in contact like that now, with email and
                   Skype.

         Martins   Okay. Thank you very much, Alex. Thank you very much. Any-
                   -.

         OP        Thank you very much for your time, have a nice day. And I’ll be
                   in touch.

         Martins   Okay, anytime you need it, please Skype me.

         OP        Okay, I will. I will. I’ll take you on that. Thank you.

         Martins   Okay, thank you.

         OP        Bye.

         Martins   Bye-bye, see you.
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      Full Transcript of
        Meeting with
       Alex Monteiro
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Meeting – March 30, 2020

Name of recording: R-00001_2003301257

Duration of recording: 00:54:07

  Time        Side                               Transcript
  stamp

 00:00:00 Monteiro [Meeting starts]

                       00:00:18 - Hello?

           OP          Hello, sir?

           Monteiro How is it going?

           OP          How are you?

           Monteiro Good, yourself?

           OP          [Laughs] enclosed.

           Monteiro Lockdown […]?

           OP          Lockdown. How are things over there?

           Monteiro Yeah, very good. Sorry?

           OP          How are things over there?

           Monteiro Yeah, well, it seems under control. Of course we are quite
                       concerned about the, let’s say, the economy and what’s the
                       impact, because here in Brazil there are a lot of people working,
                       let’s say, not under formal employment.

           OP          Yeah.

           Monteiro Like, selling things on the streets and selling things on the beach,
                       and so, such kind of things.

           OP          Umm-hmm.

 00:01:03 Monteiro And it is quite concerning, because it’s not-- it’s a quite large
                       partial of the population that is working under those conditions.
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          OP         Yeah.

          Monteiro So, in times where you have this kind of lockdown, those people
                     will suffer a lot. So, the government has announced some
                     measures to give money to those. But it’s even not easy, because
                     there’s really informal people that is in the informal economy,
                     so yeah, that’s quite concerning. The social piece of the story is
                     quite concerning.

          OP         Yeah, well, I also been reading about the president’s decision
                     that it’s not very clear whether it’s going to be a proper, I don’t
                     know, measures against the virus, or he’s trying to just say, ‘It’s
                     just a fever, nothing more, it’s just some kind of influenza, and-
                     -.

00:02:07 Monteiro Yeah, but you know what? The president has been doing so silly
                     things, that the things that-- I believe that no one is paying, no
                     longer attention to him. And whatever he say-- of course he
                     disturbs a bit the discipline, but we-- the ministry of-- minister
                     of health here is a quite good guy and his measures are, I mean,
                     people are listening to him and, let’s say, almost ignoring the
                     president.

          OP         Yeah. You know what the problem will be? The problem will
                     be when in about two or three-weeks’ time, there is no money
                     in the pockets of the masses, and then there will be violence and-
                     -.

          Monteiro That’s true, that’s what I’m afraid about.

          OP         -you know, people will go and steal and, you have seen that in
                     the past.

00:03:02 Monteiro Yes. That’s what I’m afraid of.

          OP         Yeah.

          Monteiro That’s what I’m really afraid of.
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        OP         And that’s not the-- Brazil, it’s not the only country that it’s
                   going to happen. It’s going to happen--.

        Monteiro Yeah.

        OP         -in New York, and everywhere. Yeah.

        Monteiro Yeah, I would say in Paris, or-- yeah, because we have a […]
                   other social. But of course in Brazil, more people under those
                   conditions. So, that’s why it might be a bit trickier.

        OP         Yeah, yeah. How are you? You’re at home at the moment,
                   you’re with your family?

        Monteiro Right, yes, my family is at home, so my kids are, I have three.
                   Yeah, I have three kids, my kids are having online classes.

        OP         Okay.

        Monteiro And I’m on home office, so--.

        OP         So you are at home with your kids?

        Monteiro Yes, at home with my three kids.

        OP         Okay, that’s great, that’s great. [Laughs]

        Monteiro They’re not that-- they’re not that young, they’re older. I mean,
                   they are 16, 13 and 9. So, it’s not that tough for me. It’s-- yeah.

        OP         Yeah, well, my kids are much older, but 16 and 13 that’s tough.

        Monteiro A little tough, yes.

        OP         Yes.

        Monteiro Exactly.

00:04:11 OP        Listen, first of all thank you for postponing this. I had some, I
                   don’t know, they explained to me that it was some kind of cyber
                   problem. My phone was also-- I had to change the-- my phone
                   number, and I, well, I fixed it, and now it’s okay.
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        Monteiro Good, perfect. Yes.

        OP        Yes. Listen, you met with Fernando, correct?

        Monteiro Yes, I did, yeah.

        OP        Yes. So, I’ve been working with private banking for some time
                  now, and--.

        Monteiro Yeah.

        OP        -I represent a number of private investors, in Europe.

        Monteiro Okay.

        OP        That they have invested in a mining company that has a number
                  of projects around-- in a few countries, and--.

        Monteiro Okay.

        OP        -in that company, some of the partners are American, and they
                  tried a few times to enter some projects, mining projects, in
                  Chile, Argentina, Peru, and--.

        Monteiro Okay.

00:05:22 OP       -because of the, you know, the Anti-Corruption Fact-- Act, the
                  Americans are very, very cautious and they have been blocking
                  in all these, I think there was already three, projects, that we
                  knew it was already-- we were coming after people have had
                  cleared concessions and dealt with the government, and we just
                  couldn’t move forward because the American partners blocked
                  it. And what we are talking--.

        Monteiro Okay.

        OP        -what we are contemplating now, well, it’s going to take some
                  time because of the coronavirus, but we’ve been in touch with a
                  group in Minas for a bauxite mine--.

        Monteiro Bauxite?
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00:06:28 OP         Yes, and we understand that they have already concession and
                    permits to develop, and that’s where we come into play. We are
                    trying to go into this project, into this mine, as a joint venture
                    with the local guy, okay? And we’ll need somebody who
                    understands, A - finance, two - at the moment we don’t know
                    how the structure is going to be, but somebody who will be also,
                    at the beginning, to be on the board. Because we are not going
                    to invest more than 10-15%.

                    00:07:25 - But enough to have somebody in the board that can,
                    you know, look at things and make sure that we’re going in the
                    same direction until we begin exploitation and then we can
                    know whether to invest more and take control, perhaps, but this
                    is already too far ahead, okay? But I wanted you to-- this is the
                    main idea. Since, well, you understand that at the moment,
                    before we sign an NDA, we are not going to give you more
                    details about the mine, and I wanted to hear more about your
                    experience in mining. I know that you’ve been in mining and I
                    know that you are CFO, so, financial is your forté.

00:08:21 Monteiro Sure, sure. So, well, I’ve been working-- almost my whole
                    career has been developing mining. So, I started with Vale--.

         OP         Yeah.

         Monteiro -and-- you know Vale?

         OP         Yeah, sure.

         Monteiro Well, actually my first job was-- my first job was a company
                    called KM, it was actually at that time, back in 1996, the largest-
                    - the second largest mining group in Brazil.

         OP         Yeah, yeah.

         Monteiro But it was for quite, for a period of time. Then I moved to Vale
                    and I worked as an auditor first, as an internal auditor.
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         OP         Umm-hmm.

         Monteiro And then Vale acquired a smelter in Norway, north Norway.

         OP         Yeah.

         Monteiro It’s a bit redundant to say ‘north Norway’, but anyway--.

         OP         Yeah, okay.

00:09:07 Monteiro -it was a smelter that had bankrupted, of a company called
                    Elkem Rana.

         OP         Copper?

         Monteiro Elkem, have you heard about Elkem?

         OP         Yeah, yeah, sure.

         Monteiro Elkem? Yes. So, it was a company that belonged to Elkem, it
                    was one of Elkem industrial sites and plants, so we acquired--.

         OP         Sorry, but smelter for ore or for copper?

         Monteiro For ore.

         OP         Ore, okay.

         Monteiro For ore. Ore, for manganese ore.

         OP         Iron ore, okay, yeah.

         Monteiro Then, because of that I went in the manganese division of the--
                    of Vale, because Vale is organizing business units--.

         OP         Umm-hmm.

         Monteiro -depending on the mineral. So, I went to the manganese division
                    and took place as a-- at that time, it was a small company. It was
                    100 employees, […] $150 million turnover.

         OP         Umm-hmm.

         Monteiro Year turnover. So, I took over as the, kind of CFO of that
                    company in Norway, and I was responsible for finance and
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                      administration. But it was a small company, I had 10 people in
                      my team, but a lot of activities that, let’s say, gave me a broad
                      view of business management and even because we were alone
                      in Norway, where it was the first, it was the very first acquisition
                      of Vale outside of Brazil.

          OP          Umm-hmm.

00:10:34 Monteiro And a full-- it’s a diversion, but first full operation managed by
                      Vale, back--.

          OP          Okay.

          Monteiro -back in 2003. So--.

          OP          And you had to relocate, or you just, you continued living in
                      Brazil?

          Monteiro Sorry?

          OP          You had to relocate?

          Monteiro No, no, I did relocate, yeah. So, I moved to Norway and lived
                      there for three years.

          OP          Umm-hmm.

          Monteiro And the challenge there was that I had to-- the company was
                      bankrupting because it was a ferrochrome smelter first--.

          OP          Umm-hmm.

          Monteiro -when Elkem was managing it, and our intention was to convert
                      it to a manganese smelter.

          OP          Okay.

00:11:15 Monteiro So, and the ferrochrome business had bankrupted with Elkem,
                      so when we bought the company, the company was shut down.
                      So, I had to, let’s say, restart from administration and finance
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                   perspective, everything from scratch. Hire people-- because I
                   had HR under my scope, as well.

        OP         Yeah, sure.

        Monteiro So, negotiations with union, IT, all the supply management, all
                   the procurement structure getting back and establishing
                   contracts again, and logistics was also under my scope, so
                   buying coke for example, from China, or from everywhere, but
                   especially from China and all the countries in Europe, hiring
                   freights and such kind of things was all under my scope at that
                   time.

                   00:12:02 - So, the first big challenge was to get the company
                   ready to run again, and that took about six months until we had
                   re-established an-- as I mentioned to you, I mean, it was a quite
                   small team, I hired at that time, there was a Brazilian guy that
                   worked at the embassy in Oslo--.

        OP         Umm-hmm.

        Monteiro -that was living in Norway for a while, was married with a
                   Norwegian, so I found that that guy could help me with the
                   cultural differences and a bit with the language, but the
                   Norwegians, they all speak English, so it was not a challenge,
                   the language itself. It was more, let’s say, from a culture
                   perspective, that guy would help me, so we hired him. He
                   worked with us for six months. And then, well, all in all, to make
                   a long story short, by the end of the three years the company had
                   paid back all the investments through dividends, all the
                   investments that--.

        OP         Three years?

        Monteiro -Vale had-- in three years, yes.

        OP         Wow, okay.
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00:13:01 Monteiro Three years. So, it was quite good. So, because of that, then I
                     was invited to come back to Brazil to take over the whole
                     finance-- the responsibility for the whole finance area of the
                     manganese division.

          OP         Okay.

          Monteiro Which was, at that time, was a quite big division. It was a
                     division of-- at that time I was, 2006, the division did-- was
                     value at, the evaluation was about $600 million, something like
                     that. $500-600 million, so it was--.

          OP         Okay.

          Monteiro -a good size--.

          OP         Yeah.

          Monteiro -because we had operations in Norway then, in France, in north
                     of France, in Calais region in the--.

          OP         Yeah.

          Monteiro -probably you will know it in the-- it’s a region, what they call
                     Grande-Synthe.

          OP         Yes, yes, of course.

          Monteiro Which it’s-- yeah, you know. So, and then operations in Brazil.
                     All in all, we were a division with five companies, three in Brazil
                     and two outside of Brazil, abroad. So, when that started-- and
                     then I came back to Brazil, I relocated to-- I’m from Rio, but at
                     that time I relocated to Belo Horizonte, where the business was
                     headed. And a year later, then the manganese business was in a
                     quite severe crisis, and we were forced to sell assets. So, the first
                     organization to sell--.

00:14:31 OP          2008?

          Monteiro Sorry?
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          OP          2008?

          Monteiro 2006.

          OP          6.

          Monteiro 2007.

          OP          Okay.

          Monteiro It was the first big crisis of the manganese. Actually, the crisis
                      started at 2004, with China and coke, a coke crisis, when the
                      price went sky-high, and then the crisis went to the manganese
                      region as well and Vale told us that, let’s say, the management,
                      the top management of Vale told us that they would not put any
                      single penny in the manganese business, that we would have to
                      survive on our own, and to stand on our own two feet. So, we
                      had to, and there was a huge requirement of working capital in
                      the business, and so we were forced, and I coordinated that, in
                      that way we had no alternative other than--.

          OP          Sell assets.

          Monteiro -sell some of the-- yeah.

          OP          Okay.

00:15:29 Monteiro So, we did not sell the whole business, and the idea was to truly,
                      again, focus on the core of-- the same story that we listened for
                      different business. Focus on the core, sell the non-core, but then
                      the structure at that time, and it was back in 2006-2007, so I had
                      to coordinate, and I identified the business that were not
                      generating, were not the core business, and generating enough
                      cash for us to survive.

                      00:15:56 - So, we sold other business as custom silicon, it’s
                      another-- it was another […], you might have heard about it.
                      And also we had-- we used to have timberland farms in Brazil.
                      Because we were producing charcoal--.
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          OP         Okay.

          Monteiro -as a material to the production of manganese […].

          OP         Okay.

          Monteiro But then we had more-- we had more people at that time
                     producing charcoal in the farms, than producing […], which was
                     our core business. So, at that level we had to sell all that stuff.

          OP         But--.

          Monteiro A lot of resistance from production--.

          OP         Okay.

          Monteiro -because they were not used to produce with coke in Brazil, but
                     at the end of the day we did manage a transition to coke, from
                     charcoal to coke, and then I sold about-- at that time, was-- were
                     15,000 hectares of charcoal activity, or timberland forests in--.

00:16:52 OP          Wow, I’m amazed, I’m amazed in 2007 you were still using
                     charcoal. Wow, okay.

          Monteiro Still using charcoal. Still using charcoal--.

          OP         They are still using charcoal, okay.

          Monteiro Yes. And for you to have an idea, we had more than 2,000
                     people involved in the full […] in the charcoal production. It
                     was almost the same amount of people that we had involved in
                     mining and production of manganese. […], so it didn’t make--.

          OP         And, and there is no cheaper way of energy?

          Monteiro No, because, well, for manganese you either-- in a smelter, you
                     gotta use carbon, you don’t have any alternative, it has to be
                     carbon--.

          OP         Yeah, but you have mineral carbon, not charcoal.

00:17:43 Monteiro But that’s the point, I mean, because in Brazil we don’t have--.
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         OP         Which gives you, gives you a higher rate of energy than
                    charcoal.

         Monteiro Yeah, but in Brazil, well, they-- the mineral charcoal, it
                    wouldn’t fit our production, because it had other components
                    that we couldn’t take, for example, phosphate was too high.

         OP         Yeah.

         Monteiro In the charcoal-- in the mineral charcoal that we could find in
                    Brazil. So, Brazil is not rich in carbon resources, we don’t have
                    charcoal, we don’t have-- the normal-- the coke production is
                    not here, we don’t have any coke production, so the closest we
                    had was-- well, the closest source we had at that time was China,
                    but of course there was-- there is a huge producer in South
                    America, which is Colombia. So, we developed suppliers--.

         OP         Chile also, Chile also has-- well, I don’t know at the--.

         Monteiro Yeah, Chile doesn’t-- yeah, but they don’t produce a lot.

         OP         Yeah?

00:18:41 Monteiro Not as much as Colombia.

         OP         Okay.

         Monteiro So, we did develop suppliers in Colombia, and then-- and Chile
                    also has, logistics were quite expensive as well.

         OP         Yeah.

         Monteiro Because we couldn’t have-- so, we did develop Colombia and
                    replaced the charcoal in the furnaces.

         OP         Yeah.

         Monteiro It’s depending on the technology of the furnace, and at that time
                    we had a lot of open furnaces. Charcoal sometimes has-- would
                    have a better results than coke. But then we did manage to make
                    the conversion, and sold a lot of non-core assets, as I mentioned
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                     to you, and did manage to, let’s say, restructure the business and
                     turn the business around, so that by the end of 2008-2009 the
                     business did worth about a billion dollars.

          OP         Nice.

          Monteiro The whole business.

          OP         Okay.

00:19:42 Monteiro Of course, the market helps a lot-- helped a lot at that time, as
                     well, of course. We covered-- manganese is quite qualified,
                     manganese […] was a quite qualified market. It still is. But we
                     did manage to do a-- restructure the business, stand on our own
                     two feet, no need for, let’s say, capital injections from Vale. And
                     we did survive. Because of that--.

          OP         And then--.

          Monteiro Yeah?

          OP         -where did you go after that?

00:20:12 Monteiro Yeah, so, because of that experience, Vale at that time did not
                     have a corporate M&A area. But because of that experience,
                     Vale was building a corporate M&A area, actually it had built
                     that area in 2006, but it was still a small area, and then it was
                     growing, growing, because the challenge to-- either to buy or to
                     sell assets were growing, so the guy that was responsible for
                     M&A, corporate M&A, invited me to join them.

                     00:20:41 - And then I moved back to Rio and joined the M&A
                     area in 2009, the corporate M&A area. So, at that time we-- so,
                     my first project was to sell the kaolin business, not sure if you’re
                     familiar with kaolin.

          OP         No, no.

          Monteiro But you know what it is?
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          OP         No.

00:21:01 Monteiro No. Kaolin is a mineral that you use to produce paint.

          OP         Yeah, okay.

          Monteiro Painting, and also paper. To make--.

          OP         Paper?

          Monteiro -it’s a kind of paper cover-- yes, it’s a paper cover, so the better
                     and the higher quality that paper is, the more kaolin it has. So--
                     .

          OP         Okay.

          Monteiro -the paper that they use, let’s say, the bright one that you use in
                     the magazines--.

          OP         Umm-hmm.

          Monteiro -and in very high-quality books, and the brighter the paper is,
                     then you have more--.

          OP         The more percentage of kaolin.

          Monteiro -the more kaolin you have in it.

          OP         Okay.

00:21:38 Monteiro So, Vale had a kaolin business that was down the road, from a
                     margin perspective, was a small business for Vale. And then I
                     took over the coordination of selling that, divesting that
                     business. Vale was not very used to divest, so, I actually was in
                     manganese, the-- probably one of the first really divestors of
                     Vale. So, and Vale had a challenge to start divesting a lot of
                     small businesses that were destroying Vale, so I sold the kaolin
                     business, coordinate the sale of the kaolin business. At that time
                     price was something like $80-90 million.

          OP         Nice, okay.
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00:22:23 Monteiro Yeah, it was two plants in the north region, actually there’s--
                     one of the plants was my first job, so, because when I started
                     with KM, as I mentioned to you, I worked in the north of Brazil-
                     -.

          OP         Yeah.

          Monteiro -in that plant. So, I sold one plant for, at that time it was 70-80,
                     yeah, so $80 million, and the other plant was sold some, I would
                     say, a year later. We didn’t manage, because there were different
                     types of kaolin.

          OP         Yeah.

          Monteiro So, one year later we sold the other one to another investor for,
                     at that time it was 40-- yeah, $40 million. All in all, 120, around
                     $120 million that we sold the whole business.

          OP         Okay, to foreign companies or to local companies?

00:23:16 Monteiro No, just to-- the first one was sold to a French company called
                     Imerys, or ‘Imerys’--.

          OP         Yeah, yeah, yes.

          Monteiro -as-- you know Imerys? Yeah.

          OP         Umm-hmm.

          Monteiro And the other one was to an American company that you might
                     know, as you are working with American-- in the American
                     mining space, it’s a company called KaMin.

          OP         Yes, of course.

          Monteiro Yeah, yeah.

          OP         Okay.
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         Monteiro So, KaMin was probably-- and this-- I’m not sure the situation
                    right now, I did not follow any longer, that was back in 2009-
                    2010.

         OP         Okay.

         Monteiro So, and it’s been long since that. So, KaMin was one of the
                    largest companies in that segment.

         OP         Okay.

         Monteiro And Imerys as well. In-- each one in its own segment of the
                    kaolin business. They were quite big companies, so--.

         OP         As I told you, one of the aims at the moment is--.

00:24:09 Monteiro Just hold on a second.

         OP         Yeah, go, go ahead.

         Monteiro Everybody looking for a charger, and so these kind of things at
                    home office--.

         OP         [Laughs].

         Monteiro [Laughs] I was asking him for the charger. Sorry, go on.

00:24:36 OP         One of the objectives of this whole operation is to partner with
                    the person who has acquired the license and the concession.
                    Now, this-- we’re talking about people who used to be close to
                    the PT government, the former government. And we are now
                    trying to go through, you know, trying to trust our partners and
                    do a small DD in order to-- due diligence, in order to convince
                    our American partners that everything is okay and we can go
                    forward. And I was wondering if you have any experience in
                    that aspect.

00:25:39 Monteiro Yes, I mean, during the M&A period-- you mean experience in
                    due diligence, or in--.

         OP         No--.
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        Monteiro -mining rights, or--.

        OP         Yeah, rights, partnering with rights, because in Brazil I
                   understand that-- well, you know, I’ve been around, so I know
                   that in Brazil--.

        Monteiro Yeah.

        OP         -you need somebody to have some kind of special relationship
                   in order to get a permit or a license. So, in Brazil it’s obvious
                   that if you are connected to, well, the PT had a lot of
                   connections, and now we have to do the due diligence in order
                   to convince our American partners that the permit that our
                   partner has is free of any problems or--.

        Monteiro I see.

        OP         -you know, problems that might raise some questions in the very
                   strict, American way of thinking. Which is different from--.

        Monteiro Sure.

00:26:48 OP        -Latin America. Latin America, I understand that there is some
                   place to, you know, some flexibility, which the Americans
                   don’t-- cannot accept.

        Monteiro I see. Now, I wouldn’t say that you would need, let’s say,
                   connections to get the mining. Of course, you need people that
                   know the asset, but no, well, there are clear rules in Brazil for
                   mining rights and so in that due diligence--.

        OP         But have you had any experience with partnering with such a
                   side that already has a concession, and you need to understand
                   and to go through the whole process of due diligence, in order
                   to do a, I don’t know, a partnership?
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00:27:47 Monteiro Yes. We have done that in Brazil, either because we were selling
                     or because we were buying, so we acquired-- I coordinated the
                     acquisition of some assets in Brazil.

          OP         Umm-hmm.

          Monteiro And one of them were fertilizer assets, and of course we had to
                     invest time and resource in doing due diligence, to understand
                     the status of the mining rights. So, that was key in-- yeah, and
                     I’ve done that during the M&A period, because we acquired
                     assets as well.

          OP         Umm-hmm.

          Monteiro And essentially at that time were fertilizer assets--.

          OP         Yeah, okay.

          Monteiro -and both potash, and more phosphate assets--.

          OP         Phosphate, yes.

          Monteiro -than potash in Brazil, and of course we had to, yes, and to do
                     diligence and yeah, mining rights, and the status of that.

00:28:43 OP          Okay. And do you accept the equation that says: ‘Listen, we
                     need to make sure the due diligence doesn’t block our intention
                     to partner with the other side’?

          Monteiro I’m not sure if I understood your question, you need to make
                     that the due diligence? Sorry, can you repeat please?

          OP         Okay, we have-- we’re trying to partner now with a side that has,
                     with a company that has concessions obtained during the former
                     government, okay? And we need to go through a due diligence
                     process, making sure that the due diligence don’t raise up any
                     problems regarding the way they obtained the permits, so they
                     won’t block our side of the deal.
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00:29:55 Monteiro Yeah, sure. But that is not-- well, I would say that the process
                     itself for obtaining the concession is quite straightforward, I
                     mean, because you have the, what we call in Brazil DNPM, you
                     might have heard about that.

          OP         Yeah.

          Monteiro And even I know a guy that works in DNPM that used to work
                     for Vale, it’s a quite close friend of mine. But I would say that,
                     well, the part that has to concern you is that if to obtain the
                     concession, the current owner have bribed the previous
                     government. But I would say that the process of DNPM is quite
                     straightforward, I would say that normally the issues are--.

00:30:44 OP          Yeah, I want to, I want to interrupt you here, because the whole
                     idea, from what I understand, okay? It’s--.

          Monteiro Umm-hmm.

          OP         -not to reach such a stage that you want to go and make sure,
                     and check exactly how the other side obtained the concession,
                     you know what I--.

          Monteiro Umm-hmm.

          OP         -do you understand my meaning?

          Monteiro Yeah. yeah, okay. Yeah.

          OP         Okay? I don’t care, although I had my doubts or my--.

          Monteiro Umm-hmm.

          OP         -suspicions how he got it, the whole idea is to make sure that we
                     understand it’s okay.

          Monteiro Yeah. That it’s valid and yeah, I see where you are coming from.
                     It’s--.

          OP         No. What is your comment on that, and have you had in your
                     career some examples that you can mention?
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00:31:44 Monteiro Yeah. Examples of, well, getting the status of the mining rights,
                     it’s-- we had to do that all the time when we were doing
                     diligence in the assets that we were either buying-- and of course
                     we are-- we were explain it for people that were buying our
                     assets as well, because we sold it for ex-- for foreign companies
                     that had of course strong concern about that. So, that is--.

          OP         Can you give any examples in general?

          Monteiro Yeah, yes, of course. In the phosphate business that I mentioned
                     to you, we acquired phosphate assets from Bunge and there were
                     some, in-- there was a company in Brazil called […] that, well,
                     there were a lot of mining, a lot of mineral assets. Some assets
                     were-- they did had kind of […], because in some areas in Brazil
                     you may have to pay royalties to the government, depending on
                     which area you are.

          OP         Umm-hmm.

00:32:42 Monteiro And well, of course you pay royalty and everything related to
                     mining, but there are special royalties agreement with special
                     states, which may make it more expensive and make it more
                     costly. So, on that business for example, we were of course
                     checking in the diligence the status of the mining rights. The
                     mining rights, normally you have a time to develop, so when
                     you are assigned a mining right, you have a time to develop it.

          OP         Yeah.

          Monteiro If you do not develop within that time, you may ask--.

          OP         I’m well-aware, I’m well-aware.

          Monteiro -for extension-- yeah, so--.

          OP         Yeah.

          Monteiro -but anyway, it’s--.
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00:33:24 OP          Any experience out of Brazil in that respect?

          Monteiro No. With mining rights-- well, I have experience out of Brazil
                     because I-- not that we-- I coordinated the process of acquiring,
                     and that’s why well, we did a lot of investigation at that time so,
                     I coordinated the process of acquiring the BSGR assets in
                     Guinea. You remember that, have you ever heard of all that?

          OP         Oh, that’s, that’s long ago.

          Monteiro Have you heard of BSGR or Benny Steinmetz?

          OP         But that’s long ago, that’s ages ago.

00:34:04 Monteiro No. No, that’s in, that’s back in 20-- was when the volcano in
                     Iceland was under heavy activity so, I was not--.

          OP         It must have been eight years ago or-- more than that.

          Monteiro Yes, eight, nine years ago. Exactly. Yeah, it was back in 2011,
                     2012, something like that.

          OP         And what was your involvement there?

          Monteiro My involvement was that Vale decided to acquire-- well, was
                     trying to acquire iron ore deposits in Guinea. So, I--.

          OP         Yeah.

          Monteiro I coordinated the process of acquiring those deposits in Guinea
                     doing all-- the whole due diligence investigation, the contract
                     and so on.

          OP         Uh-huh.

00:34:51 Monteiro So, we were understanding the legislation in Guinea,
                     understanding how good or bad were. And we were even doing
                     some further investigations in the sense that I was previously
                     mentioning to you, I mean, understanding how the guy get to the
                     deposits--.
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          OP         Umm-hmm.

00:35:11 Monteiro -because it didn’t seem a very transparent process in Guinea.
                     So, understand the means he used to get the permits and all the
                     conditions of the permits, the legislation in Guinea. So, we
                     were doing all the diligence at that time, and also, we hired
                     some companies even to investigate if he had used.

                     00:35:31 - And at that time, it was an American company, I'm
                     trying to recall the name, that we hired to investigate, but at
                     that time, we didn’t find anything. And by the end of the day,
                     we structured a quite strong contract where we were forcing
                     the company-- well, not forcing, but anyway, enforcing, that’s
                     a better word, the company to declare, to make a lot of
                     declarations of the reps and warranties of how they were-- how
                     they did manage to get those permits, and [Audio disruption]
                     were legal, or that they used legal means, that they did not
                     bribe officials and so on.

                     00:36:10 - And by the end of the day actually, it was what we
                     found out, we went through-- the government in Guinea
                     changed and they started to challenge the validity of the means
                     that the guy did manage to get the permit. But the way our
                     contract was done was quite strong, I mean, what the-- all the
                     measures we took and reflected in the SPA to get Vale protected.

          OP         Yeah.

00:36:43 Monteiro And by the end of the day actually, it went to arbitration, after
                     the government of Guinea challenged the way they did, and we
                     won the arbitration. So, it was even a London arbitration and we
                     won the arbitration against Guinea. And the indemnisation
                     [means: compensation] is probably going on right now, I mean
                     the--.
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          OP         But you mention that you investigated and there were a number
                     of companies that did the due diligence--.

          Monteiro Yes.

          OP         -and they had to declare that everything was done properly, and
                     they didn’t commit any corruption, but it’s obvious that--.

          Monteiro They would never do that. Yeah, no, they--.

00:37:23 OP          It’s obvious that nobody will tell you, ‘Listen, I had to pay’, I
                     don’t know, ‘this guy to get a permission’. This is something
                     obvious. Nobody will tell you upfront that they did that.

          Monteiro Yeah, I-- of course not. But-- and the companies would not work
                     in a way that they would tell you that everything was properly
                     done, I mean, that’s not the way they work. I mean, the way they
                     work is that-- I'm still trying to recall the name of the American
                     company specialized in this kind of things, but the way they
                     work is that, well, they could not find any allegation that there
                     has been bribery or any-- that they have used any means that
                     were not legal to get to the permits.

          OP         Yeah, because well--.

          Monteiro That’s what they say, I mean, […] the investigation.

          OP         Because those companies usually go and search documentation.
                     And in this kind of activity, you don’t document whatever you
                     do.

00:38:21 Monteiro No, but they do a lot of-- they talk to people.

          OP         Yeah?

          Monteiro They do a lot of interviews, they talk to people, they go-- yeah,
                     yeah. They go to the place and they do a quite structured work.

          OP         Yeah?

          Monteiro I mean, they’re quite good.
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           OP         Isn’t this kind of due diligence some kind of insurance policy
                      saying, ‘Listen, we did the due diligence, and everything is
                      okay’?

00:38:42 Monteiro That’s, well, that’s how, that’s a thing to do as well, I mean, that
                      you-- it’s also a way that if you have troubles with the
                      authorities, you can prove that you have done a serious due
                      diligence and that was one of your concerns. So, there is also a
                      sense that not necessarily if the guy has done it well done, not
                      necessarily the company will find out anything in their
                      investigation, but it’s also a way for you to get kind of protected
                      and armored--.

           OP         Yeah.

00:39:14 Monteiro -that-- before the authorities, because if anything is find out later
                      down the road, then you can prove that you were diligent and
                      that you did all you could to figure out or try to find out if there
                      was any illegal activities in the process to get the permit.

           OP         Yeah. But down, down, down in your own opinion--.

           Monteiro Yes.

           OP         -was that the situation then? Kind of an insurance policy, or it
                      was clear that the guy didn’t get the permission according to all
                      the strict and, I don’t know, the strict law?

00:39:56 Monteiro Down, down, down, we-- it was clear to us that he did follow
                      the legal, let’s say provisions of the Guinean law.

           OP         Umm-hmm.

           Monteiro So, that he had been through that, so, the permit was gotten, let’s
                      say in a-- all the formalities were there.

           OP         Yeah.
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00:40:19 Monteiro That was clear. Yeah, all the formalities were in place and
                     correctly in place, he paid what he had to pay to the
                     government and so on. But of course, we were all always-- we
                     didn’t find any-- again, any, any, say anything that could tell us
                     that there has been something.

                     00:40:40 - We didn’t find anything concrete, tangible. Of
                     course, there were a lot of allegations in the market about the
                     way he did get the-- but it were not something that we could
                     consider credible allegations.

          OP         Uh-huh.

00:40:56 Monteiro Later on, down the road, he was found out, a guy, and he was
                     even American, that intermediate something to him, and he was
                     involved in a lot of corruption, involved in the Guinean
                     government and so on. So, and we could use that as our contract
                     was quite strong.

          OP         Yeah.

          Monteiro So, we could use that to prove that that guy misrepresented to
                     us, and we were able to win the arbitration against--.
                     [Simultaneous talk]

00:41:25 OP          How much did you invest?

          Monteiro Two billion bucks.

          OP         Not bad. [Laughs]

          Monteiro Yeah.

          OP         And did you get everything back?

          Monteiro Well, I'm not sure because I left Vale sometime later.

          OP         Okay.

00:41:40 Monteiro Actually, at that time, the CEO of Vale was quite keen on
                     acquiring those assets.
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          OP         Umm-hmm.

          Monteiro Our recommendation was to put everything on escrow.

          OP         Umm-hmm.

          Monteiro Do not pay one penny to the guy--.

          OP         Yeah.

          Monteiro -until we could-- because there was to happen a changing
                     government in Guinea. So, what we recommended was that,
                     ‘Let’s put everything in escrow until the new government takes
                     place, runs its diligence, its investigation, and then we are
                     secure.’ But the president-- the CEO at that time was so-- he was
                     very afraid that the Chinese could put their hands on those
                     reserves--.

          OP         Umm-hmm.

00:42:22 Monteiro And China is the largest customer of Vale.

          OP         Yeah.

          Monteiro That I believe that he was kind of more aggressive than I believe
                     that he should be. A lot of people tried to convince him, my boss
                     left the company because of that and so on.

          OP         Oh, okay.

00:42:37 Monteiro Because-- yeah, because we were not-- by the end of the day,
                     we were not able to convince him. And of course the reason why
                     we were not able to convince him was that because we didn’t
                     have any credible allegation. All the diligence we did was fine,
                     but still, there was that smell of something that could have been
                     done wrongly.

          OP         Yeah.

00:42:59 Monteiro And also, it was not only that, I mean, it was mainly because
                     there was a rule in Guinea that the Parliament has to confirm a
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                     permit that is given, a permit that’s given to a mining company.
                     And in that case, because there was no parliament at that time,
                     because the government had to dissolve the Parliament, then that
                     guy did not went through that process.

          OP         Umm-hmm.

          Monteiro So, he said, ‘Well, the validity of the permit is not 100% because
                     he has not been through a parliament confirmation.’ Which also,
                     and what he alerted at that time--. [Simultaneous talk]

          OP         But even though [means: even so], the CEO of Vale went
                     through.

00:43:48 Monteiro Well, and that’s-- the argument was […] I mean, but the-- there
                     was no parliament in Guinea. So, what he used to say that, well,
                     if there was no parliament, how this guy would get through the
                     parliament confirmation if there was no parliament? And then,
                     we said, ‘You’re right.’ And then was what the legal peoples
                     told us as well, and that it’s legal what he has because in the
                     absence of the parliament he couldn’t get that confirmation.

          OP         Umm-hmm.

00:44:18 Monteiro But by the end of the day, what we recommended to him is
                     that, ‘Okay, it’s fine, it’s legal. We understand it’s legal.’ But
                     as we are quite close to elections, and the president at that time
                     was an interim president in Guinea, and he had to call for
                     election, he was under pressure to call for elections, for
                     parliament elections, then we recommend let’s wait a year,
                     more, whatever it takes to-- until we have a Parliament and the
                     Parliament can confirm it.

                     00:44:51 - And then put everything on escrow, and then-- but he
                     insisted on buying the whole stuff and getting-- some
                     protections in the contract, we did have, I mean, the contract was
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                    so that we won the arbitration and Vale won the arbitration. But
                    yeah, it was a risky decision at that time.

         OP         Tell me, the companies that did the due diligence--.

         Monteiro Yes.

         OP         -they also understood, I mean, they heard from you, your
                    reservations about it, and even though [means: even so], they
                    said that was okay and they gave a clear report to the CEO that
                    it was okay to invest.

         Monteiro Yes.

00:45:35 OP         So, that’s what, that’s-- regarding what you said, that it was used
                    as an insurance policy.

         Monteiro Yes. Well, I would say the diligence itself did not find anything,
                    our main, the reason of our recommendation was not because
                    we necessarily believed that there had been anything illegal
                    behind it, because again, everything that we could do to try to
                    clear that out did not come out as anything-- with anything that
                    could help our decision, but because of this parliament
                    confirmation.

         OP         Umm-hmm.

00:46:09 Monteiro That was the thing and we said, ‘Well, what he had is not
                    completely, let’s say, it was completely legal, but it’s not
                    completely-- it’s not strong enough.’, that’s what we said,
                    because as we are close to new elections and he doesn’t have a
                    parliament confirmation, that creates a weakness here that we
                    would recommend we wait--.

00:46:29 OP         But how can you-- how could you just brush aside all the rumors
                    that you mentioned they were there?

         Monteiro Through the investigation.
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        OP         Umm-hmm.

        Monteiro Because there were a lot of rumors that were false. I mean, that-
                   - and it was easy to clear out through investigation.
                   Documentation he had, he had paid for the permit through, and
                   he had, he had been through all the legal, and even the
                   competitions to get through the permit was there.

00:47:00 OP        Yeah. You know, we might--.

        Monteiro So--.

        OP         -find ourselves in, more or less in the same position now, with
                   the person who has at the moment the permit. I have to check
                   where is it standing regarding all the legal proceedings, but we-
                   - this is between us, we understand that the guy got-- or the
                   company, got through the special relationship that he had with
                   the former governor of Minas Gerais.

        Monteiro Gerais, yes.

        OP         Yeah.

        Monteiro Probably Aecio Neves.

        OP         So, but this is the way that things are done in Brazil. The guy
                   paid everything, okay? But he has--.

        Monteiro Okay.

        OP         -a special relationship with-- it’s obvious. This is something that
                   it’s not new, not to me, not to you.

        Monteiro Yeah.

00:47:52 OP        So, this is something that we will be confronting when-- well, at
                   the moment nobody is doing anything, so it will be--.

        Monteiro Yeah.

        OP         -I don’t know, we’ll see what will happen in the next few weeks,
                   at least I would say mid of April, the end-- no, before the end of
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                  April nothing will happened. But this is something that we are
                  going to have to deal with it, and I believe that it’s an
                  opportunity, and I believe that we can convince our American
                  partners that we did the due diligence in a proper way, that they
                  can be safe.

                  00:48:40 - And also, as an insurance policy, to say, ‘Listen, we
                  will definitely-- we’ll need to talk further about the provisions
                  in the contract in order to protect ourselves’.

        Monteiro Yeah. Sure, that’s--.

00:48:56 OP       Tell me, what’s your position-- what’s your--.

        Monteiro -really important.

        OP        -what’s your position at the moment regarding the company that
                  you are working at, at the moment?

        Monteiro Yes. My position is, I’m--.

        OP        You’re working for an energy company, right?

        Monteiro Sorry?

        OP        Energy? Energy company?

        Monteiro It’s an energy company, yes. It’s the second largest energy
                  company in Brazil, and-- in all segments. So, I’m responsible
                  for corporate finance, so all the, for that management and
                  fundraising, and all the finance fees of the company, providing
                  resources, managing the debts, and we have quite big debt and
                  quite high activity. So, that net, well, gross net, that is around 21
                  billion reais.

        OP        21 billion?

        Monteiro Billion, yes. Yes.

00:49:45 OP       Wow, okay. What--.
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        Monteiro It’s quite a big company, it’s 21 now, with the markets as they
                   are, it’s difficult to say evaluation. But it was about 25 billion
                   reais market cap.

        OP         Okay. And, but what does the company do?

        Monteiro It’s distribution, generation and transmission of power.

        OP         Okay.

        Monteiro In all segments, all segments of power.

        OP         Electricity?

        Monteiro Yes. Yes.

        OP         Okay. And in--.

        Monteiro So, this power-- you’re Spanish, aren’t you?

        OP         Sorry?

        Monteiro We’re-- are you Spanish?

        OP         Yes. Yes, yes, yes.

        Monteiro So, it’s-- you probably know--.

        OP         Yeah.

        Monteiro -you probably know the mother company. The mother-- the
                   controller of the company that I worked for in Brazil, it’s called
                   Iberdrola.

        OP         Iberdrola, yes. Well--.

        Monteiro Yeah, so you know.

        OP         -Spanish, in the País Vasco. [Laughs]

        Monteiro Yes. But they are quite big, I mean--.

        OP         Yeah, yeah, yeah.

        Monteiro -yeah, they’re from the País Vasco.
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        OP         Yeah, yeah, of course.

        Monteiro Yeah. But now they are national, I mean, it’s a quite, it’s a huge
                   organization.

        OP         Okay, listen--.

        Monteiro Very […] process.

        OP         -I have a meeting in about 10 minutes, and I need to prepare.

        Monteiro Yeah, yeah.

00:51:03 OP        And it’s been a pleasure, and it’s only open a little bit of
                   curiosity to continue the relationship--.

        Monteiro Yeah.

        OP         -hopefully, that we’ll meet soon, but at the moment I don’t see
                   any way of doing that. And let’s see if we can fix another
                   meeting through-- like this--.

        Monteiro Yeah.

        OP         -in, let’s say, in a week time, to see how we could speak further
                   and see how would you be interested in going into-- and in what
                   capacity, into our project. Is that--.

        Monteiro Yes.

        OP         -okay to finalize this conversation as this-- like this at the
                   moment?

        Monteiro Sure, well, yeah, for sure. Well, of course I will need to learn
                   more about the project, because--.

        OP         Yeah.

        Monteiro -bauxite is not an easy business to be at--.

        OP         Yeah.

        Monteiro -but yeah. Let’s further understand.
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          OP         Okay.

00:52:02 Monteiro Whenever you can give me further information, then I--.

          OP         Okay.

          Monteiro -would be--.

          OP         Great, okay.

          Monteiro -able to-- yeah.

          OP         So, it’s been a pleasure. You can go and find some chargers to
                     your children’s phones, and I have to--.

          Monteiro Yeah.

          OP         -prepare for another meeting, so, I will say goodbye at the
                     moment and thank you very much.

          Monteiro [Audio interruption].

          OP         Sorry?

          Monteiro Just a small-- I understood from Fernando that it’s more kind of
                     a board membership, and some kind of advisory--.

          OP         Yes.

          Monteiro -then-- yeah, okay. That’s fine.

          OP         Yes, yes, yes, it’s--.

          Monteiro It’s something that I can-- yeah, that I can concile [means:
                     reconcile] with my current position.

          OP         Of course, that’s the-- but at the-- well, as I told, the first stages
                     will be to advise on the-- how to conclude this business, and then
                     be-- regarding also, you’ll have to enlighten us as how much to
                     invest in terms of the percentage, so we’ll have a presence in the
                     board. I don’t know exactly how much is at the moment in
                     Brazil, but we’ll see that along the way. Okay?
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        Monteiro Okay.

        OP         Great, thank you very much--.

        Monteiro Okay, good.

        OP         -and be safe, keep healthy.

        Monteiro Keep safe.

        OP         How old are you, by the way?

        Monteiro Sorry?

00:53:24 OP        How old are you?

        Monteiro I turned 46 yesterday.

        OP         Oh, so you’re still-- oh. [Laughs]

        Monteiro [Laughs].

        OP         Yeah, happy birthday. But so, you’re still out of the scope of the
                   danger, the danger-- yes.

        Monteiro I’m still out of the scope, yeah.

        OP         Okay, great, thank you very much and we’ll be in touch. Oh, I’ll
                   send you the--.

        Monteiro Yeah.

        OP         -I changed my telephone number, I’ll send you my new
                   telephone number, I’ll send you a WhatsApp at the moment,
                   okay?

        Monteiro Okay. Okay, good.

        OP         Great, thank you. Bye-bye.

        Monteiro Thank you.
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    Full Transcript of
    First Meeting with
     Denis Thirouin
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Name of recording: recording-20200503-182209

Duration of recording: 01:37:46

Time       Side        French Transcript              English Translation
stamp

00:32:20   Thirouin    Allô ?                         Hello?

           OP          Allô, oui. M. Thirouin ?       Hello, yes Mr. Thirouin?

           Thirouin    Allô ?                         Hello?

           OP          Allô, oui. Vous m’entendez ?   Hello, yes. Can you hear me?

           Thirouin    Oui, oui. Je vous entends--.   Yes, yes. I can hear you--.

           OP          Allô ?                         Hello?

           Thirouin    -problème aujourd’hui-- oui, -problem today-- yes, yes, I
                       oui, je vous entends.          can hear you

           OP          Oui. Est-ce que-- ?            Yes. Is it--?

           Thirouin    Allô ?                         Hello?

           OP          Je pense que vous avez un I think you have a problem
                       problème avec votre Skype ? with your Skype? Hello?
                       allô ?

           Thirouin    Non, non. C’est un problème No, no. It’s a problem with my
                       avec mes lunettes, j’ai cassé glasses, I broke my [...]
                       mes [...] lunettes et j’ai glasses and I have [Internet
                       [Internet breaks up].          breaks up].

           OP          Pardon ?                       Excuse me?

           Thirouin    […]. Je vous envoie--.         […]. I am sending you--.

           OP          Comment ? Allô ?               Pardon? Hello?

           Thirouin    […] ça y est.                  […] that’s it.

           OP          M. Thirouin ?                  Mr. Thirouin?




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        Thirouin   Donc là, c’est parti. Allez, So now, let’s go. Come on,
                   […] c’est parti. Je vous […] Okay. I'm listening.
                   écoute ?

        OP         Oui.                              Yes.

        Thirouin   Attendez.                         Wait.

        OP         Oui. Vous disiez que vous Yes. You were saying you
                   avez cassé vos lunettes ?         broke your glasses?

        Thirouin   […].                              […].

        OP         Comment ?                         Pardon?

        Thirouin   J’ai cassé le manche des I broke the branch of my
                   lunettes alors j’ai du mal glasses, so I have a hard time
                   écrire, je me trompe. Mais ça writing, I make mistakes. But
                   y est, je vous ai envoyé le that’s it, I have sent you the
                   mail.                             mail.

        OP         Est-ce que vous avez réussi So, did you succeed with the
                   donc avec le Skype-- ?            Skype--?

        Thirouin   […].                              […].

        OP         -ou on continue avec le -or can we continue with the
                   Whatsapp ?                        Whatsapp?

        Thirouin   Non, on va continuer avec le No, we will continue with the
                   Whatsapp parce que--.             Whatsapp because--.

        OP         D’accord.                         Alright.

        Thirouin   […] Skype après.                  […] Skype after.

        OP         Pardon ?                          Excuse me?

        Thirouin   […].    Oui,   oui.   Je    vous […]. Yes, yes. I am listening?
                   écoute ?




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           OP         Ah, d’accord. Bon, alors je me Oh,                alright.   So,   I’m
                      représente. Donc--.                     introducing myself again. So-
                                                              -.

           Thirouin   Oui ?                                   Yes?

00:33:54   OP         Mon       nom,     c’est         Daniel My name is Daniel Rochat.
                      Rochat.

           Thirouin   Okay.                                   Okay.

           OP         Je suis un des directeurs Aptax I am one of the directors at
                      Advisors         qui       est      un Aptax Advisors which is a
                      multifamily office basé à multi-family office based in
                      Genève et à Zurich.                     Geneva and in Zurich.

           Thirouin   Oui. Oui, d’accord.                     Yes. Yes, alright.

           OP         Oui ?                                   Yes?

           Thirouin   Oui.                                    Yes.

           OP         Donc nous représentons un So, we represent a group of
                      groupe d’investisseurs qui ont investors who have a share--.
                      une participation--.

           Thirouin   Oui ?                                   Yes?

           OP         -dans une société minière -in a medium-sized private
                      privée de taille moyenne qui mining company based in
                      est basée en Europe.                    Europe.

           Thirouin   Oui ? Oui. […].                         Yes? Yes. […].

           OP         Et l’année dernière, la société And last year, so, the company
                      donc a pris une décision made a strategic decision--.
                      stratégique--.

           Thirouin   Oui ?                                   Yes?




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        OP         -de diversifier son portefeuille -to diversify their portfolio
                   et   de      pénétrer    dans   les and to penetrate the African
                   marchés africains.                  markets.

        Thirouin   D’accord.                           Alright.

        OP         Donc l’un des projets que la So, one of the projects that the
                   société a sérieusement--.           company has seriously--.

        Thirouin   […].                                […].

        OP         Pardon ?      Alors,     l’un   des Excuse me? So, one of the
                   projets--.                          projects--.

        Thirouin   […]. Je vous écoute ?               […]. I am listening?

        OP         Oui. L'un des projets que la Yes. One of the projects that
                   société        a     sérieusement the         company      seriously
                   envisagés, c’est une mine de considered is a copper mine
                   cuivre située dans le centre de located in the centre of
                   la Namibie.                         Namibia.

        Thirouin   Oui, d’accord.                      Yes, alright.

        OP         Donc         selon      l'évaluation So according to the initial
                   géologique initiale, la mine geological study, the mine
                   semble très prometteuse.            looks very promising.

        Thirouin   Oui ?                               Yes?

        OP         Et selon les attentes, elle And                according   to   the
                   pourrait produire plus de 100 expectations, it could produce
                   000 tonnes par an--.                more than 100,000 tons per
                                                       year--.

        Thirouin   Oui ? […].                          Yes? […].

        OP         -au moins pour les 20 ans à -at least for the next 20 years
                   venir.                              to come.

        Thirouin   […].                                […].



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           OP         [Simultaneous        talk]     Donc [Simultaneous talk] So the
                      l'emplacement est également location is ideal.
                      très prometteur.

           Thirouin   Oui ?                                 Yes?

           OP         Et surtout en raison de sa And mostly because of its
                      relative proximité avec le port relative           proximity     to   the
                      en eau profonde--.                    harbour in deep water--.

           Thirouin   Oui ?                                 Yes?

           OP         Le port qui s’appelle Walvis The harbour’s name is Walvis
                      Bay.                                  Bay.

           Thirouin   Walvis Bay. Oui, oui.                 Walvis Bay. Yes, yes.

           OP         Ce     qui    rendra    les    frais Which will make the shipping
                      d'expédition assez attractifs.        fees rather attractive.

           Thirouin   Oui, c’est attractif, oui.            Yes. That’s attractive, yes.

00:35:33   OP         Oui. Donc la société de nos Yes. So our clients’ company
                      clients est sur le point de is about to close the deal as a
                      conclure l'opération en tant partner in a joint venture.
                      que     partenaire     d'une    co-
                      entreprise.

           Thirouin   Oui ?                                 Yes?

           OP         Donc l’autre partenaire--.            So, the other partner--.

           Thirouin   Alors c’est un-- oui ?                So, he is a-- yes?

           OP         L'autre partenaire était le The other partner was first in
                      premier sur le terrain.               the field.

           Thirouin   Oui ?                                 Yes?

           OP         Donc ça c'est important à le And it is important to say so.
                      dire. Et c’est essentiellement It is essentially the party who
                      la partie qui a obtenu donc obtained                all    the   mining



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                   toutes les licences minières du licences from the Namibian
                   gouvernement namibien.             government.

        Thirouin   Oui ? Oui ?                        Yes? Yes?

        OP         Donc ce premier partenaire, So that first partner, it’s a
                   donc,        c’est    un   groupe group          of             Chinese
                   d'hommes d'affaires chinois--. businessmen--.

        Thirouin   Oui ?                              Yes?

        OP         -qui ne peuvent pas exploiter -who don’t want to operate
                   eux-mêmes et donc ont décidé themselves             and    so      they
                   de s'associer--.                   decided     to         get      into
                                                      partnership--.

        Thirouin   […].                               […].

        OP         Ils    ont     donc    décidé   de They decided to get into
                   s’associer avec nos clients.       partnership with our clients.

        Thirouin   D’accord. Oui, je comprends.       Alright. Yes, I understand.

        OP         Oui.                               Yes.

        Thirouin   Et c’est une-- le projet, c’est And that’s a-- the project, that
                   ce qu’on appelle un [...] is what we call a […] project?
                   project ?

        OP         Je vous entends très mal.          I do not hear you well.

        Thirouin   Oui. Je dis, le projet, c’est un Yes. I am saying, the project,
                   […] ou un […] project ?            it is a […] or a […] project?

        OP         Ben pour le moment, je ne Well, for the moment, I don’t
                   veux pas trop en dire. Juste--.    want to say too much. Just--.

        Thirouin   […] ?                              […] ?




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        OP         Juste     pour--         mais     quand Just for-- but still, I give you
                   même, je vous donne assez de- enough de--.
                   -.

        Thirouin   Oui, oui. Tout à fait. […].                Yes, yes. Absolutely. […]

        OP         -assez de détails. Donc au -enough details. So, during
                   cours        des         négociations, our negotiations, our client’s
                   l'entreprise de notre client a company discovered through
                   découvert      auprès           d'entités local entities--.
                   locales--.

        Thirouin   Oui ?                                      Yes?

        OP         -que le partenaire chinois -that the Chinese partner had
                   avait         soudoyé                des bribed local officials to get--.
                   fonctionnaires locaux pour
                   obtenir--.

        Thirouin   [Laughs] d’accord. Bon, c’est [Laughs] alright. Well, that’s
                   […].                                       […].

        OP         Comment ? [Laughs] Ça vous Pardon? [Laughs] Does this
                   fait rigoler, ça ?                         make you laugh?

        Thirouin   Oui, oui, parce que c’est pas Yes, yes, because it’s not new.
                   nouveau.

        OP         Oui. Oui, justement, surtout Yes, yes, precisely when we
                   quand on parle d’Afrique.                  talk about Africa.

        Thirouin   Oui. […]. [Simultaneous talk] Yes. […]. [Simultaneous talk]

        OP         Donc il avait soudoyé des So, he had bribed local
                   fonctionnaires locaux pour officials to get the operating
                   obtenir            les          licences licences.
                   d’exploitation.




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        Thirouin   Alors, vous en êtes à quel So, what stage are you at,
                   point maintenant ?                now?

        OP         Alors écoutez.                    So, listen.

        Thirouin   Oui ?                             Yes?

        OP         Notre société a effectué--.       Our company has performed--
                                                     .

        Thirouin   […] vous avez un mandat […] do you have a mandate to
                   pour     obtenir   l’exploitation get the operating on behalf of
                   pour le compte des Chinois ?      the Chinese?

        OP         Ben écoutez, écoutez. Donc, Well, listen, listen. So, our
                   notre société. Elle a--.          company. It has--.

        Thirouin   Allô ?                            Hello?

        OP         Vous m’entendez ? Allô ? M. Can you hear me? Hello? Mr.
                   Thirouin ?     Allô ?      Allô ? Thirouin?      Hello?       Hello?
                   Allô ? Allô ? Allô ? Vous Hello? Hello? Hello? Can you
                   m’entendez ?                      hear me?

        Thirouin   Oui, très bien.                   Yes, very well.

        OP         Ah. D’accord parce que je ne Oh.           Alright,   because      I
                   vous ai pas entendu pendant couldn’t hear you for a
                   une minute. Donc je disais que minute. So, I was saying that
                   lorsque notre société de notre our client’s company--.
                   client--.

        Thirouin   Oui.                              Yes.

        OP         -a effectué une diligence -has             performed      a     due
                   raisonnable, bien entendu la diligence,          obviously       the
                   diligence--.                      diligence--.

        Thirouin   La due diligence, oui ?           The due diligence, right?




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        OP         -raisonnable n'a rien trouvé. Due diligence didn’t find
                   Cependant, et notre client, par anything. Yet, and our client,
                   une tierce-partie a su--.             through a third party got
                                                         knowledge--.

        Thirouin   Oui ?                                 Yes?

        OP         -que ce n'était pas un pot de - that it wasn’t a regular bribe
                   vin     traditionnel     avec   des with envelopes under the
                   enveloppes sous la table, mais table, but that it was a senior
                   c'était     un         très     haut official, a key official in the
                   fonctionnaire,                   un Namibian Ministry of Energy
                   fonctionnaire           clef     du and       Mines     who    got   a
                   ministère des Mines et de substantial share--.
                   l'Énergie de la Namibie qui a
                   reçu une part substantielle--.

        Thirouin   Oui ?                                 Yes?

        OP         -dans une société offshore.           -in an offshore company.

        Thirouin   Oui ?                                 Yes?

        OP         Qui est bien entendu détenue Which obviously is owned by
                   par le partenaire chinois.            the Chinese partner.

        Thirouin   Allô ?                                Hello?

        OP         Vous m’avez entendu ? allô ?          Did you hear me? hello?

        Thirouin   Oui, oui. Je vous ai entendu.         Yes, yes. I heard you.

        OP         Alors--.                              So--.

        Thirouin   Je vous entends.                      I can hear you.

        OP         Alors je répète. Donc par une So, I repeat. So, through a
                   tierce-partie, notre client a su third party, our client got
                   que ce n'était pas un pot de vin knowledge that it wasn’t a
                   traditionnel.                         traditional bribe.




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           Thirouin   Et là vous avez un--.                   And here you have a--.

           OP         Et que c’était un très haut And that it was a senior
                      fonctionnaire du ministère des official            in     the     Namibian
                      Mines et de l'Énergie de la Ministry                 of    Energy        and
                      Namibie--.                              Mines--.

           Thirouin   […]. Oui ?                              […]. Yes?

           OP         -qui a, qui a reçu une part -who, who got a substantial
                      substantielle dans une société share in an offshore company
                      offshore      détenue        par     le owned by the Chinese partner.
                      partenaire chinois.

           Thirouin   Oui ?                                   Yes?

00:40:13   OP         Et donc bien entendu, il And so obviously, he will win
                      gagnera       des      fonds       très a lot of money by developing
                      importants en développant la the copper mine.
                      mine de cuivre.

           Thirouin   Oui. […] sûr, oui.                      Yes. […] sure, yes.

           OP         Donc, d’un côté, nos clients So, on the one hand our clients
                      veulent vraiment ce projet really                  want    this       project
                      parce     que    ils     y    croient because they really believe
                      fortement que ce sera une that it will be a financial
                      percée        financière           pour breakthrough            for      the
                      l'entreprise. Cependant, y’a un company.                Yet,     there     in
                      autre groupe d'actionnaires de another group of shareholders
                      la société--.                           of the company--.

           Thirouin   […].                                    […].

           OP         Y’a      un      autre        groupe There is another group of
                      d'actionnaires de la société shareholders of the mining
                      minière qui est un groupe qui company which is are rather
                      est plutôt très prudent et il ne- prudent and they don’t-- it is a




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                      - c’est un groupe qui ne veut group of people who don’t
                      pas être exposé aux risques, et want to be exposed to any risk,
                      surtout du FCPA. Et vous an even less to the FCPA. And
                      savez, à l'avenir--.              you know, in the future--.

           Thirouin   Ah, d’accord.                     Oh, alright.

           OP         Oui, à l’atteinte de leur Yes, to reputation damages
                      réputation, etcetera, etcetera.   and so on, and so on.

           Thirouin   […] leur réputation. Oui, oui.    […] their reputation. Yes, yes.

           OP         Oui. Donc juste pour vous Yes. So just to tell you that in
                      raconter que dans le passé, on the past, we made two other
                      a eu deux autres tentatives attempts to get very big high-
                      pour obtenir des très grandes potentials mines in Africa. I
                      mines à fort potentiel en can even--.
                      Afrique. Je peux même--.

00:41:26   Thirouin   Dans quel pays ?                  In which country?

           OP         Dans le DRC, République du In the DRC, the Democratic
                      Congo--.                          Republic of Congo--.

           Thirouin   RDC. Oui ?                        DRC. Yes?

           OP         Et la Zambie. Mais c’est-- ont And in Zambia. But that’s--
                      été     rejetées       par   les were rejected by the prudent
                      actionnaires prudents de la shareholders of the company
                      société en raison de soupçons because       of     suspicions    of
                      de pots-de-vin en Afrique         bribery in Africa.



           Thirouin   Je connais. C’est des pays que I know. These are countries I
                      je connais, hein.                 know well, yeah.

           OP         Oui, oui, justement. Mais Yes,            yes,     exactly.     But
                      malheureusement,                  unfortunately,    unfortunately




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                   malheureusement ils ont été they                 were   added    by
                   rajoutés par les actionnaires, shareholders as I told you, of
                   comme je vous l’ai dit, de this company, because they
                   cette société, parce que ce sont are very prudent shareholders-
                   des actionnaires très prudents- -.
                   -.

        Thirouin   C’était    toujours       dans   le Was it still in copper? Was it
                   cuivre ? C’était toujours dans still in copper?
                   le cuivre ?

        OP         Oui. Oui. Et donc--.                  Yes. Yes. And so-.

        Thirouin   Oui ?                                 Yes?

        OP         Cette fois-ci, cette fois-ci, ils This time, this time, they don’t
                   ne     veulent    pas     que    les want the competition to take
                   concurrents       prennent       les the mines and to really benefit
                   mines     et     en     bénéficient from it, and they stay, they
                   énormément, et eux ils restent, stay behind, if you will. This
                   ils restent derrière, quoi. Cette time our clients would like to
                   fois-ci, nos clients souhaitent complete the transaction. But
                   procéder à la transaction. Mais still, actually, they asked me to
                   quand     même,         ils   m’ont find one or several very, very
                   demandé justement de trouver skilful people to ensure that
                   une ou des personnes très, très they--.
                   hautement compétentes pour
                   s’assurer qu’ils--.

        Thirouin   Compétentes ?                         Skilful?

        OP         Je dis pour-- afin-- pour I am saying-- so that-- to
                   s’assurer qu’ils sont--.              ensure that they--.

        Thirouin   […].                                  […].




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        OP         -qu’ils sont sécurisés parce -that they are safe because--.
                   que--.

        Thirouin   En bonne main. En bonne In good hands. In good hands.
                   main.

        OP         Voilà.                              Exactly.

        Thirouin   D’accord.                           Alright.

        OP         Voilà. Voilà, parce que mes Alright. Alright, because my
                   clients      n’ont         soudoyé clients didn’t bribe anyone,
                   personne, eux-mêmes. C’est themselves.               The    Chinese
                   le partenaire chinois qui l’a partner          did   it.   And   the
                   fait. Et la diligence--.            diligence--.

        Thirouin   [...].                              [...].

        OP         Et la diligence raisonnable n’a And the due diligence didn’t
                   trouvé aucune preuve. Donc find any proof. So, what we
                   ce que nous voulons--.              want--.

        Thirouin   D’accord.                           Alright.

        OP         Nous voulons-- parce que je We want – because I am
                   vous appelle en tant que calling                   you     as    an
                   conseiller expérimenté--.           experimented advisor--.

        Thirouin   Oui ?                               Yes?

        OP         -avec une expérience prouvée With proven experience to
                   pour      nous   aider     sur   la help us on the matter. And of
                   question. Et bien entendu, si la course, if the transaction is
                   transaction est conclue, ben completed, well you will get--
                   vous obtiendrez--.                  .

        Thirouin   Oui ?                               Yes?

        OP         -jusqu’à 1% sur la valeur -up until 1% of the total
                   totale de la transaction, hein.     amount of the transaction, yes.




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00:43:25   Thirouin   Je      peux    répondre       très I can easily answer these
                      facilement à ces questions.         questions.

           OP         Oui ?                               Yes?

           Thirouin   Parce     que   moi-même,        je Because myself, I work in a
                      travaille en binôme avec un partnership               with      another
                      autre consultant indépendant, independent                    consultant,
                      pseudo-indépendant.                 pseudo-independent.

           OP         Oui ?                               Yes?

           Thirouin   [...] connaissent [...].            […] know […].

           OP         Je ne vous ai pas entendu.          I did not hear you.

           Thirouin   Allô ?                              Hello?

           OP         On a été coupé pour quelques We were disconnected for a
                      secondes.       Vous       pourriez few seconds. Could you repeat
                      répéter, M.-- ?                     Mr.--?

           Thirouin   Allô ?                              Hello?

           OP         Vous pourriez répéter, M. Could                 you    repeat,      Mr
                      Thirouin ?                          Thirouin?

           Thirouin   Oui, oui.                           Yes, yes.

           OP         Oui. Vous me disiez ?               Yes. You were saying?

           Thirouin   Je dis que-- oui, sur une affaire I am saying that-- yes, on a
                      comme ça, je vous proposerais deal like this, I would offer to
                      de travailler avec un ami qui work with a friend who is also
                      est     aussi   un     consultant an independent consultant like
                      indépendant comme moi, et myself, and we would be
                      nous sommes parfaitement perfectly complimentary both
                      complémentaires sur à la fois about the geography and the
                      la géographie et le produit.        product.




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           OP         Oui d’accord. Mais de toute Yes, alright. But anyway, we
                      façon, nous voulons pas un do not want just one advisor,
                      seul conseiller, mais peut-être but maybe two or three very
                      deux ou trois conseillers très experimented advisors--.
                      expérimentés--.

           Thirouin   Non, non. Deux, ça suffit. No, no. Two is enough. Two--
                      Deux--    pour     commencer, to start with, two are enough.
                      deux, ça suffit. Et j’ai mon And I have my partner. I have
                      binôme. J’ai mon binôme.        my partner.

           OP         Oui. Est-ce que vous pourriez, Yes. Could you, could you
                      vous pourriez me dire de votre please tell me about your
                      expérience, comment vous experience, about how you
                      pourriez nous aider sur la could help us on the matter?
                      question ?

           Thirouin   Bien sûr, oui.                  Of course, yes.

           OP         Oui ? alors je vous écoute.     Yes? So, I’m listening.

           Thirouin   Oui, oui, tout à fait. Si vous Yes, yes, absolutely. If you
                      voulez, moi j’ai fait des will, I have done missions in
                      missions sur la RDC, sur la DRC, in Zambia, in Namibia,
                      Zambie, et sur la Namibie, yeah.
                      hein.

           OP         Oui ?                           Yes?

00:44:56   Thirouin   Donc j’ai participé à des So,          I      participated      in
                      progressions. [...] donc mon progressions. […] so, my
                      binôme,      qui   est   aussi partner,       who       is    also
                      indépendant, qui lui, est plus independent,       he    is   more
                      géologue, moi je suis plus geologist,         me,      I’m   more
                      commercial et affaires. Lui, il commercial and business. He
                      connaît parfaitement ces pays, knows       perfectly         these
                                                      countries; he knows perfectly



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                   il connaît parfaitement le the problem with copper,
                   problème du cuivre, hein.          yeah.

        OP         Oui ?                              Yes?

        Thirouin   Alors, maintenant ce qu’il So, now what we need, it is to
                   nous faut, c’est qu’on échange exchange other information
                   des autres informations sur-- about-- what I you […] like
                   que je vous [...] comme mes my expertise and his, and to
                   compétences et les siennes, et sign a consultant mandate.
                   qu’on     signe     un    mandat
                   consultant.

        OP         Oui ?                              Yes?

        Thirouin   Parce que si vous voulez, pour Because if you will, to pursue
                   faire des investigations, il faut investigations. You have to be
                   qu’on soit crédible, c’est-à- credible, that is to say to have
                   dire qu’on ait un mandat pour a mandate to be able to
                   pouvoir interroger les gens--.     interrogate people--.

        OP         Bien entendu.                      Obviously.

        Thirouin   [...]. Tout ça, sous un-- avec […]. All that, under a-- with a
                   un contrat de confidentialité, confidentiality agreement, so
                   que vous soyez-- que vos that you-- your clients be
                   clients    soient        protégés, protected, obviously.
                   évidemment.

        OP         Bien entendu, bien entendu. Obviously, obviously. That is,
                   Ça c’est, ça c’est tout à fait that’s       very   clear.   But   I
                   clair. Mais ce que je voulais--. wanted--.

        Thirouin   Voilà.                             Right.

        OP         Ce que je voulais savoir, est- What I wanted to know; did
                   ce que vous avez eu des cas you have similar cases? And if
                                                      yes, how did you solve them?




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                   pareils ? Et si oui, comment
                   vous les avez résolus ?

        Thirouin   Ah ben, après si vous voulez, Ah well, now if you will, it’s a
                   c’est       une        affaire     de matter of negotiations, of
                   négociation, de rencontrer les meeting the partners. First you
                   partenaires. D’abord il faut have to make sure, if you will,
                   s’assurer, si vous voulez, le the most important today, it is
                   plus important aujourd’hui, to have an operating licence,
                   c’est     d’avoir      un      permis and for that, to have an
                   d’exploitation, et pour ça exploration                 licence.      And
                   d’avoir           un           permis today, the legal part has to be
                   d’exploration. Et aujourd’hui perfectly square not to end up
                   il faut que le côté juridique stuck, yeah.
                   soit parfaitement carré pour
                   pas se trouver coincé, hein.

        OP         Oui. Oui, d’accord. Mais--.            Yes. Yes, alright. But--.

        Thirouin   Faut      s’assurer      que     les-- You have to make sure that
                   comment ?                              the-- pardon?

        OP         Mais disons, vous, vous avez But say that, you, you have
                   travaillé         partout        dans worked everywhere in Africa.
                   l’Afrique. C’est-à-dire, est-ce In other words, have you had
                   que vous avez eu des cas similar cases?
                   similaires ?

        Thirouin   Bien sûr, oui, oui. Moi, j’ai Of course, yes, yes. As for
                   travaillé sur 40 pays en myself, I have worked in 40
                   Afrique, hein.                         countries in Africa, right.

        OP         Oulala. Alors--.                       Oh boy. So--.

        Thirouin   La première chose à faire, la The first thing to do, the first
                   première chose à faire, c’est thing to do, is to study the




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                   d’étudier le code minier du mining code of the country in
                   pays où vous voulez investir.     which you want to invest.

        OP         D’accord.                         Alright.

        Thirouin   Allô ?                            Hello?

        OP         Oui, oui.                         Yes, yes.

        Thirouin   Si vous voulez, toutes les If you will, all the mines in the
                   mines dans le monde entier, whole world, whether it is in
                   que ça soit en France ou [...] France         or   [...]   are   thus
                   sont donc contrôlées par le-- controlled by the-- well, as a
                   ‘fin, sous l’effet des codes result of the mining codes.
                   miniers.

        OP         Oui ?                             Yes?

        Thirouin   C’est la première chose à That is the first thing to do, to
                   faire, de vérifier que les gens verify that people will put
                   vont se mettre dans des codes themselves in the mining
                   miniers, que, ensuite, les codes, that, then, the zones to
                   zones où ils veulent aller, qu’il which they want to go, that
                   n’y ait pas d’autres gens qui there are no other people
                   s’y intéressent, et de quelle interested in them, and in what
                   manière, hein.                    manner, right?

        OP         Oui. Mais disons que là- Yes. But let’s say that for that,
                   dessus, j’ai des conseillers--.   I have advisors--.

        Thirouin   Oui ?                             Yes?

        OP         -et j’ai des experts.             -and I have experts.

        Thirouin   Oui ?                             Yes?

        OP         Moi, ce qui m’intéresserait--.    As for myself, what interests
                                                     me--.

        Thirouin   D’accord.                         Alright.




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00:47:33   OP         Moi, le point le plus important For me, the most important
                      pour mes clients--.                 thing for my clients--.

           Thirouin   Oui ?                               Yes?

           OP         -c’est de trouver quelqu’un -is to find someone who has
                      qui a eu déjà ce genre already had this type of
                      d’expérience et de savoir experience and to know how
                      comment il pourrait nous he/she might assist us in
                      aider    à      conclure      cette concluding this transaction,
                      transaction, c’est-à-dire de that is to say, to see step by
                      voir pas par pas qu’est-ce step what needs to be done and
                      qu’on     devrait     faire     et how to advance in order to
                      comment on pourrait avancer conclude the transaction. And
                      pour conclure la transaction. so here, as I explained to you-
                      Et donc ici, comme je vous ai -.
                      expliqué--.

           Thirouin   [...] ? Oui ?                       […]? Yes?

           OP         -il y a deux groupes de clients. -there are two groups of
                      Il y a nos clients qui sont, clients. There are our clients
                      disons, beaucoup plus ouverts who are, let us say, much more
                      et acceptent nos--.                 open and accept our--.

           Thirouin   Vos conditions ?                    Your conditions?

           OP         Nos conditions. Et y’a le Our conditions. And there is
                      deuxième groupe qui sont the second group, who are
                      beaucoup plus prudents. Donc much more cautious. So, the
                      les deux, les deux, ils ont une two, the two, they have shares
                      participation dans une société in a mining company in
                      minière en Europe.                  Europe.

           Thirouin   Oui ?                               Yes.




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        OP         C’est une société minière So, it’s a private mining
                   privée, hein.                     company, right.

        Thirouin   D’accord.                         Alright.

        OP         Alors--.                          So--.

        Thirouin   [...] ?                           [...]?

        OP         Déjà dans le passé, on n’a pas Already in the past, we did not
                   réussi à avoir les deux groupes succeed in having the two
                   pour essayer de conclure des groups in order to attempt to
                   opérations au Congo et en conclude operations in the
                   Zambie. Aujourd’hui--.            Congo       and    in    Zambia.
                                                     Today--.

        Thirouin   Mais ces deux groupes, ils But these two groups, do they,
                   veulent travailler ensemble ou or don’t they want to work
                   pas ?                             together?

        OP         Si. Si. Ils veulent travailler Yes. Yes. They do want to
                   ensemble. C’est-à-dire, mais work together. That is to say,
                   moi, ce qui m’intéresse c’est but me, what interests me is
                   que-- y’a justement ce groupe that-- just that there is this
                   chinois avec lequel--.            Chinese group with which--.

        Thirouin   Oui ?                             Yes?

        OP         -on       est   en    cours    de -we are in the process of
                   négociations afin de-- et on negotiations in order to-- and
                   était sur le point de conclure we were about to conclude the
                   l’opération parce que c’est operation, because this is a
                   une co-entreprise, oui ? mais joint venture, isn’t it? But after
                   après       avoir    terminé   la having      finished    the   due
                   diligence raisonnable--.          diligence--.

        Thirouin   Oui ?                             Yes?




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           OP         -il s’est avéré que ce groupe -it was found that this Chinese
                      chinois, il a soudoyé--.               group, it bribed--.

           Thirouin   [Laughs] Oui. [...].                   [Laughs] Yes. [...].

           OP         -ces     fonctionnaires        pour -these officials in order to
                      obtenir la licence.                    obtain the licence.

           Thirouin   Oui, je comprends.                     Okay, I understand.

           OP         Okay ?                                 Okay?

           Thirouin   Oui, oui.                              Yes, yes.

00:50:02   OP         Maintenant,         nous,     on    a Now, we didn’t bribe anyone,
                      soudoyé personne, mais on a but nevertheless we have a
                      quand même un partenaire Chinese partner who did.
                      chinois qui l’a fait.

           Thirouin   D’accord.                              Alright.

           OP         Alors, ce qui se passe, c’est So, what happened is that-- it
                      que-- ce n’est pas qu’il a isn’t that he offered traditional
                      donné         des      pots-de-vin bribes, but-- or envelopes
                      traditionnels, mais-- ou des under the table--.
                      enveloppes sous la table--.

           Thirouin   Oui ?                                  Yes?

           OP         Mais il s’est avéré qu’il y a un But it was found that there is a
                      fonctionnaire          clef        du key official of the Ministry of
                      ministère des Mines et de Mines and Energy who gave
                      l’Énergie que lui a donné ces him              these   licences   but
                      licences, mais a reçu une part received a substantial share in
                      substantielle dans une société an offshore company--.
                      offshore--.

           Thirouin   Oui ?                                  Yes?




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        OP         -qui    est   détenue       par   ce -which is held by this Chinese
                   partenaire chinois. Donc--.           partner. Therefore--.

        Thirouin   D’accord.                             Alright.

        OP         Étant donné que nous, nous, Given that we, we, as Aptax
                   en tant que Aptax Advisors, il Advisors, it is necessary that
                   faut qu’on ait--.                     we have--.

        Thirouin   Oui ?                                 Yes?

        OP         Il faut qu’on ait assez de--.         It is necessary that we have
                                                         enough--.

        Thirouin   De visibilité ?                       Visibility?

        OP         De visibilité, et surtout, de Visibility, and above all,
                   « calmement »        pour         ce ‘calmness’ for this second
                   deuxième      groupe    qui       est group, which is being careful,
                   prudent, il faut-- on a-- on it is necessary-- we-- we were
                   nous a demandé de trouver un asked to find one or more, or
                   ou      plusieurs,     ou     deux two advisors--.
                   conseillers--.

        Thirouin   Deux experts, oui.                    Two experts, yes.

        OP         Oui, deux experts qui ont eu-- Yes, two experts who have
                   .                                     had--.

        Thirouin   Pour proposer une [...].              To propose a [...].

        OP         -ce genre d’expérience dans -this type of experience in
                   d’autres pays en Afrique, et other countries in Africa, and
                   qui puissent nous conseiller--. who can advise us--.

        Thirouin   Oui ?                                 Yes?

        OP         -afin de nous aider sur cette -in order to assist us in this
                   question.                             matter.

        Thirouin   Ah, oui.                              Ah, yes.



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           OP         Vous     comprenez ?         Parce Do you understand? Because
                      qu’on était sur le-- allô ? we were on the-- hello? Hello?
                      Allô ? Allô ?                      Hello?

           Random 1 What happened ?                      What happened?

           OP         I don’t know.                      I don’t know.

                      [Dial tone]                        [Dial tone]

00:52:38   Thirouin   Allô ?                             Hello?

           OP         Allô ?                             Hello?

           Thirouin   Allô ?                             Hello?

           OP         Oui, on a été coupés.              Yes, we were disconnected.

           Thirouin   Allô ?                             Hello?

           OP         Oui.     Allô ?     Allô ?     M. Yes.       Hello?   Hello?   Mr.
                      Thirouin ? Allô ?                  Thirouin? Hello?

           Thirouin   Mais vous m’appelez d’où, But where are you calling me
                      là ?      vous        m’appelez from? Are you calling me
                      d’Angleterre ?               vous from       England?   Are    you
                      m’appelez d’Angleterre, là ?       calling me from England?

           OP         Là, justement, étant donné que There, exactly, given that I did
                      j’ai pas réussi à vous avoir en not manage to get a hold of
                      Skype, j’ai pris mon appareil you on Skype, I used my
                      british pour vous appeler. British device to call you.
                      Parce que je ne savais pas quoi Because I didn’t know what to
                      faire, je vous ai donné mon do, I gave you my email
                      adresse email, j’ai essayé de address, I tried to call you on
                      vous appeler sur vos--.            your--.

           Thirouin   [...] s’appeler sur une autre-- [...] call on another-- yes,
                      oui, okay.                         okay.

           OP         Oui. Alors, alors je disais--.     Yes. So, so I was saying--.



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        Thirouin   [...] la conversation est un peu [...] the conversation is a bit
                   hachée.                               choppy.

        OP         Comment ? Allô ?                      What? Hello?

        Thirouin   Oui, oui, je vous écoute.             Yes, yes, I hear you.

        OP         Oui, alors je--.                      Yes, so I--.

        Thirouin   Oui, je vous écoute.                  Yes, I hear you.

        OP         Oui. Je vous-- ouais. Je vous Yes. I-- yes. I was telling you
                   disais que justement, ce qui that exactly what interests me
                   m’intéresse         actuellement, now is to know whether you
                   c’est de savoir, si jamais vous- have ever-- in all your years of
                   - dans toutes vos années experience, you have probably
                   d’expérience,       probablement had this type of experience. It
                   vous     avez      eu   ce      genre doesn’t    matter   in   what
                   d’expérience.       Peu      importe country, but you have had this
                   dans quel pays, mais vous type of experience. So, what I
                   avez eu ce genre d’expérience. want to know is how you
                   Alors ce que je voudrais succeeded--.
                   savoir, c’est comment vous
                   avez réussi--.

        Thirouin   Non, non. [...] une expérience, No, no. [...] an experience,
                   et     quand     j’ai     dit    que and when I said that I would
                   j’interviendrais, si on fait step in, if you close the deal,
                   l’affaire, avec un ami qui a with a friend who has as much
                   autant d’expérience que moi, experience as me, if not more
                   si ce n’est plus sur ce genre on this kind of matters. And
                   d’affaires. Et nous sommes we                   are       completely
                   complétement indépendants.            independent.




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           OP         D’accord.     D’accord,      mais Alright. Alright, but I only
                      seulement je voulais savoir-- wanted to know-- good, first
                      bon, tout d’abord vous--.          of all you--.

           Thirouin   Vous     avez       besoin     de You       need       independent
                      conseillers indépendants.          advisors.

           OP         Oui. Oui, d’accord--.              Yes. Yes, Alright--.

           Thirouin   Oui.                               Yes.

           OP         Oui mais avant--.                  Yes, but first--.

           Thirouin   Oui, je dis, vous--.               Yes, I am saying, you--.

           OP         Avant,      avant    de,     avant Before, before, just before
                      justement de signer tout ce qui signing everything needed to
                      faudrait pour lancer notre launch our collaboration--.
                      collaboration--.

           Thirouin   [...].                             [...].

           OP         Et je voudrais-- je voulais And I would like-- I just
                      justement avoir--.                 would like to have--.

           Thirouin   Oui ?                              Yes?

           OP         -ce Skype, ou en ce moment -this Skype, or at this time we
                      on a cette conversation, pour have this conversation, just in
                      juste savoir si vous êtes la order to know whether you are
                      personne--.                        the person--.

           Thirouin   Allô ?                             Hello?

00:55:13   OP         Vous m’entendez ?                  Can you hear me?

           Thirouin   Oui.                               Yes.

           OP         Je voulais savoir si vous êtes I wanted to know whether you
                      la personne--.                     are the person--.

           Thirouin   Oui, oui, je vous entends.         Yes, yes, I hear you.




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        OP         -si vous et votre collègue, -whether                  you      and     your
                   vous     êtes    les      conseillers colleague,       you      are     the
                   expérimentés         à    qui     nous experienced       advisors       we
                   devrions nous adresser. Mais should turn to. But for this,
                   pour cela, il faudrait que vous you would have to proof
                   me prouvez [prouviez]--.                [prove] to me--.

        Thirouin   [...].                                  [...].

        OP         Vous       me     prouvez          une You prove to me that you have
                   expérience que vous avez eue- had experience--.
                   -.

        Thirouin   Bien sûr.                               Naturally.

        OP         Alors,      est-ce       que      vous So, can you tell me in a few--
                   pourriez     me      le    dire     en in a few lines?
                   quelques--        en       quelques
                   lignes ?

        Thirouin   Oui, en ce moment, [...] faire Yes, at this time, [...] to make
                   assez compliqué [...] qui est du it              complicated         enough
                   même tabac, hein.                       [...] which is the same thing,
                                                           right.

        OP         Oui.                                    Yes.

        Thirouin   Allô ?                                  Hello?

        OP         Oui, je vous écoute. Je vous Yes, I hear you. I hear you.
                   écoute. Allô ?                          Hello?

        Thirouin   Allô ?                                  Hello?

        OP         Oui, oui, je vous écoute, M., Yes, yes, I hear you, Mr., Mr.
                   M. Thirouin, je vous écoute. Thirouin, I hear you. Go on?
                   Allez-y ?




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           Thirouin   Allô ? Le plus simple, je vais Hello? The simplest thing is, I
                      vous envoyer mon CV un peu will send you my somewhat
                      détaillé, et puis celui de mon detailed          resumé      and   my
                      ami. Et puis vous allez-- à friend’s. And then you will--
                      partir de là, on pourra voir--.       from there, we will see--.

           OP         Allô ?                                Hello?

           Thirouin   Allô ?                                Hello?

           OP         Vous m’avez dit que-- vous You told me that-- you started
                      avez commencé à dire que--.           to say that--.

           Thirouin   -à partir de là.                      -from there.

           OP         Vous     avez      eu     un    cas You had the same type of
                      semblable ?                           case?

           Thirouin   Je vais vous envoyer mon--oh I am going to send you my--
                      ben, les cas sont jamais oh well, cases are never the
                      semblables,        mais        c’est same, but this is similar, let’s
                      similaire, disons. Similaire, say. Similar, right.
                      hein.

           OP         D’accord, d’accord. Un cas Alright, Alright. A similar
                      similaire. Peu importe, oui. case. It doesn’t matter, yes.
                      Vous m’avez dit en Guinée.            You told me in Guinea.

           Thirouin   Bon et pis--.                         Well, and then--.

00:56:49   OP         Et comment ce cas vous l’avez And how, this case, did you
                      résolu ? Allô ?                       resolve it? Hello?

           Thirouin   Allô ?                                Hello?

           OP         Oui ? Je vous écoute ?                Yes? I am listening?

           Thirouin   Allô ?                                Hello?

           OP         Oui, oui, oui. Je vous écoute.        Yes, yes, yes. I am listening.




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        Thirouin   Allô ?                          Hello?

        OP         Oui, oui, oui. Je vous écoute, Yes, yes, yes. I am listening,
                   M. Thirouin.                    Mr. Thirouin.

        Thirouin   Allô ? [...] pouvoir se parler Hello? [...] could talk together
                   sur un numéro de téléphone on a telephone number so that
                   pour que ce soit pas haché it won’t be choppy like this.
                   comme ça. Allô ?                Hello?

        OP         Vous m’entendez ?               Do you hear me?

        Thirouin   Oui. Mais est-ce qu’on peut Yes. But couldn’t we have a
                   pas avoir un numéro de telephone number-- can’t you
                   téléphone-- vous pouvez pas call me on my telephone
                   m’appeler sur mon numéro de number?
                   téléphone ?

        OP         Ben-- sur le numéro de Well--             on      the   telephone
                   téléphone que vous m’avez--.    number you have--.

        Thirouin   La conversation est très--.     The conversation is very--.

        OP         Vous m’avez envoyé, vous You sent me, you sent me-- is
                   m’avez envoyé-- c’est le it the number ending with
                   numéro qui se termine avec 788?
                   788 ?

        Thirouin   Allô ?                          Hello?

        OP         Allô ?                          Hello?

        Thirouin   Oui, c’est ça.                  Yes, that’s it.

        OP         C’est le numéro qui se termine Is it the number ending in
                   avec 788 ?                      788?

        Thirouin   Oui, c’est celui-là. Oui, c’est Yes, that’s this one. Yes, it’s
                   06-08-66-07-88.                 06-08-66-07-88.




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           OP         D’accord.        Est-ce       que-- Alright. Can-- yes. Do you
                      d’accord. Vous voulez qu’on want to try before hanging up
                      essaie quand même avant de anyway--.
                      se quitter--.

           Thirouin   Allô ?                               Hello?

00:58:20   OP         Vous voulez qu’on essaie le Do you want to try Skype
                      Skype avant de se quitter ?          before hanging up?

           Thirouin   Oui, il faut essayer de nouveau Yes, we ought to try Skype
                      Skype.                               again.

           OP         Oui. Et sinon, je vous appelle, Yes. And if not, I’ll call you, I
                      je vous appelle sur ce numéro, will call you at this number,
                      là. Mais--.                          there. But--.

           Thirouin   Oui. 788, oui.                       Yes. 788, yes.

           OP         Oui       mais--          d’accord. Yes, but-- okay. Alright, but in
                      D’accord, mais avant quand any                case,   you    told   me
                      même, vous m’avez dit que beforehand that you had a
                      vous aviez eu un cas, un cas case, some case, another case
                      quelconque qui--.                    which--.

           Thirouin   Allô ?                               Hello?

           OP         Oui, je vous écoute. Je vous Yes,              I’m     listening.   I'm
                      écoute.                              listening.

           Thirouin   Oui. Je dis, il faut qu’on ait Yes, I’m saying, we have to
                      une conversation plus calme have                a     more    peaceful
                      pour que je puisse vous conversation so that I can give
                      donner des exemples de ce you examples of what I’ve
                      que j’ai fait et de ce que mon done and what my friend has
                      ami a fait.                          done.

           OP         D’accord.                            Alright.




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           Thirouin   Et après ça, on confirme ça par And afterwards, we confirm it
                      écrit. On confirme par écrit.       in writing. We confirm it in
                                                          writing.

           OP         D’accord, mais en ce moment Alright, but at this moment, I
                      je vous entends très bien. hear you very well. Can you--.
                      Vous pourriez--.

           Thirouin   Oui ?                               Yes?

           OP         Est-ce que vous pourriez me-- Can you--.
                      .

           Thirouin   Je     dis   qu’aujourd’hui,    la I am saying that today, the first
                      première chose à faire, c’est thing to be done is to verify
                      de vérifier que les gens sont that the people are [...] on a
                      [...] au niveau juridique.          legal level.

           OP         Oui ?                               Yes?

           Thirouin   Allô ?                              Hello?

           OP         Oui, oui, je vous entends.          Yes, yes, I hear you.

           Thirouin   [...] on m’a dit que ce [...] I was told that this official
                      fonctionnaire avait essayé de tried to play. You see, it is
                      jouer. Vous voyez, il faut déjà already necessary to clarify
                      clarifier cette situation. Il faut this situation. It is necessary to
                      savoir exactement ensuite ce know exactly what the client
                      que veut le client, le cuivre wants, copper is a high-value
                      c’est un produit de haute product, but that can be
                      valeur, mais qu’il faut pouvoir processed on site.
                      transformer sur place.

           OP         Oui.                                Yes.

00 :59 :57 Thirouin   Hein, parce que le cuivre, on So, since copper, you make--
                      fait des-- on utilise des you use deposits with 3% to
                      gisements avec 3% à 4% de 4% of copper, so you do not



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                      cuivre, donc on transporte pas transport the 95% of tailings.
                      95% de stérile. Donc il faut So, you need to have transport
                      avoir des unités de transport units on site, as they exist in
                      sur place comme ça existe en Zambia, in the DRC, and
                      Zambie, en RDC, et ailleurs.      elsewhere.

           OP         Oui.                              Yes.

           Thirouin   Bon, si vous [...] du minerai de Well, if you [...]iron ore at
                      fer à 50%, vous l’extrayez, 50%, you extract it, you put it
                      vous le mettez dans des in ships, and you send it away
                      bateaux et vous l’envoyez à to the factory. That is not
                      l’usine. C’est pas possible doable for copper. For copper,
                      pour le cuivre. Pour le cuivre, it is necessary to make [...], it
                      il faut qu’on fasse des [...], il is     necessary          to     make
                      faut faire des concentrés.        concentrates.

           OP         Oui ?                             Yes?

           Thirouin   Et     ça,   ça   nécessite   des And      that,     that        requires
                      installations dans le pays facilities in the country of
                      d’extraction.                     extraction.

           OP         Oui.                              Yes.

           Thirouin   Allô ?                            Hello?

           OP         Oui, oui, oui. Je vous écoute, Yes, yes, yes. I can hear you,
                      oui.                              yes.

01:00:44   Thirouin   Donc chaque matière a ses Therefore, each material has
                      spécificités.                     its         own                specific
                                                        characteristics.

           OP         Oui.                              Yes.

           Thirouin   D’extraction,                 de Of Extraction, of processing,
                      transformation, de transport.     of transport.




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        OP         Oui d’accord. Mais--.             Yes, Alright. But--.

        Thirouin   Bon.                              Well.

        OP         -pour le moment ?                 -at the moment?

        Thirouin   À ce moment-là--.                 At this moment--.

        OP         Oui, mais pour le moment, ce Yes, but at the moment, what
                   qui m’intéresse, et je reprends interests me, and I repeat what
                   ce que je vous ai dit au début I said to you at the start of our
                   de notre conversation.            conversation.

        Thirouin   Oui ?                             Yes?

        OP         Ce qui intéresse mes clients, What interests my clients is
                   c’est surtout--.                  primarily--.

        Thirouin   Oui ?                             Yes?

        OP         -de s’assurer qu’ils peuvent -to be certain that they can
                   procéder à cette transaction, proceed to this transaction, but
                   mais s’assurer qu’ils sont to be sure that they are safe.
                   sécurisés. C’est ça.              That’s it.

        Thirouin   Oui. Mais bien sûr, [...]. La Yes. But of course, [...].
                   sécurisation, elle commence Safety, that begins with a legal
                   par l’analyse juridique de leur analysis of their deposit, of the
                   gisement, du gisement qu’ils deposit that they want to go
                   veulent aller.                    with.

        OP         Oui ?                             Yes?

        Thirouin   Donc ça nécessite une analyse So, this requires an analysis of
                   du     code   minier     et   des the mining code and of the
                   transactions qui sont en cours transactions which are being
                   avec le gouvernement pour undertaken                with     the
                   obtenir ce permis.                government to obtain this
                                                     license.




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        OP         D’accord. Mais le permis, Alright. But the licence, as I
                   comme je vous l’ai dit, ils told you, they already have it.
                   l’ont déjà. C’est le partenaire It is the Chinese partner--.
                   chinois--.

        Thirouin   Oui mais faut bien-- non, non. Yes, but it is necessary-- no,
                   Attendez, attendez.                 no. Wait, wait.

        OP         Oui ?                               Yes?

        Thirouin   Non, attendez, il faut vérifier No, wait, you have to verify
                   que ce permis est en règle. Il that this licence is in order. It
                   faut vérifier qu’il est en règle.   is necessary to verify that it is
                                                       in order.

        OP         Oui.                                Yes.

        Thirouin   Ça, c’est la première chose, il That, that is the first thing, you
                   faut faire une due diligence have           to     perform     a   due
                   sur les documents-- sur ce diligence on the documents--
                   qu’ils possèdent, hein.             on what they own, right.

        OP         Oui d’accord, mais on a fait--. Yes, alright, but we made--.

        Thirouin   Personne ne vous dira--.            No one will tell you--.

        OP         Non mais--.                         No, but--.

        Thirouin   Non.                                No.

        OP         Mais la due diligence-- M.--.       But the due diligence-- Mr. --.

        Thirouin   Vous l’avez faite ?                 Did you do it?

        OP         M. Thirouin, la due diligence- Mr.         Thirouin,         the   due
                   -.                                  diligence--.

        Thirouin   [Simultaneous talk] […].            [Simultaneous talk] [...].




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        OP         -je vous ai dit qu’elle a été -I told you that it has been
                   faite. La due diligence, elle a done. The due diligence has
                   été faite, et on n’a rien trouvé. been done, and nothing was
                                                   found.

        Thirouin   Oui mais est-ce que vous avez Yes, but do you have the
                   le décret [...] donnant autorité decree [...] giving permission
                   à [...] ?                       to [...]?

        OP         Oui.                            Yes.

        Thirouin   [...] ?                         [...]?

        OP         Oui, parce que dans notre--.    Yes, because in our--.

        Thirouin   Est-ce que vous avez accès ?    Do you have access?

        OP         Parce que--.                    Because--.

        Thirouin   [...] ?                         [...]?

        OP         Parce que dans la diligence Because in the due diligence
                   raisonnable qu’on a fait, y’a-- that was done, there was--
                   tout a été vérifié.             everything was verified.

        Thirouin   [...] la due diligence ? Il faut [...] the due diligence? We
                   avoir l’extrait de-- l’original have to have the copy of-- the
                   du décret de gouvernement original            copy     of      the
                   donnant           l’autorisation government     decree      giving
                   d’exploitation.                 permission for operation.

        OP         Oui ?                           Yes?

        Thirouin   Vous comprenez ?                Do you understand?

        OP         Oui, oui, je comprends.         Yes, yes, I understand.

        Thirouin   Allô ?                          Hello?

        OP         Oui, oui, je comprends. Mais Yes, yes, I understand. But I
                   je pense que, je pense que--.   think that, I think that--.




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           Thirouin   Allô ?                               Hello?

           OP         Oui, oui. Je vous écoute.            Yes, yes. I’m listening.

           Thirouin   [...]. Non mais, la première [...]. No, but the first thing is
                      chose, c’est l’original [...] du the original copy [...] of the
                      gouvernement               donnant government giving access--
                      l’accès-- la due diligence, elle the due diligence, it must be
                      doit      se    faire    avec   les done        with    the     original
                      documents originaux.                 documents.

           OP         Oui.                                 Yes.

           Thirouin   Si vous n’avez pas l’original If you do not have the original
                      du décret donnant autorité à copy of the decree giving
                      faire le gisement, ça vaut rien. permission to operate the
                                                           deposit,      it   isn’t    worth
                                                           anything.

01:04:04   OP         Je comprends. Mais moi, ce I understand. But me, what I
                      qui m’intéresse--.                   am interested in--.

           Thirouin   Moi, je peux vous faire toute I myself can make you all
                      sorte d’attestation.                 kinds of certificates.

           OP         Oui.                                 Yes.

           Thirouin   Oui.                                 Yes.

           OP         Mais moi, ce qui m’intéresse, But me, what I am interested
                      c’est--.                             in is--.

           Thirouin   Qu’est-ce qui vous intéresse, What are you interested in in
                      alors ?                              then?

           OP         C’est d’assurer la sécurité de It’s to ensure my clients’
                      mes        clients.     C’est-à-dire safety. Which means that they
                      qu’ils vont pas être--.              won’t be--.

           Thirouin   [...].                               […].




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        OP         Ils vont pas être exposés--.              They won’t be exposed--.

        Thirouin   Cette sécurité, elle passe par-- This safety, it goes through--
                   non mais j’ai compris.                    no but I understand.

        OP         Oui, oui. J’ai compris que Yes, yes. I understand that this
                   cette sécurité passe par--.               security goes through--.

        Thirouin   [...] délivré [...].                      [...] delivered […].

        OP         D’accord. Ça, je l’ai compris.            Alright. That, I understood.

        Thirouin   Ça, c’est la première fois.               That is the first time.

        OP         D’accord. D’accord. Ensuite ? Alright. Alright. And after
                                                             that?

        Thirouin   Bon. Ensuite après, y’a plus Well, after that, you can roll
                   qu’à dérouler le tapis, hein.             out the carpet, right.

        OP         Oui, d’accord. Mais avant de Yes,                 alright.    But     before
                   signer      l’accord           de    co- signing    the      joint   venture
                   entreprise ?                              agreement?

        Thirouin   Alors après il faut aller sur So, after that you have to go
                   place, il faut aller vérifier--.          on site, you have to check--.

        OP         Oui mais nous, nous on n’était Yes, but we, we were not
                   pas au courant de ce qui s’est aware of what had happened.
                   passé.

        Thirouin   Oui.                                      Yes.

        OP         De ce que ce partenaire Of what this Chinese partner
                   chinois        a       fait,        vous had done, do you understand?
                   comprenez ? et donc, ce que je And so, what I wanted to
                   voudrais savoir--.                        know--.

        Thirouin   Oui ?                                     Yes?

        OP         C’est ce mécanisme. Qu’est- It’s that mechanism. What
                   ce qu’on devrait faire ? et should we do? And what is it



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                   qu’est-ce que vous, vous nous that you advise use to do after
                   conseillez de faire après avoir having learned what we know
                   su ce qu’on sait actuellement ? right now?

        Thirouin   Oui.                                  Yes.

        OP         Vous voyez, c’est ça qui me You see, that’s what concerns
                   concerne,       c’est     ça     qui me, that’s what worries me.
                   m’inquiète.

        Thirouin   Oui, ben après-- non, mais une Yes, well after-- no, but once
                   fois que vous êtes sûrs que you are sure that you have the
                   vous avez le permis, après il licence, after that you have to
                   faut    faire      une   étude   de do a feasibility study and
                   faisabilité et savoir combien il know how much needs to be
                   faut investir et dans quelles invested           and       in   what
                   conditions. Est-ce qu’il y a des conditions. Are there roads?
                   routes ? est-ce qu’il y a déjà Have          there   already    been
                   des travaux qui ont été faits, studies          done,      geological
                   des travaux géologiques qui studies that were made, and so
                   ont été effectués, et ainsi de on. The parties.
                   suite. Les parties.

        OP         Oui. Oui, mais ce n’est pas-- Yes. Yes, but it’s not—we’re
                   on n’est pas là. Moi, je répète not there. Me, I always repeat,
                   toujours, ce qui m’inquiète--.        what worries me--.

        Thirouin   Alors [...].                          So […].

        OP         Ce qui m’inquiète c’est que, What worries me, it’s that
                   après avoir fait la diligence after having performed the
                   raisonnable, on n’a trouvé due diligence, we didn’t find
                   aucune trace et aucune preuve any trace and any proof of
                   de     ce    que    le   partenaire what the Chinese partner--.
                   chinois--.




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           Thirouin   Aucune trace de quoi ?                 Any trace of what?

           OP         De-- aucune trace que ce Of-- any trace that the Chinese
                      partenaire chinois--.                  partner--.

           Thirouin   Ben c’est bien pour ça qu’il Well, that is the reason why
                      faut     avoir    les    documents you have to have the originals
                      originaux        et     [...]    pays of the documents and […]
                      concerné.                              countries involved.

           OP         Oui, d’accord, mais est-ce que Yes, alright, but does the fact
                      le fait de savoir actuellement, that we know now before
                      avant de signer l’accord--.            signing the agreement--.

           Thirouin   Oui ?                                  Yes?

           OP         -ou si on l’aurait su après -or if we had only known after
                      l’avoir signé, quel--.                 having signed, what--.

           Thirouin   Oui ?                                  Yes?

01:07:20   OP         On s’expose à quels risques ?          What risks are we facing?

           Thirouin   Oui ?                                  Yes?

           OP         C’est ça. C’est ça, c’est là le That’s it. That’s it, that’s the
                      point où je voudrais savoir-- point where I’d like to know--
                      vous m’avez dit que vous avez you told me that you had a
                      eu       un   cas,      disons    qui case, let’s say, that looked like
                      ressemble à celui-ci.                  this one.

           Thirouin   Oui, des cas similaires.               Yes, similar cases.

           OP         Ou des cas similaires. Qu’est- Or similar cases. What did you
                      ce que vous avez fait ?                do?

           Thirouin   [...].                                 […].

           OP         Comment ?                              Pardon?




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           Thirouin   Ben,     il     faut    passer       par Well, you have to go through
                      l’analyse        des        documents the analysis of the original
                      originaux.                               documents.

           OP         D’accord.                                Alright.

           Thirouin   Est-ce        qu’ils         sont     en Are they in compliance with
                      conformité           avec     le    code the mining code? Is there a
                      minier ? Est-ce qu’il y a des ruse?                 Were   there   bribes
                      entourloupes ? Est-ce qu’il y a given? Does this, does that? Is
                      eu des pots-de-vin déposés ? the                deposit    worth     being
                      Est-ce que ceci, est-ce que operated?                  What    are     the
                      cela ? Est-ce que le gisement geological studies that have
                      vaut le coup d’être exploité ? been done?
                      Quels         sont     les     travaux
                      géologiques qui ont été faits ?

           OP         Oui, mais disons que tout ça a Yes, but let’s say that all of
                      été déjà fait--.                         this has already been done--.

           Thirouin   A été fait, oui.                         Has been done, yes.

           OP         Oui. Ce qui me reste, c’est Yes. What is left is that--.
                      que--.

01:08:29   Thirouin   Bon alors, qu’est-ce que vous Alright, so, what do you want
                      voulez savoir [...] ?                    to know […]?

           OP         Ben on était sur le point de Well, we were about to close
                      conclure l’opération. C’est ça, the deal. That’s it, we were
                      on était sur le point de about to close this deal--.
                      conclure cette opération--.

           Thirouin   Oui.                                     Yes.

           OP         -en tant que partenaires, et -as partners, and it is only--
                      c’est uniquement-- et je le and I’m repeating myself, it is
                                                               not through--.




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                   répète, ce n’est pas par le
                   biais--.

        Thirouin   Oui ?                                    Yes?

        OP         -de la due diligence qu’on a -the due diligence that we
                   fait, mais c’est par une tierce- performed, but through a third
                   partie qu’on a compris que ce party, that we understood that
                   partenaire chinois a soudoyé this               Chinese   partner   had
                   un fonctionnaire clef que lui-- bribed a key official--.
                   .

        Thirouin   Ben il faut soulever, il faut Well, you must remove, you
                   lever cette--.                           must remove this--.

        OP         Il faut lever ?                          I must remove?

        Thirouin   Il faut lever cette incertitude. You               must   remove    this
                   Il faut lever cette incertitude. uncertainty. You must remove
                   Ah ben, oui.                             this uncertainty. Well, yes.

        OP         Ben     oui,      mais    la     lever, Well yes, but how to remove
                   comment ?                                it?

        Thirouin   Ah ben, il faut rencontrer les Well, you have to meet
                   gens, dites tout ce que vous people, tell everything that
                   savez, dites tout ce que vous you know, tell everything that
                   savez pas, et puis voilà. Et you don’t know, and that’s it.
                   puis il faut, il faut qu’ils se And then, they have to, they
                   mettent à poil hein, comme on have to spill their guts yeah, as
                   dit.                                     we say.

        OP         Oui.       Oui,    mais        lui,   le Yes. Yes, but him, the Chinese
                   partenaire chinois, il--.                partner, he--.

        Thirouin   [...] les autorités minières--.          […] the mining authorities--.




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        OP         Le partenaire chinois a fait The             Chinese         partner
                   mine de rien, hein. Lui--.         pretended     like      nothing
                                                      happened, yeah, He--.

        Thirouin   Il est gentil.                     He is nice.

        OP         Comment ?                          Pardon?

        Thirouin   Non, c’est très simple, hein, à No, it’s very simple, yeah, to
                   faire. Faut rencontrer les gens, do. You have to meet the
                   faut discuter avec eux, hein. Et people, you have to talk to
                   puis si vous avez un doute sur them, yeah. And then if you
                   [...] il faut le virer.            have a doubt about […] you
                                                      have to fire him.

        OP         Ouais. Mais comment-- dans Yeah. But how-- in similar
                   les cas similaires que vous cases that you had, in other--.
                   avez eus, dans d’autres--.

        Thirouin   J’ai un cas [...] on en est à--.   I have a case […], we’re at--.

        OP         Vous avez un cas comment ?         What kind of case did you
                                                      have?

        Thirouin   Oui, je vous écoute.               Yes, I am listening.

        OP         Non, vous m’avez dit que No, didn’t you tell me that you
                   vous aviez un cas similaire en had a similar case in Guinea?
                   Guinée ? Allô ?                    Hello?

        Thirouin   [Internet breaks up] en Guinée [Internet breaks up] in Guinea
                   qu’on a fini, là. Donc là [...] je that we finished, there. So,
                   peux vous dire que on voit here [..] I can tell you that we
                   comment [...] les incertitudes. see how […] the uncertainties.
                   Et les incertitudes, c’est des And the uncertainties, they are
                   incertitudes que j’ai eues [...]. uncertainties that I had […].
                   Donc c’est déjà [...].             So, that’s already […].




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           OP         Comment ?                                 Pardon?

           Thirouin   Allô ?                                    Hello?

           OP         Oui, la ligne a été coupée, est- Yes,               the    line     was
                      ce       que           vous      pourriez disconnected, could you go
                      reprendre le discours s’il vous back to what you were saying
                      plaît ?                                   please?

01:10:58   Thirouin   Oui, j’ai dit qu’il faut, il faut Yes, I said that you must, you
                      lever            les          incertitudes must        remove      legal
                      juridiques pour que vous uncertainties to be at ease. But
                      soyez à l’aise. Mais comment how to remove uncertainties--
                      lever les incertitudes--.                 .

           OP         Et       lever     les        incertitudes And to remove the legal
                      juridiques, ça veut dire-- et uncertainties, it means that--
                      ben, c’est-à-dire que si [...] well, in other words if […]
                      faut qu’ils vous montrent les they must show you the
                      documents qu’ils ont. Il faut documents that they have. The
                      que le ministère des Mines Ministry of Mines must tell
                      vous        dise,         ‘Voilà      les you, ‘Here are the documents
                      documents qu’on a signés et that we signed, and they are
                      qui pour nous sont véritables.’ authentic to us.’

           Thirouin   Oui, mais ceci a déjà été fait.           Yes, but this has already been
                                                                done.

           OP         Ça passe par le-- faut aller au It involves the-- you have to
                      [...].                                    go to […].

           Thirouin   M. Thirouin, ça a été déjà fait. Mr. Thirouin, this has already
                                                                been done.

           OP         [...] déjà été fait ?                     […] already been done?




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        Thirouin   Ça a été déjà fait, et on était It has already been done, and
                   sur le point de conclure we were about to close the
                   l’opération--.                    deal--.

        OP         Mais si vous avez un doute-- But if you had a doubt-- but
                   mais oui mais vous avez un yes but you had a doubt about
                   doute sur un des [...].           one of the […].

        Thirouin   Allô ?                            Hello?

        OP         Oui ?                             Yes?

        Thirouin   Allô ?                            Hello?

        OP         Oui, oui, oui, je vous écoute.    Yes, yes, yes, I am listening.

        Thirouin   Si vous avez un doute sur un If you have a doubt about one
                   des partenaires de l’opération, of the partners of the deal, you
                   il faut le mettre à table et lever must get him to talk and
                   les incertitudes.                 remove uncertainties.

        OP         D’accord. Une fois qu’on le Alright. Once we get him to
                   met à table et--.                 talk and--.

        Thirouin   [...].                            [...].

        OP         Oui mais juste--.                 Yes, but only--.

        Thirouin   Si vous dites que vous avez If you tell me that you have
                   fait de la due diligence et que performed the due diligence
                   vous     avez       encore   des and that you still have worries,
                   inquiétudes, c’est que la due it means that the due diligence
                   diligence n’est pas terminée.     is not over.

        OP         Non. Non. Effectivement, la No. No, Indeed, the due
                   due diligence, oui, elle est diligence, yes, it is over. But
                   terminée.    Mais      une   fois once it was over, we got--.
                   terminée, on a reçu--.




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           Thirouin   Mais elle pose des questions. But it raises questions. It
                      Elle pose des questions. Elle raises questions. It raises--
                      pose des-- vous avez reçu what did you get?
                      quoi ?

01:12:32   OP         On a reçu justement, ce--.      Precisely, we got this--.

           Thirouin   Et qui est-ce qui a signé la due And who signed the due
                      diligence ? Qui est-ce qui l’a- diligence? Who did-- who did-
                      - qui l’a-- ?                   -?

           OP         C’est une grosse boîte. C’est It’s a big firm. A big firm
                      une grosse boîte qui a fait la performed the due diligence.
                      due diligence. Une des trois One of the three big firms--.
                      grosses boîtes--.

           Thirouin   Ça, ça veut rien dire. Moi, je It doesn’t mean anything. Me,
                      connais des grosses boîtes qui I know big firms that are big
                      sont des gros escrocs.          crooks.

           OP         Oui. [Laughs] Ouais.            Yes. [Laughs] Yeah.

           Thirouin   Oui.                            Yes.

           OP         Effectivement.                  Indeed.

           Thirouin   Et le cas que je vous parle en- And the case I’m talking to
                      - le cas que je vous parle en you about in-- the case I’m
                      Guinée, il est à la tête de ça, talking      to   you   about   in
                      c’est l’ancienne présidente Guinea, it is at the top of it, it
                      d’Areva, le plus grand groupe is       the    former    managing
                      minier français, sur l’uranium, director of Areva, the biggest
                      hein.                           French mining group, for
                                                      uranium, yeah.

           OP         Oui ?                           Yes?




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           Thirouin   Tout     ça,    c’est    un    tissu All this is a pack of schemes,
                      d’embrouilles, hein.                 right.

           OP         Oui, oui. Mais dans le cas Yes, yes. But in the Guinean
                      guinéen, comment--.                  case, how--.

           Thirouin   [...] je connais d’autant mieux […] I particularly know this
                      ce cas dont je vous parle que case I am telling you about as
                      j’y étais--.                         I was there--.

           OP         Dans le cas--.                       In the case--.

           Thirouin   [...] que je vous [...] sur la […] that I […] on Guinea, it is
                      Guinée, c’est un cas sur lequel a case I worked on so--.
                      j’ai travaillé donc--.

           OP         Oui ?                                Yes?

           Thirouin   -je     sais    où      sont    les I know where the schemes are.
                      embrouilles.

           OP         Oui ? Et donc, comment vous Yes? And so, how did you do
                      avez fait ? Expliquez-moi--.         it? Explain to me--.

01:13:33   Thirouin   Aujourd’hui, personne ne veut Today, nobody wants to go
                      y aller, c’est--.                    there, it is--.

           OP         Expliquez-moi un tout petit Explain to me a little how you
                      peu comment vous avez fait.          did it.

           Thirouin   Comment ? Ben j’en [...].            How? Well I […]

           OP         Comment ?                            Pardon?

           Thirouin   En discutant avec les gens qui By talking to the people who
                      m’ont sollicité, etcetera. En solicitated me, and so on. By
                      discutant avec les gens, et pis talking to the people, and then
                      par mes connaissances locales through                  my     local
                      qui m’ont dit, ‘Attention, ceci, acquaintances who told me,
                      cela.’ Voilà.




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                                                    ‘Watch out for this, for that.’
                                                    That’s it.

        OP         Oui, mais est-ce que dans ce Yes, but in that case, had they
                   cas-là ils avaient déjà signé already signed the agreement?
                   l’accord ?

        Thirouin   Non, non, ils ont fait-- ‘fin, ils No, no, they did-- ‘end, they
                   avaient signé un accord mais had signed an agreement, but
                   qui vaut rien, qui vaut rien.    it isn’t worth a thing, not
                                                    worth a thing.

        OP         Ah bon ? c’est-à-dire qu’ils Really? Does it mean that
                   avaient-- ?                      they--?

        Thirouin   Non, mais parce que c’est No, but because it was full of
                   plein de mensonges.              lies.

        OP         Oui. Mais ils avaient signé Yes. But did they know it as
                   l’accord quand ils savaient ? they signed the agreement? Or
                   ou ils ne savaient pas, comme did they not know, like us?
                   nous ?

        Thirouin   Non, non. Ils savaient parce No, no. They knew because it
                   que c’est eux qui l’ont monté, is them who orchestrated the
                   le mauvais coup, alors.          nasty trick, so.

        OP         Ah bon. C’est eux-- ?            Really. They did --?

        Thirouin   [...] différent. Là, ce sont des […] different. Here, people
                   gens qui ont monté le mauvais orchestrated the trick.
                   coup.

        OP         C’est-- oui.                     Well-- yes.

        Thirouin   [...].                           [...].




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        OP         Oui. Moi, c’est pas trop clair Yes. To me, it’s not very clear
                   ce que vous me dites, là. what you are telling me now. I
                   C’est-à-dire, c’est qui-- c’est mean, who-- which party is it?
                   quelle partie ?

        Thirouin   [...].                           […].

        OP         Comment ?                        Pardon?

        Thirouin   Comment ?                        Pardon?

        OP         C’est qui--.                     Who is--.

        Thirouin   Oh, ben c’est--.                 Oh, well it is--.

        OP         C’est qui des deux parties ? Who are the two parties? It is-
                   C’est le--.                      -.

        Thirouin   C’est le [...] en Guinée, c’est It is […] in Guinea, it’s Mr.--.
                   M.--.

        OP         Comment ?                        Pardon?

        Thirouin   Ah ben là, c’est les parties, Well here, it is the parties, it’s
                   c’est à la fois le gouvernement at      the   same   time     the
                   et les soi-disant investisseurs, government and the so-called
                   hein.                            investors, yeah.

        OP         Oui ?                            Yes?

        Thirouin   C’est un panier-- ce qu’on It’s a nest-- what we call a nest
                   appelle un panier de crabes. of vipers. A nest of vipers.
                   Un panier de crabes.

        OP         Oui. Mais y’a-- quand les Yes. But there-- when the
                   investisseurs, y’en a--.         investors, some of them--.

        Thirouin   [...] mais--.                    […] but--.




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           OP         Y’a toujours le premier et y’a There’s always the first one
                      celui qui vient en second.         and the one that comes in
                                                         second.

           Thirouin   Comment ?                          Pardon?

           OP         Dans-- quand on parle des In-- when we talk about
                      investisseurs, y’a toujours les investors, there are always the
                      premiers, et y’a les seconds.      first ones, and there are the
                                                         second ones.

           Thirouin   Oui. Oui.                          Yes. Yes.

           OP         Vous comprenez ?                   Do you understand?

           Thirouin   Ben là c’est les premiers, c’est Well here, the first ones, it was
                      les   premiers     qui     étaient the first ones who were
                      malhonnêtes.                       dishonest.

           OP         Oui. Et les seconds ?              Yes. And the second ones?

           Thirouin   Et    aujourd’hui--      ben   les And today-- well, the second
                      seconds, y’en n’a pas eu, de ones, there was no second one,
                      second, puisque l’affaire va since the deal is going to stop,
                      s’arrêter, hein.                   yeah.

           OP         Oui. Et aujourd’hui, qu’est-ce Yes. And today, what is
                      qui se passe ?                     happening?

           Thirouin   Comment ?                          Pardon?

01:16:02   OP         Oui mais est-ce que les Yes, but did the second ones
                      seconds savaient que--?            know that--?

           Thirouin   [...] y’a des Chinois, ou y’a […] there are Chinese people,
                      des Français. Comment ?            or there are French people.
                                                         Pardon?

           OP         Oui, mais est-ce que, est-ce Yes, but did they, did they do-
                      que ils ont-- ?                    -?




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        Thirouin   [...].                                 […].

        OP         Ils ont-- vous me dites que les They did-- you’re telling me
                   premiers, les premiers c’était that the first ones, the first
                   ceux qui ont, qui ont réglé ones were those who made the
                   l’affaire         avec             le deal with the government.
                   gouvernement.

        Thirouin   Non, les premiers c’est les No, the first ones were the
                   Français qui ont essayé de French who tried to bribe the
                   soudoyer le gouvernement Guinean government, which
                   guinéen qui était d’accord. Et agreed               to     it.   And     then
                   puis finalement, tout ça, ça eventually, all of that, it all
                   éclate au grand jour et-- et y’a came out publicly and-- and
                   même un ancien ministre there was even a former
                   français qui est impliqué là- French Minister implicated.
                   dedans.

        OP         Ah       bon ?    C’est       quelle Oh really? Which Guinea was
                   Guinée ?                               it?

        Thirouin   [...].                                 […].

        OP         C’est quelle Guinée ? Y’a--.           Which Guinea? There is--.

        Thirouin   [...] une information du public […] public information now. I
                   maintenant.      Je    vais      vous will send you the link, you’ll
                   envoyer le lien, vous allez see.
                   voir.

        OP         Oui. Non mais quelle est la Yes. No, but what is the
                   similitude entre ce cas-là et similarity between this case
                   notre cas à nous ?                     and our case?

        Thirouin   Ben la similitude, c’est que la Well, the similarity, it is that
                   due diligence n’a pas été bien the            due        diligence     wasn’t
                   faite,      et   que      tout     ça performed properly, and that




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                      maintenant, c’est pas clair et all of this now isn’t clear, and
                      que surtout, le côté juridique most of all, the legal side isn’t
                      n’est pas clair du tout. Et que clear at all. And in spite of all
                      malgré toutes sortes de due kinds of due diligence, some
                      diligence, y’en avait qui ont performed due diligences to
                      fait des due diligence pour trick others, and vice versa.
                      rouler les autres, et vice versa.

01:17:26   OP         Oui. Oui mais dans ce cas-là, Yes. Yes, but in this case,
                      ceux qui-- disons les--.             those who-- let’s say the--.

           Thirouin   [...].                               [...].

           OP         -les        investisseurs,       ou -the investors or the company,
                      l’entreprise, ou la société qui a or          the   firm        which   was
                      traité en second lieu--.             involved in a second phase--.

           Thirouin   Oui ?                                Yes?

           OP         -est-ce qu’elle était au courant - were they aware of the
                      de cet accord signé avec-- ?         agreement signed with--?

           Thirouin   [...].      Nan      mais        les […]. No but the investors,
                      investisseurs ils vont rien they                won’t      do     anything.
                      faire. Ils vont se sauver, ils They’ll run away; they will go
                      vont aller voir ailleurs.            look elsewhere.

           OP         Non mais vous avez dit que les No, but you said that the first
                      premiers, c’est eux qui ont ones, it is them who bribed the
                      soudoyé       le   gouvernement government                 to     get   the
                      pour     obtenir     la      licence operating licence.
                      d’exploitation.

           Thirouin   Oui, oui.                            Yes. Yes.

           OP         D’accord. Maintenant--.              Alright. Now--.

           Thirouin   Pour obtenir la licence, oui.        To get the licence, yes.




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        OP         Mais maintenant, les-- ceux But now, the-- those who
                   qui sont venus--.                came--.

        Thirouin   Le gouvernement était [...] The government was […]
                   content de se faire soudoyer.    happy to be bribed.

        OP         Oui d’accord, mais ceux qui Yes alright, but those who
                   sont, ceux qui sont arrivés en came in a second phase, did
                   second lieu, est-ce qu’ils le they know when they signed
                   savaient quand ils ont signé the agreement or did they not
                   leur accord, ou ils ne savaient know?
                   pas ?

        Thirouin   Mais oui, mais tout le monde Of course, but every knew it.
                   le savait. Mais si ! Tout le Everybody knew it, it was a
                   monde le savait, là, c’était une game of bluff!
                   partie de poker menteur !

        OP         Ah oui, d’accord. C’est-à-dire Oh, yes, alright. Well, the
                   que la deuxième--.               second one--.

        Thirouin   C’était une partie de poker It was a game of bluff.
                   menteur.

        OP         C’est-à-dire que la deuxième, Well, the second one, the
                   la deuxième société qui a second company which signed
                   signé      l’accord      savait the agreement knew exactly
                   exactement comment--.            how--.

        Thirouin   Vous savez ce que c’est, que Do you know what a game of
                   le poker menteur ?               bluff is?

        OP         Non.    Mais     ils   savaient No. But they knew exactly
                   exactement     comment      que how       that   the--   the   first
                   c’est-- la première société--.   company--.

        Thirouin   Mais non, ils savaient pas But no, they didn’t know
                   exactement.                      exactly.




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           OP         -a       obtenu       la   licence - got the operating licence.
                      d’exploitation.

           Thirouin   [...]           des         erreurs […] judgement mistakes.
                      d’appréciation.

           OP         Oui.                                Yes.

           Thirouin   Oui, mais ils peuvent pas Yes, but they cannot use it
                      l’utiliser parce que justement, precisely because, the due
                      la due diligence juridique n’a diligence wasn’t performed
                      pas été bien faite.                 properly.

           OP         Oui. Comme vous me l’avez Yes. Like you told me, even
                      dit, même les grosses boîtes, the biggest companies are
                      ce sont des escrocs.                crooked.

           Thirouin   Oui.                                Yes.

           OP         Ouais, ouais. Parce que la due Yeah, yeah. Because the due
                      diligence devrait, devrait en diligence should, it is exactly
                      sorte découvrir exactement ça. what it should uncover.

           Thirouin   Ben bien sûr. Bien sûr.             Well of course. Of course.

           OP         Ouais. C’est--.                     Yeah. That’s--.

           Thirouin   Mais oui. Bien sûr.                 But yes. Of course.

01:19:44   OP         Oui.      Oui     mais,    disons-- Yes. Yes, but let’s say that--
                      d’accord. Disons que on n’ait- alright. Let’s say that we
                      on n‘ait pas reçu ce mot à didn’t- we didn’t hear that
                      l’oreille qu’il y a eu ce haut there was this key senior
                      fonctionnaire clef qui a été, official that was, that he was
                      qui a été soudoyé. Et disons--. bribed. And let’s say--.

           Thirouin   Oui--.                              Yes--.




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        OP         -que bien entendu on était sur -and that obviously, we were
                   le point de conclure et-- about to close and-- sorry. We
                   pardon. On aurait conclu cette would have closed that deal.
                   opération.

        Thirouin   Non mais je vous répète, il No, but I’m telling you again,
                   faut faire une analyse des you have to analyse the
                   documents officiels. Est-ce official documents. Are they
                   qu’ils sont vraiment officiels, genuinely official? Were they
                   est-ce qu’ils ont été biaisés, biased? Was […] --? Who
                   est-ce que […] -- qui est de acted in good faith, who was
                   bonne foi, qui est de mauvaise insincere?
                   foi.

        OP         Non     les    documents   sont No,       the   documents     are
                   officiels, M. Thirouin, ils sont official, Mr. Thirouin, they are
                   officiels parce que, parce que official because, because it’s
                   c’est un, ce--.                   a, this--.

        Thirouin   […].                              […].

        OP         Ce haut fonctionnaire, il a, il a This senior official, he did, he
                   donné         des   documents gave the official documents.
                   officiels. Il a reçu beaucoup de He got a lot of money for--.
                   pognon pour--.

        Thirouin   Bon ben, c’est très bien alors, Very well, then it’s very good
                   donc vous êtes pas--.             then, you are not--.

        OP         Comment ?                         Pardon?

        Thirouin   Oui ?                             Yes?

        OP         Donc il a reçu cette part So,              he   received      this
                   substantielle--.                  substantial share--.

        Thirouin   Donc vous […]        si la due So, you […] if the due
                   diligence-- oui.                  diligence-- yes.




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           OP         Et justement, justement--.        And precisely, precisely--.

           Thirouin   Si vous êtes--.                   If you are--.

           OP         Ils ont fait ça d’une manière They did it in a very clever
                      assez intelligente, ce n’est pas way, it’s not bribes--.
                      les pots-de-vin--.

           Thirouin   Bien sûr, c’est […].              Of course, it is […].

           OP         Ce n’est pas les pots-de-vin It’s not traditional bribery,
                      traditionnels, et--.              and--.

           Thirouin   Oui, oui.                         Yes, yes.

           OP         Et c’est la raison pour laquelle It is the reason why this share,
                      cette part, il devrait la recevoir he should receive it in an
                      dans une société offshore.        offshore company.

           Thirouin   Oui bien sûr, oui, non mais Yes, of course, yes, no but it’s
                      c’est classique, hein, c’est a classic case, yeah, it’s
                      classique.                        classic.

           OP         Oui.                              Yes.

01:21:30   Thirouin   Alors qu’est-ce qui vous gêne So, what bothers you here if
                      là-dedans si les documents-- si the documents-- if the due
                      la due diligence a été déjà diligence has already been
                      faite ?                           performed?

           OP         Non mais ce qui me gêne--.        No, but what bothers me--.

           Thirouin   Oui.                              Yes.

           OP         -c’est que cette crainte, cette -It is that fear, that fear--.
                      crainte--.

           Thirouin   Oui.                              Yes.

           OP         -pour-- vis-à-vis, vis-à-vis de -about-- regarding, regarding
                      mes clients à moi--.              my clients.




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        Thirouin   Oui.                                  Yes.

        OP         -qui souhaitent quand même -who wish to ensure that they
                   s’assurer qu’ils sont sécurisés, are sage, that they won’t be
                   qu’ils vont pas être exposés--.       exposed.

        Thirouin   […].                                  […].

        OP         Qu’ils vont pas être exposés That they won’t be exposed to
                   aux risques du-- pardon ?             risks regarding-- excuse me?

        Thirouin   Oui, ben je vous répète Yes, well, I’m telling you
                   encore, tout ceci passe par une again, all of this involves an
                   analyse, par des gens comme analysis, by people like us, of
                   nous, des documents officiels, the official documents, and
                   et là on va détecter tout de there we will immediately
                   suite s’il y a des nons.              detect if there were nos.

        OP         Oui.                                  Yes.

        Thirouin   Et temps que vous n’aurez pas And as long as you haven’t
                   fait   cette     due       diligence done this legal due diligence,
                   juridique,     vous       ne    serez you can never be sure. If you
                   jamais sûr. Si vous avez des have doubts about one of the
                   doutes       avec        l’un    des partners.
                   partenaires.

        OP         Oui, oui. Parce que--.                Yes, yes. Because--.

        Thirouin   Il n’y a rien à faire, ça vous ne There is nothing to do, this
                   pourrez pas [...] --.                 you won’t be able to […] --.

        OP         Oui parce que--.                      Yes, because--.

        Thirouin   -pendant l’opération.                 -during the operation.

        OP         Parce que disons, disons que Because let’s say, let’s say
                   la     due--        la     diligence that    the     due--   the   due
                   raisonnable--.                        diligence--.




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        Thirouin   Oui ?                             Yes?

        OP         Elle a été faite et aucune It was performed and no proof
                   preuve de corruption n’a été of corruption was found.
                   trouvée.

        Thirouin   Bon ben alors--.                  Aright, so then--.

        OP         Bien qu’elle a été faite par--.   Even though it was performed
                                                     by--.

        Thirouin   Très bien.                        Very well.

        OP         Une, une très grosse-- une des A, a very big-- one of the
                   plus grosses boîtes, donc peut- biggest      firms,    so   maybe,
                   être, peut être que--.            maybe--.

        Thirouin   Ben si vous connaissez--.         Well if you know--.

        OP         Peut-être que le partenaire Maybe this Chinese partner
                   chinois a soudoyé également also bribed this--.
                   cette--.

        Thirouin   Oui.                              Yes.

        OP         Cette société de due diligence. This due diligence firm.

        Thirouin   Ben c’est ça qu’il faut savoir, Well that’s what you have to
                   c’est--.                          know, that’s--.

        OP         Oui. Ça je-- ça je ne le sais Yes. This I-- this, I do not
                   pas.                              know.

        Thirouin   C’est ça qu’il faut savoir.       That’s what you have to know.

        OP         Oui.                              Yes.

        Thirouin   Bon, cette société de-- bon, Alright, so this firm-- alright,
                   donnez-moi, donnez-moi la give me, give me the due
                   société de due diligence, et je diligence firm, and I will tell
                                                     you what its reputation is.




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                   vous dirai quelle réputation
                   elle a.

        OP         [Laughs] Oui.                       [Laughs] Yes.

        Thirouin   Non mais oui, parce que la No but yes, because reputation
                   réputation      ça    compte,   ça matters, reputation matters.
                   compte la réputation.

        OP         Oui, oui, oui. Oui, oui je sais Yes, yes, yes. Yes, yes, I know
                   bien, je sais bien.                 this well, I know this well.

        Thirouin   Vous pouvez pas y échapper, You can’t escape it, right? I
                   hein ? Je connais des cabinets- know firms—well yes. I do
                   - ben oui. Moi j’ai des amis have lawyer friends, I will tell
                   avocats, je vais leur dire-- si them-- if you tell me the name
                   vous me dites le nom de la of the firm, they will tell me,
                   société, ils vont me dire, ‘Bon, ‘Alright, there is no problem’
                   il y a aucun problème’, ou au or on the contrary, ‘Don’t
                   contraire, ‘Touche pas à ça’, touch this’, right?
                   hein ?

        OP         Oui.                                Yes.

        Thirouin   Ça va me coûter un coup de It’s going to cost me a phone
                   téléphone, c’est tout.              call, that’s all.

        OP         Oui mais dans votre cas, Yes, but in your case, when
                   quand vous m’avez dit qu’il y you told me that there was also
                   avait     une    grosse    société a big firm which performed--.
                   également qui a fait--.

        Thirouin   Oui.                                Yes.

        OP         -qui a fait justement cette -which precisely performed
                   diligence raisonnable, est-ce the due diligence, did it really
                   que, est-ce qu’elle a fait perform it properly?
                   vraiment comme il faut ?




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           Thirouin   Ah ben bien sûr, mais il faut-- Ah, well of course, but you
                      ensuite il faut parler avec les have to-- then you have to talk
                      gens, il faut les interroger, il to people, interrogate them,
                      faut leur dire, ‘Qu’est-ce que you have to tell them, ‘What
                      vous avez fait ?’, comme vous did you do?’, the same way
                      faites avec moi en ce moment. you are asking me right now.

           OP         Oui. Oui.                        Yes. Yes.

           Thirouin   Non, mais il y a des avocats, il No, but there are lawyers,
                      y a des avocats très bien, il y a there are very good lawyers,
                      des avocats véreux, il y a des there are shady lawyers, there
                      banques sérieuses, il y a des are serious banks, there are
                      banques moins sérieuses, et less serious banks, and that’s
                      voilà.                           it.

01:24:21   OP         Oui. Oui mais moi ce que, ce Yes. Yes, but me, what I want,
                      que je voulais, ce que je what I wanted, what I wanted
                      voulais     savoir,   c’est   ce to know, it is about this
                      mécanisme.                       mechanism.

           Thirouin   Oui ben je le connais par cœur Yes well, I know it by heart
                      mais ce mécanisme, je vous but this mechanism, I have
                      l’ai dit, ça passe par l’analyse told you, it involves the
                      des       documents     délivrés analysis of the documents that
                      officiellement par le pays were officially issued by the
                      concerné, par le ministère des country in question, by the
                      Mines du pays concerné.          Ministry of Mines of the
                                                       country involved.

           OP         Oui.                             Yes.

           Thirouin   Ben oui. Et puis il y a des, des Well yes. And then there are
                      pays où les ministères sont the, the countries where the
                      pourris, il y en a d’autres où ils ministries are crooked, and
                                                       then there are others where




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                   sont pas pourris, et ainsi de they are not crooked, and so
                   suite, hein ?                      on, right?

        OP         Oui mais, moi ce, moi ce qui Yes but, what I, what I am
                   m’intéresse--.                     interested in--.

        Thirouin   Et après […] les documents And then […] the documents
                   s’ils sont fiables, où s’ils sont if they are reliable or if they’re
                   pas fiables.                       not reliable.

        OP         Moi ce qui m’intéresse--.          What I’m interested in--.

        Thirouin   Après, il faut les voir.           Then, you must see them.

        OP         Ce que je m’interroge, c’est--. What I’m wondering, it’s--.

        Thirouin   Oui.                               Yes.

        OP         C’est de l’avoir su avant de It’s about having known about
                   signer l’accord--.                 it     before      signing   the
                                                      agreement--.

        Thirouin   Oui.                               Yes.

        OP         Ou alors, si on aurait conclu Or else, if we had closed this
                   cette    opération,        quelles operation,         what      the
                   auraient été les conséquences consequences for my clients
                   pour mes clients.                  would be.

        Thirouin   Non mais […]. Vous pouvez No but […]. You can sign--
                   signer-- vos clients peuvent your clients can sign subject to
                   signer sous réserve d’une due an additional due diligence.
                   diligence complémentaire.

        OP         Oui.                               Yes.

        Thirouin   Quand      vous       avez    des When you have accountants,
                   comptables, ben vous pouvez well you can get it checked by
                   faire vérifier par un expert- a chartered accountant. Well
                   comptable.      Ben    dans    ce in that field it’s the same,




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                      domaine-là c’est pareil, il y a there’s a due diligence, well
                      une due diligence, ben vous you get a due diligence done
                      faites faire une due diligence by a due diligence expert. And
                      par un expert due diligence. Et thank God, there is some,
                      Dieu merci, il y en a hein, j’en right, I know some.
                      connais.

01:26:05   OP         Oui.        Oui,     mais--      notre Yes. Yes, but-- our problem is
                      problème           c’est   que      le that the Chinese partner, he
                      partenaire chinois, il dit, ‘Ben says, ‘Well, the due diligence
                      la due diligence elle a été was done--.’
                      faite--.’

           Thirouin   Si [...] pas comme ça vous If […] not like this, you will
                      n’aurez jamais de certitude. never be certain. How?
                      Comment ?

           OP         Non, ce qu’il dit, ce qu’il dit-- No, what he says, what he
                      .                                       says--.

           Thirouin   Non mais-- vous estimez-- No but-- you estimate-- yes.
                      oui.

           OP         La due diligence a été faite, The due diligence was done,
                      tout est, tout est clair et net--.      everything is, everything is
                                                              crystal clear--.

           Thirouin   Mais si elle a été mal faite.           But if it’s been wrongly done.

           OP         Oui.                                    Yes.

           Thirouin   Bon ben alors, c’est parfait ! Well then, that’s perfect! In
                      Dans votre cas […] comme your case […] since you have
                      vous avez des doutes, ben il doubts, well another one must
                      faut en faire faire une autre, be done, a complementary
                      une complémentaire.                     one.

           OP         Oui.                                    Yes.




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           Thirouin   Parce que si vous n’aviez pas Because if you didn’t have any
                      de doutes sur la due diligence, doubts on the due diligence,
                      vous m’auriez pas appelé, you wouldn’t have called me,
                      vous auriez pas eu besoin de you wouldn’t have had the
                      m’appeler.                           need to call me.

01:26:44   OP         Ben oui, et surtout je vous ai Well yes, and I especially
                      appelé parce que je sais que called you because I know that
                      vous avez une expérience you have great experience,
                      formidable, surtout en ce qui mostly as far as African
                      concerne les États africains. Et countries are concerned. And
                      que je me suis dit sans doute that I thought to myself that
                      vous    avez     eu     des     cas you probably had similar
                      similaires,    et      que     vous cases, and that you could tell
                      pourriez me dire comment me how you resolved them.
                      vous les avez résolus.

           Thirouin   Mais exact, c’est ce que je But exactly, that’s what I
                      vous ai expliqué, c’est ce que explained to you, that’s what I
                      je vous ai dit. J’ai eu des cas told you. I've had similar cases
                      similaires avec des petites with small companies, with
                      sociétés, avec des très grosses, huge ones, with less huge
                      avec des moins grosses, […]. ones, […]. And then you also
                      Puis ensuite il faut savoir si need to know if the deposit is
                      aussi, le gisement vaut le coup worth investing in, because a
                      d’investir,    parce    que,     un deposit, it’s the same, right?
                      gisement, c’est pareil, hein ?

           OP         Non, le gisement vaut le coup No, the deposit is worth
                      d’investir. Ça c’est--.              investing in. That is--.

           Thirouin   Mais si vous doutez--.               But if you have doubts--.

           OP         Ça, ça a été déjà--.                 This, this has already been--.




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        Thirouin   Qui est ce que vous a dit ça ? Who told you that? Who told
                   Qui est ce que vous a dit ça ? you that? Who told you that?
                   Qui est ce que vous a dit ça ? That it is worth it?
                   Que ça vaut le coup ?

        OP         Ben, y a des sociétés--.         Well, there are companies--.

        Thirouin   Vous savez--.                    You know--.

        OP         Oui.                             Yes.

        Thirouin   Mais quelle société ? Pareil, But what company? Same,
                   y’a des sociétés qu’ont des there are companies that have
                   bonnes réputations, d’autres good reputations, others that
                   qui en ont pas. Et puis, si don’t. and if you will, you talk
                   voulez, vous parlez du cuivre, about copper, copper, the
                   le cuivre, le prix il peut monter price can go up or double. So,
                   ou doubler. Alors s’il est très if    it’s    very   high,   well
                   haut, ben tout le monde va everybody will want to, if it’s
                   vouloir, s’il est très bas, on va very low, we’ll close the mine.
                   fermer la mine.

        OP         Oui.                             Yes.

        Thirouin   Mais oui. Donc il faut savoir,   Well, yes. So, you need to
                   dans le temps, l’exploitation    know, over time, operating
                   de cette mine est valable quel   this mine is worth it regardless
                   que soit le prix du cuivre.      of the price of copper.

        OP         Oui. C’est-à-dire qu’il faut-- il Yes. That is, you need-- you
                   faudrait considérer le, le, la would need to consider the,
                   baisse des prix et considérer the price drop, and consider
                   l’exploitation.                  operating.

        Thirouin   […] de baisse des prix, voilà. […] of price drop, that’s it.
                   [...].                           […].




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           OP         Et       toujours         considérer And       always     consider
                      l’exploitation. Oui ?                 operating. Yes?

01:28:24   Thirouin   Il y a des mines qui peuvent se There are mines that can
                      mettre en sommeil, y’a des-- si become dormant, there are-- if
                      le prix du cuivre baisse de the price of copper drops too
                      trop, on arrête et puis on low, we stop and then we
                      reprend après.                        resume later.

           OP         Oui, oui. Lorsque le prix Yes, yes. When the price goes
                      monte.                                up.

           Thirouin   Combien de temps-- ben oui.           How much time-- well, yes.

           OP         Oui.                                  Yes.

           Thirouin   Non mais c’est vrai dans le No, but it’s true for iron ore,
                      minerai de fer, c’est vrai dans it’s true for gold, it’s true for
                      l’or, c’est vrai dans tous les-- all the-- for all raw materials.
                      dans     toutes     les    matières
                      premières.

           OP         Oui.                                  Yes.

           Thirouin   Oui. Je vous donne un autre Yes. I’ll give you another
                      produit que je connais très product that I know well, iron.
                      bien, le fer.

           OP         Oui.                                  Yes.

           Thirouin   Le minerai de fer, il est passé Iron ore, it went from $20 to
                      de 20$ à 150$. Donc à 20$ $150. So, at $20 today,
                      aujourd’hui, personne n’en nobody operates it. At $150,
                      exploite. À150$ tout le monde everyone rushes.
                      se précipite.

           OP         Oui.                                  Yes.




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        Thirouin   Donc je parle en dollars, c’est So, I'm talking in dollars, it’s
                   la tonne, hein ?                    per ton, right?

        OP         Oui, oui.                           Yes, yes.

        Thirouin   Il faut savoir, si vous voulez You need to know, if you will,
                   dans toute mine […] quand in any mine […] when you
                   vous avez du cuivre, quand have copper, when you have
                   vous avez du cuivre à 5% de copper at 5% […], already
                   […], déjà extraordinaire, ben extraordinary, well you have
                   vous      avez   95%       d’autres 95% of other products, and
                   produits, et parmi les 95% among these 95%, maybe
                   peut-être qu’il y a des produits there are products that are not
                   qui ne conviennent pas pour le suitable for copper.
                   cuivre.

        OP         Oui. Je vois.                       Yes. I see.

        Thirouin   Alors [...]. J’ai travaillé dans So,       […].   I        worked   in
                   le      manganèse.        Dans   le manganese.        In    manganese
                   manganèse aujourd’hui vous today, you have a product that
                   avez un produit qui est très is highly sought after, it’s
                   recherché, c’est le cobalt. Si cobalt. If you have cobalt in
                   vous avez du cobalt dans le manganese, you […] lose
                   manganèse, vous […] perdez anything.
                   rien.

        OP         Oui.                                Yes.

        Thirouin   Non, mais si vous voulez, moi No but if you will, I myself
                   j’ai l’avantage d’avoir eu des have the benefit of having had
                   expériences          de      sujets experiences on legal issues,
                   juridiques, […], ainsi de suite, […], and so on, technical
                   des sujets techniques aussi, si issues too, if you will.
                   vous voulez.




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01:29:52   OP         Oui. Non mais surtout, moi ce Yes. No but mostly, what I
                      qui m’intéressait c’est, c’est la was interested in is, it’s the
                      partie juridique.                  legal part.

           Thirouin   Bon c’est ça aussi qu’il faut Well that’s what you need to
                      pouvoir valider.                   be able to validate as well.

           OP         Oui. Oui, parce que la--.          Yes. Yes because the--.

           Thirouin   Bon ben la partie juridique, Well then, the legal part, you
                      vous dîtes ? On peut vous la say? We can deal with it for
                      traiter, sans problème.            you, no problem.

           OP         Oui.                               Yes.

           Thirouin   D’abord, il faut savoir ceux First, you need to know those
                      qui ont fait la due diligence, who did the due diligence, are
                      sont-ils      considérés      [...] they   considered    […]      as
                      comme des gens sérieux ou serious people or not?
                      pas ?

01:30:21   OP         Oui.                               Yes.

           Thirouin   [Line reconnects] Le due [Line reconnects] The due
                      diligence      d’une       même diligence the same way for
                      manière sur le cuivre, ou sur le copper, or for iron ore, or for
                      minerai de fer ou sur l’or.        gold.

           OP         Oui.                               Yes.

           Thirouin   Voyez, aujourd’hui vous avez See, today, you have gold
                      des gisements d’or avec deux deposits with two grams per
                      grammes à la tonne, ils sont ton, they are profitable.
                      rentables.

           OP         Deux grammes à la tonne ?          Two grams per ton?

           Thirouin   Voilà. Oui.                        That’s it. Yes.

           OP         Oui, je vois. Bon--.               Yes, I see. Well--.




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           Thirouin   […].                               […].

           OP         Quand même--.                      Anyhow--.

           Thirouin   Mais le minerai de fer, si vous But iron ore, if you don’t have
                      n’avez pas 50% de fer dans le 50% of iron in iron ore, it’s not
                      minerai de fer, ça vaut pas le worth it. Do you understand?
                      coup. Vous comprenez ?

01:31:04   OP         Oui. Oui, je comprends.            Yes. Yes, I understand.

           Thirouin   Voilà.                             That’s it.

           OP         Bon.                               Well.

           Thirouin   Vous-même, vous êtes basé Yourself,             where     are   you
                      où, votre bureau il est où ?       based, your offices, where are
                                                         they?

           OP         Ben à Genève.                      Well in Geneva.

           Thirouin   Allô ?                             Hello?

           OP         À Genève.                          In Geneva.

           Thirouin   Allô ?                             Hello?

           OP         Oui. À-- à Genève.                 Yes. In-- in Geneva.

           Thirouin   Moi,     j’ai   commencé       ma I started my career in Geneva,
                      carrière à Genève, je connais I know Geneva.
                      Genève.

           OP         Ah oui ? Ah bon ? Allô ?           Oh, yes? Really? Hello?

           Thirouin   Allô ?                             Hello?

           OP         Oui. Oui, oui, je vous écoute.     Yes. Yes, yes, I can hear you.

           Thirouin   Oui. Je vais vous envoyer […] Yes. I’ll send you […] number
                      nombre de choses, il faudra of things, we’ll have to meet,
                      qu’on se rencontre, qu’on se to agree on how to proceed
                                                         from now on.




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                   mette d’accord sur l’art et la
                   manière de procéder.

        OP         Mais oui, mais, oui, mais pour Well yes, well yes, but in
                   se rencontrer il faudrait, il order to meet it is necessary, it
                   faudrait que ça se calme un is necessary that the situation
                   peu avec ce Covid-19 qui nous calms down a little, with this
                   rend--.                             Covid-19 that drives us--.

        Thirouin   D’accord, […].                      Alright, […].

        OP         Oui, oui, oui, qui nous rend Yes, yes, yes, that drives us
                   complétement fous. Mais oui, completely nuts. But yes, yes
                   oui justement, il faudrait bien- exactly, we would need-- and
                   - et d’accord, vous serez gentil alright, would you be so kind
                   de m’envoyer le, le--.              and send me the, the--.

        Thirouin   Non mais […] Facetime […].          No but […] Facetime […].

        OP         Pardon ?                            I beg your pardon?

        Thirouin   Trouvez        un    numéro     de Find a phone number with a
                   téléphone avec un Facetime Facetime that works.
                   qui fonctionne.

        OP         Oui, oui, mais vous serez Yes, yes, but would you be so
                   gentil    de    m’envoyer,      de kind and send me, send me an
                   m’envoyer un mail avec, avec email           with,    with    your
                   les détails de votre collègue ?     colleague’s details?

        Thirouin   Allô ?                              Hello?

        OP         Je répète. Allô ? Allô ?            I repeat. Hello? Hello?

        Thirouin   Non mais--.                         No but--.

        OP         Allô ?     Je       disais--.   M. Hello? I was saying--. M.
                   Thirouin ?                          Thirouin?




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        Thirouin   À       Genève,     vous    devrez In Geneva, you should be able
                   pouvoir trouver un numéro de to find a phone number-- yes?
                   téléphone-- oui ?

        OP         Oui, je disais justement--.         Yes, I was just saying--.

        Thirouin   Je vous écoute ?                    I'm listening?

        OP         Vous        serez    gentil    de Would you be so kind and
                   m’envoyer un mail avec, avec send me an email with, with
                   les détails de votre collègue your colleague’s details and--.
                   et--.

        Thirouin   Oui, oui.                           Yes, yes.

        OP         Et vos détails également--.         And your details as well--.

        Thirouin   Avec d’autres informations, With additional information,
                   d’autres [...].                     additional […].

        OP         Voilà,        avec         d’autres That’s it, with additional
                   informations, comme ça j’ai information, that way I have
                   quelque chose pour présenter something           to    show       to--
                   à-- justement, à mes clients, et exactly, to my clients, and
                   on va voir comment procéder. we’ll see how we proceed.
                   Allô ? Allô, vous-- allô ?          Hello? Hello, you-- hello?

        Thirouin   Allô ?                              Hello?

        OP         Oui je vous écoute.                 Yes, I can hear you.

        Thirouin   Tu m’entends ?                      Can you hear me?

        OP         Oui, oui, oui, oui. Je vous-- Yes, yes, yes, yes. I can-- now
                   maintenant je vous entends I can hear you well. So, so you
                   très bien. Donc, donc vous are sending me, you are
                   m’envoyez, vous m’envoyez sending me please this--.
                   s’il vous plaît ce--.

        Thirouin   D’accord.                           Alright.




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           OP         Un mail avec votre CV, le CV A mail with your resume, your
                      de votre collègue, et un tout colleague’s resume, and a few
                      petit peu de détails sur ce que details about what you have
                      vous avez fait, comme ça que done, so that I have something
                      je puisse avoir quelque chose concrete for my clients. Let’s
                      de concret pour mes clients. do it this way? Hello?
                      On fait comme ça ? Allô ?

01:34:00   Thirouin   On fait comme ça. Entendu.        We’re doing it this way.
                                                        Alright.

           OP         D’accord.                         Alright.

           Thirouin   Allô ? Oui.                       Hello? Yes.

           OP         D’accord.     Alors   je   vous Alright. So, thank you, thank
                      remercie, je vous remercie you very much and I wish you
                      énormément      et    je   vous a good evening.
                      souhaite une excellente soirée.

           Thirouin   Oui.                              Yes.

           OP         Allô ? Allô ?                     Hello? Hello?

           Thirouin   Allô ?                            Hello?

           OP         Oui. Alors merci beaucoup M. Yes. So, thank you very much
                      Thirouin pour votre temps, et- Mr. Thirouin for your time,
                      -.                                and--.

           Thirouin   Oui, je vous entends.             Yes, I can hear you.

           OP         Oui, donc une fois encore, Yes, one more time, many
                      merci infiniment et excellente thanks and have a great
                      soirée. Au revoir.                evening. Goodbye

           Thirouin   Comment ?                         Pardon?




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           OP         Je     vous       souhaite    une I wish you a great evening and
                      excellente soirée et je vous I thank you again.
                      remercie encore.

                      [Line drops]                       [Line drops]

01:35:14              Allô ?                             Hello?

           OP         Oui, M. Thirouin, je voulais Yes, Mr. Thirouin, I precisely
                      justement vous remercier une wanted to thank you once
                      fois de plus--.                    more--.

           Thirouin   […].                               […].

           OP         Je voulais vous remercier une I wanted to thank you once
                      fois de plus--.                    more--.

           Thirouin   Allô ?                             Hello?

           OP         Oui, M. Thirouin, je voulais Yes Mr. Thirouin, I wanted to
                      vous remercier une fois de thank you once more--.
                      plus--.

           Thirouin   Je vous en prie. Oui. Je vous You are welcome. Yes. You
                      en prie.                           are welcome.

           OP         Et     vous       souhaiter   une And to wish you a great
                      excellence soirée.                 evening.

           Thirouin   Très bien. Est-ce que vous Very well. And now, did you
                      avez reçu mon mail, là ? Parce get my email? Because I sent
                      que je vous ai envoyé un mail you an email to Rochat, there-
                      sur Rochat, là--.                  -.

           OP         Vous m’avez envoyé ? Une Did you? Just a second.
                      toute petite seconde.

           Thirouin   Point.                             Point.

           OP         Allô ? Allô ?                      Hello? Hello?




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 Full Transcript of
Second Meeting with
   Denis Thirouin
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Meeting – May 14, 2020

Name of recording: call_15-47-15_OUT_+33608660788

Duration of recording: 00:28:14

 Time      Side       French Transcript               English Translation
 stamp

 00:00:00 Thirouin [Meeting starts]                   [Meeting starts]

                      Allô ?                          Hello?

 00:00:15 OP          Allô,    oui   bonjour.     M. Hello, yes, hi. Mr. Thirouin?
                      Thirouin ?

           Thirouin Oui. M. Rochat ?                  Yes. Mr. Rochat?

           OP         Oui. Comment allez-vous ?       Yes. How are you?

           Thirouin Ça va bien, je vous remercie. I am well, thank you. So, we
                      Donc on arrive à se joindre. can reach each other. We can
                      On entend mieux là, hein.       hear better now, right.

           OP         Oui. Oui, oui. Je vous entends Yes. Yes, yes. I can hear you
                      parfaitement bien.              perfectly well.

           Thirouin Bon.                              Good.

           OP         Alors, tout va bien ? Tout va So, is everything well? Is
                      bien chez vous, la famille ?    everything well with you, your
                                                      family?

           Thirouin Oui oui. Tout va bien, je vous Yes, yes. All is well, thank you.
                      remercie. C’est pareil pour Is it the same for you?
                      vous ?

           OP         Oui, c’est pareil pour moi, Yes, it’s the same for me, thank
                      merci beaucoup. Donc--.         you very much. So--.




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00:00:40 Thirouin Donc alors, expliquez-moi un Okay, so, explain to me a little
                    peu le projet, parce que l’autre bit about the project, because
                    jour, on n'entendait pas bien.   the other day, we didn’t hear
                                                     well.

          OP        Ah. D’accord. Donc je vais Oh, okay. So, I'll pick up about
                    reprendre à propos du projet. the project. So, we represent a
                    Donc, nous représentons un group of investors.
                    groupe d’investisseurs--.

          Thirouin Oui ?                             Yes?

          OP        -qui ont une participation dans -who have shares in a medium-
                    une société minière privée de size private mining company--.
                    taille moyenne--.

          Thirouin Oui ?                             Yes?

          OP        -qui est basée en Europe.        -which is based in Europe.

          Thirouin D’accord. Sur quels produits ? Alright. About what products?
                    Sur quel genre de produits ?     About what kind of products?

          OP        C’est une mine de cuivre.        It’s a copper mine.

          Thirouin Oui ?                             Yes?

          OP        Donc c’est une mine de cuivre So, it’s a copper mine located in
                    qui est située dans le centre de the centre of Namibia.
                    la Namibie.

          Thirouin Oui ?                             Yes?

          OP        Et     selon        l’évaluation And according to the geological
                    géologique, la mine semble study, the mine looks very
                    très prometteuse.                promising.

          Thirouin Oui ?                             Yes?




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        OP        Et donc pourrait produire plus And so, it could produce more
                  de 100 000 tonnes par an than 100,000 tons per year for at
                  pendant au moins 20 ans.           least 20 years.

        Thirouin Ah oui ? C’est considérable, Oh yes? That's considerable,
                  oui.                               yes.

        OP        Oui. Oui, oui. Et puis en plus, Yes. Yes, yes. And besides that,
                  l’emplacement est également the location is promising too
                  très prometteur en raison de sa because of its proximity to the
                  proximité avec le port.            harbour.

        Thirouin Oui, vous me disiez, le […].        Yes, you were telling me, the
                                                     […].

        OP        Ouais, ce qui-- ouais, voilà Yeah, which-- yeah, that’s it
                  exactement, ce qui rendra les exactly, which will make the
                  frais    d’expédition      assez shipping fees rather attractive.
                  attractifs.

        Thirouin Ah, oui ?                           Ah, yes?

00:01:57 OP       Donc la société de nos clients So, our clients’ company is
                  est sur le point de conclure about to close the deal.
                  l’opération--.

        Thirouin Oui ?                               Yes?

        OP        -en tant que partenaire d’une -as a partner in a joint venture.
                  co-entreprise.

        Thirouin Oui ?                               Yes?

        OP        Donc l’autre partenaire qui So, the other partner, who was
                  était le premier sur le terrain-- the first in the field---
                  .

        Thirouin Oui ?                               Yes?




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        OP        -c’est la partie qui a obtenu -is the first party to have gotten
                  toutes les licences minières. all the licences. So--.
                  Du coup--.

        Thirouin Pour l’exploitation ?                 For the mining?

        OP        Ouais,      du     gouvernement Yeah,           from     the    Namibian
                  namibien.                            government.

        Thirouin Oui.                                  Yes.

00:02:28 OP       D’accord ? Donc ce premier Alright? So, this first partner,
                  partenaire, c’est un groupe it’s            a    group     of    Chinese
                  d’hommes d’affaires chinois.         businessmen.

        Thirouin Oui ?                                 Yes?

        OP        Qui eux-mêmes, bien entendu, Who themselves, obviously,
                  ne peuvent pas exploiter mais cannot operate but have decided
                  qui ont décidé de s’associer to partner with our client.
                  avec notre client.

        Thirouin D’accord.                             Alright.

        OP        Au cours des négociations, During the negotiations, our
                  l’entreprise de notre client a client’s company discovered
                  découvert        auprès    d’autres from other local entities--.
                  entités locales--.

        Thirouin Oui ?                                 Yes?

        OP        -que ce partenaire chinois -that this partner had bribed
                  avait        soudoyé           des local officials--.
                  fonctionnaires locaux--.

        Thirouin Oui ?                                 Yes?

        OP        -pour    obtenir      la   licence -to get the operating licence.
                  d’exploitation.

        Thirouin D’exploitation. Oui.                  Operating. Yes.



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00:03:09 OP       Voilà. Et par contre, quand la Right. On the other hand, when
                  société de notre client a our                    client’s   company
                  effectué        une        diligence performed a due diligence--.
                  raisonnable--.

        Thirouin Oui ?                                 Yes?

        OP        -la diligence raisonnable n’a The due diligence didn’t find
                  rien trouvé.                         anything.

        Thirouin D’accord. C’est bien caché-- Okay, it’s well hidden-- it was
                  c’était bien caché.                  well hidden.

        OP        C’était bien caché parce que, It was well hidden because,
                  effectivement,        il   s’agissait indeed, it was one single key
                  d’un seul haut fonctionnaire high official--.
                  clef--.

        Thirouin Oui ?                                 Yes?

        OP        -du ministère des Mines et de -from the Ministry of Energy
                  l’Énergie de la Namibie.             and Mines in Namibia.

        Thirouin Oui ?                                 Yes?

        OP        Que lui a reçu une part That he received a substantial
                  substantielle dans une société share in an offshore company.
                  offshore--.

        Thirouin Oui ?                                 Yes?

        OP        -qui      est   détenue     par   le Which is owned by the Chinese
                  partenaire chinois.                  partner.

        Thirouin Oui ?                                 Yes?

00:03:52 OP       Et donc, ce haut fonctionnaire And so, this high official
                  devrait, dans l’avenir, recevoir should, in the future, receive
                  des fonds importants--.              important funds--.

        Thirouin Oui, oui.                             Yes, yes.



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          OP        Ouais. Donc d’un côté, nos Yeah. So, on one hand, our
                    clients veulent vraiment ce clients really want this project--
                    projet--.

          Thirouin Oui ?                             Yes?

          OP        -parce      qu’ils   y   croient -because they really believe in
                    fortement. Surtout, que ce sera it. Especially that it will be a
                    une percée financière pour financial breakthrough for the
                    l’entreprise.                    company.

          Thirouin D’accord.                         Alright.

          OP        Cependant, un autre groupe However, another group of
                    d’actionnaires de la société shareholders from the European
                    minière européenne--.            mining company--.

          Thirouin Oui ?                             Yes?

          OP        -est très prudent.               -is being very cautious.

          Thirouin Oui ?                             Yes?

          OP        Et donc ne veut pas s’exposer And so, they don’t want to be
                    aux risques du FCPA--.           exposed to the FCPA risks--.

          Thirouin Oui, oui.                         Yes, yes.

          OP        -et bien entendu à l’atteinte de --and obviously, to reputation
                    leur réputation.                 damage.

          Thirouin Oui.                              Yes.

          OP        Donc--.                          So--.

00:04:54 Thirouin Mais cette autre société, elle But this other company, it just-
                    est juste-- elle veut juste faire - it just wants to work the mine
                    de la mine ou est-ce qu’elle or do they want to process the
                    veut transformer aussi le ore, into copper, into metal?
                    minerai en cuivre, en métal ?




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        OP       Non. Ils veulent, ils veulent, No, They want, they want, they
                 ils     veulent       transférer want to transfer [process] into
                 [transformer] en cuivre, en copper, into metal yes.
                 métal, oui.

        Thirouin Oui ?                            Yes?

        OP       Mais-- et surtout, étant donné But--      mostly,     given   that
                 que déjà, déjà, on avait deux already, we had two other
                 autres projets qui ont été projects already that have been
                 rejetés par ce groupe, ce rejected by this group, this
                 groupe prudent.                  group is cautious.

        Thirouin Oui ?                            Yes?

00:05:24 OP      Et donc ils ne veulent pas And so, they don’t want to
                 comprendre que tout se passe understand        that    everything
                 comme ça, qu’il y a des pots- happens this way, that there are
                 de-vin en Afrique, etcetera, bribes in Africa and so on, and
                 etcetera. Donc cette fois-ci, so on. So, this time, my clients
                 mes         clients   souhaitent would like to carry out a
                 procéder à une transaction, transaction, but before doing it,
                 mais avant de le faire, ils they tasked me with finding an
                 m’ont chargé de trouver un expert--.
                 expert--.

        Thirouin Oui ?                            Yes?

        OP       -pour s’assurer qu’ils soient -to make sure they are on the
                 sécurisés.                       safe side.

        Thirouin Oui ?                            Yes?

00:05:50 OP      Donc ce qui se passe, je vous So, what is happening, I have
                 ai contacté mais quand vous contacted you but when you
                 m’avez envoyé votre CV--.        sent me your resumé--.

        Thirouin Oui ?                            Yes?




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        OP        -je l’ai parcouru et j’ai vu que -I've gone over it and I have
                  vous avez traité l’affaire Vale seen that you have dealt with
                  en Guinée.                         the Vale case in Guinea.

        Thirouin Oui. Enfin, je l’ai pas traitée. Yes. Well, I didn’t deal with it,
                  J’ai travaillé là-dessus.          I worked on it.

        OP        Oui. Vous avez-- ouais, vous Yes. You have-- yeah, you have
                  avez travaillé là-dessus, oui. worked on it, yes. And my
                  Et donc mes analystes ont fait analysts have done research on
                  des recherches sur ce projet en this project in Guinea--.
                  Guinée--.

        Thirouin Oui.                                Yes.

        OP        -et ont réalisé qu’il était très -and they have realised that it
                  similaire à notre cas.             was very similar to our case.

        Thirouin D’accord.                           Alright.

        OP        Dans le sens où il y avait un In a sense that there was a first
                  partenaire premier--.              partner--.

        Thirouin Oui ?                               Yes?

        OP        -qui a obtenu la licence. Et -who got the licence. And then
                  ensuite Vale qui est venu en Vale, which came in second in
                  deuxième sur le terrain--.         the field--.

        Thirouin Oui ?                               Yes?

        OP        -a conclu l’accord.                -closed the deal.

        Thirouin A conclu un accord, oui, avec- Closed a deal, yes, with an
                  -   c’est    un   israélien,   un Israeli, an Israelite.
                  israélite.

        OP        Bon, je ne sais pas, oui. Je ne So, I don’t know, yes. I don’t
                  sais pas qui était le--.           know who the--.

        Thirouin […]. [Laughs]                       […]. [Laughs]



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        OP        Oui, qui était le premier qui a Yes, who was the first to get the
                  reçu l’exploitation. Et donc operation. And so, from what I
                  d’après      ce   que    j’ai   vu, have seen, really, Vale got out
                  vraiment, Vale s’en est sorti without a single scratch.
                  sans aucune rayure.

        Thirouin Absolument, oui, oui.                 Absolutely, yes, yes.

        OP        Oui,     oui.     A     gagné   un Yes,      yes.     They   won   an
                  arbitrage--.                         arbitration--.

        Thirouin Oui.                                  Yes.

        OP        -et a récupéré son argent, sa -and got their money back, their
                  réputation n’a pas été touchée- reputation wasn’t harmed.
                  -.

        Thirouin Non, non.                             No, no.

00:07:14 OP       Il y a eu aucune accusation And there was no FCPA
                  FCPA contre eux. Ils n’ont accusation against them. They
                  pas--.                               didn’t--.

        Thirouin Non.                                  No.

        OP        Tout d’abord, par conséquent First of all, as a result, I want to
                  je tiens à vous féliciter d’avoir congratulate you for having
                  obtenu          ces      excellents obtained these excellent results.
                  résultats.

        Thirouin Oui.                                  Yes.

        OP        Et ce sont exactement ces And these are the very results
                  résultats que nous souhaitons that we would like to get as
                  obtenir également.                   well.

        Thirouin Obtenir, oui. En Namibie, oui. To get, yes. In Namibia, yes.

        OP        Oui, oui. Et donc, et donc je Yes, yes. And so, and so, I
                  voudrais avoir vos conseils would like your advice in order




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                   pour         savoir   comment to know exactly how you did to
                   exactement vous avez fait get--.
                   pour y arriver--.

         Thirouin […].                               […].

         OP        -à ces excellents résultats.      -to these excellent results.

         Thirouin Ben, c’est un peu l’examen Well,               it   is   rather        the
                   des documents qui permet de examination of the documents
                   dire où sont les points faibles that allows to tell where each
                   des uns et des autres, hein.      other’s weak points are, right.

         OP        Oui ?                             Yes?

00:08:02 Thirouin Bon, dans le cas de la Well, in the case of Namibia, at
                   Namibie, là, pour l’instant y’a the moment, was there no
                   pas encore eu de permis operating licence                 that    was
                   d’exploitation de donné ?         given?

         OP        Ben oui, il y a. Il y a, bien Well yes, there is. There is,
                   entendu.                          obviously.

         Thirouin Il y a ?                           Is there?

         OP        Mais bien sûr. On a les permis, Well, of course. We have the
                   on a les permis d’exploitation. licences; we have the operating
                   Mais ces permis ont été licences. But these licences
                   obtenus comme je vous l’ai have            been    obtained,     as     I
                   précisé--.                        explained to you--.

         Thirouin D’accord, d’accord.                Alright, alright.

         OP        Oui. Oui, oui. Par le--.          Yes. Yes, yes. With the--.

         Thirouin Par le biais du--.                 With the help of the--.

         OP        Par le biais de ces chinois qui With the help of these Chinese
                   ont procédé de la manière dont who operated the way they did
                   ils ont procédé pour obtenir--.   to get--.




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        Thirouin Oui. Mais--.                        Yes. But--.

        OP        Mais M. Thirouin, ce qui est But M. Thirouin, what is
                  très important de souligner, important to highlight is, first of
                  c’est que tout d’abord, mon all, my client didn’t bribe
                  client n’a soudoyé personne.       anyone.

        Thirouin Oui, d’accord.                      Yes, alright.

        OP        D’accord ? Donc ceux qui ont Alright?            So   those        who
                  soudoyé, ce sont les clients, committed bribery, they are the
                  les clients chinois.               clients, the Chinese clients.

        Thirouin Chinois, oui.                       Chinese, yes.

        OP        Oui. Et mon-- et en plus, mon Yes. And my-- and besides, my
                  client n’a pas reçu de ses client            didn’t     get        any
                  partenaires       chinois     des information from his Chinese
                  informations      sur    comment partners about how exactly they
                  ont-ils obtenu justement--.        got--.

        Thirouin Comment ont-ils obtenu […].         How they got […].

        OP        Ouais.                             Yeah.

        Thirouin […].                                […].

00:09:13 OP       Mais nous, nous connaissons But we, we know from a third
                  d’un      tiers         qui   ont party that they probably, as I
                  probablement, comme je vous told you, bribed a high official-
                  l’ai dit, soudoyé un haut -.
                  fonctionnaire--.

        Thirouin […].                                […].

        OP        -du ministère des Mines et de -from the Ministry of Energy
                  l’Énergie en Namibie--.            and Mines in Namibia.



        Thirouin En Namibie, oui.                    In Namibia, yes.



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        OP        -afin d’obtenir la licence -to get the operating licence.
                  d’exploitation. Et ils l’ont And they got it. So, the advice I
                  obtenue. Alors, le conseil que want from you is precisely that.
                  je   veux    de         vous,     c’est
                  exactement cela.

        Thirouin Oui ?                                      Yes?

        OP        Comment obtenir les mêmes How to get the same results that
                  résultats    que        vous      avez you got in the Vale case?
                  obtenus dans le cas de Vale ?

        Thirouin Oui. En fait, ça va être Yes. In fact, it will be applied to
                  appliqué dans quoi que ce soit. anything.

        OP        Voilà. Voilà. Et voilà, ce qui There you go. There you go,
                  m’importe, c’est exactement what matters to me is exactly
                  la même chose, ne pas être the same thing, no to suffer any
                  endommagé ni en termes damage, neither in terms of
                  d’argent, ni en termes de money                        nor   in   terms   of
                  réputation, ni en termes de reputation, nor in terms of
                  FCPA.                                     FCPA.

        Thirouin Oui. Okay, si on regarde pour Yes. Okay, if you look at it for
                  l’instant,         le           permis now, the operating licence, was
                  d’exploitation, il a été attribué it given to the Chinese company
                  à la société chinoise ou à votre or to your client?
                  client ?

        OP        Non, à la société chinoise.               No, to the Chinese company.

        Thirouin À la société chinoise.                     To the Chinese company.

        OP        [Simultaneous           talk]     Mais [Simultaneous talk] But now
                  maintenant que la société that                   the    Chinese    company
                  chinoise     veut        entrer     en wants to cooperate with our
                                                            company--.




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                 coopération       avec    notre
                 société--.

        Thirouin D’accord.                           Alright.

        OP       -parce que c’est-- ils ne -because it is-- they cannot
                 peuvent pas exploiter, et c’est operate, and it is our mining
                 notre société minière qui company which should do it,
                 devrait le faire, vous voyez. you see. So, what I wanted to
                 Donc ce que je voulais savoir, know, how did you do it? Did
                 comment vous avez procédé ? really, in the Vale case-- what
                 Est-ce que vraiment, dans le did Vale know at that time,
                 cas de Vale-- qu’est-ce que about the way the licence had
                 Vale savait à cette époque-là, been obtained by their partner?
                 de la manière dont la licence a
                 été     obtenue     par       son
                 partenaire ?

        Thirouin Oui.                                Yes.

00:10:57 OP      Est-ce que, est-ce que-- quand Did they, did they-- when Vale
                 Vale est entré en coopération, started the partnership, did they
                 est-ce qu’elle savait-- elle know-- were they aware of the
                 avait pris connaissance de la way the licence had been
                 manière dont la licence a été obtained by the partner?
                 obtenue par le partenaire ?

        Thirouin Ah ben, bien évidemment, Oh well, obviously, yes. They
                 oui. Ils ont eu connaissance, were aware, right. Even if--
                 hein. Ne serait-ce que-- bon, well, no, really, people talk. If
                 les gens parlent quand même you will, all of this goes through
                 hein. Si vous voulez, tout ça ministries, so, people talk about
                 passe par des ministères donc it, really.
                 les gens en parlent hein, quand
                 même.




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         OP        Oui, oui. Et donc Vale savait Yes, yes. And so, Vale knew
                   parfaitement bien que son perfectly well that its partner --
                   partenaire-- comment--.                how--.

         Thirouin […] Attendez une seconde. […] Wait a second. […].
                   […].

         OP        Oui ?                                  Yes?

         Thirouin Attendez. Vale est la plus Wait. Vale is the biggest mining
                   grosse       société           minière corporation      in   the     word,
                   mondiale, pratiquement.                practically.

         OP        Oui. Oui, oui.                         Yes. Yes, yes.

00:11:45 Thirouin Non, non mais attendez, je No, no but wait, I will explain
                   vais vous expliquer comment to you how this is carried out,
                   ça      procède,        vous     allez you will understand right away.
                   comprendre tout de suite.

         OP        D’accord.                              All right.

         Thirouin Moi, j’ai travaillé avec les Me,                 I   worked    with     the
                   géologues,         et     eux     qui geologists, and they determine
                   déterminent sur le terrain in the field what is good, and
                   qu’est-ce qui est bon, qu’est- what isn’t good. After that, it is
                   ce qui n’est pas bon. Et après, the general management that
                   c’est la direction générale qui takes over, if you will.
                   prend le relais, si vous voulez.

         OP        Oui.                                   Yes.

         Thirouin Parfois, les gens qui ont fait la Sometimes, the people who
                   recherche sur le terrain ne sont investigated in the field are not
                   pas au courant exactement de exactly                aware     of     what
                   ce qui s’est passé. Et dans le happened. And in the case of
                   cas de Vale, c’est ce qui s’est Vale, that is what happened.
                   passé. Les géologues avec qui The geologists with whom I




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                  j’ai travaillé, ce sont les-- donc worked, they are the-- so, we
                  on s’est assuré que tous les made              sure    that     all    the
                  documents étaient en ordre, et documents were in order, and
                  puis après ça, c’est la direction then         after   that,     general
                  générale au Brésil qui a pris la management in Brazil took
                  main. Donc c’est un de la over. So, it is someone from
                  direction     générale       qui   a general      management           who
                  bricolé       avec      un     autre fiddled with another partner.
                  partenaire.

00:12:24 OP       Oui. Et donc Vale savait Yes. And so, Vale knew
                  parfaitement         bien    de    la perfectly well about the way the
                  manière dont cette licence a licence had been obtained by
                  été obtenue par le partenaire ? the partner?

        Thirouin Ah ben oui, bien sûr.                  Well yes, of course.

        OP        Oui ?                                 Yes?

        Thirouin Oui parce que-- oui., attendez, Yes because-- yes, wait, and
                  et   là     les      […]     étaient then the […] were substantial.
                  considérables. Dans le cas de Whether in Vale’s case or the
                  Vale ou l’autre partenaire, on other partner’s, we’re talking
                  parle de cinq milliards de about $5 billion! So, I don’t
                  dollars ! Alors je sais pas quel know          what    the     level    of
                  est le niveau d'investissement investment is, but it is certainly
                  mais il est certainement pas à not at that level as you […] said.
                  ce niveau-là, comme vous
                  l’avez […] dit.

        OP        Non, ce n’est pas, ce n’est pas No, it is not, it is not at that
                  à ce niveau. Cinq milliards de level. $5 billion, really, it’s a
                  dollars quand même, c’est une substantial amount.
                  somme considérable.

        Thirouin Considérable, […].                     Substantial, […]




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        OP        Oui.                                 Yes.

        Thirouin Effectivement, vous avez le Indeed, you have the […] there,
                  […] là-bas, à l’époque.              at that time.

        OP        Oui.                                 Yes.

        Thirouin Pour […] c’était-- vous, dans Regarding […], it was-- you, in
                  l’histoire du cuivre, il y a-- the copper deal, there is-- what
                  quels sont les, comment dire, are the, how do I say this, the--.
                  les--.

        OP        Pardon ?                             Excuse me?

        Thirouin -les enjeux, je veux dire, quels -the stakes, I mean, what are the
                  sont les enjeux, quels sont-- la stakes,        what      are--     the
                  production que s’attend cette production that this Chinese
                  société chinoise     là,     votre company is expecting, your
                  partenaire ? On est à combien partner? How many tons are
                  de tonnes de-- parce que le we-- because copper, you have
                  cuivre, il faut le transformer to process it on site. If you will,
                  sur place. Si vous voulez, la the biggest difference between
                  grande différence entre Vale Vale and copper, is that copper,
                  et le cuivre, c’est que le if you will, you mine deposits
                  cuivre, si vous voulez, on with a small concentration of
                  exploite   les     gisements     à copper. So, transporting 95% of
                  quelques pourcents de cuivre. what is […] is out of the
                  Donc il est hors de question de question. So, you have to have
                  transporter 95% de ce qui est concentration            mills   in   the
                  […].       Donc       il      faut country.
                  obligatoirement      avoir     des
                  usines de concentration dans
                  le pays.

        OP        Oui. Oui, oui. Je comprends.         Yes. Yes, yes. I understand.




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        Thirouin Ce que je voudrais faire, on le What I would like to do, we
                  charge comme ça, ça va […] load it like that, it goes […]
                  bien, […] on le transforme well, […] we never mill it on
                  jamais sur place.                site.

        OP        Oui, oui mais--.                 Yes, yes but--

        Thirouin Au grand jamais.                  Never ever.

00:13:48 OP       Oui, mais tous ces points Yes, but all these logistical
                  logistiques, on va-- seront details, we will-- will be taken
                  considérés dans un deuxième into consideration as a second
                  temps.        Moi,   ce     qui phase. Me, what I am interested
                  m’intéresse     principalement, in mostly, it is what I told you
                  c’est ce que je vous ai dit. about. It is what I brought to
                  C’est ce que je vous ai signalé. your    attention.   The   most
                  Le plus important, c’est de important thing is to highlight
                  souligner ce que je viens de what I just told you.
                  vous dire.

        Thirouin Oui, oui, je comprends.           Yes, yes, I understand.

        OP        C’est    de     ne   pas   être It is not to suffer damages in
                  endommagé en aucun terme. any way. And mostly--.
                  Et surtout--.

        Thirouin Non mais--.                       No but--.

        OP        Oui ?                            Yes?

        Thirouin C’est pour ça qu’il faut That is why when you study a
                  pouvoir, quand on étudie un certain amount of documents,
                  certain nombre de documents- you must be able --.
                  -.

        OP        Oui.                             Yes.

        Thirouin -pour savoir quels sont les -to know what the […] and the
                  […] et les avis ou des choses opinions or the information that



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                    qui sont données dans ces is given in these documents in
                    documents        pour   s’assurer order to make sure that you’re
                    qu’on va pas être pris dans une not going to be involved in
                    sale affaire, c’est tout.           some dirty business, that’s all.

00:14:35 OP         Oui. Oui, d’accord. Mais dans Yes, yes, all right. But in the
                    le cas de Vale, Vale, vous me case of Vale, Vale, you tell me,
                    dites, elle savait parfaitement. they perfectly knew. All right.
                    D’accord. Mais y’a quand But still, was there any due
                    même une due diligence qui a diligence that was performed?
                    été faite ?

          Thirouin Oui.                                 Yes.

          OP        Et donc--.                          And so--.

00:14:53 Thirouin Oui mais au départ, au départ, Yes but at the beginning, at the
                    quand ils se sont associés, beginning, when they partnered
                    dans le cas présent, dans le cas up, in the present case, in the
                    de Vale, ils s’étaient associés case of Vale, they got into a
                    avec un groupe israélien-- partnership with an Israeli--
                    israélite, hein.                    Israelite group, right.

          OP        Oui.                                Yes.

          Thirouin Du diamant. Y’avait pas de-- Of diamonds. There wasn’t--
                    y’avait    pas     besoin.   C’est there was no need. It is later,
                    après, que le problème s’est that           the      problem      got
                    compliqué.                          complicated.

          OP        Oui.                                Yes.

          Thirouin Mais       là,      comme     vous But here, as you are explaining
                    m’expliquez, le problème, il to me, the problem is before the
                    est avant la conclusion, si vous conclusion, if you will.
                    voulez.




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         OP        Oui, oui. Mais je ne voudrais Yes, yes. But in no way would I
                   en aucun cas conclure l’affaire want to close the deal and then
                   et ensuite avoir--.                  have--.

         Thirouin Oui. Bien sûr, bien sûr.              Yes. Of course, of course.

         OP        Voilà. Voilà. Donc--.                There you go. There you go.
                                                        So--.

00:15:25 Thirouin Ben, c’est pour ça qu’il faut Well, that’s why you have to
                   avoir   accès      aux    derniers have        access    to      the     last
                   documents       qui      ont   été documents             that           were
                   échangés, hein.                      exchanged, yes.

         OP        Oui, oui. Mais là aussi, nous, Yes, yes. But here too. In our
                   dans       notre         diligence due diligence, we didn’t find
                   raisonnable,    on       n’a   rien anything. Yet, in Vale’s case, it
                   trouvé. Or, que dans le cas was the same. That is to say
                   Vale, c’était pareil. C’est-à- that, after the due diligence, was
                   dire que, après la diligence there any proof that--?
                   raisonnable, y a-t-il eu une
                   preuve de-- ?

         Thirouin Non, non, mais-- ça s’est No, no, but-- that happened
                   passé après, si vous voulez. La later on, if you will. The due
                   due diligence, la due diligence diligence,         the        initial    due
                   initiale, elle a été bonne. C’est diligence, it was good. It is later
                   après que les gens, on dirait, on that the people, it looks so,
                   ont malmené ce projet.               mislead this project.

         OP        Oui.                                 Yes.

00:16:01 Thirouin Parce que là, quand même, ce Because here, really, what you
                   que vous dites, c’est que c’est are telling me is that it was
                   malmené depuis le départ.            misled from the beginning.

         OP        Oui, oui, oui. Je comprends.         Yes, yes, yes. I understand.




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         Thirouin Oui ?                                 Yes?

         OP       Oui. Mais une fois--.                 Yes. But once--.

         Thirouin […].                                  […].

         OP       Mais est-ce que Vale a-t-il But did Vale perform the due
                  dirigé les diligences ?               diligences?

         Thirouin Ben sûrement, mais vous Well probably, but you know,
                  savez, Vale, c’est des milliers Vale, it’s thousands of people,
                  de personnes, donc c’est, so that’s, that’s -- I dunno. How
                  c’est-- j’sais pas, moi. Y’a many people are implicated, in
                  combien        de         personnes your company? There are five?
                  impliquées,         dans        votre There are ten? There are
                  société ? Y’en a cinq ? Y’en a fifteen? There are --?
                  dix ? Y’en a 15 ? Y’en a-- ?

         OP       Oui. Oui. [Laughs] Dans notre Yes. Yes. [Laughs – OP] In our
                  société, oui--.                       company, yes--.

00:16:31 Thirouin Si vous voulez, chez Vale, If you will, at Vale, it’s
                  c’est tout de suite 100 ou 200 immediately 100 or 200 people
                  personnes           qui         sont that are implicated, right.
                  impliquées, hein.

         OP       Oui. Oui, oui. Je comprends.          Yes. Yes. I understand.

         Thirouin Donc, l’ordre de grandeur, So, the approximate size, I hope
                  j’espère qu’il est-- sur le it is – in principle, it’s-- we can
                  principe,    c’est--       on   peut compare but--.
                  comparer mais--.

         OP       Oui, mais ce que je voudrais Yes, but that’s what I’d like to
                  comprendre, c’est que Vale, understand, it is that Vale, from
                  dès     le   début,    elle     était the beginning, was aware of the
                  consciente de la manière dont way the licence had been
                  la licence a été obtenue par le obtained by the partner. And so,




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                     partenaire. Et donc, c’était so, was it in its interest that
                     donc dans son intérêt que rien nothing would be found in the
                     ne soit trouvé dans le devoir due diligence?
                     de la diligence ?

          Thirouin Évidemment. Mais ça, c’est le Obviously. But this, it is the big
                     grand principe, mais après ça, principle, but after that, if you
                     si vous voulez, y’a les gens will, there are the people who
                     qui font le travail de tous les do the everyday work and that
                     jours et qui sont pas forcément are not necessarily perfect,
                     parfaits, hein. Moi, je crois right. I do believe that in your
                     que dans votre cas, il faut case, you have to make sure that
                     s’assurer que les documents the documents that are the-- like
                     qui sont les-- comme je vous I told you last time, at the
                     ai dit la dernière fois, le point beginning   of all this, is the
                     de départ de tout ça, c’est le mining code.
                     code minier.

          OP         Oui.                            Yes.

00:17:34 Thirouin Il est facile de remonter à la It is easy to get to the root and
                     source et de savoir comment to know how the decree—who
                     le décret-- par qui il a été signed it, to begin with.
                     signé, d’abord.

          OP         Oui ?                           Yes?

          Thirouin C’est le décret qui compte, It is the decree which matters,
                     mais l’original du décret qui but the original decree which
                     compte, hein.                   matters, right.

          OP         Oui, mais je pense que les Yes, but I think that the people
                     gens impliqués à vérifier cela in charge of checking this--.
                     ont--.

          Thirouin Oui ?                             Yes?




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        OP        -ont vérifié et n’ont rien -did check and didn’t find
                  trouvé de louche.                  anything fishy.

        Thirouin Ah ben, s’ils ont rien trouvé, Ah well, if they didn’t find
                  ça va être difficile pour-- c'est anything, it will be hard to --
                  ce que je disais l’autre jour, that's what I was saying the
                  hein--.                            other day, yeah--.

        OP        Oui mais--.                        Yes but--.

        Thirouin Ou     vous    êtes     […]     --. Or    you     are     […]     --.
                  [Simultaneous talk]                [Simultaneous talk]

        OP        [Simultaneous       talk]    Mais [Simultaneous talk] But still,
                  quand même, mais quand but still, there is an offshore
                  même, y’a un compte offshore account that these Chinese
                  que ces chinois ont ouvert opened for this senior official.
                  pour ce haut fonctionnaire.

        Thirouin Oui, oui. Et ça, le compte Yes, yes. And this, the offshore
                  offshore, vous l’avez ? vous account, do you have it? Do you
                  savez dans quel pays il est ?      know in what country it is?

00:18:24 OP       Je pense qu’on pourrait quand I think we could still find out if-
                  même le savoir si--.               -.

        Thirouin Ben oui, ça serait utile de Well yes, it would be useful to
                  savoir. Est-ce qu’il est à Hong know. Is it in Hong Kong? Is it
                  Kong ? Est-ce qu’il est dans in another country-- is it in
                  un autre pays-- est-ce qu’il est Europe, is it in Belgium?
                  en Europe, est-ce qu’il est en
                  Belgique ?

        OP        Oui. Oui.                          Yes. Yes.

        Thirouin C’est important, mais-- là, It is important, but-- here, right
                  tout de suite, on va savoir-- on now, we will know, we will
                                                     suspect, or know where the--.




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                 va soupçonner, ou savoir où
                 est la--.

        OP       Oui parce que--.                      Yes because--.

        Thirouin -leur […].                            -their […]

00:18:43 OP      Oui, parce que j’ai vu dans le Yes, because I saw that in
                 cas de Vale qu’il y a une Vale’s case, there is also a
                 similitude également. Qu’il y similarity. That there was also
                 avait également un compte an offshore account that was--.
                 offshore qui a été--.

        Thirouin Oui, oui bien sûr. Non mais Yes, yes, of course. No but
                 attendez,      y’a    même        un wait, there is even a man who is
                 monsieur qui est poursuivi en now being sued, a French man.
                 ce moment, un français. On le He is suspected of having
                 soupçonne de 700 millions de embezzled $700 billion in this
                 dollars de malversations dans case.
                 cette affaire.

        OP       Ah bon ? Ah oui, d’accord.            Really? Ah yes, okay.

        Thirouin Oui.                                  Yes.

        OP       Mais        est-ce    que     Vale But did Vale know about the
                 connaissait le compte offshore offshore account that was used
                 qui    était     utilisé    par   le by the partner to get the
                 partenaire pour obtenir la licence?
                 licence ?

        Thirouin Oh ben, il avait-- je sais pas, Oh well, they had-- I don’t
                 mais il avait certainement les know, but they certainly had the
                 moyens de le savoir, hein.            means to know, right.

        OP       Ouais. Ouais.                         Yeah. Yeah.

        Thirouin Je veux dire, on lui a pas I mean, it was not necessarily
                 forcément écrit. On lui a dit, written to them. They were told,



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                     peut-être, mais on lui a pas maybe, but it was not written to
                     écrit.                            them.

          OP         Oui. Oui. Mais-- ouais. Ouais, Yes. Yes. But-- yeah. Yeah, but
                     mais sans doute, ça lui a été probably, they were told so.
                     dit.

          Thirouin Ben oui, sans doute ça lui a été Well yes, they were probably
                     dit.                              told so.

                     Moi, si vous voulez, ce que je I, if you will, what I would
                     vous      conseille,   moi,    je advise you, I would like-- I am
                     voudrais bien-- je suis prêt à ready to work with you, but we
                     travailler avec vous, mais faut have to be-- to have the services
                     qu’on soit-- qu’on ait les and counsel of a major law firm,
                     services et les conseils d’un right. Experts in mines, right.
                     grand cabinet d’avocats, hein.
                     Spécialiste des mines, hein.

          OP         En Namibie, vous dites ?          In Namibia, you say?

          Thirouin Non, non, en Europe. Dans le No, no, in Europe. In […].
                     […].

          OP         Ah, d’accord. D’accord. Oui.      Oh, Alright. Alright. Yes.

00:19:52 Thirouin Et quel est votre juriste ? C’est And who is your jurist? Is it an
                     un juriste de maison ? C’est un in-house jurist? Is it an external
                     juriste extérieur ? C’est quoi ? jurist? Which is it?

          OP         Non, non. C’est un juriste de No, no. It’s an in-house jurist.
                     maison.

          Thirouin Juriste de maison ?                 An in-house jurist?

          OP         Oui. Mais si y’aura un besoin, Yes. But if there will be a need,
                     et si d’après vos conseils et les and if according to your advice
                     conseils d’autres experts qui and other experts’ advice who




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                  nous aideraient, je suis prêt à would help us, I am prepared to
                  en prendre-- oui ?                 take-- yes?

        Thirouin Il faut-- et obligatoirement, You must-- and imperatively,
                  vous aurez besoin d’un juriste you will need an external jurist.
                  extérieur.

        OP        Ben oui. Ben oui. Oui.             Well, yes. Well, yes. Yes.

        Thirouin Ben oui. Voilà.                     Well, yes. That’s it.

        OP        Oui, oui j’en suis--.              Yes, yes, I am--.

        Thirouin Surtout si, surtout si votre due Especially, especially if your
                  diligence […] vous dit que due diligence [...] tells you all
                  tout s’est bien passé.             went well.

        OP        Oui.                               Yes.

        Thirouin Comme je disais tout à Like I said earlier. Either you
                  l’heure. Ou vous y croyez et à believe in it and at that moment,
                  ce       moment-là,          vous you accept it; or you have
                  l’acceptez ; ou vous avez des doubts, you have to perform
                  doutes, il faut en faire un another one.
                  autre.

00:20:36 OP       Non. Nous on a des doutes. No. We have doubts. We do
                  Nous on a des doutes parce have doubts because, precisely
                  que justement comme je vous like I told you, there is a third
                  l’ai dit, y’a une tierce-partie party who told us--.
                  qui nous a dit--.

        Thirouin Bon, voilà.                         Well, that’s it.

        OP        Et ensuite-- voilà. Et donc il And then-- that's it. And so, you
                  faut vérifier. Il faut vérifier.   have to check. You have to
                                                     check.




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        Thirouin Bon ben donc faut faire une Ok, so you have to perform
                 autre due diligence avec un another due diligence with a
                 cabinet juridique-- enfin un law firm-- well, an independent
                 cabinet juridique indépendant law firm expert in this kind of
                 spécialiste     de   ce   genre operations.
                 d’opérations.

        OP       Oui.                              Yes.

        Thirouin Et j’en connais, bien sûr. Bien I know some, of course. Of
                 sûr.                              course.

        OP       Oui ? vous pourriez me, vous Yes? Would you, would you get
                 pourriez m’en fournir-- ?         me--?

        Thirouin Oui.                              Yes.

        OP       Oui ?                             Yes?

        Thirouin Oui.                              Yes.

        OP       D’accord.                         Alright.

00:21:05 Thirouin Mais faut que vous me But you have to give me-- you
                 donniez-- faut m’envoyer un have to send me an email
                 mail en me disant, ‘Monsieur, saying, ‘Sir, we are tasking you
                 on vous charge de trouver ceci with finding this because you
                 parce que voilà, on a des see, we have doubts about the
                 doutes sur le due diligence.’ due diligence.’
                 Moi, je suis prêt à vous signer I am ready to sign the
                 la confidentialité pour pas confidentiality in order not to
                 aller raconter à tout le monde go tell everyone what you told
                 ce que vous m’avez dit.           me.

        OP       Bien entendu. Bien entendu, Of course. Of course, of course,
                 bien entendu, oui. Mais là, yes. But here, you know, I am
                 vous savez, je suis quand in a preliminary phase, and I’d
                 même          dans   un     état have to talk to my clients first.



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                    préliminaire, puis il faudrait
                    que j’en parle avec mes clients
                    d’abord.

          Thirouin Sûrement. Bien sûr, bien sûr.      Surely. Of course, of course.

          OP        Oui.                              Yes.

          Thirouin Bien sûr. Mais si vous avez le Of course. But if you have the
                    moindre doute sur la due smallest doubt about the due
                    diligence, bien qu’elle ait été diligence, even though it was
                    bien faite, il faut prendre un well performed, you have to
                    cabinet d’avocats extérieur hire an external law firm expert
                    spécialiste du droit des mines. in mining law.

          OP        Oui. Oui.                         Yes. Yes.

          Thirouin Droit des mines. Et ça, moi Mining law. And that, I know
                    j’en connais des très, très bien, some very, very good ones that
                    qui    ont    une     audience have an international audience,
                    internationale, qui ont une that           have   an   impeccable
                    réputation impeccable, et ils reputation, and they do this very
                    vous font ça très bien.           well for you.

          OP        D’accord. Moi, moi-- oui, je Alright. I, I-- yes, I completely
                    suis entièrement d’accord.        agree.

00:21:52 Thirouin Moi, j’ai travaillé, si vous I have worked, if you will, also-
                    voulez, aussi-- bon, sur mon - well, on my resumé you didn’t
                    CV vous avez pas vu. J’ai see. I worked on the conflict
                    travaillé sur le conflit qu’il y a that occurred between the state
                    eu entre l’État du Sénégal et of Senegal and ArcelorMittal,
                    ArcelorMittal, justement sur precisely on a mining project.
                    un projet minier.

          OP        Oui.                              Yes.




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        Thirouin Donc et là, si vous voulez, So, and there, if you will, I, I
                  moi, y’a eu un arbitrage had an international arbitration
                  international à la Chambre de at the International Chamber of
                  commerce international. J’ai Commerce. I was appointed by
                  été nommé par le ministère-- the ministry- by the Senegalese
                  par    le   gouvernement       du government as the technical
                  Sénégal       comme       l’arbitre arbitrator, but I worked with a
                  technique, mais j’ai travaillé law firm expert in international
                  avec un cabinet d’avocats arbitrations.               And     we   won
                  spécialisé dans les arbitrages everything.
                  internationaux. Et on a tout
                  gagné.

        OP        Je vois. Je vois.                   I see. I see.

        Thirouin On a tout gagné parce que We won every case because I, I
                  moi, j’apportais des éléments would           bring     the   technical
                  techniques,         le    cabinet elements, the law firm, they
                  d’avocats, lui, utilisait les would use legal terms, went to
                  termes      juridiques,      allait look where I can’t look, and
                  chercher là où moi je peux pas that’s it.
                  chercher, et voilà.

        OP        Non, non. C’est tout à fait--.      No, no. That’s absolutely--.

        Thirouin C’est tout. C’est pas […].           That’s all. It’s not [...].

        OP        Ouais. Et donc vous étiez, Yeah. And so, were you, were
                  vous étiez complémentaire ?         you complementary?

        Thirouin Ouais,                      j’étais Yeah, I was complementary.
                  complémentaire.

        OP        Oui.                                Yes.

00:22:43 Thirouin Parce que ben l’État du Because well, the state of
                  Sénégal         a         attaqué Senegal sued ArcelorMittal in




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                  ArcelorMittal en Chambre de the International Chamber of
                  commerce internationale.           Commerce.

        OP        Oui.                               Yes.

        Thirouin Donc y’a toute une procédure So, there’s a whole procedure
                  mise en place donc y’a that is set up so, a law firm had
                  obligatoirement un cabinet to be appointed.
                  d’avocats qui a été nommé.

        OP        Bien entendu.                      Of course.

        Thirouin Ce cabinet d’avocats--.             This law firm--.

        OP        Oui ?                              Yes?

        Thirouin -il s’occupe de tout-- de They take care of everything--
                  beaucoup de choses. Alors of a lot of things. So, ask for
                  demandez à ce qu’il soit [the law firm] to be associated
                  associé au technicien et c'est with the technician and I was
                  moi qui ai été choisi par le the one to be chosen by the
                  gouvernement du Sénégal.           government of Senegal.

        OP        Oui, oui. Je vois. Je vois.        Yes, yes. I see. I see.

        Thirouin Et je le connaissais parce que And I knew him because of this,
                  ceci, parce que cela.              because of that.

        OP        Voilà. Voilà, oui. Non mais de That's it. That's it, yes. No but
                  toute façon--.                     anyway--.

        Thirouin Donc il faut faire la même So, you have to do the same
                  chose. Il faut faire la même thing. You have to do the same
                  chose.                             thing.

        OP        Oui.     Oui.     Parfaitement, Yes. Yes. Exactly, exactly. I
                  parfaitement.       Je        suis completely agree, I will let my
                  entièrement d’accord, et j’en clients know.
                  ferai part à mes clients.




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        Thirouin Voilà. Mais tout ça, ça coûte Right. But all of this, it costs a
                  un peu d’argent, évidemment.            little bit of money, obviously.

        OP        Oui. Oui. J’en--. [Laughs]              Yes. Yes. I’m--. [Laughs]

        Thirouin Je ne sais pas quels sont les I don’t know what the […]
                  […] objectifs de votre client, goals of your clients are, for
                  pour faire combien de temps how long you [...] extract per
                  vous […] sortir par an. Est-ce year. Is it 100 tons? Is it 1,000
                  que c’est 100 tonnes ? Est-ce tons? Is it 2,000 tons, if you
                  que c’est 1 000 tonnes ? Est- will?
                  ce que c’est 2 000 tonnes, si
                  vous voulez ?

        OP        Oui. Ça, il faudrait-- oui. Ça, Yes. This, we have to-- yes.
                  il faudrait en parler.                  This, we have to talk about it.

        Thirouin Ben oui parce que ça, si vous Well yes, because this, if you
                  voulez,      ça     permet          de will, that allows to understand
                  déterminer        les      montants the amounts of money that we
                  d’argent qu’on est prêts à are ready to spend in a project
                  dépenser     pour        un    projet like this.
                  comme ça.

        OP        Voilà. Voilà, exactement. Et Alright, alright, exactly. So--
                  donc-- ouais, ouais. Parce que yeah, yeah. Because precisely,
                  justement,    il        faudrait,   il we should, we should look at
                  faudrait voir le budget. En the budget. According to what
                  fonction de ce que vous venez you just told me, and I
                  de me dire, et j’en suis completely agree.
                  entièrement d’accord.

        Thirouin Voilà. Tu te fais les enjeux et Right. You do the stakes and
                  puis voilà, voir la part de that’s that, see the risks you are
                  risques que l’on prend, que taking, those you are not taking,




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                     l’on prend pas, et qu’on est and those you’re not willing to
                     prêts à prendre, hein.           take, yeah.

          OP         Voilà.                           Yes.

00:24:14 Thirouin Après, je pense que ça passera After that, I think that it will go
                     aussi par une réunion, peut- through a meeting, maybe with
                     être, avec votre client pour your client to […] determine all
                     […] déterminer tous les-- pour the-- to determine the buyers
                     déterminer les acheteurs et qui and who we hire as a legal,
                     on      prend   comme     expert technical, expert, and other
                     juridique, technique, et autres, stuff yeah.
                     hein.

          OP         Oui. Oui, oui. Oui, mais Yes.           Yes,    yes.    Yes,     but
                     justement, vous savez, dans precisely, you know, these
                     ces temps actuels, on est un days, we’re a little spread out
                     peu dispersé et ce n’est pas and it’s not like before, like we
                     comme avant, qu’on peut se can meet. And so, it’s a little
                     rencontrer. Et donc c’est un more complicated. But--.
                     peu plus compliqué. Mais--.

          Thirouin […] enfin, on peut faire des [...]           we          can       do
                     visio-conférences,   on    peut videoconferences, we can do--.
                     faire--.

          OP         Mais bien sûr. Mais bien sûr.    But of course, but of course.

          Thirouin [Simultaneous talk] On en [Simultaneous talk] We do that,
                     fait, on en fait des discussions we have discussions like these,
                     comme ça, entre le-- comme with the-- like this, through
                     ça par vidéo-conférence et ça videoconference, and it works
                     marche très bien, hein.          very well.




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         OP        Oui, oui. Oui, d’accord. Oui, Yes, yes. Yes, alright. Yes, yes,
                   oui,    je   suis   entièrement I completely agree. But--.
                   d’accord. Mais--.

00:25:04 Thirouin Surtout qu’au début on va Especially that at the beginning
                   parler-- je veux dire en we will talk about -- I mean in
                   principe, on va pas […] non. theory, we won’t […] no. What
                   Ce qui est hyper important, si is super important, if you will,
                   vous voulez, c’est d’avoir-- is to have-- to know what the
                   savoir quels sont les noms des names          of        the      involved
                   sociétés     impliquées,     hein, companies are, right, because
                   parce que ça, ça joue aussi, les this, this plays a role too, the
                   noms des-- vous devez avoir names of the-- you have to have
                   le nom de ce fameux chinois the            name    of     this    famous
                   qui a peut-être une réputation Chinese that might have a
                   sulfureuse ailleurs, et voilà.      scandalous                reputation
                                                       somewhere else, and that’s it.

         OP        Oui.                                Yes.

         Thirouin […]            les          avocats [...] the international lawyers,
                   internationaux,      ils      sont they have the capabilities to
                   capables de le déterminer, figure it out.
                   hein.

         OP        Oui. Oui. Non mais de toute Yes. Yes. No but in any case,
                   façon, on va prendre tout ça en we will take all of this into
                   considération.                      consideration.

         Thirouin Oui ?                                Yes?

         OP        Ouais. Et on va se rappeler Yeah. And we’ll call each other
                   quand j’aurai quelque chose-- again when I have something--.
                   .




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        Thirouin D’accord. Ben, quand vous Alright. Sure, whenever you
                  voulez. […].                      want. […].

        OP        Ouais, quand j’aurai quelque Yeah, when I have something
                  chose de concret. Ça va concrete. It will take a little bit
                  prendre un tout petit peu de of time, obviously.
                  temps, bien entendu.

        Thirouin Oui, oui. Non mais--.              Yes, yes. No but--.

        OP        Mais de toute façon, on sera But anyway, we will be in
                  en contact.                       touch.

        Thirouin Umm-hmm. C’est la première Umm-hmm. Is it the first time
                  fois que votre client, il se that your client, gets into
                  lance dans le cuivre ?            copper?

        OP        Oui. Oui, oui.                    Yes. Yes, yes.

        Thirouin Dans quel domaine il était In what field was he before?
                  auparavant ?

        OP        Oh, il est--.                     Oh, he is--.

        Thirouin [Simultaneous talk] Où il est [Simultaneous talk] Where is he
                  actuellement ?                Et right now? And right now?
                  actuellement ?

        OP        Il était plutôt dans le domaine He was more in the field of
                  du diamant.                       diamonds.

        Thirouin D’accord.                          Alright.

        OP        Oui.                              Yes.

        Thirouin C’est    totalement     différent, It’s completely different, right.
                  hein.

        OP        Totalement.          Totalement Completely.             Completely
                  différent. Mais quand même, different. But still, in the course
                                                    of the last year--.



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                  au cours de la dernière année-
                  -.

        Thirouin […].                                 [...].

00:26:23 OP       Au cours de la dernière année, This past year, the company
                  la société a pris une décision made a strategic decision to
                  assez       stratégique         de diversify their portfolio.
                  diversifier son portefeuille.

        Thirouin Umm-hmm.                             Umm-hmm.

        OP        Et de pénétrer dans d’autres And to penetrate new markets,
                  marchés, vous voyez ?               you see?

        Thirouin Oui. Non mais ils ont connu la Yes. No but did they get to
                  Namibie par le diamant ?            know        Namibia     through
                                                      diamonds?

        OP        Oui. Oui.                           Yes. Yes.

        Thirouin Ben oui.                             Well yes.

        OP        Bien entendu. [Laughs]              Of course. [Laughs]

        Thirouin Oui.                                 Yes.

        OP        Voilà. Bien. Je vous remercie Alright. Well. Thank you very
                  infiniment.                         much.

        Thirouin Ben, je vous en prie.                Well, thank you.

        OP        Oui. Et ça m’a fait un grand Yes. It was a pleasure to see you
                  plaisir de vous avoir--.            and to have--.

        Thirouin Ben, c’est réciproque, je suis à [...] likewise, I am at your
                  votre     disposition.     Mais disposal. But let’s proceed step
                  procédons par étapes et […] - by step and […] --.
                  -.

        OP        Exactement, on va procéder Exactly, we will proceed step
                  par étapes, voilà. Et une fois by step, alright. And when I



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                  que j’ai quelque chose de have something concrete, I will
                  concret, bien entendu je vous let you know obviously.
                  ferai savoir.

        Thirouin Puis […].                                  And […].

        OP        Et    même           si   j’aurai    des And even if I'll have questions
                  questions ou n’importe quoi, or anything else, I will take the
                  je me permettrai de vous liberty to call you.
                  appeler.

        Thirouin Voilà. Et puis après il va Alright, and then afterwards we
                  falloir qu’on détermine le will have to determine the
                  moment où on met en place le moment when we find a happy
                  curseur pour […].                         medium to […].

        OP        Voilà. Voilà, parfaitement.               Alright. Alright, exactly.

        Thirouin Voilà. Bon.                                Alright. Well.

        OP        Bon, M. Thirouin, un grand, Well, Mr. Thirouin, a very big
                  grand merci.                              thank you.

        Thirouin De rien.                                   You're welcome.

        OP        Portez-vous bien.                         Take care.

        Thirouin Vous êtes basé en Suisse, So,                     you       are   based   in
                  alors ?                                   Switzerland, then?

        OP        Oui, oui, j’suis en Suisse, à Yes, yes, I am in Switzerland, in
                  Genève.                                   Geneva.

        Thirouin À Genève ? Je vous avais dit, In Geneva? I have told you, I, I
                  moi       j’ai       commencé        ma started my career in Geneva, at
                  carrière         à    Genève,       chez Dupont de Nemours.
                  Dupont de Nemours.

        OP        Oui, vous m’avez dit. Vous Yes, you’ve told me. You’ve
                  m’avez dit, oui.                          told me, yes.




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        Thirouin […].                                  [...].

        OP         Ben          ouais.         Quelle Well yeah. What a coincidence,
                   coïncidence,      mais       c’est but it’s like that. [Laughs]
                   comme ça. [Laughs]

        Thirouin [...].                                [...].

        OP         Bien. Allez, portez-vous--.         Good, so, take--.

        Thirouin […] vous souhaiter un bon [...] to wish you a good
                   après-midi et à un de ces jours. afternoon and see you one of
                   Au revoir.                          these days. Goodbye.

        OP         Bon     après-midi    et    merci Good afternoon and thank you
                   beaucoup, encore une fois.          very much again.

        Thirouin Bon après-midi, au revoir.            Good afternoon, goodbye.

        OP         Au revoir.                          Goodbye.

        Thirouin Et la ligne, la ligne est parfaite And the line, the line is perfect,
                   hein, parce que, autant l’autre right, because the other day, I
                   jour j’arrivais pas à vous couldn’t understand you.
                   comprendre--.

        OP         Oui, oui. Ouais, ouais. Je m’en Yes. Yes. Yeah, yeah. I’m sorry
                   excuse.                             about that.

        Thirouin Non, non, mais je vous en No, no, please don’t mention it.
                   prie. C’est que les Suisses se It’s just that the Swiss have
                   sont    améliorés     sur     leur improved                       their
                   système téléphonique, c’est telecommunication               systems,
                   tout.                               that’s all.

        OP         Voilà. Voilà. Bien. Allez, bon That's it, that’s it. Well, good
                   après-midi !                        afternoon.

        Thirouin Je vous en prie, hein.                You're welcome, yeah.

        OP         Au revoir.                          Goodbye.



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        Thirouin Merci, au revoir.        Thank you, goodbye.

        OP        Merci.                  Thank you.




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